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              EXHIBIT 3
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           IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                       STATE OF MISSOURI
     ______________________________________________________

     RONALD PETERSON and JEFF HALL,   )
                                      )
                    Plaintiff(s),     )
                                      )
           vs.                        ) 1622-CC01071
                                      )
     MONSANTO COMPANY; OSBORN &       )
     BARR COMMUNICATIONS, INC.;       )
     OSBORN & BARR HOLDINGS, INC.,    )
                                      )
                    Defendant(s).     )
     ______________________________________________________
          VIDEOTAPED DEPOSITION UPON ORAL EXAMINATION OF
                         CHARLES BENBROOK, Ph.D.
                             **CONFIDENTIAL**
     ______________________________________________________


                                8:30 A.M.
                               MAY 23, 2018
               QUALITY INN & SUITES CONFERENCE CENTER
                              700 PORT DRIVE
                          CLARKSTON, WASHINGTON




     REPORTED BY:     PATSY D. JACOY, CCR 2348
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 19      7700 Forsyth Blvd., Suite 1800                     20           inspection on
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HIGHLY                               Charles Benbrook, Ph.D.                                            HIGHLY
CONFIDENTIAL                               May 23, 2018                                           CONFIDENTIAL
                                                Page 10                                                       Page 12
  1         CLARKSTON, WASHINGTON; MAY 23, 2018                 1      Q. At the time of your last deposition you
  2              8:30 A.M.                                      2   testified that you spent 320 to 350 hours reviewing
  3              --oOo--                                        3   materials in preparation for your role as an expert
  4                                                             4   witness. Do you recall that?
  5                                                             5      A. Yes, I do.
  6             VIDEO OPERATOR: This is the videotaped          6      Q. And that was between October and December 23rd
  7   deposition of Charles Benbrook, Ph.D. Today's date is     7   of 2017. Do you recall that?
  8   May 23, 2018. The time is 8:30 a.m. This is the case      8      A. Correct.
  9   of Ronald -- Ronald Peterson and Jeff Hall versus         9      Q. Now, since that time, how many hours -- and
 10   Monsanto Company. The case number is 1622-CC01071.       10   that's since your deposition on February 9th of 2018 up
 11   This case is pending in the Circuit Court of the City    11   through today -- how many hours have you spent
 12   of St. Louis, State of Missouri. My name is Stephan      12   reviewing materials and otherwise preparing for your
 13   Andreychuk, and I am representing Paszkiewicz Court      13   testimony today?
 14   Reporting. The court reporter is Patsy Jacoy. This       14      A. I -- I didn't -- I didn't bring my in --
 15   deposition is taking place at Quality Inn, 700 Port      15   invoices. I don't have the exact number, but it would
 16   Drive, Clarkston, Washington 99403.                      16   be, oh, I don't know, since -- since the last
 17          Counsels, will you -- Counsel, will you please    17   deposition it probably would be 50 hours, something
 18   state your appearance.                                   18   like that.
 19             MR. LITZENBURG: Timothy Litzenburg for         19      Q. Okay. And are you aware that we asked for
 20   the plaintiffs.                                          20   your invoices prior to your deposition here today?
 21             MR. HOLLINGSWORTH: Grant Hollingsworth         21      A. I -- I'm -- I'm not sure if you did. I --
 22   of Hollingsworth LLP for Monsanto Company.               22   Mr. Litzenburg said that he had worked out with you all
 23             MS. KRAJEWSKI: Sarah Krajewski of              23   the documents that need to be brought and that he's
 24   Winston & Strawn for Monsanto Company.                   24   taken care of it.
 25             MS. HOEKEL: Jennifer Hoekel -- excuse          25      Q. Okay. So you didn't review any notice of


                                                Page 11                                                       Page 13
  1   me -- for the Osborn & Barr defendants.                   1   deposition to see whether you had materials responsive
  2             VIDEO OPERATOR: The court reporter will         2   to the request; is that correct?
  3   now swear in the witness.                                 3       A. I -- I read -- I read it, and -- and as I
  4                                                             4   said, Mr. Litzenburg said that he's work -- worked that
  5            CHARLES BENBROOK, Ph.D.,                         5   all out with you, so...
  6     sworn as a witness by the Certified Court Reporter,     6       Q. Okay. And so -- but you did have documents
  7             testified as follows:                           7   responsive to the request, but you haven't provided
  8                                                             8   them today?
  9                   EXAMINATION                               9             MR. LITZENBURG: Asked and answered.
 10    BY MR. HOLLINGSWORTH:                                   10       A. Pardon me?
 11       Q. Dr. Benbrook, thanks for coming in. You've        11       Q. (BY MR. HOLLINGSWORTH) You can answer.
 12   been deposed several times before, correct?              12             MR. LITZENBURG: It's asked and
 13       A. Yes.                                              13   answered.
 14       Q. You're aware of the ground rules, correct?        14          You can -- you can tell him the same thing you
 15       A. Yes.                                              15   went over if you want.
 16       Q. You know, we'll keep the pace at a reasonable     16       A. I think you -- you have -- I mean, perhaps you
 17   pace here and just wait until I'm done asking my         17   don't have -- I mean, I have not submitted an -- an
 18   question before you answer, and I'll give you the same   18   invoice, of course, for May yet, the current month, so
 19   courtesy, all right?                                     19   that doesn't exist but, you know, we certainly can get
 20       A. Fine.                                             20   you those hours.
 21       Q. Sir, your last deposition in February about       21       Q. (BY MR. HOLLINGSWORTH) Okay. And it's not
 22   three months ago you stated that you hope as this body   22   just hours, but it's also communications with several
 23   of litigation goes on you have an opportunity to go      23   people listed on the notice of deposition and document
 24   deeper into the record. Do you recall that?              24   subpoena request. Do you recall that?
 25       A. Yes.                                              25       A. Yes.


                                                                                  4 (Pages 10 to 13)
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HIGHLY                               Charles Benbrook, Ph.D.                                             HIGHLY
CONFIDENTIAL                               May 23, 2018                                            CONFIDENTIAL
                                                Page 14                                                        Page 16
  1       Q. Okay. And is it your testimony that you             1       Q. Okay. As of your last deposition on
  2   didn't have any communications with those people?          2   February 9th, you stated that you had not reviewed in
  3              MR. LITZENBURG: No. We've -- we've              3   any detail EPA's most recent issue paper on the
  4   provided a written response and objection which I have     4   carcinogenic potential of glyphosate that came out in
  5   just slid across the table prior to the start of this      5   December 2017. Do you recall that?
  6   deposition which is signed by me.                          6       A. Yes, I do.
  7       Q. (BY MR. HOLLINGSWORTH) You can answer.              7       Q. And since this -- since your deposition on
  8       A. I -- I'm -- I believe that you have everything      8   February 9th, you haven't taken any deeper dive into
  9   that pertains to the case. I don't have any written        9   that record from EPA; is that correct?
 10   communications or -- with any of the -- the people that   10       A. No, I haven't.
 11   I saw in the request. I haven't contacted anybody, so,    11       Q. Okay. And why did you feel it wasn't
 12   yeah, I think you have everything that's -- that --       12   important to review in any detail EPA's most recent
 13   the -- the further work that I've done in preparation     13   issue paper on the carcinogenic potential of
 14   for the deposition, you -- you have a record of all of    14   glyphosate?
 15   it between my report and -- and the documents that --     15       A. Because in -- in my work on the case and in my
 16   that you've been -- that have been noted in this -- I     16   expert report I go into great detail on the evolution
 17   guess it's the supplemental information.                  17   of EPA's thinking on the oncogenicity of glyphosate.
 18       Q. So it's your testimony that the people             18   It's -- it's a -- an issue that the agency has been
 19   discussed in the notice of deposition and document        19   struggling with since the early 1980s. I'm -- I
 20   subpoena, you haven't had any written communications      20   address that issue in great detail in my report and
 21   with those people?                                        21   I -- it was very clear to me that there was really
 22              MR. LITZENBURG: Again, there's written         22   nothing -- nothing new in the EPA's late 2017 and 2018
 23   objections that I've provided and signed.                 23   reports in terms of a change in their position. So
 24          You can answer or not, but...                      24   I'm -- I've been aware of their position throughout all
 25       A. It -- it -- why don't you give me a copy of        25   my work on this and there really wasn't much new to


                                                Page 15                                                        Page 17
  1   the thing and I'll just make sure that I haven't           1   learn from that, so I didn't feel it was important
  2   forgotten something.                                       2   to -- to really pay much attention to.
  3       Q. (BY MR. HOLLINGSWORTH) We'll go over that in        3       Q. Is it your testimony that EPA did not consider
  4   a little bit. I want to get back to the hours spent        4   any additional studies or list any additional studies
  5   during the last -- since your last deposition. Have        5   in the references or tables within the 2017 OPP report
  6   you had an opportunity to dive deeper into the record?     6   that -- that does, in fact, show that they reviewed new
  7       A. I -- I think just to -- to go over the -- the       7   materials?
  8   critical documents and -- and exchanges that I address     8       A. I think there was -- there was a few new
  9   in my expert report. I -- I'm not -- I wouldn't            9   studies that -- that came out since the -- the last
 10   characterize it as necessarily much deeper, but trying    10   time they wrote and released a -- a formal document,
 11   to refresh my memory on all the -- the key documents      11   yes, yeah, there --- there's been a -- a few more. But
 12   that -- that form my opinion.                             12   I didn't -- I didn't pay much attention to it before
 13       Q. And what are the critical documents that form      13   filing my expert report in the previous deposition
 14   your opinion?                                             14   and -- and I haven't returned to it.
 15       A. They're cited in my expert report.                 15       Q. Okay. And how about the EPA 2016 -- September
 16       Q. Well, there's lots of documents cited in your      16   2016 issue paper on the carcinogenic potential of
 17   expert report.                                            17   glyphosate? You testified at the last deposition that
 18       A. Yeah.                                              18   you hadn't reviewed that in much detail. Is that -- is
 19       Q. Did you re-review all the documents in your        19   that still the case today?
 20   expert report? Is that what you did?                      20       A. Yes, because it's consistent with what they
 21               MR. LITZENBURG: Objection to form.            21   have been saying for a number of years.
 22       A. Basically, yes.                                    22       Q. When you say it's consistent with what they've
 23       Q. (BY MR. HOLLINGSWORTH) Okay. So you didn't         23   been saying for a number of years, do you mean that EPA
 24   review any additional documents?                          24   has determined that glyphosate is not likely to be
 25       A. Well, to prepare for the deposition, no.           25   carcinogenic to humans?


                                                                                   5 (Pages 14 to 17)
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HIGHLY                               Charles Benbrook, Ph.D.                                             HIGHLY
CONFIDENTIAL                               May 23, 2018                                            CONFIDENTIAL
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  1       A. That's the classification that -- that EPA has      1   in the earlier deposition, as I go into great detail in
  2   had in place, yeah, for a number of years.                 2   my expert report, the -- the factor that -- that I
  3       Q. And that classification, that's what's              3   think many scientists place the most weight on, those
  4   ultimately important to you, right?                        4   who -- who disagree with EPA's judgment is the
  5       A. Well, it's a -- it's one -- one entity around       5   significant evidence in the literature now that -- that
  6   the world that looked at -- that has looked at and made    6   glyphosate and glyphosate-based herbicides trigger
  7   a judgment based on the laws that -- that EPA is           7   genotoxic effects through at least two mechanisms, and
  8   obligated to administer, based on the standard in -- in    8   as -- in the very important reclassification of
  9   the federal Insecticide, Fungicide, Rodenticide Act        9   glyphosate and glyphosate-based herbicides by the
 10   that governed their decision-making and, yeah, I'm        10   International Agency For Research on Cancer in March of
 11   quite -- quite familiar with the statutory basis and      11   2015, the principal reason that that IARC
 12   the -- the scientific arguments that the EPA has -- has   12   classification was such a shock to Monsanto, such a
 13   advanced in support of -- of its -- its decision, and     13   shock to me and -- and a -- a big surprise to people
 14   I'm also aware of the position and -- and arguments       14   around the world was what the IARC working group
 15   that -- that other entities have -- have taken,           15   characterized as the strength of the evidence on a
 16   including those that -- that don't agree with the         16   mechanism through which glyphosate and glyphosate-based
 17   position that the EPA has -- has taken. And, you know,    17   herbicides could plausibly trigger cancer, and it -- so
 18   I would say that the debate hasn't progressed very far    18   it -- it was, in fact, the -- the -- the clear view of
 19   since the last time we talked three months ago. It's      19   this very highly-respected and qualified working group
 20   been pretty much where it was then.                       20   that there was strong evidence of genotoxic effects in
 21       Q. EPA's conclusion that glyphosate is not likely     21   the literature following exposure to glyphosate and
 22   to be carcinogenic to humans, that dates back to at       22   glyphosate-based herbicides, and I -- I -- I place a
 23   least 1991, correct?                                      23   lot of weight in the independence of the IARC review.
 24       A. That was the year that they overturned their       24   I -- I thought that their -- the judgments they reached
 25   previous classification of glyphosate as a possible       25   on the question of genotoxicity were well supported and


                                                Page 19                                                        Page 21
  1   human carcinogen, a decision that was in place from, I     1   logical and, frankly, they agreed with Dr. Parry's
  2   think, 1985 to 1991.                                       2   conclusions from, you know, a decade earlier when he
  3             MR. LITZENBURG: Can -- can we go off             3   under contract to Monsanto looked at -- at the studies
  4   the record for one second. We don't need to stop the       4   that were available up into and -- and through the
  5   video, just off that record.                               5   early 2000s.
  6             (Discussion off the written record.)             6          So, you know, I -- I think that EPA's
  7      Q. (BY MR. HOLLINGSWORTH) EPA's cancer                  7   unwillingness to acknowledge that there was new and
  8   assessment peer review committee in 1991 determined        8   persuasive data in the peer-reviewed literature showing
  9   that glyphosate is not likely to be carcinogenic to        9   that glyphosate and glyphosate-based herbicides are
 10   humans, a Group E classification that, as you state,      10   genotoxic, that that was -- I think that's the -- the
 11   has remained the same all the way until today, correct?   11   most important factor that explains the -- the
 12      A. Correct.                                            12   difference in -- in EPA's current classification
 13      Q. And although EPA's classification of                13   relative to the IARC classification.
 14   glyphosate has not changed since 1991, their review of    14       Q. Are you finished?
 15   the relevant studies and scientific publications is       15       A. Yeah.
 16   certainly not static. The review is continuing to keep    16       Q. You state that you are familiar with the
 17   up with the scientific developments and literature,       17   glyphosate toxicology database and the scientific
 18   correct?                                                  18   literature on glyphosate. Is that fair?
 19      A. I don't -- I don't agree with that statement        19       A. Yes.
 20   fully, no, I don't think they have.                       20       Q. You state also that IARC's finding was such a
 21      Q. So it's your opinion that EPA's review of the       21   shock, such a big surprise to you. Why is it such a
 22   scientific literature and publications has not changed    22   big surprise to you, given you are well versed in the
 23   since its determination in 1991 that glyphosate is not    23   scientific literature, the weight of the evidence which
 24   likely to be carcinogenic to humans?                      24   shows glyphosate is not likely to be carcinogenic to
 25      A. As I -- as we -- we went into in great detail       25   humans?


                                                                                   6 (Pages 18 to 21)
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HIGHLY                               Charles Benbrook, Ph.D.                                             HIGHLY
CONFIDENTIAL                               May 23, 2018                                            CONFIDENTIAL
                                                Page 22                                                        Page 24
  1       A. Well, you know, I was aware at least a year         1   on the positive genotoxicity data, especially the data
  2   before the IARC working group report and finding was --    2   on the formulated products where not only were there a
  3   was released that it was going on. The European            3   number of positive genotox studies, but there were a --
  4   community was reviewing glyphosate and, you know, and      4   a dozen or more studies in the peer-reviewed literature
  5   clearly the questions around glyphosate oncogenicity       5   showing that formulated glyphosate-based herbicides are
  6   was a -- a major issue in the regulation of glyphosate     6   more toxic than the active ingredient, and I thought
  7   in the US and worldwide, and I had been tracking that      7   IARC would put considerable weight on that, as they
  8   issue since the '80s. I was -- I had most of the --        8   did.
  9   the key documents in the '80s and '90s that we've          9         So, you know, as I said, I -- I kind of
 10   talked about in -- in this case, I had received,          10   expected a -- a possible rating, but I was -- I was
 11   reviewed, talked to people about at the time they came    11   really surprised when it came out as probable.
 12   out.                                                      12      Q. You agree the evidence of genotoxicity and
 13          So the -- the -- the concern and the               13   oncogenicity associated with exposure to glyphosate --
 14   scientific debate and the uncertainty around the EPA      14   glyphosate-based herbicides is complicated, correct?
 15   classification of glyphosate and how other regulators     15      A. Yeah, yes.
 16   around the world were treating it is -- you know,         16      Q. To be fair, you don't consider the evidence of
 17   it's -- it's been -- it's been something I've tracked     17   genotoxicity and oncogenicity to be a slam dunk under
 18   in -- in some detail for 30 years. And given the --       18   any circumstances, correct?
 19   the remaining uncertainty around the registrant           19             MR. LITZENBURG: Object to form.
 20   conducted and submitted studies, the emerging evidence    20      A. Well, no, I -- I think it is a -- you know, it
 21   on -- on genotoxicity, I -- I -- I was among those        21   certainly was a slam dunk based on the detailed review
 22   that -- that expected actually that IARC would classify   22   that the IARC working group did, and I have a great
 23   glyphosate as a possible human carcinogen.                23   deal of respect as do regulatory agencies and
 24          Knowing their criteria pretty well and knowing     24   international bodies around the world for the -- the
 25   the literature, I -- I thought that they would -- would   25   competence and the rigor and the care that an IARC


                                                Page 23                                                        Page 25
  1   quite likely classify glyphosate as a -- as a possibly     1   working group puts into these assignments and, you
  2   human carcinogen, you know, sort of one -- one layer       2   know, I -- I place -- I place a lot of weight on their
  3   down from their ultimate decision. And when -- when I      3   judgment and, you know, I'm certainly not -- I don't
  4   read, you know, in the media the day or day after the      4   feel that I know the literature well enough or -- or
  5   press release was issued by IARC and the -- the            5   know the science that is required to really at a very
  6   short -- the short paper came out in the Lancet about      6   deep level understand what all these studies mean, but
  7   the -- the classification, I -- you know, it -- it         7   I -- I do believe that the IARC working group has a mix
  8   surprised me that it -- that IARC went all the way to a    8   of people that has those skills and I -- I think that
  9   probable human carcinogen because I -- I knew that         9   they felt that the data was -- was quite strong, and
 10   there was debate and -- and disagreement about the        10   that's why they elevated the ranking to probable.
 11   animal evidence, that there -- there was certainly no     11          In fact, there -- as I said in my expert
 12   way they were going to characterize the animal data as    12   report, the most protracted debate in the working group
 13   strong. They -- they ended up discussing it as            13   was whether to classify glyphosate as a proven human
 14   sufficient.                                               14   carcinogen as opposed to a probable, and when I've --
 15         And epidemiological data also, while there was      15   when Aaron Blair told me that, I was doubly shocked
 16   a number of studies, I -- you know, at -- at the time I   16   because I -- I just was really surprised that based on
 17   didn't know for sure how persuasive they would consider   17   the IARC criteria that they would go that -- that some
 18   the epidemiological data to be, and -- and back in 2014   18   of the people in the working group felt that the data
 19   to 2015 when the IARC decision had come out, I had not    19   was -- was that strong, but, you know, as I said in my
 20   done as nearly a thorough a job in assessing all the --   20   expert report, you know, it -- the release of the IARC
 21   the then existing epidemiological data as I've done now   21   report has obviously changed the -- the views of a lot
 22   in preparation for the case, and that was one aspect of   22   of people about this body of evidence and certainly
 23   the record that I've learned a lot about since the IARC   23   affected my thinking.
 24   decision came out.                                        24       Q. (BY MR. HOLLINGSWORTH) You read the IARC
 25         I did expect IARC to put considerable weight        25   report before your last deposition, correct?


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  1       A. I -- yes, yes, of course.                           1   my -- in my earlier statement by -- by saying it wasn't
  2       Q. And at your last deposition you stated the          2   a slam dunk, I -- I was referring to the fact that
  3   evidence of genotoxicity and oncogenicity associated       3   there -- there wasn't unequivocal animal data. For
  4   with exposure to glyphosate-based herbicides is            4   example, Monsanto refused to redo the mouse study which
  5   complicated, it's not a slam dunk under any                5   may have clarified that question. That would have made
  6   circumstances. Are you taking back that testimony?         6   it more of a slam dunk. There -- there was ongoing
  7              MR. LITZENBURG: Object to form.                 7   questions about a number of epidemiological studies
  8       A. Well, I'm -- I'm -- I don't know the context        8   and -- and differences of findings across the studies
  9   in which I gave that -- that answer. You asked me          9   that would not make the -- the database easy to reach a
 10   having -- based on all of my review of the data, yes,     10   decision or quote/unquote a slam dunk.
 11   it's complicated, but -- but ultimately the -- the        11         So that's what I was trying to explain when I
 12   decision that was made by IARC and the -- and the         12   answered that question in the earlier deposition. But
 13   classification, by "slam dunk," I interpret you -- your   13   if you're -- if you're asking me today, you know, why I
 14   including that phrase today in this deposition as did     14   would say that the -- the classification of glyphosate
 15   I -- did I regard -- do I regard today the evidence as    15   as a probable human carcinogen as reached by IARC in
 16   strong and in support of the -- the classification that   16   2015 was a strong and decisive decision, whether you
 17   IARC did, and yes, I do feel that they had -- they        17   want -- whether you feel the -- the term "slam dunk"
 18   obviously had what they felt was substantial and          18   applies or not is -- is kind of irrelevant, but in my
 19   persuasive evidence to make that classification. And,     19   judgment it reflected a -- that the IARC working group
 20   you know, that -- that to me makes the judgment that      20   regarded the evidence as strong and persuasive, and --
 21   they -- they reached a -- a clear and decisive one.       21   and because of that, they reached this unexpected
 22   And if you want to use the word "slam dunk" around it,    22   decision to classify glyphosate and glyphosate-based
 23   fine.                                                     23   herbicides as probable human carcinogens.
 24       Q. (BY MR. HOLLINGSWORTH) Sir, it's not my            24       Q. (BY MR. HOLLINGSWORTH) You had reviewed the
 25   interpretation of the word "slam dunk," it's your own     25   Agricultural Health Study's most recent update to the


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  1   word "slam dunk," and, you know, we're not deposing        1   cohort on glyphosate and farmers prior to your last
  2   IARC here today. We're deposing you.                       2   deposition, correct?
  3      A. Yeah.                                                3       A. Yes, I had.
  4      Q. And you testified previously at your last            4       Q. Okay. And in terms of the evidence of
  5   deposition that the evidence of genotoxicity and           5   oncogenicity in glyphosate being a slam dunk, would it
  6   oncogenicity associated with exposure to                   6   be more of a slam dunk if the AHS cohort, as exhibited
  7   glyphosate-based herbicides, it is complicated, it's       7   in the 2018 journal from the National Cancer Institute,
  8   not a slam dunk under any circumstances. Is that not       8   found that there was actually an association between
  9   your opinion today?                                        9   glyphosate and non-Hodgkin's lymphoma rather than what
 10             MR. LITZENBURG: Object to form, asked           10   they found, which is no association?
 11   and answered.                                             11       A. Certainly that would have been another piece
 12      A. The -- the -- what I was trying to convey in        12   of evidence that would -- would probably have led the
 13   response to the question in my earlier deposition is,     13   IARC working group to classify glyphosate and
 14   A, that -- that reaching this kind of a scientific        14   glyphosate-based herbicides as a -- as a proven human
 15   judgment is complicated. Many factors have to be taken    15   carcinogen, and this is -- you know, this is kind of
 16   into account within each of the categories of             16   basically when I spoke with Aaron Blair, the chair of
 17   information that EPA has to -- has to and has reviewed    17   the working group, a couple days after it came out, he
 18   and that IARC has to and did review. There -- there       18   said that the key reason that they -- the working group
 19   are many factors that experts in the field have to take   19   at the end of the -- at the end of the day decided not
 20   into account in integrating into a single judgment that   20   to classify glyphosate as a proven human carcinogen was
 21   data set.                                                 21   he used the word "noise" in the -- in the epi data, and
 22         At -- but at the -- at the end of the day, I        22   by that he was, I think, quite clearly referring to the
 23   regarded and I regard today that the classification       23   fact that, you know, an earlier Agricultural Health
 24   reached by IARC represents a decisive, and if you want    24   Study was positive for the connection between
 25   to use the term "slam dunk" judgment, then yes. So in     25   glyphosate and non-Hodgkin's lymphoma, but the most


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  1   recent one wasn't, so that's what he was referring to      1   aren't applying glyphosate via backpack sprayers or
  2   as noise.                                                  2   some of the other types of exposure that you claim
  3      Q. The evidence between glyphosate and                  3   result in higher exposure?
  4   non-Hodgkin's lymphoma is not a slam dunk because the      4      A. Reading the methodology and the various -- I
  5   2018 update to the AHS cohort determined there's no        5   mean, there's been dozens of scientific papers based on
  6   association between glyphosate and NHL or any of its       6   the Agricultural Health Study not just involving
  7   subtypes, correct?                                         7   Roundup and glyphosate but multiple other pesticides
  8      A. No, I don't agree with that, as I've just            8   that -- that I have been involved with over the years,
  9   tried to explain in some length. Sorry you -- you          9   and in all of those papers there is a methodology
 10   didn't understand it. Do you want me to restate it        10   section that discusses in varying levels of detail the
 11   again?                                                    11   cohort that -- of people that were enrolled in the
 12      Q. The evidence between glyphosate and                 12   study and there's a -- you know, as you are no doubt
 13   non-Hodgkin's lymphoma is not a slam dunk because the     13   aware, there's also a couple of almost purely
 14   AHS cohort update found no association between            14   methodological studies where the Agricultural Health
 15   glyphosate and non-Hodgkin's lymphoma, correct?           15   Study team has described the methods that -- through
 16      A. I don't agree with that.                            16   which they have carried out the study, and in those
 17      Q. Why not?                                            17   papers there's great detail on the -- the cohort and
 18      A. The most recent publication from the                18   the -- the types of scenarios and circumstances in
 19   Agricultural Health Study is one of multiple              19   which they applied glyphosate and, you know, it's
 20   epidemiological studies, as you know, some of which       20   certainly my judgment that the vast majority of the
 21   report no association and several of which do report      21   total pounds of glyphosate and Roundup herbicides
 22   association. The Agricultural Health Study cohort is      22   sprayed by the people in the cohort or the vast number
 23   primarily made up of commercial applicators and -- and    23   of acres treated were treated in, you know, relatively
 24   farmers who have sprayed Roundup-based herbicides in      24   large-scale commercial equipment, ground-driven
 25   some cases over many years in an agronomic/agricultural   25   equipment or airplanes and not backpack sprayers


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  1   setting where the people handling the herbicide and        1   spraying around the, you know, buildings on a -- on a
  2   making the applications are spraying from equipment        2   farm.
  3   that has enclosed cabs and sophisticated air filtration    3      Q. You're speculating when you say that the
  4   systems, and the evidence in the record from both          4   farmers in the Agricultural Health Study did not apply
  5   Monsanto-commissioned worker exposure studies and EPA      5   glyphosate via backpack sprayers or some other method
  6   worker exposure risk assessments is quite clear that       6   of what you claimed is increased exposure?
  7   those sorts of uses of glyphosate, particularly in the     7      A. No, sir. I am testifying to the fact that the
  8   last 15 or 20 years, typically don't result in -- in       8   vast majority of the glyphosate and Roundup herbicides
  9   high exposure episodes and certainly nowhere near as       9   sprayed by the individuals in the Agricultural Health
 10   high as people who are occasionally or -- or frequently   10   Study cohort sprayed glyphosate in sort of typical
 11   applying glyphosate with handheld or backpack sprayers    11   agricultural settings on crop fields that, you know,
 12   or some other method of application that entails much     12   would be five, ten, 15 acres to maybe 80 or 100 acres.
 13   higher levels of worker and applicator exposure.          13   They did so as part of their -- their work. If it's a
 14         And, in fact, the -- from my review of -- of        14   farmer, they would be spraying their own land. If they
 15   the epidemiological literature, a primary factor          15   were a commercial applicator, they would be spraying
 16   distinguishing the Agricultural Health Study from the     16   the farms and farmland of many clients, and the vast
 17   positive -- the studies that have reported a positive     17   majority of all of the pesticides that -- that these
 18   linkage between Roundup use and exposures and             18   applicators and farmers applied, including the Roundup
 19   non-Hodgkin's lymphoma is that the -- the study cohorts   19   herbicides, would have been done in an agricultural
 20   include a significant number of people that -- that       20   setting.
 21   used and applied Roundup herbicides in industrial turf,   21         That's not to say that around their home,
 22   ornamental or -- or sort of nonagricultural               22   around the buildings, you know, and their place of
 23   circumstances.                                            23   business, in the case of a farmer around a barn, that
 24      Q. Sir, what are you basing your testimony that        24   they didn't occasionally spray with a backpack sprayer
 25   the Agricultural Health Study includes farmers who        25   or a sprayer on the back of an ATV. It's probably


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  1   fairly certain that a number of them did that at some       1   think that that intensity score is an improvement over
  2   point along the way. But I am quite sure based on my        2   some of the other indicators of exposure incorporated
  3   understanding of the cohort and the information that's      3   in other epidemiological studies, but it certainly
  4   reported in the methodology sections of the multiple        4   leaves a lot to be desired as -- as the Agricultural
  5   papers on the Agricultural Health Study that the vast       5   Health Study coauthors point out in the -- in most of
  6   majority of the Roundup sprayed by these people over        6   their papers, at the end there's a section on
  7   their lifetimes were -- were done in a -- with              7   limitations, and they acknowledge that, you know, while
  8   equipment that included cabs and air filtration systems     8   they feel that their intensity score is better than
  9   and relatively low exposures compared to these other        9   just asking people, "Well, how many days in a year did
 10   use patterns and spray equipment.                          10   you apply Roundup," for example, that -- that the score
 11      Q. You're speculating when you say that farmers         11   is a -- is a step towards a more accurate exposure
 12   did not use Roundup around their house to any great        12   metric, but it -- it certainly leaves a lot to be
 13   extent; is that correct?                                   13   desired.
 14      A. No, I'm not speculating. That is a relative          14       Q. The intensity score from the Agricultural
 15   statement. They -- let me make it -- try to make it        15   Health Study is a more sophisticated and accurate way
 16   even clearer. For the vast majority of the individuals     16   of tracking exposure in epidemiology studies especially
 17   in the cohort of the Agricultural Health Study, if you     17   compared to the single day of use method of tracking
 18   calculated their total use of Roundup over their life      18   exposure, correct?
 19   by pounds, pounds of active ingredient applied, and        19       A. I would agree with that, yep.
 20   then apportioned that between the volume of Roundup        20       Q. I want to go back to your statements earlier
 21   sprayed in the course of really them doing their jobs,     21   about what you reviewed in this case. Now, you
 22   i.e., treating agricultural fields and -- and added up     22   testified that you didn't review the 2017 OPP issue
 23   the total pounds sprayed in that way and then asked        23   paper on the carcinogenic potential of glyphosate in
 24   them, "What about Roundup use in and around your garden    24   any great detail, correct?
 25   or your house where you used an ATV or a handheld or a     25       A. Correct.


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  1   backpack sprayer, what would be the total pounds of         1       Q. And you testified previously that EPA's review
  2   Roundup that you applied in that mechanism?" And even       2   of the scientific literature on glyphosate hasn't
  3   if they said they sprayed -- they used Roundup in that      3   changed much between 1991 and 2017; is that correct?
  4   way most every year and sprayed three or four times         4       A. Well, over that time frame, of course, there
  5   around their house, it would -- the amount of active        5   were additional two-year chronic feeding studies
  6   ingredient applied would still be a tiny fraction of        6   submitted to the agency, several of them, three dozen
  7   the amount sprayed on their farm fields and, you know,      7   genotoxicity studies at least, several different
  8   through the larger-scale equipment. So that's a             8   epidemiological studies. So, yeah, the EPA has --
  9   relative statement and I stand by it.                       9   has -- in -- as it has continued to refine its risk
 10       Q. So the exposure analysis that you're talking        10   assessment of the oncogenic potential of -- of
 11   about from the glyphosate literature, that was             11   glyphosate, it has incorporated its review of the
 12   incorporated into the Agricultural Health Study's          12   registrant commissioned and submitted studies as well
 13   intensity score, correct?                                  13   as studies that have appeared in the open peer-reviewed
 14       A. It's a factor, yes.                                 14   journal. Yeah, I -- it -- it has taken those into
 15       Q. And you testified previously that the               15   account, but it has basically not changed its -- its
 16   intensity score from the Agricultural Health Study is a    16   underlying judgment.
 17   very sophisticated way of tracking exposure. Do you        17       Q. EPA hasn't changed its underlying judgment in
 18   recall that?                                               18   considering additional chronic feeding studies on
 19       A. I -- I do, and it is a sophisticated way.           19   glyphosate, specifically EPA now has 14 chronic feeding
 20   I -- I don't know of a -- really any epidemiology study    20   studies on glyphosate, correct?
 21   that went further or attempted to go further than the      21       A. From the registrants, yeah.
 22   Agricultural Health Study in that refined measure of       22       Q. And that is significantly more than what they
 23   exposure, you know, based on the -- the recall of the      23   had in 1991 when they determined that glyphosate is not
 24   people enrolled in the study about, you know, when they    24   likely to be carcinogenic to humans, correct?
 25   applied Roundup and under what circumstances, and I do     25       A. I would agree with that, yep.


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  1      Q. It includes four more mouse studies than what        1   agreement.
  2   EPA had in 1991 when they concluded that glyphosate is     2         And so if you look at the -- the meta analysis
  3   not likely to be carcinogenic to humans, correct?          3   that was done and provided support for the IARC working
  4      A. I believe that's the correct number.                 4   group's judgment on the animal data that's the part of
  5      Q. Okay. And is it your opinion that those              5   the -- the IARC criteria that we're talking about,
  6   additional studies are not important to a regulator's      6   they -- their -- their position and view of the data
  7   review of the weight of the evidence as to whether         7   evolved, but reached a different point where they felt
  8   glyphosate causes non-Hodgkin's lymphoma?                  8   that there was sufficient animal data to support the
  9      A. No, that's not my testimony and I've never           9   classification in light of the other data of glyphosate
 10   said that, so no.                                         10   as a possible human carcinogen.
 11      Q. So you agree then that EPA's review of the          11         So -- you know, I -- I have a -- a deep
 12   animal carcinogenicity database between 1991 and 2017     12   understanding of why EPA over the years has made the
 13   has evolved with increased scientific publications,       13   decisions that they did, why they originally classified
 14   increased studies, advances in science that are           14   glyphosate as a possible human carcinogen, why they
 15   relevant and, in fact, important to their 2017            15   were ultimately driven to change their classification
 16   determination that glyphosate is not carcinogenic to      16   culminating in the 1991 change in their -- in
 17   humans?                                                   17   classification and -- and why in the ensuing years they
 18             MR. LITZENBURG: Object to form.                 18   just -- the EPA has not felt that there was strong
 19      A. I -- I do believe that EPA does as thorough a       19   enough evidence based on their -- their regulations and
 20   job as it can in describing the review that it made of    20   the way that they review data and the statute that they
 21   these additional studies in explaining why it doesn't     21   work under to -- to change the classification, whereas
 22   place much weight on the multiple tumors reported in      22   the IARC working group obviously did, and I -- I
 23   those studies that other scientists believe were          23   believe that the IARC working group's assessment of the
 24   associated with the treatment. They -- as a matter --     24   literature and judgment was -- was sound and robust
 25   you know, just as a factual matter their -- their         25   and -- and less influenced by the -- some of the


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  1   classification, it didn't change, and hence I would say    1   factors that discouraged EPA from continuing to fight
  2   it didn't evolve. They have tried to defend their          2   with Monsanto over the classification of -- of
  3   classification in the light of the new -- new science,     3   glyphosate.
  4   and that's -- that has come out and that is, in fact,      4      Q. (BY MR. HOLLINGSWORTH) Are you finished?
  5   the important and new content of the -- the 2017 and       5      A. Yeah.
  6   I'm sure any future documents that come out from EPA on    6      Q. To be clear, when EPA first approved Roundup
  7   the question of glyphosate oncogenicity.                   7   in 1974 it was not classified as a possible human
  8         However, other scientists looking at some of         8   carcinogen, correct?
  9   the same studies, other studies, and in particular the     9      A. They didn't -- they -- I don't think they had
 10   IARC, their position evolved in -- over this -- as a      10   a two-year feeding study when the very first actions
 11   result of this new information in a different way and     11   were taken.
 12   led them to change their classification and, as I said,   12      Q. It was not classified as a possible human
 13   one of the -- the critical disagreements between EPA      13   carcinogen when it was first approved in 1974, correct?
 14   and IARC is the question of how strong and significant    14      A. It wasn't classified at all.
 15   is the genotox database, and clearly IARC felt it was     15      Q. So when you say EPA originally classified
 16   significant and felt there was very strong evidence.      16   glyphosate as a possible human carcinogen, that's not
 17         But, in addition, the IARC working group had        17   true with respect to its original approval, correct?
 18   done a thorough review of many of the cancer studies,     18      A. No, it is true. The -- I'm not aware of a
 19   those that were -- that were available to them, had       19   formal decision that EPA made on glyphosate
 20   done meta analyses, had taken a -- a different view on    20   oncogenicity before the 1985 decision based on the
 21   some of the tumors that were elevated where EPA           21   1990 -- 1983 biodynamic mouse study. The first study
 22   ultimately agreed with Monsanto and -- and reached a      22   that they -- that they received, the rat study from IBT
 23   judgment that they were not treatment-related, while      23   was, you know, classified as nonacceptable or
 24   some of the -- several other scientists that looked at    24   fraudulent. I don't remember the -- the details. So,
 25   the same studies have -- have reached a different         25   I mean, EPA really didn't have a valid two-year chronic


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  1   feeding study database until the 1983 mouse study was      1   rodents, correct?
  2   submitted to the agency, and the first time that in my     2       A. Yes.
  3   knowledge and my read of the record that EPA made a        3       Q. They have determined that each of those
  4   decision relative to oncogenicity was following the        4   studies provides evidence that glyphosate is
  5   receipt of the 1983 biodynamic study, and based on the     5   noncarcinogenic to humans, correct?
  6   statistically significant increase in a dose response      6       A. In their reviews of each of the studies, they
  7   way to a rare tumor, renal tubular adenomas in the male    7   go through all of the tumors that were reported in the
  8   mice in that study, they classified glyphosate as a        8   histopathology, several of which were -- have been
  9   possible human carcinogen. And I'm -- I'm not aware of     9   considered by some scientists reviewing the studies as
 10   an earlier time when EPA made a decision one way or       10   treatment-related, but at the end of the day in -- in
 11   another on the oncogenicity prior to that time.           11   essentially all of the cases the EPA has accepted
 12      Q. You're speculating when you say that EPA did        12   Monsanto's assertion that these -- the tumors observed
 13   not make a prior decision as to glyphosate's              13   were -- were not treatment-related, either because of
 14   carcinogenicity that is prior to 1985 and the             14   maximum tolerated dose being exceeded or arguments on
 15   toxicology branch memo that you're referring to,          15   historical controls or uncertainty about the diagnosis.
 16   correct?                                                  16         But they -- when they review one of these
 17      A. I am not speculating, sir. I have read every        17   studies, they -- they don't render a judgment that
 18   single tolerance petition and notice in the federal       18   because of their review of the study the agency has
 19   register. I have spent many, many hours reviewing the     19   concluded that glyphosate does -- is not -- is not a
 20   early history of glyphosate tolerances because it --      20   human carcinogen. They -- they don't -- they don't go
 21   the tolerance setting process was where EPA made a        21   to that question when they review each of the
 22   number of decisions, and in all of those tolerance        22   individual studies. When they make their overall
 23   actions, the agency reports a review of the toxicology    23   judgment on oncogenicity at any point along the time
 24   database available to them at the time, and throughout    24   they refer to the studies that they have in hand and
 25   that period from the very first -- basically it was an    25   have reviewed at that point in time.


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  1   experimental use permit in 1974 through the -- the         1      Q. Sir, glyphosate went off patent in 2000,
  2   decision in 1985, EPA did not have a valid database        2   correct?
  3   because the whole first round of studies, the majority     3      A. Glyphosate herbicides were protected by
  4   of the first set of chronic feeding studies done by        4   several different patents, but 2000, 2001 was the time
  5   Monsanto had been commissioned at IBT which was a --       5   when most of the patent protection prohibiting other
  6   later found to be a fraudulent lab that did not conduct    6   companies from bringing generic glyphosate-based
  7   the studies in a -- in a honest or acceptable way          7   herbicides on the market had lapsed, that's -- yes,
  8   relative to good laboratory practices.                     8   that's correct.
  9         So basically, Monsanto spent the second half         9      Q. As a result of that, there are now roughly six
 10   of the '70s and into the early 1980s redoing the entire   10   different companies who have long-term carcinogenicity
 11   chronic database and that -- the 1983 biodynamic mouse    11   studies on rodents, correct?
 12   study was the first, you know, full two-year valid        12      A. There's certainly several. I'd -- I'd have to
 13   chronic feeding study that the agency had, and I -- I     13   look at the list to -- to know whether it's six or
 14   cannot remember a single tolerance petition or final      14   four, but it's in that ballpark, yes.
 15   rule where -- where EPA stated that they had two valid    15      Q. So when you say each time EPA considered these
 16   long-term feeding studies and made a judgment about       16   long-term rodent studies they agreed with Monsanto's
 17   oncogenicity until 1985. So I'm not speculating about     17   assertion as to how to interpret the tumors in those
 18   it. That's -- that's what I am aware of based on a --     18   studies, EPA was actually reviewing studies from other
 19   you know, a quite detailed review of the record.          19   manufacturers, correct?
 20       Q. When the toxicology branch in 1985 recommended     20      A. Correct. Cheminova study was one of the
 21   that glyphosates be classified as a possible              21   important ones that -- that had a carcinoma in it that
 22   carcinogen, they only had one valid long-term feeding     22   was debated at great length within -- within EPA and
 23   study on rodents, correct?                                23   which certainly members of the IARC working group
 24       A. They had the 1983 biodynamic study, correct.       24   disagreed with the judgment of OPP that the tumors were
 25       Q. EPA today has 14 chronic feeding studies on        25   not treatment-related.


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  1      Q. But certainly it's not just Monsanto whose           1      A. EPA clearly does not convene the -- this
  2   studies EPA is considering, correct?                       2   cancer review committee and -- and make such a -- what
  3      A. Correct, correct.                                    3   you might call a global decision on the classification
  4      Q. So EPA -- it wouldn't be just Monsanto that is       4   of glyphosate or any other -- any other pesticide each
  5   getting EPA's agreement as to the interpretation of the    5   time a new study comes in. They -- they probably will
  6   studies, correct?                                          6   convene a committee if -- if a new study dramatically
  7      A. Yeah, yes, correct.                                  7   changes the evidentiary database, but each time they
  8      Q. EPA has conducted a weight of evidence review        8   get a study and review it doesn't trigger that
  9   of each one of the 14 long-term rodent carcinogenicity     9   committee coming back together and reaching a judgment
 10   studies and determined that the weight of the evidence    10   as they did and as was codified in the meetings in
 11   for each one of those studies shows that glyphosate is    11   1985.
 12   not likely to be carcinogenic to humans based on the      12      Q. Sir, you've never been employed by EPA,
 13   rodent study, correct?                                    13   correct?
 14             MR. LITZENBURG: Form, asked and                 14      A. No, I haven't.
 15   answered.                                                 15      Q. You've never been part of an EPA review
 16      A. Typically EPA makes a weight of the evidence        16   committee of a rodent carcinogenicity study, correct?
 17   judgment when it's trying to reach a decision like how    17      A. No, I have not.
 18   to classify an active ingredient like glyphosate where    18      Q. You've never been part of an EPA review
 19   there's multiple genotox studies, multiple animal         19   process in any regard with respect to rodent
 20   studies, many different areas of data, perhaps some --    20   carcinogenicity studies, correct?
 21   some epidemiological studies that they're aware of. So    21      A. Correct.
 22   in -- in most cases the weight of evidence judgment       22      Q. You're speculating when you say that EPA
 23   comes at -- at the time when EPA is asked to sort of      23   doesn't review each study as it comes in and make a
 24   re-review an active ingredient that's been on the         24   determination as to whether or not that study provides
 25   market for several years which they -- they, of course,   25   evidence of carcinogenicity, correct?


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  1   did in 1986 on the registration standard and again in      1       A. Ab --
  2   1993 when the re-registration eligibility document on      2              MR. LITZENBURG: Form.
  3   glyphosate came out, so that's when they articulate        3       A. Absolutely not correct, sir. I don't -- don't
  4   their weight of the -- weight of the evidence judgment     4   know -- I'm -- I apologize if I'm not being clear with
  5   vis-a-vis classification of does pesticide X pose a --     5   you. Every time they get a new study in they do an
  6   a risk of cancer.                                          6   evaluation of the study. First there's a screening
  7         Your use of the EPA made a weight of the             7   evaluation to see if the records show that it was
  8   evidence judgment on each one of these studies, I          8   conducted in accord with good laboratory practices and
  9   suppose you could say that that EPA took into account      9   all the -- all the supporting documentation in terms of
 10   multiple pieces of information in -- in review of their   10   inspecting the animals and the number of animals that
 11   studies, for example, historical control data from        11   died and the percentage of the chemical in the feed and
 12   other studies and made a weight of the evidence           12   many technical details about the conduct of the study
 13   judgment, but I think it is more common for a -- a        13   were -- were done properly and are properly documented
 14   thorough weight of the evidence decision to come at       14   in the study.
 15   these other decision points.                              15         If it passes that initial screen, then the
 16      Q. (BY MR. HOLLINGSWORTH) Sir, when the                16   study will be reviewed by one of the toxicologists in
 17   toxicology review branch classified glyphosate as a       17   the -- in the tox branch or the health effects
 18   possible carcinogen in 1985, they reviewed one study      18   division -- the names change over the years -- and they
 19   and came to a conclusion as to what that rodent study     19   will review the study. They will assess whether they
 20   said about the potential for glyphosate to be             20   agree with the interpretation of the results of the
 21   carcinogenic, correct?                                    21   study as reported in the report from the contract lab
 22      A. Yes, sir.                                           22   or the laboratory of a particular company that
 23      Q. Is it your testimony that EPA doesn't make          23   conducted the study and submits the results.
 24   that same review and determination each time it has a     24         They will also look at whether they believe
 25   new rodent carcinogenicity study?                         25   the statistical analysis was appropriate, and sometimes


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  1   they ask the -- the companies that conducted the study     1   positive or negative for oncogenic response, correct?
  2   for additional information to clarify some aspects of      2       A. Right, correct.
  3   the interpretation and statistical analysis of the         3       Q. EPA has also considered what you said were
  4   results.                                                   4   three dozen or so genotox studies in between 1991 and
  5         And at the end of the day, they make a               5   2017 when they made their most recent determination
  6   judgment of whether the study is -- was conducted          6   that glyphosate is not likely to be carcinogenic to
  7   appropriately and meets one of their data requirements,    7   humans, correct?
  8   and they also reach a judgment on whether the study was    8       A. Yeah, these would be peer -- studies that came
  9   positive or negative for an oncogenic response.            9   out in the peer-reviewed literature, not -- not studies
 10   Sometimes the -- the agency will agree essentially 100    10   commissioned by the registrants and submitted to EPA
 11   percent with the interpretation of the data and the       11   and not in the public record.
 12   statistical analysis as reported by the -- the lab that   12       Q. You agree that EPA considers peer-reviewed
 13   conducted the study on behalf of the registrant and       13   publications on the open literature when conducting its
 14   submitted it to the EPA, and in other cases they          14   risk assessments, correct?
 15   disagree with either some aspect of the findings or the   15       A. They make note of them, but I -- I agree with
 16   statistical analysis, as they did in the case of the      16   a -- a number of scientists that track the
 17   1983 bio -- biodynamic study.                             17   decision-making in the Office of Pesticide Program that
 18         So in -- in every study that came in following      18   they -- they place less weight on the open
 19   the 1983 study, the 13 others that are part of the        19   peer-reviewed literature than -- than what -- what I
 20   industry-commissioned and submitted record of long-term   20   feel and many other people feel they should. It's a --
 21   feeding studies, they were -- they did this same          21   it's a generic issue in EPA pesticide risk assessment
 22   analysis and reached their -- reached their own           22   that's been, you know, under discussion, under debate
 23   decisions, sometimes -- you know, which tracked           23   for -- for 20 years.
 24   fairly -- fairly closely what the -- the registrant       24             MR. LITZENBURG: Good time for a quick
 25   concluded and other times it didn't, and that's the       25   break?


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  1   standard operating procedure.                              1             MR. HOLLINGSWORTH: Sure.
  2          But the review of the -- of the -- of each          2             VIDEO OPERATOR: We're going off the
  3   study, it -- it wouldn't trigger a reassessment of the     3   record. The time is 9:36.
  4   classification of -- of any pesticide or in this case      4              (Recess taken.)
  5   of glyphosate unless the new study reported results        5             VIDEO OPERATOR: We are going on the
  6   that were substantially different from what the EPA        6   record. The time is 9:46.
  7   felt the earlier studies had shown.                        7       Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, we left
  8       Q. EPA conducts an independent, thorough review        8   off at the genotoxicity studies and publications that
  9   of each rodent carcinogenicity study as it comes into      9   EPA has reviewed in the interim time between 1991 and
 10   the agency, correct?                                      10   2017, and you noted that EPA had reviewed roughly three
 11       A. They certainly conduct a review and, you know,     11   dozen studies in the open literature, genotox studies
 12   I think and certainly would hope to think that it's for   12   in the open literature, correct?
 13   the most part independent of the registrant's review,     13       A. Correct.
 14   but, you know, clearly the -- the registrants do all      14       Q. Since that time between 1991 and 2017 there's
 15   that they can to influence the way that the -- the EPA    15   been additional registrants and additional GLP-required
 16   scientists look at these studies, and as the -- the       16   genotoxicity studies conducted on glyphosate that EPA
 17   extensive record of the back and forth between Monsanto   17   has reviewed, correct?
 18   and the Office of Pesticide Programs in -- in terms of    18       A. I -- yes, I'm aware of some of those, yes.
 19   the classification of the 1983 biodynamic study shows     19       Q. Okay. So it would be not just the open
 20   in -- in great depth, I mean, it's -- there's an          20   literature three dozen or so studies that EPA has
 21   ongoing exchange of information and discussions about     21   reviewed but also several additional GLP studies on
 22   the proper interpretation of some of these studies.       22   genotox, correct?
 23       Q. Each time a new rodent carcinogenicity study       23       A. Correct.
 24   comes in, EPA takes an independent review of that study   24       Q. You noted that in the interim between 1991 and
 25   and reaches a judgment as to whether the study was        25   EPA's most recent classification of glyphosate as


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  1   noncarcinogenic to humans in 2017 that there's been        1   is that correct?
  2   several additional epidemiological studies, correct?       2       A. Correct.
  3       A. Correct.                                            3       Q. You have not reviewed Dr. Acquavella's
  4       Q. Do you know how many epidemiology studies have      4   deposition, correct?
  5   been conducted between 1991 and 2017 on glyphosate and     5       A. Correct.
  6   non-Hodgkin's lymphoma?                                    6       Q. Have you reviewed Dr. Farmer's deposition?
  7       A. They're -- they're conducted in probably all        7       A. I think I read part of it.
  8   continents on the planet and -- and several are not        8       Q. You have not reviewed Mr. Rowland from the
  9   published in English language journals so I wouldn't       9   EPA, you have not reviewed his deposition, have you?
 10   say that I know all of them. I have -- in my expert       10       A. No, I haven't.
 11   report I discuss several of the most prominent ones in    11       Q. You have not reviewed Dr. Saltmiras'
 12   terms of the attention that both EPA gives to them        12   deposition, correct?
 13   in -- in their evolving reports and as well as the        13       A. Correct.
 14   attention and focus that the IARC working group devoted   14       Q. You have not reviewed Steve Adams' deposition,
 15   to them.                                                  15   correct?
 16       Q. Indeed. And let me know if you agree. Nearly       16       A. Correct.
 17   the entire if not the entire epidemiology database on     17       Q. You have not reviewed any of Dr. Goldstein's
 18   glyphosate has occurred between 1991 and 2017 in terms    18   depositions; is that correct?
 19   of when the studies were published, correct?              19       A. Correct.
 20       A. Certainly the vast majority of it. I can't         20       Q. Sir, you have a lot of opinions about those
 21   think of a single one that came out before '91.           21   folks in your report. Didn't you think it was
 22       Q. And in terms of epidemiology, epidemiology is      22   important to review their depositions and hear their
 23   the study of the formulated product used in real world    23   side of the story?
 24   dosing situations by farmers and whoever else would       24       A. No, I didn't. My opinions are based on the
 25   apply the formulated product, correct?                    25   very large number of e-mail communications that each of


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  1       A. Correct.                                            1   these individuals had amongst themselves under
  2       Q. The most recent epidemiology study published        2   circumstances where I believe they were being
  3   on glyphosate, the Agricultural Health Study published     3   forthright and not -- not trying to shield the truth in
  4   in 2018 has found that there's no association between      4   any way. The -- the -- the discovery record in terms
  5   glyphosate and non-Hodgkin's lymphoma or any of its        5   of these individuals' opinions, actions, knowledge of
  6   subtypes, correct?                                         6   the science is extremely extensive, tens of thousands
  7              MR. LITZENBURG: Form.                           7   of documents. Obviously I only reviewed a small
  8       A. Correct.                                            8   fraction of them, but I -- I became quite confident
  9       Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, I want         9   that the 15 or 20,000 pages of documents that I -- I
 10   to go back to what you've reviewed in this case. I        10   read and multiple exchanges among these individuals
 11   recall at the last deposition you said that you had       11   that I had a -- a clear and reasonably accurate
 12   reviewed a few depositions, and I'll let you name them    12   understanding of what their -- their feelings were,
 13   again today, but have you reviewed any additional         13   what their knowledge was, what their interpretation of
 14   depositions since that time?                              14   the different scientific issues were.
 15       A. No.                                                15         So I -- you know, there really -- it wasn't a
 16       Q. And do you recall what depositions you've          16   question of another side of the story. I just simply
 17   reviewed?                                                 17   read what they said amongst themselves. It was -- you
 18       A. I'm sure it's in my testimony from -- from         18   know, to me it was quite clear and I tried to include
 19   before. I -- I didn't go back and look at any of that     19   in my expert report a number of direct quotes from, you
 20   part of the record in preparing for this deposition, so   20   know, dozens of internal e-mails which I think speak
 21   I just would assume that my memory from back -- from      21   for themselves.
 22   three months ago served to answer that question.          22      Q. Your opinions on Dr. Heydens, Dr. Farmer,
 23       Q. You have not reviewed --                           23   Dr. Saltmiras, Dr. Goldstein are based on company
 24       A. Yeah.                                              24   e-mails and documents given to you by the Miller Firm,
 25       Q. You have not reviewed Dr. Heydens' deposition;     25   correct?


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  1      A. Yes, correct.                                        1      Q. (BY MR. HOLLINGSWORTH) Okay.
  2      Q. Your opinions on Mr. Rowland are based on            2      A. I mean, we have a lot to cover, right?
  3   company e-mails and documents as well as perhaps some      3      Q. Could you give me a brief summary?
  4   FOIA e-mails given to you by the Miller Firm or            4      A. Sure. All agricultural-use pesticides that
  5   otherwise available online, correct?                       5   are being used on food crops first have to have a
  6      A. Well, let's be clear here. I mean, I don't --        6   tolerance established. In order to establish the
  7   I've never met Jeff Rowland. I've never talked to him.     7   tolerance the -- a number of studies are required to
  8   I don't really have an opinion on him. I do have an        8   determine the chronic toxicity of the -- of the
  9   opinion about what his role was in the EPA review of       9   pesticide following expected dietary and/or drinking
 10   glyphosate oncogenicity, and I base that opinion on his   10   water exposure from labeled uses of the pesticide.
 11   own statements to the -- for the most part, either        11         This entails basically the entire chronic
 12   statements by him or statements by Monsanto scientists    12   database that we've been talking about and the
 13   and representatives about him. So it -- it's less of      13   establishment of a chronic reference dose and also the
 14   an opinion and -- and more of just a factual accounting   14   determination of whether a pesticide is a -- possibly
 15   of the exchanges that -- and communications that          15   an oncogen.
 16   occurred between them.                                    16         The other data required to establish a
 17      Q. You reviewed company documents and e-mails on       17   tolerance is residue chemistry data that basically
 18   Drs. Farmer, Heydens, Saltmiras, Goldstein and            18   involves the methods and techniques to measure the
 19   determined what their feelings were, what their           19   amount of the pesticide that is present on or in the
 20   knowledge was and what their interpretations of the       20   food after harvest as the food leaves the farm gate.
 21   scientific issues were, correct?                          21   This entails a -- a number of studies that relate to
 22      A. Correct.                                            22   the environmental fate and the breakdown of the
 23      Q. And that was based entirely on documents given      23   pesticide, and also the companies are required to
 24   to you by the Miller Firm, correct?                       24   develop and submit to the agency an analytical method
 25      A. I -- I may have had a few of these e-mails          25   that is sufficiently sensitive to detect the pesticide


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  1   from other sources, but by far the majority of the         1   at a level or above the requested tolerance.
  2   documents that I reviewed were Bates stamped and -- and    2         So that's the tolerance side of things.
  3   disclosed by Monsanto's part of the discovery process      3         In order to get a registration, which is also,
  4   and provided to me by the Miller Firm.                     4   of course, required prior to the EPA issuing a label
  5       Q. Have you reviewed any of the legal briefing in      5   that would allow the commercial sale of the product, in
  6   this case?                                                 6   order to get a registration there's a number of other
  7       A. I think I read the -- the initial complaint         7   data requirements that are -- are necessary that EPA
  8   and perhaps the revised complaint, you know, a year ago    8   uses and assesses to make judgments about what sort of
  9   or so and very little of the other briefings. I know       9   single word and cautions and use rates and restrictions
 10   there's a substantial number of motions and responses,    10   on application equipment and many other factors that
 11   but I have not focused on them, no.                       11   are included on any pesticide label.
 12       Q. When you say the "complaint," that's the           12         So those -- the -- the -- most of the studies
 13   complaint in another case in California, not the          13   and data that a company develops and submits to the
 14   Peterson/Hall complaint; is that correct?                 14   agency are done either in the course of supporting a
 15       A. That's correct.                                    15   tolerance petition leading to the establishment of
 16       Q. So I'm correct in stating that you haven't         16   tolerances or in support of the registration action
 17   reviewed the Peterson/Hall complaint?                     17   which would entail a certain number of crops, certain
 18       A. That -- that is correct.                           18   types of application equipment, various restrictions,
 19       Q. What sort of information does someone at EPA's     19   etcetera.
 20   OPP rely upon in approving registration of a pesticide    20      Q. Thank you. How about you, when you're
 21   and the continued registration of a pesticide?            21   reviewing the safety of a pesticide, do you review
 22       A. That's an awfully open-ended question, sir.        22   those same things that EPA reviews?
 23       Q. Do you think you can answer it?                    23      A. It -- well, first of all, safety of a
 24             MR. LITZENBURG: Object to form.                 24   pesticide is a very broad question. Sometimes I have
 25       A. Well, I'm not sure it's worth the time.            25   been asked to assess the safety of pesticides relative


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  1   to birds, other times to fish, sometimes to people,        1   litigation reviews company e-mails in conducting a
  2   sometimes to other crops from drift and crop damage.       2   human health assessment of a pesticide, correct?
  3   So there's a -- a very different set of data, a very       3       A. No, I don't -- I don't know that as a general
  4   different set of EPA reviews and actions, a very           4   rule. The general public wouldn't have access to the
  5   different set of scientific issues that arise in the --    5   e-mails, but if they did, they often would be quite
  6   in the course of assessing these different components      6   interested in them. Are you -- I don't quite
  7   or aspects of safety.                                      7   understand your question perhaps.
  8        Q. I appreciate that and thanks for clarifying.       8       Q. EPA doesn't base its review and approval of a
  9   I'll ask a better question. When conducting a review       9   registrant's pesticide based on a review of company
 10   of a pesticide's human health assessment --               10   e-mails, correct?
 11        A. Okay.                                             11       A. Well, they get a lot of e-mails from the
 12        Q. -- what type of materials does Dr. Benbrook       12   company themselves so they would clearly take into
 13   typically rely upon?                                      13   account whatever the company is communicating to them
 14        A. The -- certainly the -- whatever subchronic       14   or transmitting to them over e-mail. But no, the
 15   studies are -- are in the record, the chronic feeding     15   EPA -- EPA toxicologists would not, for example, be
 16   studies that have been done, some of which are designed   16   aware of the candid expressions of concerns and
 17   to also include oncogenicity and others don't include     17   opinions among Monsanto policy officials and scientists
 18   oncogenicity, certainly the database that relates to      18   that is -- that is contained in the discovery record of
 19   reproductive and -- and birth defects or whether the      19   this case, no, they would not -- they would not
 20   pesticide has the potential through mutagenicity or       20   routinely have access to that information.
 21   teratogenicity to influence the -- the development of a   21       Q. And outside your work in this litigation or
 22   fetus during a woman's pregnancy or in the first few      22   other litigation, you do not rely on company e-mails in
 23   years of life, and then the battery of -- of acute        23   reviewing the human health assessment for a particular
 24   studies that are done that basically test, you know,      24   pesticide, correct?
 25   how much of the pesticide is required to actually kill    25       A. Not unless I had them.


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  1   a mouse or a rat or some other organism setting what's     1       Q. You agree that the label review manual nor any
  2   called the lethal dose 50 or the dose at which 50          2   FIFRA regulations or EPA guidelines instruct EPA
  3   percent of the animals in a -- in a particular study       3   personnel to review company e-mails when registering or
  4   are killed.                                                4   re-registering a pesticide, correct?
  5         So I would look at all those -- those aspects.       5       A. If I understand your question correctly,
  6   I would also try to get an initial feeling of exposure.    6   someone in the registration division or the tox
  7   There's a number of pesticides where there's virtually     7   division that has raised a question or requested a
  8   no exposure, so it kind of doesn't matter too much how     8   document from a registrant and gets it from the
  9   toxic they are if there's no exposure. You know, an        9   document via e-mail, yes, they would review those
 10   example would be, you know, a pheromone, you know,        10   e-mails.
 11   where there's a tiny amount of it put out in a field      11       Q. Beyond communications with EPA with respect to
 12   and there's really no circumstance leading to human       12   fulfilling the registration requests and data
 13   exposure to a pheromone, so there isn't -- there isn't    13   requirements, EPA would not rely on internal company
 14   a -- much of a need to look too deeply at the -- at the   14   e-mails in conducting its human health risk assessment,
 15   toxicological database. In fact, this is why the EPA      15   correct?
 16   doesn't even require tox studies on certain of that       16       A. Well, they don't -- they don't typically ask
 17   type of semiochemical.                                    17   for them or have them, but I think if they did have
 18      Q. Now, those studies that you would review in         18   them they would probably often find them of
 19   conducting a human health assessment of a pesticide,      19   considerable interest.
 20   you would review those alongside the label for the        20       Q. Do you know how many documents were produced
 21   pesticide; is that correct?                               21   in this case?
 22      A. The label's certainly an important document         22       A. I don't know the exact number, but it's a big
 23   that gives critical information on who might be           23   number.
 24   exposed.                                                  24       Q. You didn't have access to the full range of
 25      Q. Neither the EPA nor Dr. Benbrook outside of         25   documents so you could conduct your own searches of the


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  1   database, correct?                                         1       A. Correct.
  2       A. No, I -- I did have access to it and I did          2       Q. You mentioned that you conducted your own
  3   some of my own searches and, you know, it was a -- it      3   search. You had access to the full database of
  4   was a way that I found some of the documents that I        4   documents produced in this case?
  5   relied on, but for the most part, I would send an          5       A. Correct. Well, let me just say I had access
  6   e-mail to either Mr. Litzenburg or Mr. Travers that --     6   to an internal document management system, and it was
  7   the two individuals with the Miller Firm that I've had     7   my understanding that all the documents were in it,
  8   most of my communication, and I've said to them, "Well,    8   but, you know, obviously I don't have detailed
  9   I've read this," one of the Bates stamps documents that    9   knowledge of the people that were managing that
 10   talks about an issue, and it might make reference to a    10   electronic database, but it was represented to me that
 11   PowerPoint presentation that had been made at a meeting   11   it -- it was fairly comprehensive.
 12   or it might make reference to some other document or      12       Q. Do you have your report with you,
 13   some study that Monsanto had -- had done that I wanted    13   Dr. Benbrook?
 14   to learn more about to see if it shed further light on    14       A. No, I didn't bring anything.
 15   the -- the communication that was happening in that       15       Q. I'm not going to mark this.
 16   particular Bates-stamped document.                        16              THE WITNESS: I'm not breaking any rules
 17         So I would send an e-mail to Mr. Litzenburg or      17   of civil procedure by having a cookie during the
 18   Mr. Travers and say, "See the date and the document,"     18   deposition, am I?
 19   and I'd give them the Bates number and I say, "It         19       Q. (BY MR. HOLLINGSWORTH) Just let you refer to
 20   mentions a PowerPoint. Is the PowerPoint in the           20   it --
 21   record? If so, please send it to me." I probably sent     21       A. Okay.
 22   over 50 e-mails like that over the six, seven months      22       Q. -- as you want to. I'll refer to my copy over
 23   that I was trying to -- trying to figure out a way how    23   here.
 24   to get through this record.                               24              MR. LITZENBURG: That's just the Lee
 25         I mean, this is a massive record, and I -- I        25   Johnson report?


                                                Page 67                                                        Page 69
  1   am well aware that I have not reviewed anywhere near       1           MR. HOLLINGSWORTH: Correct.
  2   the totality of it, and so I felt it was my obligation     2           MR. LITZENBURG: Okay. Are you marking
  3   to try to, as effectively as I could with the time that    3   it?
  4   I had, track down the documents that seemed most           4             MR. HOLLINGSWORTH: No, I'm not going to
  5   important. So I did some of my own searches and got        5   mark it for confidentiality reasons.
  6   some of them that way, and in other cases I sent           6      Q. (BY MR. HOLLINGSWORTH) At page 189, you note
  7   e-mails to -- to Mr. Litzenburg and Mr. Travers, and       7   in your report: In the records I have reviewed I have
  8   in -- and generally they were able to find what I asked    8   not encountered a single example of a person working
  9   for. And then they would e-mail it to me and then I        9   for Monsanto who reacted to a new pesticide law or
 10   would take it from there.                                 10   regulatory requirement by assessing where and how
 11       Q. If you wanted documents on a particular issue,     11   compliance might make the company's products inherently
 12   you would often send an e-mail to the Miller Firm and     12   safer or reduce the frequency of high-exposure
 13   ask for more company documents on that subject, they      13   application scenarios. Correct?
 14   would conduct a search and then return you a search       14       A. Uh-huh.
 15   that lined up with the documents you requested. Is        15      Q. You never conducted a search for records
 16   that fair?                                                16   showing Monsanto seeking to make its products
 17       A. They would -- they would e-mail the documents.     17   inherently safer, did you?
 18       Q. Sure.                                              18             MR. LITZENBURG: Object to form.
 19       A. Yeah, correct.                                     19       A. Hundreds of the documents that I reviewed were
 20       Q. But is that -- is that fair? Is that how it        20   certainly relevant to that -- that topic. It was
 21   would go that you would request more company e-mails or   21   Monsanto's responses to requirements or requests from
 22   documents on a particular issue, you would ask the        22   regulatory agencies primarily in the US and in Europe
 23   Miller Firm for more documents on that issue, they        23   and their efforts to assure that the -- that the
 24   would conduct a search and then e-mail those documents    24   scientific database, both company-generated and
 25   to you; is that correct?                                  25   submitted and external open scientific community


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  1   database, supported their quote/unquote freedom to         1   believe around 2010 as -- the details are in my -- in
  2   operate, which is their code word inside the company       2   my report, the company officials had agreed that they
  3   for protecting any registration that they have for any     3   -- they needed to phase out the use of that POEA
  4   of their products to assure that there's no change in      4   surfactant to reduce human health risk in Europe, and
  5   their regulatory status that might limit their market      5   they did so, and I believe by 2012 there were very few,
  6   share.                                                     6   if any, Monsanto brand Roundup herbicides for sale in
  7       Q. (BY MR. HOLLINGSWORTH) Product stewardship,         7   any country in Europe that still had that widely
  8   did you conduct a search for Monsanto's product            8   recognized high-risk surfactant, but to me the fact
  9   stewardship efforts in this case?                          9   that they did not make the corresponding change in any
 10       A. Yes.                                               10   Roundup product in the United States, in Canada, in
 11       Q. And what did that search return?                   11   Brazil, in Argentina, or as far as I know anyplace else
 12       A. Well, there's multiple documents that address      12   in -- in the world really was a -- a serious violation
 13   to one degree or another the -- what the company felt     13   of this pledge that they had made to do whatever they
 14   its stewardship obligations were, but the documents       14   can to assure that their products are as safe as
 15   that I felt were most important and germane to those      15   possible.
 16   were Monsanto's own discussion and statements about       16       Q. Sir, with respect to POEA and what went on in
 17   their -- their stewardship obligations, their             17   Europe, you have nothing -- you have seen nothing that
 18   participation in various industry agreements that         18   indicates in either the company documents or what
 19   provide kind of a code of ethics, code of practice        19   you've found online that any concern about POEA was
 20   relative to their obligation to people that buy their     20   related to the carcinogenicity of glyphosate, correct?
 21   products and people that may be affected by them.         21       A. Specifically to carcinogenicity, no, but often
 22          At -- at multiple times over the last 20 years     22   specifically to genotoxicity and because the
 23   I've reviewed in detail documents on the Monsanto         23   genotoxicity determination was so integral to the
 24   website where there's always places where they talk       24   weight of evidence judgment about oncogenicity given
 25   about their pledge to stewardship, their pledge to        25   the -- the range of data from the animal studies and


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  1   product safety, their pledge to use the best and most      1   the growing body of epi studies, Monsanto's concern
  2   recent science to ensure that the products that they're    2   about the scientific communities' and regulators' view
  3   selling to their customers work as best as -- as best      3   of the genotoxicity of glyphosate was integral to and
  4   as possible and are as safe as possible and that           4   very significant in the -- in the judgments about
  5   they -- they leave no stone unturned in the -- the         5   oncogenicity.
  6   pledge that they make to their customers.                  6       Q. Sir, the issue with POEA in Europe, that
  7         You know, Monsanto has throughout this time          7   started with respect to some of the German regulators'
  8   period had a very substantial PR and outreach campaign     8   concerns about POEA, correct?
  9   and presence, and I -- I feel that the -- you know, the    9       A. No, I don't believe the Germans were the first
 10   purest articulation of that are the -- these parts of     10   ones.
 11   their website where they talk about it, spell it out in   11       Q. Who is --
 12   writing, so I've reviewed multiple renditions of that     12       A. I think the -- I think the French and the
 13   over the years.                                           13   Italians were quite aggressive and early in raising
 14      Q. And not just on the company's website but           14   these concerns, and because Germany was the rapporteur
 15   internal documents you reviewed, you agree that over      15   country for the EU-wide reassessment and
 16   the last 20 years, Monsanto certainly makes efforts       16   re-registration of glyphosate-based herbicides, the
 17   with respect to product stewardship and ensuring that     17   questions that the Italians and the French were raising
 18   their products are safe, correct?                         18   inevitably were communicated to the Germans, and
 19       A. They certainly were forced to make some            19                       in one of his many e-mails to Heydens
 20   efforts in Europe because of the more aggressive          20   and Farmer and -- and others in Monsanto headquarters
 21   posture that European regulators took leading to the      21   in -- in St. Louis would talk about how their -- they
 22   company finally agreeing to phase out the use of the      22   were being challenged by the Italian and the French
 23   known high-risk surfactant polyethoxylated amine or       23   regulators and that this was inevitably going to be
 24   POEA, POEA, which was a -- which was a very significant   24   also taken up by the Germans and that they would
 25   regulatory concession on the part of the company, and I   25   ultimately, in             opinion, be forced to remove


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  1   POEA from their Roundup products across the continent.      1   based on studies on pure glyphosate. They knew that
  2          And his position, which I think was concurred        2   they were applying formulated products.
  3   with by several of the other participants in this           3         So when they learned from credible
  4   discussion that were Monsanto employees based in            4   peer-reviewed published studies and especially dozens
  5   Europe, they all took the position why don't we do this     5   of them, they got -- they were -- they became very
  6   worldwide? You know, why should we go forward with a        6   concerned, and that's what -- that's what was the big
  7   difference in how we formulate and represent our            7   concern inside Monsanto and it was the big concern
  8   products in Europe compared to the US? Doesn't that,        8   among the regulators and it's what, you know,
  9   you know, invite questions?                                 9   ultimately forced Monsanto to drop the POEA surfactant
 10          And yes, I think it does invite questions, and      10   and replace it with others that did not have the same
 11   I -- I highlight what -- what I believe was a serious      11   potentiation effect on the finished formulated
 12   breach of Monsanto's stewardship pledge to not provide     12   herbicide.
 13   to farmers in Canada, the US and Mexico access to a        13       Q. I understand that, but to be clear, European
 14   safer product that they already had agreed they would      14   regulators' initial concerns were not related to cancer
 15   do in Europe.                                              15   with respect to POEA?
 16       Q. Sir, with respect to the French, Italian and        16       A. I -- I just don't agree with you that any
 17   German concerns about POEA in Europe, that stemmed from    17   regulator that had been working on the glyphosate case,
 18   cases of intentional or accidental ingestion of            18   whether in the course of re-registration in Europe or
 19   glyphosate producing various respiratory effects and       19   in the US, would separate in their mind the
 20   similar health effects, not cancer effects, correct?       20   genotoxicity database from the oncogenicity database
 21       A. Part -- I would agree with part of your             21   because they're very related as obvious when IARC came
 22   question. A concern directly over cancer is not            22   out with its classification in 2015, and really the big
 23   prominently featured in any of the e-mails that I          23   change and the -- the primary reason that IARC
 24   reviewed. They -- all of the e-mails that I reviewed       24   surprised so many people was the -- what they regarded
 25   on this topic reference their concern of a change in       25   as the strength of the genotoxicity data, and I think,


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  1   the position of the European regulators on the question     1   you know, beginning as -- even in the early 2000s,
  2   of genotoxicity. The particular incident that you're        2   these were the issues that regulators in the EU were
  3   talking about that -- that is in the record is talked       3   pressing Monsanto employees based in Europe on and what
  4   about in           in several of his e-mails where there    4   led to these -- these discussions.
  5   was a -- I think there was -- one was accidental,           5         So I -- I simply don't agree that either the
  6   another somebody tried to commit suicide, and the           6   European regulators or the concerns inside the company
  7   regulators had kind of case histories of that.              7   were not related to oncogenicity. I think -- I think
  8         Yes, those -- those were part of what these           8   they were related to oncogenicity because they knew
  9   European regulators had questions about, but was            9   that on a weight of evidence judgment the genotox
 10   definitely not what was driving their concern. What        10   database would play a big role. In fact, if you read
 11   was driving their concern was the growing body of          11   some of the e-mails and the statements that
 12   literature done predominantly by European scientists, I    12   particularly Heydens made in several of the e-mails,
 13   think it's important to note, that reported that           13   it's pretty clear he says, "Well, we're fine on
 14   formulated glyphosate-based herbicides were five times,    14   glyphosate. Even on the genotoxicity database, we'll
 15   ten times, 100 times more toxic than the pure              15   win that debate, but we're in big trouble on the
 16   glyphosate active ingredient in a variety of different     16   formulated product, we're vulnerable there."
 17   organisms and -- and testing systems and -- and that       17         That -- that statement is made half a dozen
 18   any assessment of worker exposure, particularly workers    18   times in the record, and for them internally, when they
 19   that used handheld or backpack sprayers or applications    19   don't -- when they don't suspect anybody is going to be
 20   where they weren't in an enclosed cab with an air          20   listening, for them to be so candid about their concern
 21   filtration system, where all of the regulators knew        21   about this new science, I think speaks volumes to, you
 22   that those were the high-exposure scenarios, they --       22   know, what they knew in their -- since this -- we're
 23   these regulators became very concerned because they        23   talking about stewardship and their obligations, I
 24   knew that applicators and handlers weren't spraying 100    24   think it's highly relevant and it was an important part
 25   percent glyphosate as their whole tox database was         25   in why I reached some very harsh opinions about


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  1   Monsanto's behavior in this particular case.               1   of the chronic studies on formulated glyphosate
  2       Q. Sir, you mentioned at one point that the whole      2   herbicides would have cost Monsanto probably ten
  3   tox database is based on the active ingredient, but EPA    3   million bucks, but frankly, for the highest-selling
  4   and foreign regulators certainly consider with respect     4   pesticide in history, a product they were making over a
  5   to genotoxicity, for example, genotox tests on the         5   billion dollars a year in sales, spending ten million
  6   formulated product as well, correct?                       6   dollars to settle this growing concern about whether
  7       A. When I say the tox database, I'm primarily          7   the formulated products were more toxic and possibly
  8   referring to the core long-term -- most of them            8   carcinogenic would have been a prudent investment, but
  9   long-term feeding studies that are used to establish       9   it's never been done.
 10   the chronic reference dose, make the decision whether     10       Q. Sir, I was just asking what the regulators
 11   the chemical's an oncogen or not an oncogen and assess    11   consider in conducting their risk assessment, and they
 12   reproductive and birth defects. That's the chronic tox    12   certainly consider genotoxicity studies on the
 13   database, not the acute or six-pack set of studies that   13   formulated product both by the registrants and by
 14   I talked with Mr. Cople about quite a bit in the          14   independent scientists in the open literature, correct?
 15   deposition three months ago that are done on the          15       A. I don't know --
 16   formulated product and which EPA requires in order to     16             MR. LITZENBURG: Form, asked and
 17   determine what specific single words and precautions      17   answered.
 18   about eye exposure, skin irritation to put on the label   18       A. I don't know of any genotoxicity studies
 19   of each formulated product.                               19   submitted by the registrants to EPA on formulated
 20         So there -- there is some data and some             20   product. There may be some in the record that I
 21   assessment of formulated product-specific risks. We       21   haven't seen. I'd be very interested in seeing them,
 22   talked quite a bit about it in the last deposition, and   22   but I don't think that any of the -- I don't believe
 23   I acknowledge that that's useful science and it's good    23   that EPA asked Monsanto to -- or any of the other
 24   that they did it, but those studies do not include        24   companies to do them.
 25   assessments of genotoxicity, of metabolic or              25       Q. (BY MR. HOLLINGSWORTH) Worldwide regulators


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  1   reproductive effects or cancer because those all entail    1   in conducting their risk assessment you'll at least
  2   long-term -- longer-term studies that would be done        2   agree consider genotoxicity on the formulated product
  3   with a formulated product as opposed to the active         3   conducted by independent scientists on the open
  4   ingredient.                                                4   literature, correct?
  5         And the -- again, one of my strong opinions          5      A. That is correct. And it's exactly why some of
  6   expressed in the report is that once Monsanto realized     6   the European regulators became much more concerned than
  7   and knew that its formulated product was more toxic        7   they had been in the past and requested from Monsanto
  8   than its active ingredient, it had an obligation to its    8   steps to reduce the risk. And that started, as I said,
  9   users to redo at least some of its chronic studies with    9   around 2000.
 10   formulated product to determine whether they really       10      Q. With respect to whether Monsanto conducted any
 11   were riskier or not. They -- they certainly were          11   genotoxicity tests on the formulated product, did you
 12   afraid. It's clear from the record they were concerned    12   conduct a search for those tests? Did you ask the
 13   that if they did do those studies that they -- the        13   Miller Firm to conduct a search for those tests?
 14   studies would show that, in fact, the formulated          14      A. There was so much in the record around the
 15   glyphosate-containing herbicides were more toxic than     15   Dr. Parry consultancy and his work for Monsanto and
 16   glyphosate alone, and that's why they moved heaven and    16   their internal deliberations about what to do with
 17   earth to never do those studies and discouraged any       17   Dr. Parry's report, which was obviously not welcomed --
 18   regulator around the world from doing those studies.      18   the conclusions were not welcomed by Monsanto because
 19         And, in fact, I remember one of the -- one of       19   based on Dr. Parry's review of the peer-reviewed
 20   the e-mails from Donna Farmer where she said, "This is    20   studies available at the time, he concluded there was
 21   the agenda of some of the European regulators and         21   evidence that -- that glyphosate and glyphosate-based
 22   activists, they want us to do chronic studies on our      22   herbicides were genotoxic. And -- and he did in his
 23   formulated products and we have to resist that." And,     23   report emphasize that the data was much stronger on
 24   you know, in my opinion, yes, it would have imposed       24   glyphosate-based herbicides, although, you know, when
 25   additional costs on the company. To redo three or four    25   Parry did his review, there were only two or three of


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  1   these genotox studies in the literature on formulated      1   they -- they -- they had never done it, and one of the
  2   product. Today there's probably over two dozen, so         2   reasons they never did it is they knew that if they did
  3   the -- the database has rapidly evolved.                   3   do it and the studies showed a positive response, they
  4       Q. Right. And you discussed Dr. Parry and              4   would be obligated under 6(a)2(b) of FIFRA to submit it
  5   genotoxicity studies on the formulated product, those      5   to the -- to the EPA.
  6   type of issues, for at least a quarter of your 207-page    6         Their -- their policy clearly was don't look,
  7   report. Is that fair?                                      7   don't ask, don't do the studies and just hope that they
  8       A. It's -- yeah, it's an important topic,              8   can discourage regulators around the world from
  9   correct.                                                   9   considering data on formulated product, which Monsanto
 10       Q. So wasn't it important to you to track that        10   regarded as a grave threat to the current registration
 11   all the way through and determine whether Monsanto        11   status of glyphosate-based -- their Roundup brand
 12   conducted the studies that Parry recommended on the       12   glyphosate herbicides around the world. It was a huge
 13   formulated product?                                       13   concern of theirs.
 14       A. Oh, I did. I absolutely did and it's in my         14         The record is -- I didn't need any more
 15   report. They -- they did not do the studies that          15   documents to understand that the -- both the nature of
 16   Parry -- Dr. Parry recommended, and the -- Heydens        16   the concern and the depth of the concern, and the
 17   makes it pretty clear why in the penultimate e-mail       17   reason I don't need any other documents is the
 18   that -- that ended this -- what was -- six, six or        18   principal leaders responsible for the toxicology
 19   eight months after Parry submitted -- he submitted two    19   database and its presentation to regulators, its
 20   reports. One was his assessment of the published          20   interactions with the scientific community debated all
 21   studies where he concluded that approximately half the    21   of these issues and discussed them among themselves in
 22   studies had valid indications of genotoxicity and the     22   incredible depth over many, many years, and I reviewed
 23   other half did not, and he determined that I think        23   the record and it's -- it's just very clear to me
 24   about six of them, he just couldn't tell because they     24   what -- where they were at, what they were concerned
 25   weren't -- they weren't well designed and conducted       25   about and what they did as a result.


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  1   studies, but then he submitted a second report where he    1      Q. You reviewed hundreds of e-mails and company
  2   laid out what he felt Monsanto should do to clarify, to    2   documents discussing Parry or genotoxicity on the
  3   confirm, to dispel concern about genotoxicity. And         3   formulated product, but you did not conduct a search
  4   it's a quite lengthy document. It lays out, you know,      4   for any primary studies conducted by Monsanto on the
  5   I think 15 or 20 different studies, and in most cases      5   formulated product either in the US or abroad, did you?
  6   he recommended it be done on glyphosate and formulated     6      A. If you're asking did I query the database for
  7   glyphosate products, you know, with the -- the major       7   the results of, say, the Ames studies that Monsanto had
  8   surfactants which, of course, would have included at       8   done in the '70s and '80s all -- the first round, no, I
  9   the time POEA. And, indeed, I think Dr. Parry would        9   didn't do that. I have read summaries of what that --
 10   have been quite pleased if Monsanto had hired him and     10   that body of work showed and was quite convinced that
 11   his lab to do some of that work, but Monsanto decided     11   the summaries presented in multiple EPA documents of
 12   not to move forward with it.                              12   that first generation of mutagenicity studies were
 13       Q. Right. Given your reliance on Dr. Parry and        13   accurate and reflected what the studies actually
 14   genotox on the formulated products, wouldn't you want     14   showed. I didn't feel any need to query the database
 15   to make absolutely certain via your own search or         15   to get the raw data and look at it.
 16   searches conducted by the Miller Firm that Monsanto did   16      Q. Your opinions on Parry and whether or not
 17   not, in fact, conduct genotoxicity studies on the         17   Monsanto conducted a genotoxicity study on the
 18   formulated product such as those that Dr. Parry           18   formulated product are based entirely on e-mails and
 19   recommended?                                              19   perhaps other company documents rather than the primary
 20       A. As I said, I reviewed hundreds of e-mails and      20   studies, correct?
 21   correspondence -- and communications inside Monsanto      21             MR. LITZENBURG: Object to form.
 22   about the genotox database, and I don't remember a        22      A. I -- I have to say these are not opinions.
 23   single reference to a study that Monsanto had done, a     23   These are things that I read in the words of Monsanto
 24   genotox study on formulated product. I know they had      24   scientists and simply are taking at face value. It's
 25   thought about it, they had considered doing it, but       25   not my interpretation or a weight of the evidence


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  1   judgment about what these Monsanto scientists and          1       A. Certainly not. You know, they're -- Monsanto
  2   corporate officials were saying or thinking. I simply      2   is sending such data to regulatory authorities around
  3   read their own words, which are as clear as can be in      3   the world. I don't know what the total number is, but
  4   the record of this case, in -- certainly on these          4   it's got to be over 100, and so no, I didn't -- didn't
  5   questions about genotoxicity and their concern about       5   try to track all that. It would have taken a team of
  6   formulated products and their reaction to the Parry        6   50 people several years to do that. No, I didn't do
  7   report, it's -- they're not opinions. I'm simply --        7   that. It wasn't feasible. It wasn't needed either
  8   and often quoting verbatim what the Monsanto people        8   because, again, as I said, the internal record is quite
  9   said.                                                      9   clear what -- what Monsanto did and why they did it
 10      Q. You based your opinions on Parry and                10   relative to the testing of formulated product for
 11   genotoxicity studies on the formulated product without    11   genotoxicity.
 12   reviewing the 2017 OPP issue paper on the carcinogenic    12          And, you know, what -- what EPA said in a 2017
 13   potential of glyphosate in any detail, correct?           13   report, you know, will -- would not affect and has not
 14      A. Correct.                                            14   affected, you know, certainly my opinion because
 15      Q. And you did not review the 2017 OPP issue           15   there's -- there isn't -- there is not a section in
 16   paper on the carcinogenic potential of glyphosate to      16   that report discussing this substantial database of
 17   determine whether there were any tests conducted by       17   Monsanto-commissioned studies on the genotoxicity of
 18   Monsanto on the formulated product, correct?              18   formulated product because they didn't commission the
 19      A. I didn't need to review that document to find       19   studies.
 20   that out because, as I said, I -- I had spent many,       20       Q. (BY MR. HOLLINGSWORTH) The internal record
 21   many hours reviewing the record and there -- there is     21   that you reviewed on the genotoxicity of formulated
 22   no discussion among any of the Monsanto scientists        22   products is based on company e-mails either given to
 23   about the results of such a study or the fact that they   23   you by the Miller Firm or your own search, correct?
 24   even did such a study, but there is multiple direct       24              MR. LITZENBURG: Object to form.
 25   statements to the effect that they will not do such       25       A. Correct.


                                                Page 87                                                        Page 89
  1   studies, they will not support such studies and they --    1       Q. (BY MR. HOLLINGSWORTH) And you did not
  2   they will actively engage with regulators to object to     2   specifically conduct a search for primary studies on
  3   and discourage them from requesting such studies. So       3   the formulated product either done by Monsanto in the
  4   it's -- it's very clear in the record what Monsanto has    4   US for stewardship purposes or for purposes of
  5   done relative to testing formulated product for            5   fulfilling regulatory requirements in other countries
  6   genotoxicity, and the answer is they -- they haven't       6   throughout the world, correct?
  7   done the tests internally because they were clearly        7       A. I interpret your use of the term "primary" as
  8   concerned about the consequences of the results of such    8   the raw data, and no, I didn't do a search for the raw
  9   studies.                                                   9   data.
 10       Q. Yes or no?                                         10       Q. You didn't do a search for the raw data or the
 11               MR. LITZENBURG: Object to form.               11   study summaries on the formulated product --
 12       Q. (BY MR. HOLLINGSWORTH) Did you review the          12   genotoxicity studies on the formulated product either
 13   2017 OPP issue paper on the carcinogenic potential of     13   done by Monsanto for stewardship purposes in the US or
 14   glyphosate to determine whether any of the tests on the   14   to fulfill regulatory obligations abroad, correct?
 15   formulated product -- genotoxicity tests recommended by   15       A. Well, I had them. I mean, those documents are
 16   Dr. Parry were, in fact, done by Monsanto?                16   all in the record that I reviewed. You know, drafts of
 17               MR. LITZENBURG: Asked and answered,           17   the -- the Monsanto summaries, the Monsanto
 18   object to form.                                           18   ghostwritten reviews on genotoxicity -- the record is
 19       A. No, I did not, and I didn't need to, as I          19   full of Monsanto's discussion of the genotoxicity
 20   said.                                                     20   database of which, of course, they're referring
 21       Q. (BY MR. HOLLINGSWORTH) Did you review any          21   primarily when they're talking about their own studies
 22   regulatory submissions to worldwide regulators            22   to genotox studies done on the parent active
 23   regarding these genotoxicity tests on the formulated      23   ingredient.
 24   product that you claim are so important?                  24          So, you know, I -- I had the documents. I
 25               MR. LITZENBURG: Object to form.               25   didn't have to do a review -- a search for them. I --


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HIGHLY                               Charles Benbrook, Ph.D.                                                     HIGHLY
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  1   I'm sure, as I said before, there had to have been many    1   of the extent of the raw database of genotox studies on
  2   other documents that I didn't review that are pertinent    2   formulated product and that based on the records that I
  3   to genotoxicity, but because there was such a              3   had and that I have requested and that I reviewed and
  4   consistent pattern in the communications and the issues    4   EPA documents, I was quite confident that there were no
  5   raised and the decisions that Monsanto made internally     5   such studies. So I -- I didn't -- I didn't conduct any
  6   about how to deal with genotoxicity, I didn't feel that    6   further searches or spend any additional time trying to
  7   there was anything important and new for me to learn       7   track down studies which I was quite confident didn't
  8   from doing more aggressive and thorough searches, and      8   exist.
  9   even if I had, I would have told the Miller Firm that      9      Q. You were quite confident studies didn't exist
 10   I'm sorry, I can't -- I can't do an expert report by      10   with respect to Monsanto's formulated product
 11   the third week in December and be prepared for the        11   genotoxicity studies based on your review of the
 12   deposition.                                               12   company e-mails given to you by the Miller Firm,
 13         I had a given amount of time to answer the          13   correct?
 14   questions presented to me by the -- by the Miller Firm    14      A. Correct.
 15   relative to this case. I -- I worked hard at it. I        15      Q. Sir, are you familiar with the EPA-required
 16   did my best. I reviewed a lot of documents, and           16   guideline testing that every pesticide product is
 17   there's some aspects of this record that I'm quite        17   required to go through before it's registered?
 18   confident that my opinions are well supported, and a      18      A. Yes.
 19   more thorough review of the record would simply provide   19      Q. Agree that FIFRA places the burden to
 20   additional support for them. There are other aspects      20   demonstrate the pesticide is safe on the manufacturers
 21   of the record that, you know, I -- I actually would       21   and registrants?
 22   like to have more time to study and in more depth and     22      A. Yes.
 23   perhaps I'll -- I'll have that occasion in the years      23      Q. Sir, you recall reviewing the December 12,
 24   ahead.                                                    24   2017 draft human health risk assessment in support of
 25       Q. I asked you whether you conducted a search for     25   registration review?


                                                Page 91                                                                  Page 93
  1   formulated genotoxicity studies conducted by Monsanto      1      A. Right, the one we discussed at length in the
  2   either for stewardship purposes or fulfilling              2   previous deposition.
  3   regulatory obligations abroad, and you said "I had         3      Q. You're familiar with that document, correct?
  4   them." You were not referring to the primary studies,      4      A. Yes.
  5   the primary genotoxicity studies on the formulated         5      Q. But you didn't think it was important to
  6   product, correct?                                          6   review it in any detail prior to the last deposition,
  7             MR. LITZENBURG: Form.                            7   correct?
  8       A. I'm -- I'm -- that's a multi-part question. I       8      A. No, I did not look at it in any great detail,
  9   think I've been very clear and very -- very open in        9   that's correct. I read the -- the summary and I looked
 10   discussing what I did. I don't understand your            10   quickly through it. I had a pretty good idea of what
 11   question. If you want to break it up and have us spend    11   was new in it and that there were -- was also no
 12   more time on this, let's do it.                           12   substantial change from multiple other EPA documents
 13       Q. (BY MR. HOLLINGSWORTH) That's fair. The            13   addressing the same topic, so I -- I didn't see any
 14   documents you reviewed regarding genotoxicity studies     14   point in rereading stuff that I had read multiple times
 15   conducted on the formulated product were made up of       15   in earlier EPA documents addressing the same topic.
 16   Monsanto Company e-mails rather than primary studies,     16      Q. And you haven't found the time to review it in
 17   correct?                                                  17   any -- anytime since your last deposition, correct?
 18       A. Monsanto didn't conduct any genotoxicity           18       A. Correct.
 19   studies on the formulated product, at least I've seen     19             MR. HOLLINGSWORTH: Can we mark this as
 20   no mention of it anywhere in the record, and I'm quite    20   Exhibit 1.
 21   certain in all of the discussions if they had done a      21              (Deposition Exhibit 1 was
 22   genotox study on a formulated product they would have     22              marked for identification.)
 23   said something about it because they -- they were         23       Q. (BY MR. HOLLINGSWORTH) The purpose and scope
 24   discussing in great depth this issue over a 15-year       24   of this document is stated in the first sentence. It
 25   period. So I -- I felt that I -- I was already aware      25   notes that EPA's health effects division assesses the


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HIGHLY                               Charles Benbrook, Ph.D.                                             HIGHLY
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                                                Page 94                                                        Page 96
  1   risk posed to humans from exposure to pesticide            1          There are hundreds of formulations of
  2   chemicals. The pesticide registration division asks        2   glyphosate-based herbicides, correct?
  3   the health effects division to evaluate hazard and         3       A. And even more labels covering products that
  4   exposure data and conduct dietary, occupational,           4   have almost the same formulation.
  5   residential and aggregate exposure assessments as          5       Q. Right. So in the case where products have
  6   needed to estimate the risks to human health that will     6   almost the -- glyphosate-based herbicides have almost
  7   result from all registered uses for glyphosate in          7   the exact same formulation, EPA has in some cases
  8   support of registration review.                            8   waived the requirement for the six-pack studies,
  9         Do you agree that's the evaluation EPA's             9   correct?
 10   health effects division is undertaking with this human    10       A. Correct.
 11   health risk assessment for glyphosate?                    11       Q. But certainly there is a sufficient underlying
 12       A. Yes, I do.                                         12   database for Monsanto's glyphosate-based herbicides
 13       Q. All registered uses is essentially referring       13   showing that it has satisfied the acute six-pack
 14   to the who, what, where, when and how that a pesticide,   14   requirements from EPA, correct?
 15   here Roundup, can be sprayed as approved by EPA and       15       A. I would agree with that.
 16   outlined in the product's label, correct?                 16       Q. The acute dermal toxicity, that's another part
 17       A. Correct.                                           17   of the acute six-pack studies, correct?
 18       Q. Please turn to page 29. This is toxicology         18       A. Correct.
 19   data requirements that I think we've referred to at       19       Q. It's required for all registered pesticides in
 20   some point today, correct?                                20   the US and Monsanto has conducted those studies with
 21       A. Correct. At some -- yeah, it's not perhaps         21   respect to glyphosate-based herbicides, correct?
 22   all of them, but it's the toxicology data requirements    22       A. Correct.
 23   for glyphosate and looks like it's the acute studies,     23       Q. Acute inhalation toxicity, that is a required
 24   the subchronic, developmental toxicity chronic,           24   test, but EPA has waived acute inhalation study with
 25   mutagenicity, delayed neurotox, the general metabolism,   25   respect to glyphosate-based herbicides, correct?


                                                Page 95                                                        Page 97
  1   dermal penetration and immunotox study requirements,       1      A. Certainly, yes, in most cases. I wouldn't be
  2   correct.                                                   2   surprised if there might be one in the record
  3       Q. I'm going to mark as Exhibit 2 something that       3   somewhere, but...
  4   you've also reviewed previously, I think, Dr. Benbrook.    4      Q. Sure.
  5              (Deposition Exhibit 2 was                       5      A. Yeah.
  6              marked for identification.)                     6      Q. Primary -- primary eye irritation is a study
  7       Q. (BY MR. HOLLINGSWORTH) And this is the Code         7   required for every formulated pesticide product, and
  8   of Federal Regulations, specifically Subpart F,            8   Monsanto has conducted that study with respect to
  9   Toxicology Section 158.500, toxicology data                9   glyphosate-based herbicides, correct?
 10   requirements table, correct?                              10      A. Correct.
 11       A. Correct.                                           11      Q. Primary dermal irritation, Monsanto has
 12       Q. And this sort of goes hand in hand with the        12   conducted that study with respect to its
 13   toxicology data requirements on page 29 of the human      13   glyphosate-based herbicides, correct?
 14   health risk assessment, correct?                          14      A. Yes.
 15       A. Yes.                                               15      Q. Dermal sensitization, Monsanto has conducted
 16       Q. Okay. The oral -- the acute oral toxicity is       16   that study with respect to glyphosate-based herbicides,
 17   one of the required tests for any formulated product,     17   correct?
 18   correct?                                                  18      A. Yes, in most cases.
 19       A. Correct.                                           19      Q. So that's -- so that's the acute tox six-pack,
 20       Q. Monsanto conducted the acute oral toxicity for     20   and Monsanto has conducted the studies as required in
 21   its Roundup formulated product, correct?                  21   the acute tox six-pack for all of its glyphosate-based
 22       A. For some of them, yes, it's part of the            22   herbicides, correct?
 23   six-pack studies.                                         23      A. Subject to the caveat that we mentioned that
 24       Q. For -- you say "for some of them." EPA is --       24   some of the labels are so similar to others that EPA
 25   for some formulations -- strike that.                     25   waives them, but yeah, I think we're on the same page


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HIGHLY                              Charles Benbrook, Ph.D.                                             HIGHLY
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  1   with this.                                                1   for food, not required for nonfood, and it's on the TGA
  2       Q. Sure. Oral subchronic in the rodent, that's        2   and the end use product so it would be required for the
  3   required for every pesticide formulated product, and      3   food uses.
  4   Monsanto has satisfied that with respect to               4       Q. Sure. And there's certainly food uses for
  5   glyphosate-based herbicides, correct?                     5   glyphosate-based herbicides, correct?
  6       A. That's -- oral subchronic is done on the           6       A. Well, there's food uses of those
  7   active ingredient, not the formulated product.            7   glyphosate-based herbicide labels that include crop
  8       Q. Oh, thank you. So if we go back to our data        8   uses and directions for use on crops, but none of the
  9   table, 90-day oral rodent it says TGAI, which means       9   products that are part of this case or the Lee Johnson
 10   technical -- technical grade active ingredient,          10   case were agricultural. They were non-ag formulations
 11   correct?                                                 11   as part of the ITO portfolio of Roundup products.
 12       A. Which -- I'm looking at this table. You're        12       Q. Sir, I understand that there are plaintiffs in
 13   looking at a different one?                              13   this litigation that do use farm use or agricultural
 14       Q. Exhibit --                                        14   use products, and you'll agree that Monsanto has
 15       A. Is it the next page?                              15   conducted the 21-day dermal study on both its active
 16       Q. Exhibit 2, it's just making the point --          16   ingredient and the formulated product for
 17       A. Oh, okay.                                         17   glyphosate-based herbicides?
 18       Q. -- that you were making.                          18       A. Correct, yeah, I would agree that they would
 19       A. All right.                                        19   have had to do that.
 20       Q. It's just this -- these data tables,              20       Q. The 90-day inhalation study, that's required
 21   Dr. Benbrook, that shows whether it's technical grade    21   for all formulated pesticides, and Monsanto has
 22   active ingredient or the end use product.                22   conducted that study for glyphosate-based herbicides,
 23       A. Oh, okay, okay, okay, I'm with you.               23   correct?
 24       Q. Okay. Monsanto conducted the oral subchronic      24       A. What does CR stand for? Conditionally
 25   tests required by EPA for all of its glyphosate-based    25   required. I -- I'd have to go into the database to


                                               Page 99                                                       Page 101
  1   herbicides, correct?                                      1   look at what's -- what they did on that.
  2      A. Correct.                                            2       Q. Sir, Exhibit 1 on page 29 has the requirements
  3      Q. The oral subchronic nonrodent, that is another      3   and whether or not Monsanto satisfied those
  4   required test for EPA, but EPA here said it's not a       4   requirements.
  5   data gap because there is a chronic dog study in the      5       A. Okay, let's look there.
  6   database, correct?                                        6       Q. And the 90-day inhalation that's required for
  7      A. I'd have to look at the table to --                 7   every formulated pesticide product in the US has been
  8      Q. It's Footnote 2.                                    8   conducted by Monsanto for glyphosate-based herbicides,
  9      A. Okay, I would agree with that.                      9   correct?
 10      Q. Okay. 21-day dermal, that is a test required       10       A. Let me match it up with the -- is it -- are we
 11   by EPA that should be done both on the technical grade   11   talking inhalation rat?
 12   active ingredient and the formulated product, correct?   12       Q. 90-day inhalation.
 13      A. I -- I'd have to look at the -- the                13       A. Correct.
 14   requirements to make sure of that. I'm -- I'm not sure   14       Q. So with respect to the toxicity, the acute
 15   that's the case.                                         15   toxicity testing, you certainly can't say that
 16      Q. Sure. It's on page 2 of Exhibit 2.                 16   glyphosate-based herbicides haven't undergone toxicity
 17      A. So this is 21/28 day dermal --                     17   testing, correct?
 18      Q. Dermal --                                          18       A. And I never did.
 19      A. -- food, nonfood, so MP is manufacturing           19       Q. The subchronic testing that we just discussed,
 20   product. That would be the pure active ingredient and    20   oral subchronic for the rodent, nonrodent, 21-day
 21   EP is the -- what does EP stand --                       21   dermal, 90-day inhalation, those are all subchronic
 22      Q. End use product.                                   22   studies, correct?
 23      A. End use product, okay. So that's the --            23       A. Correct.
 24      Q. Meaning the formulated product, correct?           24       Q. And what is a subchronic study?
 25      A. Okay. So we're 21-day dermal, it's required        25       A. Typically a study of duration where the -- the


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  1   test organism is exposed to the test substance for         1   and -- and doesn't say anything there about whether
  2   between 70 and 90 days typically is the -- considered      2   it's required in formulated products, and if we look
  3   the subchronic range of study duration.                    3   over here at this one -- actually don't -- oh, yeah,
  4      Q. So you cannot say that Roundup formulations          4   here it is, they say technical grade active
  5   did not undergo subchronic toxicity testing as             5   ingredients, it's not -- it doesn't say that they're
  6   required, correct?                                         6   required in formulated product, and my guess is they
  7      A. No doubt some. Let's look at the other -- at         7   probably haven't been done on very many of them.
  8   the other list here. Some of them are conditionally        8       Q. Sure. But I'm just asking whether Monsanto
  9   required and others are certainly required, but again,     9   met the EPA requirement for developmental toxicity
 10   I'd have to do a more in-depth review to know exactly     10   studies as indicated in the toxicology data
 11   which -- you know, which labels were supported by which   11   requirements on page 29 of the human health risk
 12   ones, but across the whole port -- the whole portfolio    12   assessment.
 13   of Roundup labels, it wouldn't -- wouldn't surprise me    13       A. Correct, on the -- on the pure active
 14   a bit if they hadn't done each of these studies at        14   ingredient they did, yes.
 15   least once.                                               15       Q. Okay. And those studies conducted on rabbits,
 16      Q. Sure. And as indicated by EPA on page 29 of         16   once Monsanto has conducted that study for some
 17   Exhibit 1, toxicology data requirements, EPA has          17   representative formulations, you agree there's no point
 18   assured that Monsanto has conducted the required          18   subjecting a bunch more rabbits and killing more
 19   subchronic toxicity testing on glyphosate-based           19   rabbits to conduct those studies for every single
 20   herbicides, correct?                                      20   glyphosate-based herbicide, correct?
 21      A. On the technical, the technical material, yes.      21       A. The --
 22      Q. Sir, some of these subchronic studies are both      22             MR. LITZENBURG: Object to form.
 23   on the technical grade active ingredient --               23          Go ahead.
 24      A. Correct.                                            24       A. The premise of your question is incorrect.
 25      Q. -- and the end use product, correct?                25   You asked if Monsanto had conducted this develop --


                                              Page 103                                                       Page 105
  1      A. That's correct, some of them are.                    1   subchronic developmental study on a formulated
  2      Q. So EPA has indicated on page 281, toxicology         2   glyphosate herbicide that it would be inappropriate or
  3   data requirements, EPA has assured that Monsanto has       3   less important to test others. I don't believe that
  4   conducted the required subchronic toxicity testing on      4   they -- they did any such tests, and if they had -- and
  5   glyphosate-based herbicides including in some cases on     5   certainly if they had done it on a couple of the
  6   the formulated product, correct?                           6   significantly different formulations and had the data
  7      A. Correct.                                             7   and no concerns were raised with the data, I would
  8      Q. Developmental toxicity in the rodent, that's         8   totally agree with you that I would -- I would hope
  9   required for all pesticide products in the US, correct?    9   that the agency would waive requiring that same study
 10      A. Correct.                                            10   on similar formulated product where there's really no
 11      Q. Monsanto has conducted those studies for            11   significant new scientific insights to be gained. I
 12   glyphosate-based herbicides, correct?                     12   would totally agree with you.
 13      A. On the -- certainly on the active ingredient,       13       Q. (BY MR. HOLLINGSWORTH) Right, sir, and I'm
 14   yes.                                                      14   not trying to hide the ball or anything, and I realize
 15      Q. Developmental toxicity nonrodent, that's            15   that this is a study that has to be done on the
 16   required for all pesticide products in the US and         16   technical-grade active ingredient as indicated in the
 17   Monsanto has conducted those for glyphosate-based         17   data table on page 2. I'm just asking since Monsanto
 18   herbicides, correct?                                      18   satisfied that with respect to glyphosate as the active
 19      A. This is 8703700 B, correct?                         19   ingredient, it doesn't make sense to kill those bunnies
 20      Q. Correct.                                            20   over and over again each time a new formulated product
 21      A. Yeah, it -- definitely required on the              21   is registered, correct?
 22   technical -- technical glyphosate, on the next page       22              MR. LITZENBURG: Object to the form.
 23   they -- they're saying that 3700 B -- got the right       23       A. I think that it was -- especially after the
 24   number -- yes, is prenatal developmental study in         24   early 2000s when there was multiple other studies in
 25   rabbits, acceptable guidelines, blah, blah, blah,         25   the open literature showing that unfortunately,


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  1   formulated glyphosate herbicides are much more toxic in    1      A. Correct.
  2   a number of different ways and to a number of different    2      Q. Monsanto --
  3   organisms than the parent compound that I -- I think       3      A. For food use pesticides.
  4   EPA and -- and Monsanto should have conducted some of      4      Q. Monsanto satisfied that data requirement
  5   these subchronic studies on at least a few of the major    5   according to EPA, correct?
  6   formulations to determine whether, in fact, in the case    6      A. Yes.
  7   of this particular subchronic rabbit study that the        7      Q. Oncogenicity mouse, that's another requirement
  8   results -- either they would be essentially the same,      8   for all registered pesticides, correct?
  9   in which case there would be no need to do further         9      A. Correct.
 10   ones, or perhaps the studies would show that the          10      Q. Monsanto satisfied that data requirement
 11   formulated product was much more toxic, at which point    11   according to EPA, correct?
 12   that would have triggered several other steps no doubt    12      A. Yes.
 13   to try to get a solid empirical understanding of how      13      Q. Chronic/oncogenicity, that's a required test
 14   much more toxic the formulated products were compared     14   for any pesticide product, correct?
 15   to the parent active ingredient.                          15      A. Correct.
 16         Once those additional studies were done and         16      Q. And Monsanto satisfied it, correct?
 17   EPA scientists were convinced that they've looked under   17      A. For the active ingredient, yes.
 18   that rock and they've learned what there is to be         18      Q. Mutagenicity, gene mutation, bacterial?
 19   learned, then yes, I would hate to see a mouse, a rat,    19      A. How about we do all four at once?
 20   a rabbit, a monkey subjected to -- to any additional      20      Q. Sure. There's -- there's several different
 21   testing, but -- but I would not agree that -- that the    21   types of --
 22   fact that Monsanto had tested parent -- or essentially    22      A. Four.
 23   100 percent pure glyphosate in the subchronic study       23      Q. There's four different types of genotoxicity
 24   absolved or eliminated any need to redo subchronic        24   essentially, or mutagenicity studies required for
 25   studies of this sort and other subchronic studies on      25   registered pesticides, correct?


                                               Page 107                                                    Page 109
  1   the formulated product.                                    1       A. Correct.
  2       Q. (BY MR. HOLLINGSWORTH) Reproduction study is        2       Q. And Monsanto has conducted all of those
  3   a study that's required for all registered pesticides,     3   genotoxicity studies as required by EPA, correct?
  4   and EPA states in Exhibit 1 that Monsanto satisfied        4       A. Correct.
  5   that data requirement, correct?                            5       Q. Acute delayed neurotoxicity, that's not a
  6       A. Correct.                                            6   required study, correct?
  7       Q. So with respect to all of the reproduction          7       A. I'm sorry, could you --
  8   studies, the developmental, toxicity and reproduction      8       Q. Sure. I'm -- I'm on Exhibit 1 again.
  9   studies, Monsanto satisfied all those data                 9       A. So we're in this -- this table, right?
 10   requirements, correct?                                    10       Q. Now we're going to neurotoxicity.
 11             MR. LITZENBURG: Object to form.                 11       A. Okay.
 12       A. For the -- for the pure active ingredient,         12       Q. Acute delayed neurotoxicity, that's not a
 13   yes.                                                      13   required study, correct?
 14       Q. (BY MR. HOLLINGSWORTH) And that's all that's       14       A. Correct.
 15   required from EPA, correct?                               15       Q. 90-day neurotoxicity, that's not a required
 16       A. That is all that EPA required of them, yes.        16   study, correct?
 17       Q. Chronic toxicity rodent, that is another test      17       A. Correct.
 18   that's required for all registered pesticides, correct?   18       Q. Acute neurotoxicity screening battery in the
 19       A. Correct.                                           19   rat, that is a required study for any registered
 20       Q. Monsanto conducted those -- that chronic           20   pesticide, correct?
 21   toxicity rodent study for glyphosate-based herbicides,    21       A. Correct, yes.
 22   correct?                                                  22       Q. And Monsanto has fulfilled those data
 23       A. Yes, conducted several of them.                    23   requirements according to EPA, correct?
 24       Q. Chronic toxicity nonrodent, that's another         24       A. Yes.
 25   requirement for any registered pesticide, correct?        25       Q. 90-day neurotoxicity screening battery in the


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  1    rat, that is a required study for any registered          1   about. You've got an exhibit in your hand.
  2    pesticide, correct?                                       2      Q. I do. It's a different one.
  3        A. Yes, on the active ingredient.                     3             MR. HOLLINGSWORTH: Can we go off the
  4        Q. And Monsanto has fulfilled that data               4   record for a second.
  5    requirement according to EPA, correct?                    5             VIDEO OPERATOR: We are going off the
  6        A. Yes.                                               6   record. The time is 11:21.
  7        Q. General metabolism, that is a required study       7             (Recess taken.)
  8    for any registered pesticide, correct?                    8             VIDEO OPERATOR: We are going back on
  9        A. Yes, it is.                                        9   the record. The time is 11:21.
 10        Q. And Monsanto has fulfilled that data              10      Q. (BY MR. HOLLINGSWORTH) I'm going to mark an
 11    requirement for glyphosate-based herbicides, correct?    11   exhibit.
 12        A. On the technical active ingredient, correct.      12       A. 3.
 13        Q. Dermal penetration study, that is not a           13      Q. Number 3.
 14    required study for registering a pesticide, correct?     14             (Deposition Exhibit 3 was
 15        A. According to this table, yes.                     15             marked for identification.)
 16        Q. Amino -- is not, correct?                         16      Q. (BY MR. HOLLINGSWORTH) EPA requires product
 17        A. Yes, correct.                                     17   performance testing on all pesticide products, correct?
 18        Q. Amino toxicity, that is a required test for       18       A. Very, very limited. They no longer require
 19    registered pesticides in the US, correct?                19   efficacy data. I -- I think that's what you mean by
 20        A. Yes, it is.                                       20   "product performance," or is it some other aspect of
 21        Q. And Monsanto has satisfied that data              21   product performance that you're referring to?
 22    requirement, correct?                                    22      Q. It's -- it's what's going on here in 40 CFR
 23        A. For the technical ingredient, yes.                23   Section 158.400, product performance data requirements
 24        Q. Fair to say that Monsanto has satisfied all       24   table.
 25    toxicological data requirements for glyphosate           25       A. Uh-huh. (Witness reading document.) Looks


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  1   according to EPA?                                          1   like with the exception of some indoor use patterns,
  2      A. On the -- that they've imposed on either the         2   they're all not required.
  3   technical active ingredient or the formulated product,     3       Q. Do you agree that FIFRA allows risk to humans
  4   yes, they've satisfied the data requirements. I've         4   and the environment to be balanced by the benefits of a
  5   never claimed otherwise.                                   5   pesticide's use?
  6      Q. Now, those are the toxicology data                   6       A. That's a -- a way to characterize the basic
  7   requirements, but there's numerous other studies           7   standard in the -- the FIFRA statute, correct,
  8   required for registering a pesticide, correct?             8   balancing of risks and benefits.
  9      A. Yes.                                                 9       Q. Is product performance testing, testing of how
 10             MR. LITZENBURG: If you're moving off            10   well a product works, in this instance, how well it
 11   the six-pack or whatever, good time to take a             11   kills weeds?
 12   five-minute break?                                        12       A. Well, it certainly would be important testing
 13             MR. HOLLINGSWORTH: Sure.                        13   from the perspective of the farmer who's buying
 14             VIDEO OPERATOR: We're going off the             14   Roundup-based herbicides to kill weeds, sure, it would
 15   record. The time is 11:10.                                15   be useful.
 16             (Recess taken.)                                 16       Q. And that's what product performance testing
 17             VIDEO OPERATOR: We are going back on            17   looks at?
 18   the record. The time is 11:21.                            18       A. Typically, yes, does the -- does the product
 19      Q. (BY MR. HOLLINGSWORTH) EPA requires product         19   work against the target pest listed on the label, is it
 20   performance testing pursuant to 40 CFR Section 158.400,   20   efficacious.
 21   correct?                                                  21       Q. And do you claim Monsanto did not conduct the
 22      A. Product performance testing?                        22   EPA-required product performance testing?
 23      Q. Yes.                                                23       A. They -- product performance testing
 24      A. What -- what -- what aspect of product              24   requirements changed over the course of the history of
 25   performance? Let me -- let me see what you're talking     25   glyphosate-based herbicides. I believe it was around


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  1   1978 that the basic -- there was amendments to the         1   data requirements, correct?
  2   FIFRA statute and Congress basically removed the           2      A. Correct.
  3   requirement that EPA request studies on new                3      Q. And that includes applicator and
  4   registration applications relative to product efficacy.    4   post-application exposure studies?
  5   So since approximately the early '80s, there's been        5      A. To the extent that they're required, yes.
  6   no -- there hasn't been a mandatory data requirement on    6      Q. That includes spray drift evaluation studies?
  7   product efficacy.                                          7      A. I'd have to -- I mean, that's an interesting
  8         That's not to mean that different registrants        8   question with all the concern about herbicide drift
  9   haven't conducted a -- a huge number of field studies      9   these days. You know, I didn't -- in preparing for
 10   on their formulated products which they have to do to     10   this case, which is about non-Hodgkin's lymphoma
 11   know what to put on the label. I mean, they don't want    11   experienced by people applying the pesticides, I didn't
 12   to label a Roundup herbicide for -- for killing a roach   12   look at the record on spray drift and off-target damage
 13   because it won't, so the -- the companies do the          13   to other plants.
 14   studies, but they're not required to submit them to the   14      Q. Okay. But you have no reason to believe that
 15   agency.                                                   15   Monsanto did not conduct an -- EPA-required spray drift
 16       Q. Okay. And EPA -- and Monsanto's Roundup            16   studies, correct?
 17   products have been on the market since approximately      17      A. I -- I would be surprised if they failed to
 18   1974, correct?                                            18   conduct mandatory studies.
 19      A. Correct.                                            19      Q. Data drive from spray drift testing assists in
 20      Q. Do you claim Monsanto did not conduct the           20   determining the need and content of precautionary
 21   EPA-required product performance testing throughout the   21   language on pesticide labels to minimize the potential
 22   years?                                                    22   for harm to non-target organisms, correct?
 23     A. I've never made that claim.                          23      A. In general, yes.
 24           MR. LITZENBURG: Form.                             24      Q. EPA also requires testing on environmental
 25     Q. (BY MR. HOLLINGSWORTH) Okay. So you have no          25   fate, right?


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  1   reason to believe they didn't?                             1       A. They require the companies to submit a suite
  2      A. No, I have no reason to believe that, you            2   of en -- you know, environmental fate, physical and
  3   know.                                                      3   chemical properties of all pesticides. That's an
  4      Q. Sure. EPA requires testing on hazards to             4   essential part of the tolerance petition process
  5   non-target organisms pursuant to 40 CFR Section            5   because they have to know the physical and chemical
  6   158.600, correct?                                          6   properties to determine whether the residues are going
  7      A. Yes.                                                 7   to stick around on a plant. So yeah, it's an essential
  8      Q. Do you claim Monsanto did not conduct the            8   part of the process.
  9   EPA-required testing on hazards to non-target              9       Q. Environmental fate studies are studies and
 10   organisms?                                                10   testing aimed at determining the persistence of a
 11      A. I don't address that to -- at all in my expert      11   pesticide product once it is placed in the environment,
 12   report. I make no -- no statement to that effect.         12   correct?
 13      Q. And you have no reason to believe they didn't       13       A. Yeah, the persistence and the metabolism of
 14   conduct those tests, right?                               14   what it breaks down to and whether it's going to show
 15      A. EPA -- you know, EPA has stated, you know,          15   up in ground water, whether it might bind to soil
 16   multiple times that all of their mandatory data           16   particles and move around in blowing dust and -- yeah,
 17   requirements have been satisfied, and I interpret that    17   to try to understand in what form does the chemical
 18   to mean all the human toxicology, the product             18   persist in the environment and where might it go and as
 19   formulation, the residue chemistry and the ecotox,        19   a result what organisms might be exposed.
 20   yeah, I -- I don't have -- I'm not aware of any           20       Q. Right. And you don't claim that Monsanto
 21   mandatory data requirements that have not been            21   didn't conduct those studies, correct?
 22   satisfied in the case of glyphosate-based herbicides.     22       A. I'm making no such claim.
 23      Q. EPA has determined on several occasions that        23       Q. Okay. And with respect to the persistence of
 24   the glyphosate database is complete and that Monsanto     24   glyphosate-based herbicides in the environment, you
 25   has satisfied all required toxicology and ecotoxicology   25   agree they have a favorable toxicology profile in that


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  1   sense, correct?                                            1   risk, it depends on whether we're talking about
  2      A. Well, you're -- you're mixing up environmental       2   inhalation risk through dust particles that have
  3   fate and toxicology. They're two different things.         3   glyphosate bound to it, whether we're talking about
  4      Q. Let me ask the question again. With respect          4   surface water risk or ground water risks. It's -- it's
  5   to pesticides and here glyphosate-based herbicides'        5   very situation and environment specific and -- and it's
  6   persistence in the environment, you agree that             6   dangerous to make general statements across the board
  7   Monsanto's glyphosate-based herbicides have a favorable    7   given the fact that the literature is full of studies
  8   profile in that respect?                                   8   that show strikingly different environmental
  9       A. Certainly over the years, the general view in       9   persistence and -- and levels in certain environments
 10   the scientific and regulatory community was that the      10   compared to others.
 11   physical and environmental -- physical and                11       Q. EPA also requires testing on residue
 12   environmental properties of glyphosate-based herbicides   12   chemistry, correct?
 13   were favorable. However, that -- that view is changing    13       A. Correct.
 14   now that there have been many more studies. The open      14       Q. Do you claim that Monsanto did not conduct any
 15   literature reports soil half lives for glyphosate and     15   of that required testing?
 16   its principal breakdown product AMPA ranging from 50 to   16       A. No, I've never made that claim. Is there some
 17   1,000 days, believe it or not, in certain soils.          17   reason you're asking me about that? I'm just curious.
 18   There's a number of studies that have documented          18       Q. I'm just asking what you know about the
 19   incrementally rising levels of glyphosate and/or AMPA     19   Monsanto toxicology database and if you're making any
 20   in certain soils where glyphosate is applied --           20   claims with respect to Monsanto not having completed
 21   glyphosate-based herbicides are applied each year and     21   the --
 22   sometimes multiple times a year, and there's some very    22       A. Okay.
 23   troubling new studies out of Argentina on bound           23       Q. -- EPA-required --
 24   glyphosate residues in small particle dust which          24       A. Let's --
 25   scientists are concerned is leading to a new inhalation   25       Q. -- studies.


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  1   exposure pathway.                                          1      A. -- let's -- I'm sure you have more important
  2         So in general, during most of the history of         2   things to get to so let's move through this as fast as
  3   glyphosate it's been regarded as having a favorable        3   we can.
  4   environmental profile, but because it has become by far    4      Q. Okay, sure. You agree that Monsanto has
  5   the most heavily applied pesticide in history, the         5   conducted every EPA-required study with respect to its
  6   sheer volume of it is changing the levels and              6   toxicology database, ecotoxicology database, exposure
  7   persistence in many environments and levels are -- are     7   database, anything the EPA might require in order to
  8   building up to where, unfortunately, some ecological       8   register glyphosate-based herbicides and keep those
  9   and environmental impacts are being documented in the      9   products --
 10   literature. And it's a very active area of science.       10             COURT REPORTER: Might require -- sorry,
 11         So it's not relevant to this case at all, but       11   anything the EPA might require...
 12   that is -- it's sort of the current state of the          12      Q. (BY MR. HOLLINGSWORTH) To register
 13   assessment of glyphosate's environmental presence and     13   glyphosate-based herbicides and keep those products on
 14   risks associated thereto.                                 14   the market?
 15       Q. Putting aside your concerns about the volume       15      A. Correct.
 16   of glyphosate applied, you agree that glyphosate is       16      Q. Okay. EPA approves pesticide labels for the
 17   considered to have a favorable environmental profile,     17   purpose of educating the public on the safe use of
 18   correct?                                                  18   pesticides, correct?
 19       A. It -- certainly less favorable than 20 years       19      A. No, no. EPA approves labels to distinguish
 20   ago, but if you -- if you take the -- you know, the top   20   those pesticide products that can be lawfully purchased
 21   20 herbicides used, it would fall in -- somewhere         21   and applied in accordance with the label and -- versus
 22   around the middle, somewhere -- certainly in the lower    22   those that aren't. I mean, it's -- the purpose of a
 23   ten of them just on the basis of their physical           23   label is not just to educate the public.
 24   environmental properties. But, again, it -- physical      24      Q. Sure. In your opinion, what is the purpose of
 25   and environmental properties and their relationship to    25   a pesticide label?


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  1      A. To distinguish between pesticide products that       1   consistent with the risk assessments that EPA has made
  2   have been reviewed and lawfully labeled for specific       2   with respect to the toxicology studies that the PPE
  3   uses as articulated on the label from all other            3   requirements are derived from, correct?
  4   pesticide products that should not be sold and cannot      4      A. Correct.
  5   be lawfully used.                                          5      Q. EPA's worker safety provisions are consistent
  6      Q. All words, statements, graphic                       6   with studies reviewed in EPA's risk assessment
  7   representations, designs or other information on a         7   documents, correct?
  8   pesticide label must be approved by EPA, correct?          8      A. The PPE requirements on the pesticide labels
  9      A. Correct, yes.                                        9   are -- are written by the manufacturers, are the
 10      Q. In other words, EPA has to approve all              10   responsibility of the manufacturers, and EPA would only
 11   pesticide labeling, right?                                11   require changes in them if they didn't comply with
 12      A. Each time a new label is drafted by a               12   detailed specifications in the label manual about where
 13   manufacturer and submitted to the agency, the agency      13   certain information needed to appear, the signal words,
 14   has to approve it. Each time they request a label         14   the cautions -- there's certain standard things on all
 15   amendment, the agency has to approve it, yes.             15   pesticide labels that -- that the manufacturers have to
 16      Q. As dictated by EPA's label review manual and        16   comply with in -- in reporting information to users so
 17   other FIFRA regulations and guidance documents, a         17   that, yes, the EPA requires the format and the content
 18   pesticide label is intended to translate EPA risk         18   of minimal information about signal words and hazards
 19   assessments, correct?                                     19   and eye irritation, etcetera, but the section on either
 20      A. No. I mean, there's not a summary of EPA risk       20   required or suggested personal protective equipment to
 21   assessments on labels. There -- there are use patterns    21   mitigate worker exposure, that's drafted by the
 22   and application rates and precautions and requirements    22   companies, and the only time that the EPA would require
 23   for personal protective equipment that are consistent     23   an addition or a change in that is if the EPA had had
 24   with and reflect the EPA's judgments after carrying out   24   occasion to do an assessment or was aware of -- of
 25   risk assessments, and the -- certainly the hope of both   25   unexpected worker risks as in the case of the early


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  1   the manufacturer and the EPA is that if somebody           1   report from California, the Blondell report, which is
  2   applies a label -- applies a product consistent with       2   talked about in my expert report where in the early
  3   all of the label directions that there will be no          3   years of glyphosate use in California there was an
  4   adverse impacts for either the person applying it or       4   unexpectedly high frequency of eye irritation and skin
  5   anyone else or any part of the environment. That's         5   irritation poisoning episodes involving Roundup
  6   certainly the hope and the expectation.                    6   herbicides which the California Department of Pesticide
  7       Q. EPA's risk assessment judgments are consistent      7   Regulation reported to the EPA, and so EPA started
  8   with the personal protective equipment requirements,       8   looking into it and had called -- you know, called for
  9   precautions, application rates and use patterns found      9   more information from Monsanto and then there was a --
 10   on the pesticide label, correct?                          10   a deeper assessment of that. But unless EPA is aware
 11       A. The -- the registrants are responsible for         11   of a problem, they don't proactively review, render
 12   drafting the worker safety provisions, the PPE            12   judgment on the adequacy of or call for changes in the
 13   requirements that it feels are necessary to mitigate      13   PPE on a label.
 14   any significant risks from its products or avoid damage   14       Q. While the registrant may be responsible for
 15   to personal property, and for the most part, unless EPA   15   the content of a pesticide label, agree that it is
 16   is aware of -- from its own risk assessments of the       16   EPA's goal for a label to translate its risk
 17   active ingredients or a formulated end use product        17   assessments of that product?
 18   that -- that the risks are greater or deserve attention   18       A. No, I don't agree with that. I mean, EPA
 19   or inconsistent with the requirements that the agency     19   doesn't try to summarize the -- the findings of its
 20   has had, unless that's the case, they approve what        20   risk assessments. It assures that the label
 21   the -- what the company has proposed on the label         21   directions, the precautions and the required PPE are
 22   because it -- after all, the label is drafted and         22   consistent with EPA risk assessments that show that
 23   created and the contents of it are the responsibility     23   if -- if these use conditions as proposed by the
 24   of the manufacturer.                                      24   registrant on the labels are followed, then exposures
 25       Q. EPA's labeling with respect to PPE is              25   would not exceed what EPA calls its level of concern,


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  1   sort of the general term of art dividing unacceptable      1   registrants have that actually show that EPA's usually
  2   levels of exposure and risk where EPA generally will       2   Tier 1 estimates of exposure are higher than they
  3   ask the registrant to put some additional restrictions     3   actually are in the real world, in which case EPA says,
  4   on versus uses and -- for which they don't have a          4   "Well, we have a better risk assessment now and now
  5   concern.                                                   5   we're not concerned anymore," and they would -- they
  6       Q. Sure. EPA assures that the label directions,        6   would allow the labeling to go ahead as proposed by the
  7   the precautions and the required PPE are consistent        7   company.
  8   with the EPA risk assessments, correct?                    8         On the other hand, after going back and forth
  9       A. I'm sorry. I just -- I think I understand the       9   and getting more information, perhaps asking some of
 10   distinction you're -- you're trying to establish, and     10   the other science branches to look at the underlying
 11   I -- I really don't agree with it. EPA looks at           11   issues, if the EPA is still concerned, then they
 12   everything on a pesticide label, and there are certain    12   would -- they would -- they would negotiate with the
 13   things on the label that the registrant is responsible    13   company about some changes in the label instructions or
 14   for, solely responsible for, that the EPA doesn't make    14   the PPE or something to lower the exposure estimate to
 15   a judgment of whether it's accurate, whether it's         15   below the level of concern, and that -- that back and
 16   necessary or will meet all the needs under all            16   forth is -- goes on, you know, all the time and fairly
 17   circumstances. They really feel that's the                17   regularly across all pesticides regulated by EPA.
 18   manufacturer's responsibility because the manufacturer    18      Q. So what I think you're saying is EPA will
 19   knows way more about the products than the EPA.           19   sometimes approach a registrant about concerns it might
 20          If, however, as a part of EPA's review of data     20   have with the toxicology database, ecotoxicology
 21   and -- and risk assessments they have information or      21   database, perhaps request more information, more
 22   they become aware of information that there are human     22   studies, and the registrant in many cases will come
 23   poisoning episodes, adverse effects on human beings       23   back to EPA with more studies and EPA will say based on
 24   that were not anticipated and that didn't -- did not      24   that enhanced risk assessment, the product can continue
 25   come to the attention of EPA in whatever assessment of    25   being used accordingly?


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  1   the available data that they have, unless that's the       1      A. Right. And that -- those additional studies
  2   situation, they -- they don't -- they don't render a       2   may be more information on actual events in the fields
  3   judgment one way or another on the adequacy of what's      3   or poisoning episodes that have been evaluated by state
  4   on the label.                                              4   departments of agriculture or state departments of
  5          So I -- I don't agree that they try to use the      5   health. So, you know, there's a big world out there
  6   label to communicate -- that EPA doesn't use its           6   and a lot of people using pesticides and things happen,
  7   interjections in revising labels as a -- as a way to       7   and that information about those things often is
  8   try to communicate to the public about the results of      8   provided to EPA and that triggers them to look back at
  9   its risk assessments. I just -- I don't agree with         9   their assessment of that particular use pattern.
 10   that.                                                     10   Sometimes they think it's -- well, if somebody
 11       Q. Sure, Dr. Benbrook, and I was just trying to       11   didn't -- didn't follow the label, it was a misuse and
 12   summarize what I thought you said and what you did say    12   there would be no reason to reopen assessment of it,
 13   in the previous answer, so what -- what you said was      13   and in other cases they may determine that it seems
 14   EPA assures that the label directions, the precautions    14   like people followed the label, but something happened
 15   and the required PPE are consistent with the EPA risk     15   that the registrant had not addressed or mitigated on
 16   assessments, correct?                                     16   the label and the agency wasn't aware of and didn't
 17       A. They would -- they would never approve a set       17   assess, so that -- that's how that process unfolds.
 18   of label directions that -- for which EPA had a valid     18      Q. EPA considers acute toxicity testing when
 19   risk assessment that showed exposures above their level   19   deciding what language is permissible on a pesticide
 20   of concern. They would not do that. They would --         20   label, correct?
 21   they would engage the registrant in a -- in a             21      A. Well, just the -- the part that is in that
 22   discussion about that circumstance, and a number of       22   signal word box and it addresses, you know, eye
 23   things would normally happen as a result which might      23   irritation, skin irritation, it's a -- it's a box
 24   entail the registrant providing the EPA with more         24   usually on the -- close to the front of the -- or
 25   detailed information based on studies that the            25   the -- the main part of the label, it's on all


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  1   products.                                                  1      Q. EPA can, of course, limit the amount that can
  2       Q. So EPA does consider acute toxicity testing in      2   be applied per acre via the pesticide label, correct?
  3   deriving some of the label language?                       3      A. Yes.
  4       A. Correct.                                            4      Q. EPA can, of course, limit the number of
  5       Q. EPA considers applicator exposure assessments       5   pesticide applications that are made in a given period
  6   when deciding what language is permissible on pesticide    6   via the pesticide label, correct?
  7   labels, correct?                                           7      A. Correct.
  8       A. Not -- not for -- you know, for new                 8      Q. So a big part of pesticide product approval
  9   registrations, they do very little in terms of an          9   and reapproval process is determining the best ways to
 10   assessment of applicator exposure because, for one        10   educate consumers about how to safely apply pesticides,
 11   thing, there have been no applicators out there using     11   including reducing the potential for any harmful
 12   it because it hasn't been on the market. So the -- the    12   exposure, correct?
 13   initial registration reviews and approvals focus          13      A. No, I'm sorry, I don't agree with that. In
 14   predominantly on the chronic -- the chronic database      14   the initial -- initial approval of labels and in
 15   and issues that have to be resolved to establish          15   re-registration, the EPA is -- it assesses whether
 16   tolerances. That's actually the most significant part     16   their review of the mandatory data, the vast majority
 17   of the science review is related to establishing the      17   of which is on the -- the technical active ingredient,
 18   tolerances.                                               18   supports the use patterns that are incorporated in a
 19         The label review, that's where the application      19   label. And by "use pattern" I mean the crop or crops
 20   rates, the number of applications, the type of            20   to be treated, the timing of the treatments, the total
 21   equipment, and the long list of pests that are -- that    21   amount of active ingredient that can be applied in a
 22   are controlled, any unique environmental circumstances    22   season, which is on essentially every label. There
 23   that have to be addressed get addressed. The company      23   will be a maximum amount of the technical active
 24   has -- will propose the worker safety requirements, if    24   ingredient that can be applied per acre, and sometimes
 25   any, the PPA -- PPE requirements, if any, but the         25   there will be a limit on how much of the active


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  1   agency at that stage in the process doesn't do a full      1   ingredient can be applied in a single application.
  2   risk assessment to try to determine if those worker        2          So if it's a label where EPA puts both a limit
  3   safety precautions or the PPE is adequate. They --         3   on the total amount that can be applied as well as the
  4   they view it as the company's responsibility to put        4   maximum amount that can be applied per application,
  5   whatever worker safety precautions, requirements,          5   that puts a cap on the number of applications that can
  6   suggestions and PPE that are necessary to mitigate         6   be made. Certainly up to the maximum level.
  7   risks as the company understands them, but the agency      7          So there's all sorts of different combinations
  8   does not aspire to do a thorough risk assessment of        8   of -- of requirements and/or limits that both
  9   what those exposure levels and risks might be before a     9   registrants use and EPA uses, and the basic purpose of
 10   product is first put on the market because they just --   10   these specific quantitative parameters of how a
 11   they wouldn't have the resources or the information to    11   pesticide can be used in a maximum way, what's the most
 12   do it.                                                    12   glyphosate that can be applied on a soybean field in a
 13      Q. Sure. But there are required applicator             13   year, the label needs to specify that because it's
 14   exposure studies, correct? We went over that just         14   under that -- that circumstance of use that the EPA
 15   recently?                                                 15   then conducts a dietary risk assessment, an ecotox risk
 16      A. They're part -- sure. They're part of the --        16   assessment, etcetera, and ultimately reaches its
 17   the required studies done on any new pesticide, yes.      17   judgment that the exposure levels do not -- do not --
 18      Q. And EPA intends that both its label reviewers       18   are not likely to cause risk that exceeds their level
 19   and the registrants consider those pesticide applicator   19   of concern.
 20   exposure tests when determining what language is          20          So these use requirements are integral to the
 21   permissible on pesticide labels, correct?                 21   risk assessment process because they define the maximum
 22      A. Sure, they take it into account, yes.               22   amount of pesticide that can be used in an area in a
 23      Q. Some of your work has focused on intensity of       23   given period of time.
 24   pesticide use per acre, right?                            24       Q. EPA has the ultimate authority to enforce
 25      A. Yes.                                                25   label requirements, correct?


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  1      A. Yes. And they delegate that authority to             1   quite a bit along a crack in their driveway or around a
  2   states and Indian tribes in some cases, but yeah, under    2   fence line, and despite the fact that the dilution of
  3   federal law it's EPA's responsibility -- EPA or its        3   glyphosate in the liquid that they're spraying is quite
  4   designee to enforce the labels.                            4   low, if they move the wand fairly slowly, they actually
  5      Q. EPA doesn't designate any sister agencies such       5   put on a higher rate of the active ingredient per unit
  6   as ATSDR or any other government agency to enforce         6   area than a farmer would.
  7   label requirements, correct?                               7         So it's -- it's well known that in many
  8      A. Correct.                                             8   home-based nonagricultural use settings, actually a
  9      Q. FIFRA provides the US EPA with the means to          9   fair amount of glyphosate per unit area gets applied.
 10   restrict the use of pesticides, to update registered      10   Because, for one thing, a lot of people doing that,
 11   pesticides with new safety information and to take        11   they really don't know how to calculate how much
 12   action when new evidence of adverse environmental or      12   they've sprayed. There on the -- on the bottle there
 13   human health effects are reported, correct?               13   will be, you know, spray, you know, one pint of this
 14      A. Correct.                                            14   per 1,000 square feet. Well, you know, do you think
 15      Q. You know that some glyphosate-based herbicides      15   many people using it actually try to calibrate when
 16   are for consumer use, correct?                            16   they've sprayed a pint?
 17      A. Yes.                                                17         So in -- in home uses there just isn't the
 18      Q. And consumer use pesticides, but here               18   economic incentive or imperative to be careful about
 19   glyphosate-based herbicides, are in lower                 19   how much you use that there is in agriculture. If
 20   concentrations, of course, right?                         20   somebody is spraying 400 acres on their farm, it's an
 21      A. Correct.                                            21   economically significant issue that they -- they only
 22      Q. And that's because they're expected to be used      22   want to spray as much as they need to control the
 23   less intensively than agricultural or IT&O products,      23   weeds. So actually on larger-scale applications, I
 24   correct?                                                  24   think applicators have a much better idea how much
 25      A. Well, actually some of the consumer use             25   they're using per unit area and hence how intensive


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  1   products more -- more glyphosate gets sprayed on a         1   they are.
  2   small area if you're just weighing -- weighing the         2         I mean, I totally agree with you that the
  3   amount of the spray, but all of these -- the consumer      3   products that the homeowner is using are -- using and
  4   products in general have no more than 10 percent of        4   applying, they're more dilute, but I also am very aware
  5   glyphosate technical active ingredient in the              5   that many casual users, periodic users of, you know,
  6   formulation, so they're regarded as a dilute -- a          6   consumer brands of Roundup don't have a -- a very good
  7   dilute formulation compared to the industrial products     7   idea of how much they've sprayed on a unit area.
  8   that Mr. Peterson, Mr. Hall, Mr. Johnson bought and        8      Q. You looked at IT&O and agricultural labels,
  9   applied in the course of the -- carrying out their         9   correct?
 10   duties and responsibilities, of which the vast            10      A. Correct.
 11   majority -- well, all of the products that I'm aware      11      Q. And like other labels, those include
 12   that they applied had between 45 and 50 percent           12   instructions about personal protective equipment or
 13   glyphosate in the end use product that they purchased,    13   PPE, correct?
 14   and those -- those would clearly not be regarded as a     14      A. Most of them do.
 15   home use label.                                           15      Q. Agree that PPE isn't necessarily expected to
 16      Q. So the less intensive use means consumers           16   eliminate all exposure but to reduce it to acceptable
 17   would tend to use it less frequently, in lower            17   levels?
 18   quantities for a shorter period of time at a lower        18      A. Correct.
 19   concentration than these commercial applicators or        19      Q. EPA standards aren't to eliminate all exposure
 20   farmers, correct?                                         20   but to have exposure be at acceptable levels?
 21      A. One of the things that is well known that --        21      A. That certainly -- that's the primary goal of
 22   with some of the consumer products people, some people    22   EPA, yes.
 23   that buy them, they get pretty aggressive in treating     23      Q. Personal protective equipment includes the
 24   weeds and they'll -- they'll take their little pump       24   clothing that people wear when applying a herbicide
 25   thing and their little magic wand and they'll spray       25   product, correct?


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  1      A. Correct.                                             1      A. Common practice in the industry, so if you
  2      Q. Personal protective equipment used to reduce         2   call that a standard, yes.
  3   exposure to herbicide products -- strike that.             3      Q. I want to show you a clip from a recent movie
  4         For example, chemical-resistant rubber gloves        4   you're in.
  5   should reduce an applicator's exposure to a herbicide,     5              MR. LITZENBURG: Is there some way that
  6   correct?                                                   6   this can appear on the video as well?
  7      A. Monsanto's own studies show that very clearly,       7              VIDEO OPERATOR: Just want to play it
  8   yes.                                                       8   back?
  9      Q. Eye protection should reduce an applicator's         9              MS. KRAJEWSKI: Yeah.
 10   exposure to a herbicide, correct?                         10              MR. LITZENBURG: Okay. How long is it?
 11      A. Certainly in the eyes, yes.                         11              MR. HOLLINGSWORTH: Ten seconds.
 12      Q. A face mask should reduce an applicator's           12              MR. LITZENBURG: Okay.
 13   exposure to a herbicide, correct?                         13      A. Okay. Can you give me a little context
 14      A. Correct.                                            14   here --
 15      Q. Chemical-resistant boots should reduce an           15      Q. (BY MR. HOLLINGSWORTH) Sure.
 16   applicator's exposure to a herbicide, correct?            16      A. -- before I look at it because then I might
 17      A. Yes.                                                17   not have to look at it twice.
 18      Q. Long-sleeved shirt and pants should reduce an       18      Q. Are you familiar with the movie Food
 19   applicator's exposure to a herbicide, correct?            19   Evolution?
 20      A. Yes.                                                20      A. Yeah, I know it exists.
 21      Q. Tyvek or other chemical-resistant suit should       21      Q. You were in that movie, correct?
 22   reduce an applicator's exposure to a herbicide,           22      A. I understand I am, yes.
 23   correct?                                                  23      Q. Okay. I want to show you a recent clip from
 24      A. Correct.                                            24   that movie.
 25      Q. Sir, please turn to paragraph 461 of your           25              (Video playing.)


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  1   report, if you would. I've got the last few pages          1      Q. (BY MR. HOLLINGSWORTH) Agree that it is
  2   here, by the way. Sorry about that.                        2   entirely reasonable and appropriate --
  3      A. Okay. Paragraph 461?                                 3             MR. LITZENBURG: Hold on.
  4      Q. Uh-huh.                                              4             VIDEO OPERATOR: Can we play it back
  5      A. Technical question. Is it appropriate for me         5   onto here? Put the screen down just a little bit.
  6   to be talking about my report when it hasn't been          6              (Video playing.)
  7   entered as an exhibit?                                     7      Q. (BY MR. HOLLINGSWORTH) Do you agree it's
  8      Q. Yes, it's fine. Your counsel can mark it as          8   entirely reasonable and appropriate for a company,
  9   an exhibit if they want to.                                9   whether it be a pesticide company or an organic foods
 10      A. Okay.                                               10   company, to use whatever science to convince the public
 11      Q. But it can be used for reference.                   11   and the regulators that their company's product is
 12      A. I bet he will. Okay. Shoot. I've got 461.           12   safe?
 13      Q. Okay. You state at paragraph 461 of your            13      A. Sure.
 14   report: It is entirely appropriate and expected that      14      Q. It is reasonable for a company to assure
 15   Monsanto would devote time and resources to the task of   15   regulators and the general public that the health and
 16   persuading regulatory agencies, the scientific            16   safety data developed to register the product is valid
 17   community, political leaders, farmers and farm            17   and based on sound science, correct?
 18   organizations, competitors, the media and the general     18      A. They certainly strive to make that case, yes.
 19   public that the health and safety data developed by the   19             MR. HOLLINGSWORTH: Exhibit 4.
 20   company is valid and supports the conclusion that all     20              (Deposition Exhibit 4 was
 21   Monsanto products are safe.                               21              marked for identification.)
 22         Did I read that correctly?                          22      Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, this is
 23      A. Yes.                                                23   a publication from EFSA, the European Food Safety
 24      Q. When you say "it is entirely appropriate and        24   Authority. You're familiar with EFSA, correct?
 25   expected," are you referring to an industry standard?     25      A. Yes, I am.


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  1      Q. Please turn to page 4 and the section entitled       1   that its view of the science is correct?
  2   Concluding Remarks on How EU Experts Ascertain the         2      A. As I said in my report, yeah.
  3   Reliability of Studies During Peer-Review Process.         3      Q. It's entirely appropriate for Monsanto to
  4      A. Okay.                                                4   disagree with regulatory agencies and argue its point
  5      Q. See the last paragraph?                              5   of view to them, correct?
  6      A. Yeah, I do, yeah.                                    6      A. Correct.
  7      Q. The paragraph is talking about how a European        7      Q. For example, it's entirely appropriate for
  8   regulator checks on the quality and reliability of         8   Monsanto to persuade a regulatory agency that the
  9   every single original study. Do you see that?              9   underlying safety data is valid and supports the
 10      A. Yes.                                                10   conclusion its product is safe, correct?
 11      Q. And includes -- that includes the primary           11      A. Assuming that they've provided all of the data
 12   guideline studies by manufacturers that are required      12   and accurately represented it, yes.
 13   for a product's approval, correct?                        13      Q. And you spoke a little bit about previously
 14      A. Yes.                                                14   with respect to EPA, but in regards to, you know,
 15      Q. In fact, as noted here sometimes regulators         15   worldwide regulators, you agree it's common and
 16   will even dismiss a pesticide company's guideline study   16   reasonable for a dialogue to take place between the
 17   based on the regulator's independent review of the data   17   regulator and the company making the products, correct?
 18   and the conclusions derived from that data, correct?      18      A. Correct, yes.
 19      A. What do you mean by "dismiss"? Just waive the       19      Q. There may be times, for example, where the
 20   requirement, or --                                        20   regulator is uncertain or comes to a different
 21      Q. No. Sometimes regulators will say that they         21   conclusion about the data from guideline studies
 22   are not satisfied with a study --                         22   supporting the product's approval, and it would be
 23      A. Oh, okay.                                           23   perfectly reasonable for the company to devote
 24      Q. -- because of the --                                24   resources to generate additional studies for that end
 25      A. Yes, that happens sometimes.                        25   point or to conduct similar guideline studies to


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  1       Q. The second paragraph, the second sentence in        1   satisfy the regulator's concerns, correct?
  2   the paragraph notes: It is also not unusual for member     2      A. Correct.
  3   state and EFSA experts to disagree with industry on how    3      Q. You note a wide diversity of ways in which a
  4   the results of the studies that they submit and            4   pesticide company might defend the safety of its
  5   their --                                                   5   product. What are some of the ways that a company
  6       A. What -- where are you?                              6   might do that?
  7       Q. Oh, sorry. The second sentence in that              7      A. If there was an -- an issue with an individual
  8   paragraph?                                                 8   study they might replicate it to see if conducted in
  9       A. Oh, the second sentence in that paragraph.          9   a -- in a -- in a second lab or a different strain of
 10   Okay, yes. I see. I'm with you.                           10   animal whether the results are the same. If it's an
 11       Q. It is also not unusual for member state and        11   issue around exposure, uncertainty about exposure, they
 12   EFSA experts to disagree with industry on how the         12   may run additional tests in food or water or applicator
 13   results of the studies that they submit in their          13   exposure studies as Monsanto did and -- when they
 14   dossiers should be interpreted for risk assessment.       14   commissioned the very substantial and important set of
 15          So the European regulators here explain that       15   worker safety exposure studies that they did in the UK.
 16   they don't just agree with the -- what the company        16   They might use some new scientific methods that have
 17   tells them, right? They may well take issue with how      17   become available since the original toxicology database
 18   the study results should be interpreted, correct?         18   was done that provide deeper insight on potential
 19       A. Sometimes they do.                                 19   mechanisms. And, of course, this is -- this is what
 20       Q. And you mentioned that's -- that's a similar       20   happened in the case of glyphosate-based herbicides in
 21   situation that routinely or sometimes occurs with         21   the last 15 years there's been an explosion of new
 22   respect to the EPA, correct?                              22   scientific methods to assess genotoxicity and basically
 23       A. Correct.                                           23   genetic impacts of toxic chemicals, and some of those
 24       Q. And, of course, it's entirely appropriate for      24   studies on glyphosate and glyphosate-based herbicides
 25   Monsanto to attempt to persuade regulatory agencies       25   has raised an issue.


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  1         So there's -- there's a number of different          1   in some other way, correct?
  2   ways that a company can generate new information that      2            MR. LITZENBURG: Form.
  3   it hopes will mitigate or assuage the concerns that        3      A. They have a lot of options, correct, including
  4   regulators have in a given regulatory assessment.          4   all the ones you mentioned.
  5       Q. So as scientific -- scientific methods expand,      5      Q. (BY MR. HOLLINGSWORTH) And including that EPA
  6   EPA is going to consider new studies, new science          6   has the power and authority to force the company to
  7   coming from the scientific methods and -- in taking        7   conduct the study, correct?
  8   another look at the product as it goes forward,            8      A. Yes, they do. And they can threaten to
  9   correct?                                                   9   initiate a cancellation process if they really feel
 10       A. That is what responsible companies do.             10   that it's important enough.
 11       Q. There's also times where EPA may ask for a         11      Q. EPA can refuse to extend the company's
 12   study and then they'll have the communication that you    12   registration if there's a perceived data gap, correct?
 13   talked about with the registrant about their concerns     13      A. Correct.
 14   with the study, and EPA may not ultimately require that   14      Q. EPA has never found that Monsanto
 15   the registrant repeat the study, correct?                 15   misrepresented anything to it regarding the safety of
 16       A. That has happened and certainly has happened       16   its glyphosate-based herbicides, correct?
 17   in the case of this record, yes.                          17      A. Well, other than the IBT studies, that was
 18       Q. And that's perfectly reasonable in some            18   a -- you know, it can be argued that Monsanto didn't
 19   circumstances, correct?                                   19   know that the -- that the IBT lab was conducting
 20       A. Well, I mean, it -- it's legal. But, you           20   fraudulent studies despite the fact a former Monsanto
 21   know, I think that -- there are points in this record     21   employee was working for them, but if you give them the
 22   where Monsanto's doggedness and determination just        22   benefit of the doubt, they like the rest of the
 23   simply wore EPA down. They just didn't feel they could    23   industry were conned by this particular lab.
 24   devote the resources to fighting over things like the     24      Q. IBT was a lab conducting studies not just for
 25   interpretation of the 1983 biodynamic mouse study. I      25   pesticide companies, not just for Monsanto, but for


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  1   mean, the EPA is -- is regulating at any one time          1   government agencies and other companies outside of the
  2   approximately 600 active ingredients, and the amount of    2   pesticide industry, correct?
  3   staff time and science resources that they invested        3      A. Correct.
  4   over the years in -- in glyphosate and glyphosate-based    4      Q. IBT -- so the -- so the issues with IBT are
  5   herbicides was hugely disproportional to the majority      5   not specific to Monsanto, correct?
  6   of other pesticides.                                       6      A. Oh, definitely correct, yeah.
  7         So, you know, EPA is like any other entity.          7      Q. And you haven't seen anything that indicates
  8   They've got to pick their fights and devote their          8   Monsanto was engaged or had knowledge of the particular
  9   resources where they think they're going to generate       9   fraud that occurred at IBT, correct?
 10   the -- the biggest benefit to public health and the       10      A. There's no -- I'm not aware of any definitive
 11   environment, and they just didn't feel they could         11   judgment that that was the case. There were certainly
 12   sustain the -- the debate that they had ongoing with      12   some people in EPA that thought that was the case,
 13   Monsanto any longer because it was clear that Monsanto    13   including Adrian Gross who broke the -- really broke
 14   was going to keep coming at them one -- until they got    14   the IBT thing wide open, and I know that because he
 15   the answer they wanted.                                   15   told me, so...
 16      Q. Right. But EPA has a final say and authority        16      Q. When did you have a conversation with Adrian
 17   over whether a pesticide is registered or whether a       17   Gross and who is he exactly?
 18   pesticide should be -- a pesticide's use should be        18      A. Adrian Gross was a toxicologist that worked
 19   decreased in some way, correct?                           19   for the Office of Pesticide Programs for most of the
 20      A. Correct.                                            20   '70s, into the '80s, and he was a -- a person that both
 21      Q. So EPA doesn't have to have the conversation        21   EPA and FDA sent to inspect GLP Laboratories conducting
 22   with registrants about a particular study or a group of   22   animal studies. He was a -- one of their sort of
 23   studies. They can come to their own determination and     23   well-known investigators, and he -- he was sent to --
 24   either cancel the study, say it's not -- it's not         24   when issues started to surface about IBT, he was sent
 25   sufficient, or, you know, limit the use of the product    25   by both EPA and FDA to go do the inspection of IBT that


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  1    blew the whole thing wide open.                           1   lymphoma. That -- it's stating that there's a possible
  2        Q. EPA has never determined that Monsanto was         2   association. It's not saying that you're definitely
  3    actively involved in the fraud at IBT, correct?           3   going to get cancer if you apply it, but it's alerting
  4        A. Not that I'm aware of.                             4   people to a potential risk for which there is some
  5        Q. EPA has never found that Monsanto                  5   evidence but not equivocal -- but not unequivocal
  6    misrepresented anything to it regarding the safety of     6   evidence, and it's -- it's a way to alert people to --
  7    its glyphosate-based herbicides, correct?                 7   to really be careful and follow the label instructions
  8        A. Relative to the IBT studies?                       8   and recognize that there -- there may be some risk.
  9        Q. No, in any respect at all.                         9      Q. You referenced the material safety data sheet.
 10        A. Could you re-ask the question.                    10   That is a requirement of OSHA which is another
 11        Q. Sure. EPA has never found that Monsanto           11   government agency, correct?
 12    misrepresented anything to it regarding the safety of    12      A. Correct.
 13    its glyphosate-based herbicides, correct?                13      Q. And your testimony is that the warning that's
 14        A. I'm not aware of any official findings to         14   provided on the OSHA labels for glyphosate-based
 15    that -- to that point.                                   15   herbicides is sufficient in this case, correct?
 16        Q. You believe that the labels for Roundup and       16             MR. LITZENBURG: Object to form.
 17    glyphosate-based herbicides should contain a warning     17      A. Well, I mean, given that it's -- given that
 18    about cancer; is that correct?                           18   the language that appears on the -- on the material
 19        A. Yes.                                              19   safety data sheets now has presumably been approved by
 20        Q. Specifically what?                                20   OSHA as compliant with the requirements, of course they
 21        A. That there's a possible risk of non-Hodgkin's     21   require that -- that any chemical that has been
 22    lymphoma and care should be taken to minimize            22   identified as a possible, probable or proven human
 23    exposures.                                               23   carcinogen by IARC has to state that fact on the
 24        Q. "Possible risk," is that the -- is that the       24   material safety data sheet. So I believe that
 25    language that you would use?                             25   statement is now on them, and I -- I also believe


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  1       A. It would -- a number of -- of words to that         1   that -- and I recall from the record that Monsanto has
  2   effect. It's certainly not a -- you know, I don't          2   agreed to put in various communications, although to my
  3   think it would be appropriate for -- for a definitive      3   knowledge not on any pesticide labels, a acknowledgment
  4   statement to be said, but in -- in multiple areas of       4   that -- that some studies suggest a possible link
  5   pesticide risk assessment -- in fact, in no area is        5   between use of Roundup-based herbicides and
  6   there ever total certainty about anything. So there's      6   non-Hodgkin's lymphoma. That's -- that's all that they
  7   a certain degree of -- of hedging that is appropriate      7   have agreed to state to my knowledge at this point.
  8   in -- in the kinds of warning statements and -- and        8       Q. (BY MR. HOLLINGSWORTH) Right. So when
  9   guidance that's provided to users of pesticides via the    9   required or requested by a regulatory agency such as
 10   label.                                                    10   OSHA to change a label such as the material safety data
 11       Q. You don't think a definitive statement about       11   sheet, Monsanto certainly will comply with that request
 12   Roundup or glyphosate-based herbicides and NHL would be   12   and comply in such a way that satisfies --
 13   appropriate because the science behind the association    13       A. Right.
 14   between glyphosate and NHL is not a slam dunk, correct?   14       Q. -- your -- your preferred label, correct?
 15       A. Correct. It would be inappropriate for the         15       A. Correct. But let's be really clear here. A
 16   label to say, "Be cautious using this product because     16   pesticide manufacturer's responsibility is not just
 17   it's been proven to cause non-Hodgkin's lymphoma among    17   negotiating with EPA what goes on the pesticide label.
 18   people spraying it." That would be going beyond the       18   It's not just what they're required to do with OSHA.
 19   data. However, it would be appropriate and I think it     19   It encompasses all of the methods of communication that
 20   would have been helpful to all of these -- to certainly   20   they use in marketing, selling, supporting people in
 21   Lee Johnson who paid a lot of attention to have a         21   the safe and efficacious use of their products.
 22   cautionary statement of the sort that appears now on      22   There's much more detailed information on Monsanto's
 23   the -- on the MD -- on the material data sheet that       23   website. There's educational brochures that you can
 24   says that some studies show that -- a linkage between     24   pick up at a dealer selling pesticides. There's
 25   use of and exposure of this pesticide and non-Hodgkin's   25   innumerable different ways that Monsanto and all


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  1   pesticide registrants are obligated to truthfully          1   felt that such required PPE was on all of the other
  2   communicate what they understand about their products      2   very similar IT&O products at the time, why they
  3   to the user community and to the medical community who,    3   weren't on that one is a total mystery to me.
  4   after all, has to try to understand if they have a         4          And, you know, also I guess in the -- I think
  5   person that used a pesticide and gets harmed or has        5   it's the power max -- the Pro Max label, in the
  6   some injury or feels that a disease might be associated    6   original approved label there was a requirement for
  7   with the use, the medical community has to have the        7   chemical-resistant gloves to be used which EPA required
  8   best information that's available.                         8   Monsanto to place on all of its labels in the 1986
  9         And so, you know, to me it's not just what is        9   registration standard, but Monsanto never did, but
 10   on the label. It's not just what is on the material       10   apparently in the original label it was on it and then
 11   data safety sheet, but the -- the totality of the         11   it disappeared. Monsanto obviously requested and
 12   Monsanto controlled, Monsanto authored, Monsanto          12   proposed eliminating the requirement that gloves be
 13   paid-for information in the public arena about the        13   worn and EPA approved.
 14   safety of its products, and it's -- in many cases it      14          Now, why all that happened, I haven't had a
 15   would be -- it would be, for example, in the PowerPoint   15   chance to delve more deeply into the record, but
 16   that Monsanto provided to the school district where Lee   16   clearly there's some inconsistencies in the PPE across
 17   Johnson worked which the local seller of the products     17   very similar products.
 18   showed to potential buyers. I mean, that's a --           18       Q. (BY MR. HOLLINGSWORTH) Sir, you mentioned
 19   technical information that the source of which is         19   previously that there's often these communications
 20   ultimately Monsanto, but it's used in informing and       20   between the regulator and the pesticide company with
 21   instructing people that are actually using the            21   respect to labels or studies. You haven't seen
 22   pesticide about how concerned they should be.             22   anything indicating that these discussions didn't
 23         And so, you know, it's -- my opinions about         23   happen with respect to the 1986 registration standard
 24   Monsanto's adherence to its pledge to safety and really   24   then forward to the 1993 registration eligibility
 25   going -- doing whatever it could to reduce and minimize   25   decision with respect to PPE, correct?


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  1   human risks is based on the totality of its activities,    1       A. Sure. It was an ongoing -- ongoing discussion
  2   including some of the information that it had and was      2   and, you know, there's a -- a large number of very
  3   aware of that it never did communicate to regulators       3   similar Roundup products that had small changes in the
  4   which I believe would have altered the views of            4   surfactants and adjuvants, for example, to make them
  5   regulators had they been informed of the information as    5   rain -- rain-fast. That was a significant feature of
  6   I -- I feel that they should have been. So it's a --       6   the Pro Max and the Super Concentrate products that
  7   I'm sorry about the longwinded answer, but your            7   Jeff Hall applied, and I'm sure that there was a change
  8   question is an important one and I want to make sure       8   in the surfactants that made the product more rain-fast
  9   my -- my views are reflected accurately in the record.     9   but, of course, no one knows what those were because
 10       Q. No problem. I understand that. So Monsanto         10   that's confidential business information. But why
 11   comported with industry standard with respect to the      11   the -- the PPE requirements are different on some of
 12   language on the OSHA label, correct?                      12   those labels than on the majority of the other labels
 13       A. Correct.                                           13   for very similar uses I have no explanation.
 14       Q. What else do you think -- do you claim is          14       Q. You can't say for certain that there wasn't a
 15   wrong with the label specifics? Is there anything         15   conversation between Monsanto and EPA in between the
 16   wrong with the PPE, for example?                          16   1986 registration standard and the 1993 registration
 17              MR. LITZENBURG: Object to form.                17   eligibility decision in which EPA determined that this
 18       A. Well, for example, the -- the product that         18   increased PPE was not necessary, correct?
 19   Jeff Hall applied, the -- he applied two, the Roundup     19       A. Well, of course there was an ongoing debate,
 20   grass and weed Super Concentrate and another product      20   and Monsanto refused to change the label and said,
 21   called Pro Max. I mean, just in the last couple days      21   "We'll submit additional data." And it was -- you know
 22   I've looked at the labels on those, and for the life of   22   it was a fairly protracted process, but ultimately,
 23   me I cannot explain why there are no PPE requirements     23   again, EPA acquiesced to the position that Monsanto
 24   on the Roundup Super Concentrate label. I have no         24   took, and they -- they dropped even the requirement for
 25   logical explanation for that. But given that Monsanto     25   gloves. I mean, here you've got somebody applying


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  1   Roundup with a handheld sprayer with the mist all          1   in the -- with the kind of equipment that they were
  2   around, and the label doesn't even require gloves to be    2   using, be quite different.
  3   worn when Monsanto's own exposure studies show that        3       Q. So gloves shouldn't be required for the dilute
  4   gloves reduce the exposure by tenfold.                     4   products?
  5         You know, it just -- just befuddles me why           5             MR. LITZENBURG: Object to form, asked
  6   Monsanto, you know, has resisted at least requiring        6   and answered.
  7   that gloves be worn when you're applying a pesticide,      7       A. Isn't that what I just said?
  8   and as I stated in my expert report, I think that's a      8       Q. (BY MR. HOLLINGSWORTH) Okay. Just making
  9   perfect example of a very low cost, unobtrusive            9   sure. And with respect to PPE, I think -- I believe
 10   requirement on a label which would have made their        10   you testified previously the clothes that someone wears
 11   product significantly safer, no doubt about it,           11   is a form of personal protective equipment, correct?
 12   significantly safer, and yet they didn't do it.           12       A. Correct.
 13         Now, sure, Monsanto argued to EPA that, well,       13       Q. Wearing a long-sleeved shirt and pants would
 14   even without gloves the exposure is likely not high       14   reduce an applicator's exposure to the pesticide
 15   enough to exceed your level of concern. Obviously EPA     15   product, correct?
 16   ultimately agreed with them, but I think when a company   16       A. It -- it would, yes.
 17   says to users and the public that, you know, we're        17       Q. So when you said that glyphosate-based
 18   making the safest products that we can, when there's a    18   herbicides don't include any PPE at all, that's
 19   very simple change or requirement like just wearing       19   actually not true because it requires at least
 20   gloves, that it's a good thing to do given that there     20   long-sleeved shirt and pants, shoes plus socks,
 21   might be a little bit of uncertainty about the risk       21   correct?
 22   involved with exposures to your product.                  22             MR. LITZENBURG: Form.
 23         What if they are -- what if Monsanto was wrong      23       A. Well, that language appears on many of the
 24   about the hazard of glyphosate-based herbicide            24   labels, although I have to say that there are also
 25   exposures at the time? And -- and obviously nobody        25   advertisements out there on the television where the


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  1   knows for sure, you know, how hazardous any of these       1   guy spraying Roundup products is in shorts and
  2   products are. The -- the risk assessment science isn't     2   short-sleeved shirt, so it's -- it's a part of the --
  3   at the point where it's definitive. And so I just          3   the PPE on Roundup product labels that, you know, has
  4   think it was irresponsible not to put the requirement      4   been in play and it -- it certainly does have -- it's
  5   to at least wear gloves on all of the products, but --     5   better to have long-sleeved shirt and long pants than
  6   perhaps I wouldn't extend that to these home -- these      6   shorts and a T-shirt, I would definitely agree with
  7   dilute -- very dilute home products, but Lee Johnson       7   that.
  8   and Jeff Hall and Mr. Peterson, they were buying           8      Q. (BY MR. HOLLINGSWORTH) Long-sleeved shirt and
  9   glyphosate products that were about 50 percent             9   long pants, shoes plus socks, that's a common personal
 10   concentrated, which is, you know, concentrated -- a       10   protective equipment requirement for not just
 11   significant amount of glyphosate in the product.          11   glyphosate-based herbicides but other pesticides
 12       Q. EPA ultimately agreed with Monsanto's view of      12   registered?
 13   glyphosate-based herbicides' toxicology and exposure      13      A. Correct.
 14   profile and didn't require that gloves be used for        14      Q. What about with respect to application? Is
 15   glyphosate-based herbicides, correct?                     15   there any further warnings you feel should be on
 16       A. Correct.                                           16   glyphosate-based herbicide labels with respect to how
 17       Q. With respect to the home use label, you said       17   people are applying the product?
 18   gloves shouldn't be required for that?                    18       A. Yes. Yes, there again, Monsanto in response
 19       A. For the -- concentrations under -- under 10        19   to these growing questions from European regulators in
 20   percent -- and most of the home products are like 2       20   the decade of the 2000s commissioned a number of
 21   percent, so they're -- you know, they're very dilute.     21   studies to bolster Monsanto's estimates of worker
 22   I mean, you would have to -- you would have to get a      22   exposure and risk, and one of the significant sets of
 23   lot on your hands to get even a fraction of the levels    23   studies that they did was a contract laboratory very
 24   of exposure of Jeff Hall and Lee Johnson who were         24   experienced in this that worked in the UK and analyzed,
 25   spraying, you know, gallons of Roundup in a working day   25   oh, a number of -- of typical application scenarios for


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  1   IT&O products involving backpack sprayers, handheld        1   POEA surfactant out of the product so --
  2   sprayers, sprayers on ATVs, sprayers in the back of        2       Q. Is that a label change?
  3   pickups, under a number of circumstances.                  3       A. The manufacturers are not required to list the
  4         In most of the application scenarios they did        4   identity of the surfactants on the label, it's
  5   it with and without gloves, with and without a face        5   confidential business information. But certainly EPA
  6   shield, with and without some sort of a Tyvek suit or      6   is aware of the changes in the confidential statement
  7   -- or additional clothing, and they also in several of     7   of formula, as would the European regulators, so
  8   them calculated exposure when the applicator that's --     8   that's -- that's clearly a -- a consequential change.
  9   that's using a handheld or a backpack sprayer was --       9       Q. That's not a label change, correct?
 10   was spraying on a windy day to assess the level of        10       A. It's not a label change, no.
 11   exposure if the applicator walked in the same direction   11       Q. And do you know of any change -- label changes
 12   back and forth, so in one direction the wind is blowing   12   in Europe or somewhere else abroad that Monsanto did
 13   at their back and the other direction the wind is         13   not make in the United States?
 14   blowing in their face versus perpendicular to the wind,   14       A. Yeah -- yeah, there are -- I'm -- I remember
 15   and the result of those studies was that just a pattern   15   several of them. There's sev -- several in the UK that
 16   on windy days of applying perpendicular to the wind       16   are talked about in the record. I don't think I -- I
 17   reduced exposures at least fivefold consistently across   17   put anything about that in my expert report. For
 18   all of these, and some of the -- the Monsanto             18   example, they put in the -- the labels in the UK
 19   scientists in Europe advocated adding that as a label     19   additional guidance and worker safety provisions for
 20   requirement that on windy days apply this product         20   uses in forestry applications where sometimes people
 21   perpendicular to the wind, which really, again, it's      21   were spraying the pesticide in an upward direction, and
 22   just sort of a simple common sense thing when you think   22   those provisions were put on the UK labels at the
 23   about it, and in my opinion it should have been added     23   insistence of the UK regulator, but I don't believe
 24   to labels 15 years ago and -- and certainly would have    24   they were put on in other European countries or in
 25   reduced the -- Lee Johnson's exposures because he -- he   25   the -- they haven't been put on in the US.


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  1   talked about how the product would blow back against       1          And I think there were some special
  2   his neck. That was because he was walking in the same      2   requirements in Italy, as I -- as I think back on it,
  3   direction of the wind and the product that he sprayed      3   and specifically on these IT&O products, not on the ag
  4   behind him was blowing onto him. If he'd walked            4   products, which, of course, account for the majority of
  5   perpendicular to the wind, it would have blown away        5   the sales of Roundup, but -- but on these specific IT&O
  6   from him and he would have been exposed to about five      6   products that involve handheld sprayers, ATV sprayers,
  7   times less based on -- on this data. And, you know,        7   backpack sprayers.
  8   given that, you know, Monsanto knew that and some of       8       Q. Monsanto has never included any sort of cancer
  9   their scientists even thought it should go on the          9   warning either in the US or abroad on any of its
 10   label, I just -- I have no explanation for why they       10   glyphosate-based herbicides, correct?
 11   didn't add that to the label.                             11       A. I don't know of any.
 12          So that's an example of a simple additional        12       Q. Do you know of any other glyphosate
 13   requirement that wouldn't have cost them anything,        13   manufacturer that has included a cancer warning on its
 14   wouldn't have hurt their market sales, but would have     14   glyphosate-based herbicides either in the US or abroad?
 15   given a concrete and practical instruction to the         15       A. No.
 16   applicators to reduce their exposures, and I think that   16       Q. So Monsanto's certainly comporting with
 17   would have been a valuable thing.                         17   industry standard in not providing a cancer warning on
 18       Q. You aren't testifying that Monsanto made any       18   its glyphosate-based herbicides, correct?
 19   label changes in Europe or somewhere else abroad that     19             MR. LITZENBURG: Object to form.
 20   it did not make in the United States, correct?            20       A. Because Monsanto is the -- was the original
 21             MR. LITZENBURG: Object to form.                 21   patent holder and manufacturer of glyphosate and
 22       A. Oh, yes, they did.                                 22   glyphosate-based herbicides and really responsible for
 23       Q. (BY MR. HOLLINGSWORTH) And what would those        23   all of the Roundup labels, if Monsanto does not add
 24   be?                                                       24   such a warning on its labels, there's absolutely no
 25       A. Well, for one thing, they -- they took the         25   reason to expect any other company to. So it really


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  1   was Monsanto's call, and they -- they've chosen not to.    1   the pests that are required. But they can add
  2      Q. (BY MR. HOLLINGSWORTH) Sir, there are now            2   additional material onto the label if -- if EPA
  3   approximately 20 glyphosate manufacturers just in the      3   approves it. They're not bound contractually -- at
  4   United States alone, correct?                              4   least I'm not aware that they're bound contractually to
  5      A. I don't think there's 20 manufacturers of the        5   Monsanto to not change anything on the label, but
  6   technical material. I mean, there's --                     6   certainly the core -- the core provisions of it
  7      Q. There are 20 people who are licensed who             7   including the minimum PPE, which is, I think, relevant
  8   have -- 20 companies that have -- at least 20 companies    8   to this case, you know, is controlled by what's on the
  9   that have licensed the right to sell glyphosate-based      9   Monsanto label.
 10   herbicides in the United States, correct?                 10       Q. (BY MR. HOLLINGSWORTH) Glyphosate-based
 11      A. That's -- but you originally asked me if there      11   herbicides and the companies who make them, they --
 12   were 20 companies that -- that manufacture or make the    12   strike that.
 13   glyphosate, and I don't believe there are 20 companies    13         Glyphosate-based herbicide companies may
 14   that do that.                                             14   include additional language on the label with respect
 15      Q. And that's fair. I'll restate my question.          15   to the cancer warning, and no glyphosate-based
 16      A. Okay.                                               16   herbicide company that you know of has included that on
 17      Q. There are 20 -- there are at least 20               17   the label either in the US or abroad, correct?
 18   companies, a sufficient number of companies in the        18       A. Yes, sir.
 19   United States that are licensed to sell                   19             MR. HOLLINGSWORTH: Let's take a break.
 20   glyphosate-based herbicides, correct?                     20             VIDEO OPERATOR: We're going off the
 21      A. Yes.                                                21   record. The time is 12:44.
 22      Q. And Monsanto does not control those companies,      22             (Deposition recessed at 12:44 p.m.,
 23   correct?                                                  23              to be reconvened at 1:15 p.m.)
 24      A. Well, it depends on whether the company has         24
 25   entered into a data compensation agreement with           25


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  1   Monsanto when it -- when it first entered the market or    1              AFTERNOON SESSION
  2   whether the company said "I don't" -- you know, "I         2
  3   don't want to be dependent on Monsanto," and developed     3                 1:42 P.M.
  4   a totally new data package, which I think a couple of      4                  --oOo--
  5   companies did, which is why there's 14 long-term           5
  6   chronic studies.                                           6             VIDEO OPERATOR: We are going back on
  7          So, yeah, I think I'm aware that a couple of        7   the record. The time is 1:42.
  8   other companies did the full data package and are not      8             MR. LITZENBURG: I am Timothy Litzenburg
  9   dependent in any way on Monsanto-generated studies, but    9   of the Miller Firm for the plaintiffs. I just want to
 10   there certainly aren't 20 that developed a complete       10   note for the record that we have been going since 8:00
 11   stand-alone data set.                                     11   a.m., and there -- despite Monsanto's motion, which was
 12      Q. Is it your testimony that Monsanto controls a       12   contested, there have been no questions about anything
 13   label language that each company who is licensed to       13   regarding Missouri law, no questions about Jeffrey
 14   sell glyphosate-based herbicides in the US includes on    14   Hall, there have been no questions about Osborn & Barr
 15   their label?                                              15   or any of the other bases for which the defendants
 16             MR. LITZENBURG: Object to form.                 16   asked Judge Mullen to allow additional depositions in
 17       A. No, they don't -- they don't control it. When      17   this case. Dr. Benbrook has been deposed two
 18   a -- when a company enters into -- a company that's       18   separate -- or two full days in the past already this
 19   buying technical glyphosate from either Monsanto or       19   year, and we would ask that this be sped up because at
 20   some other manufacturer around the world to formulate     20   this point we view this as duplicative and harassing
 21   their own glyphosate-based product, so this would be      21   and we will invoke our Rule 57.03(b)(2) right to
 22   Helena Chemical Company or Wilbur Ellis or any of the     22   suspend it if need be.
 23   many so-called me too formulators, they would license     23             MR. HOLLINGSWORTH: And I just want to
 24   from Monsanto the right to use the basic -- the basic     24   correct the record for a second.
 25   label -- the number of crops, the rates of application,   25


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  1              CONTINUING EXAMINATION                          1   correct?
  2   BY MR. HOLLINGSWORTH:                                      2       A. Correct.
  3      Q. I believe Peterson and Hall have been                3       Q. EPA updates its risk assessment protocols over
  4   discussed; isn't that correct, Dr. Benbrook?               4   the years to track advancements in regulatory processes
  5            MR. LITZENBURG: By -- by my witness.              5   and procedures with the aim of more accurately and
  6       A. I brought them up a time or two.                    6   efficiently assessing pesticide risk, correct?
  7       Q. (BY MR. HOLLINGSWORTH) Correct, and we've had       7       A. And in addition complying with any changes in
  8   some lengthy discussion about what kind of products        8   the statute, yeah.
  9   they used, what kind of personal protective equipment      9       Q. EPA also updates its testing guidelines based
 10   is on those labels, etcetera?                             10   on advances in science and technology, correct?
 11              MR. LITZENBURG: Well, we can get a             11       A. It has done that in the past, yeah.
 12   transcript typed up by the court reporter from St.        12       Q. EPA has updated its decision criteria over the
 13   Louis that day, but I believe that you were there and     13   years, correct?
 14   the argument was Osborn & Barr needed to ask questions    14       A. Somewhat.
 15   and -- and Monsanto needed to ask questions about         15       Q. One example of EPA updating its decision
 16   Missouri law. So let's get around to it.                  16   criteria over the years is via the cancer guidelines,
 17              MS. HOEKEL: And I also would like to           17   correct?
 18   say we did not start at 8:00 a.m., despite --             18       A. Correct.
 19              THE WITNESS: We were late.                     19       Q. In 1986 EPA promulgated its first cancer
 20              MS. HOEKEL: -- we started at 8:30 a.m.,        20   guidelines which included a letter system A through E,
 21   and Osborn & Barr counsel has not yet had an              21   correct?
 22   opportunity to ask questions, and my understanding is     22       A. Correct.
 23   that this deposition was noticed up for two days and we   23       Q. Prior to that time, however, they were
 24   are three hours and 30 minutes into it, so I'm sure       24   proposed guidelines and EPA, for example, in 1985 was
 25   we'll get to the topics that --                           25   using those proposed guidelines, correct?


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  1              MR. LITZENBURG: Well, depending on how          1        A. Correct.
  2   things shake out. I mean, I would be happy for you to      2             MR. HOLLINGSWORTH: We'll mark Exhibit
  3   take -- to take over and ask questions out of turn,        3   5.
  4   however you guys want to do it, because we're not going    4              (Deposition Exhibit 5 was
  5   to let it go on forever with the same questions that       5              marked for identification.)
  6   have been asked and answered. But that said, let's         6      Q. (BY MR. HOLLINGSWORTH) Sir, is this the first
  7   resume.                                                    7   time in which EPA used guidelines with this A through E
  8       Q. (BY MR. HOLLINGSWORTH) Welcome back,                8   classification system?
  9   Dr. Benbrook.                                              9      A. What was the first time, this document?
 10       A. Thank you.                                         10      Q. Yes, so sorry. This is the risk assessment
 11       Q. Please turn to your report again. I want to        11   guidelines of 1986, correct?
 12   go to the section on page 40 titled Three Major OPP/EPA   12      A. Correct.
 13   Actions and Decisions.                                    13      Q. Are you familiar with this document?
 14       A. Okay.                                              14      A. Yeah, I've seen it over the years.
 15       Q. At paragraph 201 you note: The data                15      Q. And is this the first time to your knowledge
 16   requirements, risk assessment protocols, and decision     16   that EPA used the A through E classification system
 17   criteria supporting pesticide regulatory decisions made   17   with respect to carcinogenicity?
 18   by the OPP/EPA change incrementally over time. The        18      A. I believe that's the case.
 19   changes have, to varying degrees, tracked scientific      19      Q. Okay. In 1996 EPA updated its guidelines
 20   advances in the underlying residue chemistry,             20   again. Are you aware of that?
 21   toxicology, and environmental sciences.                   21      A. I don't recall the exact year, but yes, I know
 22          Did I read that correctly?                         22   they've been updated a time or two, and certainly with
 23       A. Yes.                                               23   the passage of the Food Quality Protection Act there
 24       Q. EPA updates its data requirements over the         24   were a number of science policies and risk assessment
 25   years based on advances in science and technology,        25   guidelines that had to be revisited.


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  1      Q. The Food Quality Protection Act was passed by        1   exposure assessment and risk characterization?
  2   Bill Clinton in 1996, correct?                             2      A. That's a fair characterization, yes.
  3      A. It was passed by the Congress and signed by          3      Q. What are the key things differentiating the
  4   Bill Clinton in 1996.                                      4   2005 EPA guidelines for carcinogen risk assessment from
  5      Q. Correct. Thank you.                                  5   the 18 -- 1986 guidelines?
  6             MR. HOLLINGSWORTH: We'll mark Exhibit            6      A. Well, for one thing, the Food Quality
  7   6.                                                         7   Protection Act had passed which substantially changed
  8              (Deposition Exhibit 6 was                       8   the -- a number of the exposure and risk assessment
  9              marked for identification.)                     9   statutory mandates that the EPA was operating under,
 10      Q. (BY MR. HOLLINGSWORTH) Sir, these are the           10   directed the agency to take into account cumulative
 11   April 1996 Proposed Guidelines For Carcinogen Risk        11   exposures across all routes of exposure for a given
 12   Assessment. Are you familiar with this document?          12   active ingredient or any other similar active
 13      A. Yes.                                                13   ingredients that posed a risk to humans through a
 14      Q. If you turn to page 4, it discusses the major       14   comparable mode of action. The understanding of
 15   changes from the 1986 guidelines. Do you see that?        15   mechanism -- mechanistic factors in the genesis of
 16      A. Yes.                                                16   abnormal cell growths with the potential to progress to
 17      Q. In the weighing evidence of hazard section it       17   cancer had evolved tremendously, and certainly there's
 18   notes: A major change is the way hazard evidence is       18   several aspects of the -- this most recent 2005 set of
 19   weighed in reaching conclusions about the human           19   guidelines that discussed the role of genotoxicity
 20   carcinogenic potential of agents. In the 1986 cancer      20   data.
 21   guidelines, tumor findings in animals or humans were      21         There's a number of changes in the -- in the
 22   the dominant components of decisions. Do you agree        22   ways that the agency modeled oncogenic risk when they
 23   with that?                                                23   had reached a judgment of -- of the fact that a
 24      A. That's what it says, yes.                           24   chemical had the potential to cause cancer. A number
 25      Q. Okay. And you're familiar with that based on        25   of changes in how they calculated exposures and some


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  1   your review of the 1986 cancer guidelines, correct?        1   discussion, although not -- not as -- not as extensive
  2       A. Correct.                                            2   on an array of the statistical considerations that come
  3       Q. Other information -- it goes on and states:         3   into play in analyzing the results from a particular
  4   Other information about an agent's properties and          4   study.
  5   structure activity relationships to other carcinogenic     5       Q. If you turn to page 1-7, there's a section
  6   agents and its activities and studies of carcinogenic      6   titled Key Features of the Cancer Guidelines?
  7   processes was often limited and played only a              7       A. Okay.
  8   modulating role as compared with tumor findings.           8       Q. And critical analysis of available information
  9   Correct?                                                   9   as a starting point for evaluation?
 10       A. Correct.                                           10       A. Got it.
 11       Q. Okay. So it's fair to say that in 1986 the         11       Q. And it has a sentence underlined there it
 12   proposed cancer guidelines were driven by tumor           12   says: These cancer guidelines view a critical analysis
 13   findings from the relevant studies, correct?              13   of all available information that is relevant to
 14       A. Correct.                                           14   assessing the carcinogenic risk as the starting point
 15       Q. Let's move on to 2005.                             15   from which a default option may be invoked if needed to
 16              (Deposition Exhibit 7 was                      16   address uncertainty or the absence of critical
 17              marked for identification.)                    17   information. Do you see that?
 18       Q. (BY MR. HOLLINGSWORTH) Sir, this is a March        18       A. Yes.
 19   2005 Guidelines For Carcinogen Risk Assessment. You       19       Q. And what do you understand that to mean?
 20   are generally aware of these guidelines, correct?         20       A. Well, it -- it's stating that they are going
 21       A. Yes, sir.                                          21   to use a weight of the evidence, a totality of the
 22       Q. Agree that the 2005 EPA guidelines for             22   evidence approach to initially make a judgment of
 23   carcinogen risk assessment utilize a consideration of     23   whether their exposure to a given pesticide poses a
 24   all relevant information to derive a weight of evidence   24   carcinogenic risk, and sometimes the evidence is quite
 25   characterization of hazard, dose response assessment,     25   clear in making that judgment, sometimes it's equivocal


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  1   and -- and what they're saying is that they first make     1   guidelines to explain both why they have moved to what
  2   that evaluation, that's their starting point, and they     2   they would -- they characterize as a weight of evidence
  3   may make a default option that a pesticide does appear     3   approach and -- and how they do it.
  4   to pose oncogenic risk or they'll explore that in more     4       Q. (BY MR. HOLLINGSWORTH) So EPA's
  5   detail and carry out a quantitative risk assessment to     5   carcinogenicity review and classification 1986 versus a
  6   see whether the level of concern for oncogenic risks is    6   carcinogenicity review and classification after 2005
  7   exceeded, and in other cases they might judge that the     7   would reflect the advances in science and technology
  8   evidence isn't strong enough to support that and either    8   that occurred in that 20-year span, correct?
  9   not conduct a quantitative risk assessment or wait for     9       A. Certainly reflects some of them, yes.
 10   further data or ways to, as they say, address             10       Q. And I think paragraph 202 of your report sort
 11   uncertainty or the absence of critical information.       11   of speaks to that change over time.
 12       Q. So they're going to rely on a weight of the        12       A. 202?
 13   evidence review in order to address uncertainty or some   13       Q. Yes.
 14   missing critical information. Is that fair?               14       A. Okay. Yeah.
 15       A. At -- yeah, at each point in time when they        15       Q. The impact of changes over time in data
 16   have to make a decision, that's what the -- these         16   requirements, study protocols, risk assessment methods,
 17   guidelines spell out, and I think it's an accurate        17   decision criteria governing OPP/EPA regulatory
 18   reflection of how the agency has conducted their          18   decisions and politics is a complex endeavor,
 19   oncogenic risk assessments for several years, actually.   19   especially in the case of a pesticide like glyphosate
 20       Q. Please turn to page 1-11. It's titled Weight       20   that has been registered by EPA since the mid 1970s and
 21   of Evidence Narrative. Let me know when you're there.     21   gone through so many profound changes in use patterns,
 22       A. I'm there.                                         22   test results and risk assessments.
 23       Q. Therein notes: The cancer guidelines               23          So fair to state you're referring to these
 24   emphasis -- emphasized the importance of weighing all     24   advances in science, technology and regulatory risk
 25   of the evidence in reaching conclusions about the human   25   assessment that occurred between the 1970s and today in


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  1   carcinogenic potential of agents. This is accomplished     1   that paragraph?
  2   in a single integrative step after assessing all of the    2      A. Well, and very much so the massive increase in
  3   individual lines of evidence which is in contrast to       3   the amount used and the number of people exposed and
  4   the stepwise approach in the 1986 cancer guidelines.       4   the distribution of levels of exposure across the
  5         So how exactly is this weight of evidence            5   population. So, I mean, there was big changes with how
  6   review in contrast to the stepwise approach of the 1986    6   carcinogenic risk was evaluated for all pesticides,
  7   cancer guidelines?                                         7   particularly challenging in the case of glyphosate
  8             MR. LITZENBURG: Object to form.                  8   because of the equivocal nature of the underlying
  9       A. Well, I think it's -- you know, it's fairly         9   chronic toxicity database, but at the same time you had
 10   clear if you read the whole document how they -- how      10   a pesticide that -- for which there was ten, 15 million
 11   they take into account all the differing lines of         11   pounds applied a year when EPA made the critical
 12   evidence, and one of the things that it -- had changed    12   decisions that when I wrote my expert report there's
 13   substantially between 1986 and 2005 or the early 2000s    13   over 200 million pounds being used in a year. So
 14   as they were finalizing this policy is that much more     14   obviously a very different set of issues and challenges
 15   was known about how to evaluate oncogenic risks. There    15   confronting the EPA in determining whether the current
 16   were structure activity relationships. There was the      16   uses and risks of glyphosate-based herbicides are --
 17   beginning of understanding of endocrine disruption.       17   meet the -- meet the agency's requirements.
 18   There was much more information on genotoxicity. There    18      Q. So do you agree that the advancements in
 19   was much more information known on the etiology of        19   science and technology as reflected in these 2005
 20   different tumors. There was beginning to be some          20   cancer guidelines make the cancer determination after
 21   significant epidemiological evidence about a number of    21   2005 more accurate than the cancer determination based
 22   cancers including brain cancer in children caused by      22   on 1986 guidelines?
 23   pesticides. And so EPA had to have a way at this time     23      A. Well, you know, it would depend. If there's a
 24   to integrate and take into account all of that            24   single clear animal study that was in the record back
 25   information, and this is their attempt in their           25   in the '80s, maybe it didn't change it much, but in


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  1   cases where there's a lot of different data,               1   for pesticides?
  2   particularly different studies that kind of point in       2      A. Because a -- a labeled use of a pesticide that
  3   different directions, that's when the -- you know, the     3   leaves residues on a harvested agricultural crop would
  4   more granular protocols in the 2005 guidelines explain     4   lead to that crop being seized and deemed adulterated
  5   how the agency tries to deal with those -- those           5   and unmarketable by the FDA if there was not a
  6   situations. So yeah, I think they're -- they               6   tolerance in place to cover the residues.
  7   articulate in a -- in a fairly straightforward and         7      Q. At page 44 of your report, paragraph 221, you
  8   responsible way how EPA tried to deal with all the         8   note: To make judgments regarding risks versus
  9   information that they -- they have at the time in          9   benefits, the OPP must carry out detailed assessments
 10   making a judgment.                                        10   of how a given pesticide is used on a given crop.
 11      Q. EPA's 2005 carcinogenicity guidelines take          11         Is that sort of assessment part of the residue
 12   into account weight of the evidence and advances in       12   tolerance approval process?
 13   science and technology to more accurately consider the    13      A. No.
 14   full range of toxicology and exposure studies on a        14      Q. Okay. What is that then?
 15   particular pesticide, correct?                            15      A. EPA and certainly, as I said, since the
 16             MR. LITZENBURG: Object to form.                 16   passage of major amendments in -- to FIFRA in the late
 17      A. As I said, they -- they certainly have made a       17   '70s, EPA does not require efficacy data, does not do a
 18   effort to incorporate much of the scientific advance      18   benefits assessment when it is evaluating a
 19   that they were aware of. Did they -- did they fully       19   registration application for a new pesticide or a new
 20   incorporate all of the cutting edge science on all        20   use of an already registered pesticide. They've stated
 21   different tumor types? Probably not, but based on         21   very clearly that they don't do that. So that they're
 22   the -- the scope of the challenges that they faced in     22   not -- they're not making a risk/benefit judgment at
 23   evaluating the oncogenicity of pesticides, they came up   23   that point on either issuing a new label or a new use.
 24   with a process which was as comprehensive and rigorous    24         When it comes time to do a reassessment or
 25   as they knew how to do.                                   25   re-registration of a pesticide that has already been on


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  1       Q. (BY MR. HOLLINGSWORTH) And you'll agree that        1   the market, the statutory standard that EPA is mandated
  2   the 2005 cancer guidelines are certainly an advancement    2   to apply is assuring that there's no unreasonable
  3   from where we were in 1986, correct?                       3   adverse effects on man and environment, taking into
  4             MR. LITZENBURG: Object to form.                  4   account the -- the risks and the benefits associated
  5       A. You know, I -- I kind of think given what they      5   with each unique use of a pesticide.
  6   came up with in 1986 it kind of reflected their best       6         In the course of making these re-registration
  7   judgment of where things were and science has advanced,    7   divisions, EPA does do a benefits assessment in cases
  8   and I -- I think the 2005 is an equally timely             8   where the information and studies available to EPA
  9   reflection of the -- the information that should be        9   suggest that there -- there is some risk of either harm
 10   taken into account when a regulatory agency makes this    10   to the environment, to fish or birds or earthworms or
 11   kind of decision. I -- you know, I -- I don't believe     11   some risk to humans to -- through the diet or
 12   that the 2005 guidelines are substantially more           12   applicators through exposure. If there's a risk
 13   thorough or careful or robust than the 1986. They --      13   concern that conceivably approaches or exceeds the
 14   but I think that they kept up with the times and tried    14   agency's level of concern, then that triggers the need
 15   to incorporate the -- the new information.                15   for a benefits assessment so that at the end of the
 16       Q. (BY MR. HOLLINGSWORTH) Section III A of your       16   process they -- they have the two pieces of the
 17   report is on the three major OPP/EPA actions and          17   equation to make a judgment of whether the -- the
 18   decisions, correct?                                       18   projected benefits justify the risks that EPA has
 19       A. Yes.                                               19   determined is associated with the uses of the
 20       Q. The first major EPA regulatory action that you     20   pesticide.
 21   list concerns pesticide residue tolerance approvals,      21      Q. So the initial review by EPA and FDA in this
 22   correct?                                                  22   1996 Food Quality Protection Act deals strictly with
 23       A. Correct.                                           23   risks and there's a standard of reasonable certainty of
 24       Q. Why is the pesticide residue tolerance             24   no harm; is that correct?
 25   approval one of the three major EPA regulatory actions    25      A. There's no role for FDA in that review.


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  1       Q. Okay.                                               1   that, of course, was a big issue of controversy within
  2       A. No role. It does -- the FQPA did revise the         2   the industry. You have -- EPA was responsible for
  3   Food, Drug and Cosmetic Act, but it revised Section 408    3   applying two statutes which in some circumstances might
  4   and 409 which are fully under the purview and              4   be in conflict.
  5   responsibility of EPA to --                                5              MR. HOLLINGSWORTH: Let's mark an
  6       Q. So the initial review by EPA pursuant to the        6   exhibit, Exhibit 8.
  7   1996 Food Quality Protection Act deals strictly with       7              (Deposition Exhibit 8 was
  8   risks and there's a standard of reasonable certainty of    8              marked for identification.)
  9   no harm, correct?                                          9       Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, this is
 10       A. Correct.                                           10   the 1996 Food Quality Protection Act Implementation
 11       Q. And then afterwards if there's determined to       11   Plan. You're familiar with this document, correct?
 12   be some sort of risk, EPA will consider the benefits of   12       A. Very much so.
 13   the pesticide product in deciding how to regulate it,     13       Q. And I think you testified previously today
 14   correct?                                                  14   that you had reviewed all of the pesticide residue
 15       A. Well, that -- again, that's not exactly right.     15   tolerance approvals or determinations for glyphosate;
 16   So when EPA did the tolerance review after the passage    16   is that correct?
 17   of the FQPA or when they entertained an application       17       A. I think I've got them all. You know, some of
 18   from Monsanto for a new tolerance for glyphosate, they    18   them get very complicated because EPA will submit a
 19   would -- they would look at the chronic database and      19   petition for tolerances at certain levels in a set of
 20   whether they had the data that they needed to establish   20   crops, and before final action has -- had been taken on
 21   a chronic reference dose and determine whether the        21   that petition, for example, the EPA may have changed
 22   pesticide was an oncogen or not and they would -- they    22   its crop groupings, which crops they put in certain
 23   would have a calculation of the quote/unquote risk cup,   23   groupings for tolerance-setting purposes, and so EPA
 24   which was a term of art introduced into the lexicon of    24   would call up Monsanto and say, "Well, we've kind of
 25   pesticide regulation after the passage of the FQPA, and   25   changed how we do business, so you might want to


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  1   they would calculate the percent of the allowable risk     1   withdraw that petition and just redo it with our
  2   that would fit in this cup that has already been taken     2   current crop groupings, and then when we take action,
  3   up by all of the currently registered uses of the          3   you won't have to redo it."
  4   pesticide or any related pesticides that work through      4         So despite the fact that I've spent an
  5   the same mode of action. And if there was a big chunk      5   enormous amount of time trying to comprehensively track
  6   of the risk cup still available for allocation to new      6   the history of residue tolerance setting involving
  7   uses or if the newly proposed tolerance increased the      7   glyphosate, I'm not going to sit here and say that I've
  8   estimate of exposure, the Tier 1 exposure by only 1        8   got every federal register notice and understand every
  9   percent, they would just say, "Fine." They would           9   nuance of sort of the evolution of some petitions,
 10   approve the tolerance.                                    10   which gets very complicated, but in general, I've
 11          If, however, a -- a reassessment of existing       11   tracked it very carefully.
 12   tolerances or a request to establish new tolerances       12      Q. Sure. And that's fair, and let me know if you
 13   produced a Tier 1 estimate of dietary exposure which      13   haven't seen one that I put in front of you today.
 14   exceeded the risk cup, then EPA would do a more           14   The -- the glyphosate residue tolerance are associated
 15   in-depth study. It would -- it could go many different    15   with particular crops, I think you just mentioned that,
 16   ways. It could require new studies to reassess the        16   correct?
 17   chronic reference dose. It could work with the company    17      A. Well, any food use crop.
 18   to determine whether they -- a lower tolerance might      18      Q. Right. So --
 19   cover some of the uses that the company was seeking       19      A. And not -- completely not an issue in this
 20   or -- they would do a lot of different things, and if     20   case. I mean, there was no -- the vast majority of
 21   it came down to whether the agency was going to cancel    21   pesticides that Jeff Hall -- now, Peterson was a farmer
 22   the registration of a given pesticide on a given food     22   so he would have used agricultural -- agriculturally
 23   because of one of these tolerance considerations, they    23   labeled glyphosate, but Jeff Hall, there wouldn't --
 24   did at the end of the day -- they had to take into        24   tolerance issues wouldn't apply to those labels.
 25   account the -- the risk/benefit standard and that --      25      Q. Even though there might not be, you know, over


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  1   150 specific pesticide residue approvals for               1    correct?
  2   glyphosate, there are decisions for over 150 pest --       2        A. Yes.
  3   crops treated with glyphosate-based herbicides,            3        Q. A few sentences down it notes: When new
  4   correct?                                                   4    evidence arises to challenge the safety of a registered
  5       A. I would -- yeah, I'm sure that's correct.           5    pesticide, the agency may take action to suspend or
  6       Q. Since the Food Quality Protection Act was           6    cancel its registration and revoke the associated
  7   passed in 1996, EPA has been required to conduct a         7    tolerance. You agree with that statement, right?
  8   cumulative risk assessment involving all routes of         8        A. Yes.
  9   exposure with each residue tolerance approval, correct?    9        Q. So with respect to tolerances, EPA can revoke
 10       A. Yes.                                               10    a pesticide tolerance or not approve a pesticide
 11       Q. What is a margin of safety?                        11    tolerance based on new evidence challenging the safety
 12       A. It's -- in the context of dietary exposure and     12    of a pesticide such as glyphosate, correct?
 13   general population exposure, it's the amount of room in   13        A. Correct.
 14   the risk cup or it's actually -- it's a ratio of the      14        Q. The next sentence of the FQPA implementation
 15   EPA's best estimate of exposure in the numerator of a     15    plan notes that: EPA may also undertake an extensive
 16   fraction and in the denominator, the total amount of      16    special review of a pesticide's risks and benefits
 17   exposure that EPA is willing to accept without            17    before approving a pesticide residue tolerance. Do you
 18   triggering its level of concern. So that -- that ratio    18    agree with that statement?
 19   is the -- the margin of concern or this basic risk        19        A. You didn't read it quite as it's written. EPA
 20   metric.                                                   20    may also undertake an extensive special review of a
 21       Q. All right. So there's certain margins of           21    pesticide's risks and benefits or work with
 22   safety built into the FQPA tolerance approval risk        22    manufacturers and users to implement changes in a
 23   assessment, correct?                                      23    pesticide's use. That was the sentence you were
 24       A. Okay, we -- I'm not sure if we're -- if you're     24    reading, right?
 25   asking me about something different. In the setting of    25        Q. Sure.


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  1   a chronic reference dose, there are standard safety        1      A. Okay.
  2   factors. You're not asking about those, am I correct?      2      Q. Do you agree with that statement?
  3      Q. No.                                                  3      A. As I read it, yes.
  4      A. Because some people would refer to them as           4      Q. Okay. Residue tolerance is also applied to
  5   margins of safety too. Okay, so we're fine.                5   surfactants used in pesticide products, correct?
  6      Q. There are certain margins of safety built into       6      A. Well, no. The -- the tolerance for glyphosate
  7   FQPA tolerance approval risk assessment, correct?          7   residues covered glyphosate and its primary metabolite
  8      A. Well, yeah, and there's more than one type --        8   AMPA up through some point in the '90s, I don't
  9      Q. Sure.                                                9   remember the exact date, when EPA made a decision to no
 10      A. -- but I would agree with you.                      10   longer encompass or take into account AMPA residues in
 11      Q. Please turn to page 6.                              11   the expression of glyphosate tolerances. There's
 12      A. Of the FQPA document?                               12   nothing in the tolerances for glyphosate and its
 13      Q. Yes, sir.                                           13   principal metabolite AMPA that has anything to do with
 14      A. Okay.                                               14   or speaks to the surfactants.
 15      Q. The section titled Statutory Framework EPA's        15         Now, some of the surfactants may themselves
 16   Role in Food Safety?                                      16   have tolerances or exemptions from the requirement for
 17      A. Uh-huh.                                             17   a tolerance, but they would be completely separate from
 18      Q. The third paragraph notes: EPA requires             18   the glyphosate tolerance.
 19   extensive data as part of its pesticide review and        19      Q. Right. But surfactants such as POEA will be
 20   approval process requiring more than 120 studies before   20   considered via the FQPA and a tolerance determination
 21   granting a registration for most pesticides used in       21   will be made with respect to those surfactants,
 22   food production. Do you agree with that statement?        22   correct?
 23      A. Yes.                                                23      A. You know, I'm trying to think back how much --
 24      Q. It's certainly the case with glyphosate that        24   I don't think EPA put a lot of effort into reviewing
 25   EPA has reviewed more than 120 studies for glyphosate,    25   surfactants as it implemented the FQPA. I mean, it had


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  1   such an enormous job to do with just the active               1   Quality Protection Act amends both FIFRA and FFDCA and
  2   ingredients. You know, I know that they've -- they've         2   significantly strengthens the US pesticide regulatory
  3   done some work on surfactants and adjuvants and there's       3   system. Do you agree with that?
  4   been an attempt to come up with a -- you know, a              4       A. Yes, I do.
  5   generally recognized is it safe or an improved set of         5       Q. Please turn to section titled Guiding
  6   surfactants and adjuvants and -- but I -- I certainly         6   Principles.
  7   wouldn't agree that adjuvants and surfactants receive         7       A. Is this in the FQPA document?
  8   the same level of scrutiny upon passage of the FQPA as        8       Q. Yes, sir.
  9   the active ingredients did.                                   9       A. What page?
 10            MR. HOLLINGSWORTH: Let's mark this                  10       Q. Seven.
 11   exhibit.                                                     11       A. Okay.
 12              (Deposition Exhibit 9 was                         12       Q. Under the health-based approaches to food
 13              marked for identification.)                       13   safety it notes: EPA will take a health-based approach
 14      Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, have you          14   to implementing the new law, especially with respect to
 15   seen this pesticide residue tolerance decision with          15   establishing safety factors for potentially sensitive
 16   respect to alkyl amine polyalkoxylates, otherwise known      16   populations such as infants and children. Do you agree
 17   as POEA?                                                     17   with that statement?
 18      A. Yes, I believe I have.                                 18       A. Yes.
 19      Q. Okay. So this shows EPA pursuant to FQPA               19       Q. And the safety factors are a key principle of
 20   looking at surfactants, and here this is a surfactant        20   regulatory risk assessment, correct?
 21   used in glyphosate-based herbicides, in making a             21       A. Correct.
 22   determination whether or not to regulate them pursuant       22       Q. There's a safety factor applied to women and
 23   to FQPA, correct?                                            23   children that's above the safety factor applied to the
 24      A. And as I said earlier, they provided an                24   general population, correct?
 25   exemption from the requirement for tolerance for             25       A. It's in addition to.


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  1   multiple surfactants and adjuvants, and this is one of        1       Q. And it's -- sorry. It's children and infants,
  2   them.                                                         2   correct?
  3       Q. Right. They certainly considered the safety            3       A. Children and -- yeah, it's really -- the FQPA
  4   of the POEA surfactant, correct?                              4   directed the EPA to take into account the unique risks
  5       A. Well, they -- yes, they had to have done some          5   faced by the developing fetus during pregnancy and
  6   sort of toxicological assessment. I didn't look at the        6   infants and children because of the 1993 National
  7   database. I don't -- I don't know how extensive the           7   Academy of Sciences report on pesticides in the diets
  8   studies were. I can guarantee you they didn't do a            8   of infants and children which I started during my
  9   two-year cancer study. It's not -- POEA and this class        9   tenure as the executive director of the board on
 10   of surfactants has not been tested at anywhere near the      10   agriculture. So I assure you I know the history of the
 11   depth and rigor of glyphosate technical material.            11   FQPA as well as anybody in this room, and yes, the
 12       Q. As the next -- if you go back to the FQPA             12   critical difference in the FQPA relative to FIFRA was
 13   implementation plan, the next sentence indicates: New        13   that it removed the requirement that the EPA take into
 14   evidence challenging the safety of a pesticide may also      14   account the benefits of a pesticide when setting,
 15   lead EPA to require reduced application rates or             15   adjusting or cancelling a tolerance. That was one of
 16   otherwise implement measures to decrease exposure. Did       16   the biggest changes in federal regulatory policy
 17   I read that correctly?                                       17   embodied in the FQPA.
 18       A. Correct.                                              18       Q. FQPA mandates regular consideration of
 19       Q. So the 1996 FQPA provides another avenue for          19   aggregate exposures from food and nonoccupational
 20   EPA to reduce exposure to a pesticide by reducing            20   sources as part of EPA's evaluation of whether a
 21   application rates, for example, when presented with new      21   tolerance can be set that meets the standards of the
 22   evidence showing an increased risk associated with the       22   law. Do you agree with that?
 23   pesticide product, correct?                                  23       A. Yeah, and they also take into account
 24       A. Dietary risk, yeah.                                   24   occupational exposures. I mean, it's a -- cumulative
 25       Q. The last paragraph notes that: The Food               25   exposure really means -- it's just directing the EPA


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  1   what -- what they were sort of doing already, but it       1      Q. Okay. So each use of a glyphosate-based
  2   made it a statutory mandate to take into account all       2   herbicide on a crop EPA assumes 100 percent use on that
  3   routes of exposure for a given population group to a       3   crop and then they consider that use within the risk
  4   pesticide.                                                 4   cup analysis; is that correct?
  5      Q. Right. So the determination of a pesticide           5      A. That's their Tier 1 dietary risk assessment.
  6   residue tolerance under the FQPA takes into account        6      Q. Okay.
  7   occupational exposure to a pesticide, correct?             7      A. And they assume that the residues would be at
  8      A. It would play a role into how much of that           8   the tolerance level. 100 percent crop acres treated
  9   risk cup was taken up.                                     9   plus 100 percent of the residue -- of the tolerance
 10      Q. And it also takes into account sources of           10   level.
 11   exposure such as drinking water, residential use and      11      Q. Okay. And that's a fairly conservative
 12   lawn care use, correct?                                   12   estimate. Do you agree?
 13      A. Yes.                                                13      A. It's very conservative.
 14              (Deposition Exhibit 10 was                     14      Q. But then if EPA gets more information on
 15              marked for identification.)                    15   exposure over time, EPA may adjust that conservative
 16      Q. (BY MR. HOLLINGSWORTH) Sir, this is PRN 97-1:       16   estimate in order to take into account those more
 17   Agency Actions under the Requirements of the Food         17   accurate understandings of exposure, correct?
 18   Quality Protection Act. You're familiar with this         18      A. Not asking the question exact right. EPA
 19   pesticide registration notice, correct?                   19   would not get information on exposure. They would get
 20      A. Yes, I've -- I've seen it. It's been a while        20   information on residue levels in food, for example.
 21   since I've read it.                                       21   Perhaps the FDA put baked beans in the total diet study
 22      Q. The pesticide registration notice is                22   and there were -- was data showing that in 400 samples
 23   essentially a regulatory guidance with respect to         23   of baked beans there were 4 percent of them that had
 24   FIFRA, correct?                                           24   glyphosate at some level that was, say, 1/80th of the
 25      A. Correct.                                            25   tolerance. EPA would take that information and include


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  1       Q. Please turn to Section 5 of the document            1   it in a more refined estimate of exposure to glyphosate
  2   entitled Interim Approach to Risk Assessment.              2   through baked beans.
  3       A. Yep.                                                3          So it's not that -- it's not that the agency
  4       Q. Okay. And if you turn to the next page, it          4   gets better information on exposure, but it would get
  5   talks about how there's an interim decision logic that     5   better information on percent of acres treated or the
  6   allows decisions to be made now which are more             6   mean residue level, but both of those are just parts of
  7   protective -- or sorry -- which are protective, more       7   the equation that calculates exposure.
  8   economic of resources and which can be revised as          8       Q. Sure. EPA considers things like amount of
  9   knowledge increases. EPA has designed an interim           9   acres treated or the residue level for a specific crop
 10   strategy to meet new FQPA reasonable certainty of no      10   in determining -- making a judgment about decreasing or
 11   harm standard in the absence of full data and fully       11   increasing the amount of risk attributed to that new
 12   developed exposure risk assessment methodologies.         12   use. Is that fair?
 13   You're familiar with that, right?                         13       A. Right. And if you want me to explain the
 14       A. Yes.                                               14   precise standard I'll be glad to. I'm not sure it's
 15       Q. Okay. And then lower down it notes -- do you       15   important to you in this case, but it's actually quite
 16   see the risk cup section?                                 16   interesting.
 17       A. Yes.                                               17       Q. Let's take a look at the November 10, 2004
 18       Q. Okay. And that's what you were just talking        18   pesticide residue tolerance approval.
 19   about, correct?                                           19              MR. LITZENBURG: Can we take a
 20       A. Correct.                                           20   five-minute break before we get to the next exhibit?
 21       Q. Okay. The full cup represents the total            21              MR. HOLLINGSWORTH: Sure.
 22   reference dose and each use of a pesticide contributes    22              VIDEO OPERATOR: We're going off the
 23   a specific amount of exposure that adds a finite amount   23   record. The time is 2 -- 2:27.
 24   to the risk cup, correct?                                 24              (Deposition Exhibit 11 was
 25       A. Yep.                                               25              marked for identification.)


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  1              (Recess taken.)                                 1   carcinogenicity studies in total in order to register a
  2             VIDEO OPERATOR: We are going back on             2   pesticide for sale and use in this country, correct?
  3   the record. The time is 2:42.                              3       A. Certainly for any of the major food use
  4             MR. LITZENBURG: Off the record -- this           4   pesticides, yes.
  5   is Tim Litzenburg, plaintiffs' counsel -- I have just      5       Q. And for glyphosate that's the case as well?
  6   informed counsel that I had a death in the immediate       6       A. That's certainly the case, yes.
  7   family this week and we will have to suspend this          7       Q. As the toxicology data requirements table
  8   deposition for a 5:00 a.m. flight tomorrow. Counsel        8   indicates, EPA requires the active ingredient to be
  9   have agreed to finish today's portion of the deposition    9   used as a test substance when conducting chronic
 10   at around 5:00 p.m. and then continue to meet and         10   carcinogenicity testing, correct?
 11   confer on when we can complete Dr. Benbrook's             11       A. Correct.
 12   deposition in the Peterson/Hall matter, and you all may   12       Q. So EPA has made the decision that the active
 13   say whatever you like.                                    13   ingredient is the appropriate test substance for a
 14             MR. HOLLINGSWORTH: Sure. And, you               14   chronic carcinogenicity testing, correct?
 15   know, we agree to go to 5:00 today and then see where     15       A. That's what they minimally require, yes.
 16   we are at that moment. We may request, and I think you    16       Q. It wasn't Monsanto who decided that the
 17   stated earlier, that you could go until as late as        17   official carcinogenicity rodent testing would be of the
 18   10:00 tonight. We may take you up on that, but we will    18   active ingredient rather than the formulated product,
 19   let you know at 5:00.                                     19   it was EPA, correct?
 20             MR. LITZENBURG: Okay, that's fair.              20       A. It was -- yeah, it's what EPA requires of all
 21       Q. (BY MR. HOLLINGSWORTH) Change up a little          21   registrants.
 22   bit.                                                      22       Q. Now, for the other required tests and, for
 23       A. As long as we can have dinner before 10:00.        23   example, acute toxicity testing, EPA has made a
 24       Q. Hmm?                                               24   decision there that the end use formulated product
 25       A. A dinner break before 10:00 because somebody       25   should be tested, correct?


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  1   using their brain as hard as I am needs calories.          1      A. Correct, in this six-pack set of tests that we
  2   Heaven forbid I wouldn't want to lose any weight at        2   talked about and -- and a few others, yeah.
  3   this deposition.                                           3      Q. All -- all formulated products must undergo
  4              THE WITNESS: You're not on the record,          4   dermal testing, correct?
  5   are you?                                                   5      A. Yes.
  6              MR. LITZENBURG: I'm trying to slim              6      Q. EPA does not require chronic animal
  7   down. I'm trying to get my summer bathing suit body.       7   carcinogenicity testing on the formulated product,
  8              THE WITNESS: I believe we can strike            8   correct?
  9   those comments. Oh, boy, let's get focused.                9      A. That's correct.
 10       Q. (BY MR. HOLLINGSWORTH) Okay. Dr. Benbrook,         10      Q. EPA does not require chronic animal
 11   please take back out -- I believe this was Exhibit 2;     11   carcinogenicity testing on Roundup, correct?
 12   is that correct? Yes, Exhibit 2. And we have the          12      A. Correct.
 13   toxicology data requirements table, correct?              13      Q. EPA does not require chronic animal
 14       A. Yeah.                                              14   carcinogenicity testing on Ranger Pro, correct?
 15       Q. And I'm pulling this out because it indicates      15      A. Correct.
 16   what EPA requires with respect to the different types     16      Q. EPA does not require chronic animal
 17   of required toxicology tests, correct?                    17   carcinogenic testing on any end use formulated
 18       A. Yes.                                               18   pesticide product, correct?
 19       Q. And that is between the technical grade active     19      A. Not -- certainly not as a routine approach,
 20   ingredient or the end use product, in other words, the    20   no.
 21   formulated product, correct?                              21      Q. Do you know why EPA doesn't require chronic
 22       A. Or both, correct.                                  22   animal carcinogenicity testing on the formulated
 23       Q. Or both?                                           23   product whether it be Roundup, Ranger Pro or some other
 24       A. Yeah.                                              24   pesticide?
 25       Q. EPA requires two long-term rodent                  25      A. I think there's a --a couple reasons. I think


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  1   the workload of dealing with just the two chronic          1        Q. Sure. But you don't know of one pesticide
  2   studies on active ingredients is -- places considerable    2    company in the United States or abroad that has
  3   strain on the agency, and if they were to, say, include    3    conducted a long-term rodent carcinogenicity study on
  4   even one formulated product for each active ingredient,    4    one of its formulated pesticide products, correct?
  5   that would double the workload to evaluate those           5        A. The -- the only example would be a pesticide
  6   studies. So I think there's workload considerations.       6    where there really isn't much added to it, you know,
  7   And then there's -- there's valid considerations that      7    other than the active ingredient where there's really
  8   the registrants, including Monsanto, have argued that      8    no biologically active adjuvants or surfactants and,
  9   there's -- you know, there's 100-plus Roundup labels       9    you know, I -- I would imagine across the 600 active
 10   which probably include a dozen different surfactants      10    ingredients the EPA has agricultural-use pesticides,
 11   and adjuvants in various different proportions, and it    11    there's probably a few that really don't have many
 12   would be -- it would be infeasible and inappropriate to   12    adjuvants. So in that case it would be -- the chronic
 13   require, you know, $4 million worth of chronic testing    13    test would really be on essentially the same chemical
 14   on every single one of them.                              14    that's in end use products.
 15         So part of the practical issues was, you know,      15        Q. Sir, you don't know one of those instances
 16   which formulated products to choose, if EPA were to       16    either where EPA has reviewed a pesticide product that
 17   require such testing, so there -- there are valid         17    is purely the active ingredient and, therefore, would
 18   regulatory policy and efficiency of decision-making       18    also qualify as the end use product, reviewed one of
 19   reasons why EPA has not as a matter of course required    19    those long-term rodent carcinogenicity --
 20   chronic testing on formulated products.                   20        A. I didn't do a search for that. Didn't seem
 21       Q. So there are valid regulatory policy and           21    relevant to the -- to this case.
 22   efficiency decision-making reasons including the          22        Q. Okay. So you do not know of one pesticide
 23   workload that's put on EPA for potentially reviewing a    23    company in the United States or abroad that has
 24   long-term cancer study of every formulated product, and   24    conducted a long-term rodent carcinogenicity study on
 25   then also the expense and workload that would be put on   25    one of its formulated pesticide products, correct?


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  1   companies in developing that those data -- those tests     1      A. I can't think of any examples off the top of
  2   and data packages, correct?                                2   my head.
  3       A. That is why at this point EPA does not include      3      Q. It is certainly not industry standard to
  4   routinely chronic testing of, say, at least one of the     4   conduct a long-term rodent carcinogenicity study on a
  5   major formulations for all pesticides, that is correct.    5   formulated product, is it?
  6       Q. Are there any other reasons?                        6             MR. LITZENBURG: Objection to form.
  7       A. Well, I -- I think those are the two major          7      A. It certainly is not as a standard operating
  8   ones.                                                      8   procedure, but when a chemical company becomes aware
  9       Q. Do you know of any pesticide company that           9   that their formulated product is, in fact, much more
 10   conducts long-term rodent carcinogenicity studies on      10   toxic than the active ingredient included in it, that
 11   its formulated pesticide products?                        11   should trigger in that company a concern and an
 12       A. Certainly not as a -- not as a routine             12   interest in actually quantifying whether the formulated
 13   practice and certainly not that I'm aware of where        13   product is posing risks that have not been picked up or
 14   they've submitted them to -- to EPA, but I would          14   reflected in either the company's toxicological work on
 15   imagine -- I would imagine that even Monsanto maybe in    15   the pure active ingredient or the data that the
 16   another country has done some further testing of          16   regulatory agency has incorporated in its assessment of
 17   formulated product, whether it's Q testing or genotox     17   risk.
 18   or cancer, but -- but where there would be no -- no       18         And this, of course, is the -- the exact
 19   knowledge or record of that in the US. It's a big         19   situation that applies to the stewardship of glyphosate
 20   world. There's a lot of different people doing a lot      20   and Roundup products by Monsanto and EPA's review of it
 21   of different testing and, you know, my review of the      21   starting in the early 2000s when there was a number of
 22   record really was limited to toxicity testing done by     22   studies in the peer-reviewed literature, including
 23   Monsanto to submit to the EPA, and so I -- you know,      23   studies that Monsanto's own hired expert regarded as
 24   it's just -- it's hard for me to know what might have     24   scientifically valid and likely to demonstrate a
 25   been done in China or Japan or Turkey.                    25   genotoxic effect bigger in the formulated product than


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  1   in the pure glyphosate.                                    1      A. With what -- with what they knew from their
  2         You know, there's -- there's no question but         2   own testing, much of which was not disclosed to the
  3   that the record in this case shows that, you know, by      3   EPA, they -- they -- they were deeply concerned about
  4   the early 2000s, Monsanto was -- knew that its             4   the added risk in their formulated products. They knew
  5   formulated product was more toxic to mammals than its      5   that there was added risk in genotoxicity. They knew
  6   pure active ingredient, and I think as -- as the use of    6   that there was added risk in terms of dermal absorption
  7   glyphosate expanded, as the GE crops came on and, you      7   from studies that they had commissioned and funded, yet
  8   know, became so popular around the world, a responsible    8   they did not ask the next and logical question of
  9   company would have in that -- in that instance done a      9   whether in a -- in a chronic feeding study using the
 10   battery of -- of chronic feeding studies on at least      10   formulated product would such a chronic -- would such a
 11   one of its major formulated products, and I think had     11   feeding study demonstrate heightened risk as well.
 12   they done that and had the study produced no              12         And I -- I do not accept that that was in
 13   indications of toxicity beyond what was already aware     13   accord with industry practice in the chemical industry,
 14   from the long-term studies on glyphosate alone, then we   14   the drug industry, the pesticide industry. Any
 15   wouldn't be here today, but I think it -- it -- in this   15   industry that is exposing people or selling to people
 16   unusual and unique circumstance it was the company's      16   something that they become exposed to, they have an
 17   responsibility without being asked by EPA to do such      17   obligation to do what certainly is reasonable and
 18   studies. That is my opinion.                              18   prudent to assure that it's -- that exposures are safe.
 19       Q. Finished?                                          19   That's what everyone expects of these companies.
 20       A. Yeah.                                              20         And in this case, Monsanto made a corporate
 21       Q. Given there's not a single pesticide company       21   decision to not only not do the testing themselves, but
 22   in the US or abroad that has conducted a long-term        22   to vigorously oppose anyone else doing it and certainly
 23   rodent study on one of its formulated pesticide           23   oppose any regulatory agency from requesting them, and
 24   products, it certainly isn't industry standard for a      24   that is to me crystal clear in the record that I
 25   company to do that, correct?                              25   reviewed.


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  1       A. Well, I'll agree with you, it's not a routine       1      Q. (BY MR. HOLLINGSWORTH) EPA without Monsanto
  2   industry standard, but I'm not prepared to say that no     2   urging it to do anything has never required that any
  3   company has ever done a chronic feeding study on a         3   company conduct long-term rodent carcinogenicity
  4   formulated product. I -- I don't -- I have not done        4   studies on any pesticide products, correct?
  5   the research to agree or disagree with that statement      5            MR. LITZENBURG: Object to form.
  6   of yours.                                                  6      A. Again, this is the third or fourth time you've
  7      Q. Given you're not aware of a single pesticide         7   asked that and I'll answer it the same way. I'm not
  8   company in the US or abroad that has conducted a           8   aware of any EPA data requirement for a chronic feeding
  9   long-term rodent carcinogenicity study on one of its       9   study on a formulated product.
 10   formulated pesticide products, it certainly isn't         10      Q. (BY MR. HOLLINGSWORTH) Your reasonable
 11   industry standard for a company to do that kind of        11   company standard is to say that Monsanto is
 12   testing, correct?                                         12   unreasonable for not conducting a test that no other
 13             MR. LITZENBURG: Object to form.                 13   company in the country or the world that you're aware
 14       A. Yes, sir, that's exactly what I just said. I       14   of has ever conducted, correct?
 15   agreed with you on that part of your statement.           15            MR. LITZENBURG: Object to form.
 16      Q. (BY MR. HOLLINGSWORTH) You testified above --       16      A. I'm -- I -- I doubt that no company selling
 17   earlier today that your definition of a reasonable        17   pesticides around the world has never tested a
 18   company is based, in part, on following the industry      18   formulated product or essentially the same formula in a
 19   standards, correct?                                       19   long-term chronic feeding study. It's a -- you know,
 20       A. Certainly at a minimum, yes.                       20   I'd be shocked if no company has done that, but I
 21      Q. So it's certainly not unreasonable that             21   haven't -- it hasn't been an issue that I've ever
 22   Monsanto has not tested Roundup in a long-term rodent     22   carefully researched and it would be a very
 23   carcinogenicity study, correct?                           23   time-consuming exercise given the diversity of
 24       A. No, no, it is not.                                 24   countries around the world.
 25             MR. LITZENBURG: Wait a second.                  25            MR. HOLLINGSWORTH: Move to strike as


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  1   nonresponsive.                                             1       A. The outcry is -- "outcry" is a pejorative word
  2       Q. (BY MR. HOLLINGSWORTH) Please listen to my          2   and suggests a worked up perhaps bordering on out of
  3   question, sir. Your reasonable company standard is to      3   control reaction to something. I would not
  4   say that Monsanto is unreasonable for not conducting a     4   characterize the view of many scientists that have been
  5   test that no other company in the country or the world     5   tracking glyphosate-based herbicide risk over many
  6   that you know of has ever conducted before, correct?       6   years in calling for chronic feeding studies. For
  7      A. I'm merely --                                        7   example, the peer-reviewed journal article that Pete
  8           MR. LITZENBURG: Objection, asked and               8   Myers was the lead author on and I was the senior
  9   answered, form.                                            9   author because I wrote most of the manuscript, it was
 10       A. -- speaking to what Monsanto knew about its        10   not ghostwritten by Monsanto, believe it or not, in
 11   products and what Monsanto has pledged to people buying   11   that paper, a well-respected international group of
 12   its products and the general public about its             12   scientists expressed levels of concern about the risks
 13   commitment to safety. I am not basing this on some        13   to -- of glyphosate and glyphosate-based herbicides and
 14   relative standard of behavior relative to the             14   in particular called upon Monsanto and regulators to
 15   testing -- chronic testing of formulated products where   15   assure that studies -- more and better studies are done
 16   I agree with you there is not a routine requirement       16   on formulated product.
 17   from any regulatory agency around the world to test all   17          Now, my coauthors would not characterize their
 18   formulated end use products in chronic toxicity studies   18   carefully worded, well-referenced journal article as an
 19   for the reasons that we've just discussed, but I am       19   outcry, but they did characterize it as an expression
 20   insisting that it is my opinion that the circumstances    20   of concern.
 21   arose in the case of Roundup-based herbicides, the most   21       Q. (BY MR. HOLLINGSWORTH) What have you done to
 22   widely used pesticide in the world ever, that Monsanto    22   turn people around on this issue?
 23   should have carried out a battery of at least one or      23              MR. LITZENBURG: Object to form.
 24   two chronic feeding studies on their major formulated     24     A. Excuse me?
 25   products to either confirm that risks were                25     Q. (BY MR. HOLLINGSWORTH) What have you done to


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  1   substantially heightened as other studies suggested or     1   turn people around on this issue to make the rest of
  2   dispel that concern.                                       2   the world see things as you see it that a company
  3      Q. (BY MR. HOLLINGSWORTH) Your standard for a           3   should be required to do a long-term carcinogenicity
  4   company's product stewardship with respect to pesticide    4   test on its formulated pesticide product when no other
  5   products is that the company conduct a study that no       5   company in the world that you know of has ever done
  6   other company that you know of in the world or the US      6   that?
  7   has ever conducted before. Is that -- is that what you     7       A. I -- I think really the only concrete action
  8   say a steward -- a stewardship obligation is?              8   that I took is I agreed to join an international team
  9             MR. LITZENBURG: Objection to form,               9   of experts in pesticide toxicity regulation, use, risk,
 10   asked and answered.                                       10   who over an approximate two-year period authored an
 11          And, Dr. Benbrook, if you feel that you've         11   original peer-reviewed journal article expressing
 12   asked and answered this question enough times, you are    12   concern about several aspects of the current testing
 13   welcome to state that.                                    13   and regulatory treatment of glyphosate, including all
 14      A. I have -- I just answered the question. If          14   of the important topics that we've discussed today.
 15   you want me to do it one more time it will be the last    15   That is the -- what I -- I guess the action that I've
 16   time I do it.                                             16   taken to try to raise awareness of this among people
 17      Q. (BY MR. HOLLINGSWORTH) I'm sure you're not          17   that don't spend a lot of time following the in's and
 18   the only person in the world who has noticed the EPA or   18   out's of the pesticide regulatory process.
 19   any other worldwide regulators does not require testing   19              MR. HOLLINGSWORTH: Let's mark an
 20   on the formulated pesticide product in long-term          20   exhibit here.
 21   carcinogenicity tests, correct?                           21               (Deposition Exhibit 12 was
 22      A. Correct.                                            22               marked for identification.)
 23      Q. Where is the outcry?                                23       Q. (BY MR. HOLLINGSWORTH) Sir, this is the
 24      A. Well, there's --                                    24   original peer-reviewed journal article that you just
 25             MR. LITZENBURG: Object to the form.             25   mentioned expressing concern about regulatory treatment


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  1   of glyphosate-based herbicides; is that correct?           1   extensive and will be difficult to study
  2       A. No.                                                 2   comprehensively, we propose that the most widely
  3       Q. Oh, it's not?                                       3   applied GBH formulations should be tested in parallel
  4       A. No.                                                 4   with glyphosate alone; in other words, subjected to the
  5       Q. What article is that?                               5   same long-term chronic feeding studies as glyphosate
  6       A. It's the -- the article published in                6   alone.
  7   Environmental Health where Pete Myers is the lead          7      Q. Where do you say that EPA or other worldwide
  8   author, I'm the senior author. It's a different -- it      8   regulators should be -- should require that registrants
  9   covers a lot of the same ground, but it was -- it's a      9   such as Monsanto conduct long-term rodent
 10   different paper and it came out before this one.          10   carcinogenicity studies on its formulated products?
 11       Q. Sure. This paper is called Is It Time to           11             MR. LITZENBURG: Object to form.
 12   Reassess Current Safety Standards For Glyphosate-Based    12      A. In this passage we don't identify who should
 13   Herbicides? Correct?                                      13   do the testing, but any reasonable reading of this even
 14       A. Yes.                                               14   by people that don't know much about pesticide
 15       Q. Okay. And it has several authors including         15   regulation would understand that this testing would
 16   yourself, but also Vandenberg, Blumberg, Antoniou --      16   either be done by the registrant under -- under a data
 17       A. Antoniou.                                          17   requirement from a regulator or the government would
 18       Q. Antoniou, Carroll, Colburn, Everett, Hansen,       18   have to fund the research, and by all means, I would
 19   Landrigan, Lanphear, Mesnage, vom Saal, Welshons and      19   much rather see independent money from outside of EPA
 20   Myers, correct?                                           20   support this type of long -- long-term testing of
 21       A. Correct.                                           21   glyphosate-based formulations, and most of my --
 22       Q. Okay. And in this article on -- would you          22   certainly most if not all of my coauthors would agree
 23   agree this article is on taking a look at regulatory      23   with that, but we -- we were not delving into the
 24   risk assessments' approach to glyphosate-based            24   details of how this testing should -- should be done.
 25   herbicides?                                               25   But you asked if this paper called for long-term


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  1      A. It's, yeah, certainly one of the topics              1   testing of formulations, and I say it does and I just
  2   addressed.                                                 2   read the passage where --
  3      Q. Okay. In this article, despite mentioning            3       Q. (BY MR. HOLLINGSWORTH) Sure.
  4   numerous things that regulators might do to regulate       4       A. -- it's spelled out.
  5   glyphosate-based herbicides, you do not mention            5       Q. And this paper certainly isn't a formal
  6   anywhere that they should -- that pesticide companies      6   request to EPA or another worldwide regulator to
  7   should conduct long-term rodent carcinogenicity studies    7   consider long-term rodent carcinogenicity testing on
  8   on its formulated products, correct?                       8   the formulated product, correct?
  9      A. I'd have to -- I'd have to read it to see if         9       A. Correct.
 10   that specific sentence is in there. I'm sure there's      10       Q. Are you aware of anyone who has formally
 11   something about testing formulated products.              11   raised objections to it with EPA or another worldwide
 12      Q. This is your own paper, it was written March        12   regulator?
 13   2017, and as far as you recall and, you know, if you      13       A. Well, I'm not, but there's no reason why it
 14   want to look at it now or later, you did not suggest      14   would be if somebody hadn't. There's regulators all
 15   with all those coauthors in a peer-reviewed journal       15   over the world, I mean, all sorts of petitions and
 16   that Monsanto should test its formulated product in a     16   requests from concerned citizens and scientific
 17   long-term rodent carcinogenicity test, correct?           17   organizations. So, I mean, I -- I'm sure that there
 18      A. No, not correct. Let me read you the                18   have been formal requests to regulators somewhere in
 19   paragraph starting on the pages of this -- page 3, top    19   the world to call for, you know, more in-depth testing
 20   paragraph. These results reveal that GBH -- that          20   of formulated product. It's a -- it's a common
 21   stands for glyphosate-based herbicide -- safety           21   concern.
 22   evaluations focused on glyphosate alone can               22       Q. You're not required [verbatim] of any formal
 23   under-estimate toxicity and are insufficient to assess    23   response from EPA or another worldwide regulator with
 24   relevance to human and environmental exposures.           24   respect to that request, are you?
 25   Although the number of commercial formulations is         25             MR. LITZENBURG: Object to form.


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  1      A. Excuse me?                                           1   formulation versus pure glyphosate. It's a simple
  2      Q. (BY MR. HOLLINGSWORTH) You're not re --              2   matter of calculating the dose of glyphosate the same
  3   you're not aware of any response from EPA or another       3   in the two studies. You're going to get a certain
  4   worldwide regulator with respect to that request,          4   amount of surfactant and adjuvant along with it. So I
  5   correct?                                                   5   don't think there's any substantial technical hurdle in
  6      A. No, I'm not.                                         6   conducting such a study if that's what you're getting
  7      Q. Sir, have you designed a long-term rodent            7   at.
  8   carcinogenicity study on a formulated pesticide before?    8       Q. (BY MR. HOLLINGSWORTH) What would the route
  9      A. No.                                                  9   of administration be?
 10      Q. Has anyone designed a GLP or OECD-approved          10       A. Same as in a -- in a standard chronic feeding
 11   study on the Roundup formulated product?                  11   study.
 12      A. I'm -- I don't know the answer to that              12       Q. And what would that be?
 13   question.                                                 13       A. Well, it would depend on the study design, but
 14      Q. As far as you know, has anyone designed a GLP       14   typically through the diet, sometimes through the
 15   or OECD-approved study on the Roundup formulated          15   water.
 16   product?                                                  16       Q. You're not -- you're not an expert in rodent
 17      A. Well, I don't know if Seralini's study would        17   carcinogenicity testing, correct?
 18   qualify under OECD guidelines. It certainly qualified     18       A. I've never conducted a study, no.
 19   as a chronic feeding study. It was not designed to be     19       Q. You have no expertise in rodent pathology or
 20   a cancer study. So that would probably be the only one    20   any sort of pathology, correct?
 21   that I'm aware of that certainly arguably was designed    21       A. Sir, you -- you and your partner asked me this
 22   in accord with OECD chronic feeding requirements, but     22   line of questioning for over two hours in the last
 23   as I said, not oncogenicity requirements which would      23   deposition, and I just simply want to say how annoying
 24   have required many more animals per treatment group.      24   it is to me to have to go over this again. I have no
 25      Q. Right. And you're aware that EFSA had a             25   advanced degree in any of the toxicological sciences.


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  1   review of Seralini's 2012 publication, correct?            1   I have no certifications because none exist in carrying
  2      A. Yes.                                                 2   out chronic feeding studies and evaluating them, and
  3      Q. EFSA said, Seralini, et al., does not allow          3   all of the other questions that you're probably going
  4   giving weight to their results and conclusions as          4   to ask me are, frankly, a waste of our time and -- and
  5   published. Conclusions cannot be drawn on the              5   annoying to me. So if you want to go through it, let's
  6   difference in tumor incidence between treatment groups     6   do it, but I want to register on the record that, you
  7   on the basis of the design, the analysis and the           7   know, you had reasons to -- to call this deposition and
  8   results as reported. EFSA finds the study as reported      8   force it into two days, and you have hardly asked a
  9   by Seralini, et al., as an insufficient scientific         9   single question that wasn't asked multiple times in the
 10   quality for safety assessments. Were you aware of         10   first deposition. So if you want to keep doing it,
 11   that?                                                     11   let's do it, but I personally want to wage an objection
 12      A. Yes.                                                12   to it to say that I'm annoyed by it and, frankly,
 13      Q. Okay. So EFSA, which is a worldwide regulator       13   I'm -- I'm a little bit offended that you would keep
 14   that you've put some stock in that you're aware of, has   14   asking me the same damn question over and over again.
 15   determined, in fact, that the Seralini study is not       15              MR. HOLLINGSWORTH: Move to strike as
 16   appropriate for regulatory risk assessment, correct?      16   nonresponsive.
 17             MR. LITZENBURG: Object to form.                 17       Q. (BY MR. HOLLINGSWORTH) Sir, I'm asking you a
 18      A. That is -- that is their statement, yes.            18   different variation of the question, and we can look at
 19      Q. (BY MR. HOLLINGSWORTH) Have you investigated        19   the transcript sometime later if you want. I'm going
 20   the feasibility of conducting a long-term rodent          20   to continue with my questioning now. Surfactants are
 21   carcinogenicity study on a formulated pesticide           21   basically soaps, right?
 22   product?                                                  22       A. No.
 23             MR. LITZENBURG: Object to form.                 23              MR. LITZENBURG: Object to form.
 24      A. I don't know why there would be any difference      24       A. Several surfactants have soaplike
 25   in doing a chronic feeding study on glyphosate-based      25   characteristics, but there are many other types of


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  1   surfactants that are used in the formulation of            1   clear, you don't know the correct way to develop the
  2   different pesticides.                                      2   protocol for a long-term carcinogenicity test on a
  3        Q. (BY MR. HOLLINGSWORTH) Ingesting soaps, of         3   formulated product because you've never seen that
  4   course, can make anyone acutely ill, correct?              4   protocol before and you've never designed that kind of
  5        A. Yeah, if you ingest enough of it.                  5   test before, correct?
  6        Q. Ingesting soaps can make people chronically        6      A. Incorrect. I just described to you exactly
  7   ill, correct?                                              7   how it would be done. It would be done in the same way
  8        A. At a proper dose, at a high enough dose, yes.      8   that Monsanto carried out the 1983 biodynamic study,
  9        Q. Ingesting soaps can cause illness sufficient       9   the same way that the rat study, the same way that all
 10   to make it impossible to give a high enough dose to       10   14 studies were done. The companies have to carry out
 11   test for carcinogenicity; isn't that true?                11   a range-finding study, a dose range-finding study to
 12        A. It might.                                         12   determine what they believe is the maximum tolerated
 13        Q. But you don't know because you're not an          13   dose as defined by EPA, and that's exactly what they
 14   expert in rodent carcinogenicity testing, correct?        14   would do with a formulated product. They would test
 15        A. No, that's not the reason I don't know. I've      15   different concentrations of the formulated product in
 16   never read a protocol where a team of scientists          16   the diet or in the drinking water of the animal until
 17   explored the maximum tolerated dose in a chronic          17   the animals displayed acute toxic effects and they
 18   feeding study with a formulated glyphosate product. If    18   would call that the maximum tolerated dose.
 19   in the course of the preliminary range-finding study      19      Q. You've never talked to an expert in rodent
 20   that they would have to do to establish what the          20   carcinogenicity studies about your ideas that you just
 21   maximum tolerated dose is, if it came to pass that they   21   mentioned for this long-term rodent carcinogenicity
 22   couldn't -- they couldn't increase the dose to the same   22   study on a formulated pesticide product, correct?
 23   level of glyphosate as in the chronic feeding studies     23             MR. LITZENBURG: Object to form.
 24   with -- with glyphosate alone, then they naturally        24      A. I don't -- I can't remember ever discussing
 25   would say, "Well, we'll just have to include a lower      25   setting the dosing range for a two-year cancer study on


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  1   glyphosate dose in conjunction with the surfactants."      1   formulated glyphosate, no, I don't ever remember
  2         In fact, Monsanto fully expected and any             2   talking to anybody about it.
  3   expert in the field would -- would predict with a high     3       Q. (BY MR. HOLLINGSWORTH) So your opinions on
  4   level of certainty that the maximum tolerated dose to a    4   how to conduct a long-term carcinogenicity study on a
  5   formulated Roundup herbicide is much lower than the        5   formulated product aren't based on any expertise that
  6   maximum tolerated dose to glyphosate technical -- 100      6   you sought out, but instead they are based on your own
  7   percent glyphosate because the formulated product is       7   self-taught ideas about it, correct?
  8   more toxic, and yes, it's more toxic because it has        8       A. No. It's based on tracking or mimicking or
  9   other things in it. That's the point.                      9   replicating the methodology that has -- that is used by
 10         So the dosing range in a formulated product         10   all pesticide manufacturers in conducting chronic
 11   study would be set the same way the dosing range is set   11   feeding studies, in compliance with EPA data
 12   in a study of 100 percent pure active ingredient. They    12   requirements, GLP requirements.
 13   would determine what the maximum tolerated dose is and    13       Q. GLP, good laboratory practices, were developed
 14   then test two or three levels below that and carry out    14   in the late 1970s and '80s in large part due to the IBT
 15   the test.                                                 15   scandal that impacted multiple industries and the
 16       Q. You don't know if ingesting soaps can cause        16   federal government, correct?
 17   illness sufficient to make it impossible to give a high   17       A. Yeah.
 18   enough dose to cause a toxic effect because you've        18       Q. FDA was actually the first agency within the
 19   never taken Chem 101, correct?                            19   federal government to discover issues with IBT,
 20             MR. LITZENBURG: Object to the form.             20   correct?
 21       A. That's a ridiculous question and it doesn't        21       A. Correct.
 22   deserve an answer, so if you want to break it up, we'll   22       Q. And that FDA investigation had nothing to do
 23   go through it, but that's -- I'm sorry, I just --         23   with the regulation of pesticide products, correct?
 24   that's --                                                 24       A. Not initially, but very quickly pesticides
 25       Q. (BY MR. HOLLINGSWORTH) Okay. But to be             25   were heavily involved.


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  1       Q. Agree that GLPs apply to all studies performed      1   toxicology studies audited pursuant to GLP before,
  2   to determine the toxicity, metabolism or other effects     2   correct?
  3   of humans and domestic animals?                            3       A. Correct.
  4       A. Correct.                                            4       Q. Has the Miller Firm given you the GLP audit of
  5       Q. Agree that GLPs implement an extensive and          5   the 1990 rat study?
  6   detailed process to ensure and maintain high quality --    6       A. No.
  7   high standards of quality over health effects testing?     7       Q. Did you ask the Miller Firm if any of their --
  8       A. Correct.                                            8   if they had any documents showing that Monsanto's study
  9       Q. Agree that GLPs institute a quality management      9   had been audited via the GLP procedures?
 10   system of controls at each laboratory producing data to   10       A. Well, I knew far more about the IBT scandal
 11   ensure that data -- that safety studies are conducted     11   than anybody at the Miller Firm because we investigated
 12   in a controlled, documented and traceable manner by       12   it when I was the staff director of the subcommittee on
 13   ensuring the uniformity, reliability, reproducibility,    13   the house ag committee that I worked for, including
 14   quality and integrity of testing?                         14   extensive interviews with Adrian Gross and other people
 15       A. Not -- you didn't say it quite right. It           15   that were involved in it. So, I mean, I -- I have
 16   assures that the studies are conducted in a way that      16   known for over 30 years an awful lot about IBT and what
 17   there's no confounding factors affecting the health of    17   came about as a result of it, and I'm -- I'm not here
 18   the animals and that the data is -- the data on the       18   opining about whether -- what role Monsanto played in
 19   results of the study and the conduct of the study is      19   the problems with IBT, simply like other people in the
 20   collected in accord with protocols that are laid out.     20   pesticide industry they had commissioned studies there
 21   So there's a distinction between GLPs referring to the    21   with which EPA -- that EPA eventually regarded as
 22   conduct of the study versus how the data is collected     22   invalid or fraudulent, and just like the other
 23   and reported. If you -- if you want to look back at       23   pesticide registrants they redid the studies in other
 24   the transcript with how you asked the question, you       24   labs. They also had some problems with some of the
 25   will see that I needed to make that distinction.          25   replacement studies that they had done at Craven Labs,


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  1      Q. That's fair. Agree that GLP standards are the        1   but they then redid those. So Monsanto has had its
  2   product of 30 years of development and international       2   share of laboratory GLP bad experiences.
  3   consensus?                                                 3      Q. Monsanto has repeated any studies that EPA has
  4      A. They certainly evolved over a long period of         4   requested it repeat with respect to what you just
  5   time and there is certainly an attempt on a global         5   referred to, correct?
  6   basis to harmonize them, yes.                              6      A. Correct.
  7      Q. And that's been -- that attempt has -- I'll          7             MR. LITZENBURG: Object to form.
  8   restate the question.                                      8             MR. HOLLINGSWORTH: Let me go off the
  9      A. Yeah, sorry.                                         9   record very quickly.
 10      Q. That attempt is exhibited in the OECD               10             VIDEO OPERATOR: We're going off the
 11   guidelines for toxicology testing, correct?               11   record. The time is 3:23.
 12      A. Correct.                                            12             (Discussion off the record.)
 13      Q. And you're aware that GLP investigators may at      13              (Deposition Exhibit 13 was
 14   any time visit the site or the lab that a study is        14              marked for identification.)
 15   being conducted in and audit that lab and that lab's      15             VIDEO OPERATOR: We're going back on the
 16   data, correct?                                            16   record. The time is 3:25.
 17      A. I'm not an expert in their enforcement and          17             MR. LITZENBURG: I just want to make
 18   inspection protocols, but I think in general,             18   sure I get these straight. Last thing I had was 11 was
 19   regulatory agencies have access to those labs and         19   the Vandenberg publication. This is now 13. What was
 20   certainly carry out periodic inspections.                 20   12?
 21      Q. Agree that EPA has a wide range of enforcement      21             (Discussion off the written record.)
 22   methods with respect to GLP violations including          22             THE WITNESS: There we go, yeah,
 23   criminal penalties?                                       23   Vandenberg 12.
 24      A. Yes.                                                24             MR. LITZENBURG: What was 11 then?
 25      Q. And Monsanto has certainly had some of its          25             THE WITNESS: 11 is the -- and you


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  1   actually never asked me about this. This is one of the    1   data to the study report findings and conclusions,
  2   final rules on tolerances. You -- I think we took a       2   adherence to GLP standard requirements and to available
  3   break and you forgot to come back to it.                  3   and appropriate standard operating procedures and
  4              MR. LITZENBURG: Right. Okay. If                4   protocols and scientific soundness. Do you see that?
  5   that's -- okay, I got it. Good to go.                     5       A. Yes.
  6       Q. (BY MR. HOLLINGSWORTH) Okay. Dr. Benbrook,         6       Q. Okay. So via the GLP procedures, EPA can come
  7   this is a July 22, 1996 EPA memo regarding good           7   in and audit Monsanto's labs at any time and make sure
  8   laboratory practice standards inspection on               8   that the data from their studies match up with what
  9   September 14 through 17, 1993, correct?                   9   they reported in the study reports, correct?
 10       A. That's what it says in the re line, yes.          10       A. Well, not just that the data matches up but
 11       Q. Okay. And it states in the third paragraph        11   that the conditions of the lab and the health of the
 12   there: Based solely on our review of the information     12   animals, etcetera, was all in compliance with
 13   gathered during September 14 through 17, 1993            13   requirements.
 14   inspection of your facility, we have concluded that      14       Q. Right. GLP requirements make sure that the
 15   enforcement action will not be issued. Correct?          15   final study report, recordkeeping, quality assurance,
 16       A. Yes.                                              16   the test substance, receipt and distribution,
 17       Q. Okay. And if you go to page MONGLY 00158485,      17   application of the test system, equipment maintenance
 18   Appendix B, study audit report?                          18   and calibration records, everything associated with the
 19       A. I've never seen this document before, but just    19   study and the lab is in compliance with GLP, correct?
 20   let me get my bearings.                                  20       A. Correct.
 21       Q. Sure, it's Appendix B.                            21       Q. And this is one of the important rodent
 22              MR. LITZENBURG: And you're always --          22   carcinogenicity studies on glyphosate, correct?
 23   feel free to read the document as you need to.           23       A. Yes.
 24       A. Okay. So it's -- it's a report of an              24       Q. Okay.
 25   inspection of laboratory, and you want me to go to one   25              MR. HOLLINGSWORTH: Let's mark an


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  1   of the appendices?                                        1   exhibit.
  2      Q. (BY MR. HOLLINGSWORTH) Right, I want to see         2               (Deposition Exhibit 14 was
  3   what study it was.                                        3               marked for identification.)
  4      A. Which appendix?                                     4       Q. (BY MR. HOLLINGSWORTH) Sir, you're familiar
  5      Q. Appendix B.                                         5   with this, right?
  6      A. Okay.                                               6       A. Yeah.
  7      Q. Okay. And here it notes it is a study titled,       7       Q. This is the second Parry report that is the
  8   Chronic study of glyphosate administered in feed to       8   Parry report from August 18, 1999, correct?
  9   albino rats. Do you see that?                             9       A. It's the report from him expressing his
 10      A. Uh-huh.                                            10   opinions after his assessment of a set of genotoxicity
 11      Q. So it's one of these long-term rodent              11   studies that Monsanto provided to him.
 12   carcinogenicity studies, correct?                        12       Q. Monsanto provided Dr. Parry initially with
 13      A. Correct.                                           13   four studies that were in the open scientific
 14      Q. And this one is by Stout and it's completed in     14   literature, correct?
 15   1990, correct?                                           15       A. There were more than four in his review.
 16      A. Right. And I take it it's an internal              16       Q. Sure. Let me ask the question.
 17   Monsanto study.                                          17       A. The first package was four. I --
 18      Q. You're familiar with the style of the 1990 rat     18       Q. The first package was four, and those were
 19   study, aren't you?                                       19   open literature studies, correct?
 20      A. Yes.                                               20       A. I'd have to go back to review the record to --
 21      Q. Okay. If you turn over to the next page, it        21   to confirm or -- or correct that statement. I know he
 22   says: The study audit was accomplished with a review     22   reviewed many more than four. I never paid much
 23   of available raw data, records and reports, interviews   23   attention to the order in which they sent them to him.
 24   with the study personnel. The study's audit was based    24       Q. Monsanto also allowed Mr. -- Dr. Parry to
 25   on completeness of raw data, conformance of the raw      25   review Monsanto's genotoxicity database, correct? That


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  1   is, studies conducted by Monsanto for registration         1       A. They're laid out in the second Parry memo to
  2   purposes?                                                  2   Monsanto which -- actually, I think it's just as long
  3       A. They allowed Dr. Parry to see some of those         3   if not a little bit longer than -- than the first one
  4   studies.                                                   4   and it's also discussed in my expert report.
  5       Q. Sure. EPA already had all the studies               5       Q. Sir, are you certain this is not the second
  6   discussed in this report available for their review,       6   Dr. Parry memo?
  7   correct?                                                   7       A. I'd -- again, I'd have to -- do you have the
  8       A. Probably.                                           8   first one?
  9       Q. EPA had these studies to review and hasn't          9       Q. I have the second one.
 10   required Monsanto to change its label because of a        10       A. Okay. So -- okay. So when you handed it to
 11   concern for genotoxicity either at the time of the        11   me, I thought you said this is the Dr. Parry memo. And
 12   Parry reports or any time since, correct?                 12   the first Dr. Parry memo was his evaluation, so that's
 13       A. Correct.                                           13   why I assumed that this was the first Dr. Parry memo.
 14       Q. You discussed Dr. Parry in detail in your          14   Let me just read -- read it a bit.
 15   report, correct?                                          15              MR. LITZENBURG: Can we go off -- we
 16       A. Yes.                                               16   don't have to stop the video, but if we can go off that
 17       Q. You also testified about him a little bit at       17   record for a second.
 18   your last deposition, correct?                            18              (Discussion off the written record.)
 19       A. Was quite a bit I thought. Glad to do some         19       A. Counselor, this -- this is not the -- the
 20   more.                                                     20   longer version of a -- a subsequent report, memo that
 21       Q. You knew at paragraph 126 of your report that      21   Dr. Parry provided to Monsanto. This is -- and this
 22   Monsanto scientists agreed that improved, new and more    22   isn't even the long version -- I believe that -- I
 23   sophisticated genotoxicity studies should be carried      23   believe that this is not -- this isn't even -- I'm not
 24   out to resolve lingering questions. So according to       24   even sure this is complete of this one. So, you know,
 25   you, Monsanto's toxicologists got Dr. Parry's             25   it's certainly possible that there were more than one


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  1   recommendations and agreed that some additional studies    1   version of this report from Dr. Parry to Monsanto, but
  2   should be done based on Dr. Parry's recommendations; is    2   this is not the long version of Dr. Parry's
  3   that correct?                                              3   recommendations for further research, which is what --
  4      A. You lost me there how you formulated the             4   what I think of as the second memo. So there may be
  5   question there. Dr. Parry recommended not in this memo     5   a -- sort of an ordering or numbering problem between
  6   but in a second one that additional studies be done,       6   us, but I think we both agree there was an analysis of
  7   you know, to -- to the people that he was interacting      7   a set of studies which this talks about and then a
  8   with at Monsanto. And those studies were not done.         8   second memo saying here's my recommendations for the
  9   That's -- that's -- I'm not sure exactly what -- what      9   further research that you -- you could do or someone
 10   context the paragraph from my expert report was, so if    10   could do to clarify some of the issues and concerns
 11   you're asking something different, let's make sure I      11   raised from his review of the published literature.
 12   understand the context so I don't --                      12       Q. (BY MR. HOLLINGSWORTH) Sure. And
 13      Q. Sure. At paragraph 125 of your report you           13   specifically you'll recall that Dr. Parry recommended
 14   note: Following his review Parry prepared and             14   that they perform an in vivo bone marrow micro --
 15   submitted a detailed report to Monsanto acknowledging     15   micronucleus assay with multiple dosing with adequate
 16   some evidence of genotoxicity. Dr. Parry also             16   numbers of animals to determine whether the work of
 17   recommended that Monsanto undertake a set of more         17   Bolognesi, et al., 1997 can be reproduced, correct?
 18   sensitive genotoxicity studies --                         18       A. That was one of, oh, I think there were 15
 19      A. Right.                                              19   recommendations in that memo or something like that.
 20      Q. -- on glyphosate and formulated Roundup             20       Q. Sure. But you'll recall that?
 21   herbicides to determine if the findings reported in       21       A. Yeah, yeah.
 22   earlier studies were replicable and hence real.           22       Q. And Bolognesi was one of these studies done in
 23      A. Correct.                                            23   Italy available on the open literature that Dr. Parry
 24      Q. What are the improved, new and more                 24   reviewed initially, correct?
 25   sophisticated genotoxicity studies you're referring to?   25       A. Correct.


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  1      Q. Okay. Have you searched the scientific                 1   titled, Genotoxic Potential of Glyphosate Formulations:
  2   literature to determine whether Monsanto performed the       2   Mode-of-Action Investigations, published in the Journal
  3   studies Dr. Parry recommended?                               3   of Agricultural and Food Chemistry in 2008. Do you see
  4      A. I've certainly tracked and searched for                4   that?
  5   genotoxicity studies. I have a big folder of them.           5       A. Yes.
  6   These are published studied in the peer-reviewed             6       Q. Have you reviewed this publication before?
  7   literature. I think there's at least 20 now, and I'm         7       A. Yes.
  8   not aware of one that followed the -- the protocol that      8       Q. The authors of this publication are all
  9   Dr. Parry recommended. Not to say that there isn't           9   current or former Monsanto employees, correct?
 10   some -- there might be one somewhere in some journal        10       A. Correct.
 11   that I missed, there's a lot of different scientific        11       Q. Could you please read from the second column
 12   journals, but I'm not aware of it.                          12   on the first page of this article beginning with "in
 13      Q. Aware that Monsanto has conducted over four           13   contrast," through the end of the paragraph?
 14   dozen mutagenicity and genotoxicity studies on              14       A. First page, right column?
 15   glyphosate-based formulations?                              15       Q. Yes.
 16            MR. LITZENBURG: Object to form.                    16       A. And you want the sentence "in contrast"?
 17      A. I -- I would be surprised if that's a truthful        17       Q. Through the rest of the paragraph.
 18   statement. I'm sure that they've conducted that many        18       A. Oh, I see. In contrast, IP injection of CD-1
 19   on glyphosate technical material, and certainly             19   mice with analytical grade glyphosate or the same
 20   counting all the early Ames studies, I would agree with     20   Roundup formulation resulted in an increased incidence
 21   that statement.                                             21   of alkali-labile sites in DNA from liver and kidney.
 22      Q. (BY MR. HOLLINGSWORTH) But you don't know one         22   The effects reported in the latter study were observed
 23   way or the other, do you?                                   23   at 300 milligrams per kilogram with glyphosate and at
 24      A. I -- I don't know the number of studies that          24   900 milligrams per kilogram for GCHF -- which I'm
 25   Monsanto has carried out on formulated product because,     25   guessing is glyphosate something formulated product.


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  1   for one thing, Monsanto has probably carried out             1      Q. Keep reading, sir.
  2   studies that they didn't tell anybody about, so how          2      A. I want to -- glyphosate containing herbicide
  3   would people know about them?                                3   formulations, it's in the abstract. So formulated
  4      Q. Aware that Monsanto has conducted at least ten         4   glyphosate, including a dramatic increase in the number
  5   mutagenicity and genotoxicity studies on the                 5   of 8-hydroxydeoxyguanine, and then paren, 8-0HdG, un
  6   surfactants used in glyphosate -- glyphosate-based           6   paren, residues in DNA from liver cells after treatment
  7   herbicides?                                                  7   with glyphosate but not the formulated glyphosate
  8      A. I know that they've done some genotox work on          8   product; opposite results were found in the kidney.
  9   their proprietary surfactants which are, you know,           9   All of these changes were observed under unrealistic
 10   other chemicals that Monsanto has discovered and done       10   exposure conditions, very high-dose -- very high-dose
 11   work on. Yeah, I'm aware that they've done some             11   levels administered by an irrelevant route of exposure
 12   genotox work on them.                                       12   for an agricultural herbicide.
 13      Q. Are you aware -- are you familiar with the            13      Q. That paragraph describes the prior genotox
 14   Journal of Agricultural and Food Chemistry?                 14   studies on the formulated products, some of which were
 15      A. Sure.                                                 15   reviewed by Dr. Parry, correct?
 16      Q. Have you ever published articles in that?             16      A. No.
 17      A. I don't think so.                                     17      Q. What does that describe?
 18      Q. Have any of your colleagues?                          18      A. They're talking about a study that they did.
 19      A. Oh, yeah.                                             19   At least that's how I read it. In contrast they're --
 20      Q. Is the Journal of Agricultural and Food               20      Q. Sure. And -- and that -- that's fair, but if
 21   Chemistry a reputable scientific journal?                   21   you see, the references, for example, 7 and 8, and if
 22      A. Yes.                                                  22   you turn to the back, the references 7 and 8 are Peluso
 23             (Deposition Exhibit 15 was                        23   and Bolognesi. Do you see that?
 24             marked for identification.)                       24      A. Yes.
 25      Q. (BY MR. HOLLINGSWORTH) Sir, this is a study           25      Q. Okay. So that paragraph is referring to some


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  1   of the genotoxicity studies on the glyphosate-based        1   relevance or validity of all of the genotoxicity
  2   herbicides formulated products, some of which were         2   studies that other scientists had carried out that
  3   reviewed by Dr. Parry, correct?                            3   reported a positive result, and they also authored many
  4       A. Correct.                                            4   review articles. So this is -- this is part of
  5       Q. Okay. Bolognesi 1997 is a study that                5   Monsanto's effort to challenge the -- either the
  6   Dr. Parry recommended Monsanto try to reproduce,           6   findings or the relevance of the genotox literature
  7   correct?                                                   7   published in peer-reviewed journals.
  8       A. It was one of the ones that they addressed in       8             MR. LITZENBURG: Let's just take a
  9   their -- and Dr. Parry addressed in his -- what I call     9   five-minute break, if we can.
 10   the second memo laying out recommendations for further    10             VIDEO OPERATOR: We are going off the
 11   studies, correct.                                         11   record. The time is 3:46.
 12       Q. I'm going to continue reading where you left       12              (Recess taken.)
 13   off, and that's: To better understand the significance    13             VIDEO OPERATOR: We are going back on
 14   of these results, four separate but interrelated assays   14   the record. The time is 4:07.
 15   were undertaken to determine if high-dose IP              15             MR. HOLLINGSWORTH: Off the record we
 16   administration produces toxicity that may be              16   decided to go until around 10:00 tonight and take a
 17   responsible for the observed changes via secondary        17   dinner break at some point, so that's what we're going
 18   effects rather than direct genotoxicity and whether a     18   to do and then we'll figure out what to do after that.
 19   more relevant oral route of exposure produces the same    19             MR. LITZENBURG: I agree that we are
 20   toxic responses as those seen with IP administration.     20   going to take a dinner break in about 45 minutes, and
 21   The first assay was performed to understand the           21   defense counsel has agreed to hand me back the witness
 22   relevance of findings reported by Bolognesi, et al., by   22   at approximately 9:15 so we can wrap by 10:00. And I
 23   investigating the degree of liver and kidney toxicity     23   just want to say Exhibit 14 does not have a -- a MONGLY
 24   that occurred under dosing conditions used by those       24   number. I understand you're working on it, but I can
 25   investigators. Did I read that correctly?                 25   identify the document at the time.


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  1       A. Correct, you did.                                   1              MR. HOLLINGSWORTH: Sure. We'll get one
  2       Q. So is it fair to state that Monsanto did, in        2   before the end of the night.
  3   fact, follow Dr. Parry's recommendation by conducting      3              MR. LITZENBURG: Got it.
  4   testing to try to reproduce the effects seen in            4      Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, there
  5   Bolognesi 1997?                                            5   were a couple of different Parry reports, correct?
  6              MR. LITZENBURG: Object to form.                 6      A. Correct.
  7       A. I'd -- I'd have to refresh my memory                7      Q. Okay. And we're going to mark this other one
  8   specifically what Dr. Parry recommended before agreeing    8   as an exhibit right now. It's Exhibit 16, I believe.
  9   or disagreeing with your characterization of it. So if     9              (Deposition Exhibit 16 was
 10   you have the second Parry memo, I'll be glad to look at   10              marked for identification.)
 11   it and --                                                 11      Q. (BY MR. HOLLINGSWORTH) You're familiar with
 12       Q. (BY MR. HOLLINGSWORTH) Sure. Are you aware         12   this Parry report, correct?
 13   that Monsanto conducted this testing in the early 2000s   13      A. This is -- the way that I reviewed the record,
 14   and sent their findings to EPA shortly thereafter?        14   this actually came in two chunks to Monsanto. The
 15       A. Yes.                                               15   first set of pages that go through MON 433 [verbatim]
 16       Q. How are you aware of that?                         16   through MON 4263 is the full report of Parry's
 17       A. Well, for one thing, I read this -- this           17   evaluation of a set of studies that Monsanto had sent
 18   article before and, you know, if they did the studies,    18   him to evaluate their robustness, whether he agreed
 19   I -- I guess I would assume that they submitted the       19   with their findings, etcetera. The -- what I believe
 20   results to EPA. I suppose they might not have, but,       20   from my review of the record was a second and separate
 21   you know, this is -- this is one of the -- the            21   report not submitted at the same time, but within -- I
 22   follow-up studies that Monsanto carried out to try to     22   believe it was a few weeks to six weeks is this key
 23   undermine the significance or relevance of these          23   issues report which is sort of Parry laying out his
 24   published studies. I mean, they did a lot of -- a lot     24   recommendations.
 25   of studies to try to raise questions about the            25          I do note that the -- the Bates numbers are


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  1   continuous as if they were submitted at the same time,    1             MR. LITZENBURG: Can -- can we go off
  2   but I believe from my reading of the record that there    2   the record for a minute?
  3   was a gap between them.                                   3             VIDEO OPERATOR: We're going off the
  4       Q. Okay. But that is the full report as far as        4   record. The time is 4:12.
  5   you're concerned?                                         5             (Discussion off the record.)
  6       A. Yeah, this is the full report of his review,       6             VIDEO OPERATOR: We're going back on the
  7   and this is his set of recommendations as I have          7   record. The time is 4:12.
  8   reviewed them in the past.                                8      Q. (BY MR. HOLLINGSWORTH) Sorry about that,
  9       Q. Okay. Is an in vivo bone marrow micronucleus       9   Dr. Benbrook. Please turn to page Bates stamped 424 --
 10   assay one of the sophisticated new genotox studies you   10   64.
 11   mention in your report?                                  11      A. Got it.
 12       A. Well, certainly at the time that it was           12      Q. Do you see there it says: Key issues
 13   discovered it would be regarded as one of the, you       13   concerning the potential genotoxicity of glyphosate,
 14   know, new studies, yes. I'm not sure it still is, but    14   glyphosate formulations and surfactants;
 15   it's 20 years later.                                     15   recommendations for future work?
 16       Q. Agree that in vivo testing should carry           16      A. Yes, I do.
 17   greater weight than in vitro testing?                    17      Q. This is a detailed list of recommended
 18       A. In general, yes.                                  18   research that you mention at paragraph 682 of your
 19       Q. It takes a while to set up these in vivo          19   report, correct?
 20   studies, correct?                                        20      A. I -- I haven't checked to see that paragraph,
 21       A. Well, certainly some time, yes.                   21   but I'll take your word for it at this hour of the day.
 22       Q. How long does it take to set up an in vivo        22      Q. Okay. Within that section there's a
 23   study like the one we just mentioned?                    23   subsection titled Actions Recommended. Do you see it?
 24       A. It would depend on the study design.              24      A. Yes, sir.
 25       Q. Please turn to the page Bates stamped MONGLY      25      Q. Subsection B recommends Monsanto perform an in


                                                   Page 251                                                 Page 253
  1   01314246.                                                 1   vivo bone marrow micronucleus assay with multiple
  2     A. Okay.                                                2   dosing with adequate numbers of animals to determine
  3     Q. There we have a section titled Key Issues            3   whether the work of Bolognesi, et al., 1997 can be
  4   Concerning the Potential Genotoxicity of Glyphosate --    4   reproduced. Do you see that?
  5      A. I have a different thing. I have reports            5       A. Yes.
  6   utilized in the assessment of genotoxicity activity of    6       Q. And we reviewed Heydens 2008, correct?
  7   glyphosate and glyphosate formulations. 4246, is that     7       A. We did.
  8   the Bates number you gave me? I must have the wrong       8       Q. Okay. And Heydens 2008, as we discussed
  9   number maybe or you do.                                   9   earlier, was designed to check the results of the
 10             MR. LITZENBURG: Yeah, and I didn't get         10   Bolognesi and Peluso studies, those Italian studies out
 11   a copy, which I'm not going to make a huge fuss about,   11   of Italy, correct?
 12   but we need to make extremely sure we're identifying     12       A. Well, it clearly -- you know, it focused on
 13   and talking about the same thing.                        13   the intraperitoneal injection route of exposure which
 14      Q. (BY MR. HOLLINGSWORTH) 4246, do you have this      14   is different from the way other organisms or people
 15   one?                                                     15   would be exposed, and also, you know, make reference to
 16      A. Well, has it got the same damn number? Boy,        16   the high-dose level and the fact that according to them
 17   that's odd, isn't it? I think we've discovered the       17   the administration of that dose level through that
 18   same Bates number on two different pages.                18   mechanism caused overt toxicity to -- to the liver and
 19      Q. Why don't we mark this one as well?                19   kidneys.
 20      A. Okay. Maybe if you told me what the --             20          And, in fact, I -- I remember there's an
 21   because you probably --                                  21   e-mail exchange among Heydens and Farmer and some of
 22      Q. It says key -- it says --                          22   the other Monsanto people where they're talking about
 23      A. This is page 14. What does your page 14 say?       23   what studies they should agree to re -- to do on the
 24      Q. This doesn't have a page 14.                       24   genotoxicity of the formulations, and they -- he
 25      A. Oh.                                                25   specifically recalled this overt toxicity issue and


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  1   said that they had to be very careful in designing the        1   that the study conducted by Monsanto was performed in
  2   study to avoid a false positive in a study that they          2   order to test the results from Bolognesi to see if they
  3   would conduct by virtue of triggering this overt              3   were, in fact, accurate, correct?
  4   toxicity.                                                     4       A. I think you -- they were conducting these
  5      Q. Right. And avoiding a false positive is                 5   further studies to see if there was another plausible
  6   something that's always a concern in toxicology               6   mechanistic explanation for the positive genotoxicity
  7   studies, correct?                                             7   results reported in the original Bolognesi study, and
  8      A. Yes.                                                    8   according to the work that they did, they felt that
  9      Q. And is it fair to say Monsanto did, in fact,            9   they had a basis to write this peer-reviewed journal
 10   follow Dr. Parry's recommendation by conducting testing      10   article saying that the -- both the route of -- the
 11   to try to reproduce the effects seen in Bolognesi in         11   route of administration of the formulated glyphosate
 12   1997?                                                        12   herbicide and the dosing level created overt toxicity
 13      A. I -- I'm not prepared to agree or disagree             13   that, according to them, was responsible for the
 14   with that statement. These are very technical reports        14   positive result. So it raises questions about whether
 15   by Dr. Parry. They use a lot of highly technical terms       15   Bolognesi's original paper was a false positive.
 16   that it would take me some time to fully refresh my          16          It -- you know, based on my, you know, just
 17   memory and understand both what Dr. Parry recommended        17   reading a few parts of this, that is my understanding
 18   and -- and compare it to what Monsanto did as reported       18   and interpretation of what Monsanto did in this work
 19   in the Journal of Ag Chemistry because I -- I do             19   reported in the Journal of Ag and Food Chemistry. I am
 20   remember that part of what Dr. Parry recommended was         20   not prepared, as I sit here today, to say that this is
 21   not to redo some of these types of studies that              21   what Dr. Parry recommended and is responsive to what --
 22   resulted in such a high dose delivered directly to some      22   all of the recommendations that Dr. Parry made relative
 23   organ, that it would just not be relevant.                   23   to understanding the Bolognesi study, and I'm pretty
 24        I mean, he -- he agreed with Monsanto that              24   sure it's not, but I just -- it's -- it's complicated
 25   there's certain ways to administer, formulate a              25   stuff and I -- you know, I just -- I'm -- it's too late


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  1   glyphosate in a test system that just kind of                 1   in the day. I'm not going to sit here and read it and
  2   overwhelms the system, and he -- he didn't feel that          2   try to figure it out, and it is the kind of thing
  3   replicating them to show that that happens was useful.        3   sometimes I have to read other papers or consult with
  4   But to do a -- you know, a thorough and proper job of         4   other experts to understand because it's technical,
  5   opining on whether Monsanto conducted the studies that        5   highly technical stuff that, you know, requires time to
  6   Monsanto recommended, I cannot -- I'm not in a position       6   understand if you're not a scientist working in the
  7   to do that sitting here today.                                7   field.
  8      Q. Were you in a position to do that when you              8       Q. You don't have the expertise to opine on what
  9   wrote your report?                                            9   kind of genotoxicity Monsanto conducted, but
 10      A. Well, you know, I -- I -- I fully believed             10   nonetheless, you felt you had the expertise to say that
 11   from my understanding of the documents that what I           11   Monsanto didn't conduct the study that Dr. Parry
 12   wrote in my report was supported by the record that I        12   recommended; is that correct?
 13   reviewed.                                                    13       A. No. I said I'm not prepared sitting here
 14      Q. Okay.                                                  14   today to determine whether the follow-up genotoxicity
 15      A. So please read me a paragraph in my report             15   work that Dr. Parry recommended on formulated
 16   that you want to ask me about and I'll respond to it.        16   glyphosate herbicides was done by Monsanto as reported
 17      Q. Sure. Well, I was talking about the Parry              17   in this Journal of Food and Ag Chemistry paper. I
 18   report, and we just read Section -- Subsection D that        18   don't believe that -- I certainly don't believe that
 19   recommends Monsanto perform an in vivo bone marrow           19   what Monsanto did as reported in this paper was
 20   micronucleus assay with multiple dosing with adequate        20   responsive to all the things that Dr. Parry
 21   numbers of annals to determine whether the work of           21   recommended, and I think there are -- you know, the
 22   Bolognesi, et al., 1997 can be reproduced. And you see       22   issues that were raised -- that have been raised about
 23   that, correct?                                               23   the Bolognesi work are very complicated and I'm -- I'm
 24      A. That's what it says, yes.                              24   not prepared to opine one way or another whether this
 25      Q. Okay. And Heydens 2008 specifically notes              25   particular study satisfied them or not.


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  1      Q. All right. You would have to reach out to a          1   summary describe the results of those investigations.
  2   genotoxicity expert in order to be prepared to opine       2   The attached summary describes additional follow-up
  3   one way or the other whether Monsanto conducted that       3   experimental work that has not been described in a
  4   study Parry recommended, correct?                          4   final report format. Monsanto wishes to share this
  5       A. It certainly might be one of the things that I      5   information with the agency. Did I read that
  6   did to try to understand more deeply whether this 2008     6   correctly?
  7   work -- it is 2008, yes -- was fully responsive to the     7       A. Yes.
  8   Parry report.                                              8       Q. Okay. So Monsanto conducted this study and is
  9             MR. HOLLINGSWORTH: Let's mark Exhibit            9   now reporting it and its findings to EPA, correct?
 10   17.                                                       10       A. Yes.
 11             (Deposition Exhibit 17 was                      11       Q. So this letter to EPA from Monsanto explains
 12             marked for identification.)                     12   that Monsanto undertook to repeat aspects of the
 13      Q. (BY MR. HOLLINGSWORTH) This is A Study of the       13   Bolognesi 1997 study beginning in 1999, right?
 14   Short-Term Effects of MON 35050 in Male CD-1 Mice.        14       A. Yes.
 15   There's a cover page dated July 26, 2002. Do you see      15       Q. 1999 is the year that Dr. Parry provided his
 16   that?                                                     16   evaluation of the genotoxicity data to Monsanto,
 17       A. Mine is July 31, 2002.                             17   correct?
 18      Q. On the cover, the front cover?                      18       A. Correct.
 19       A. Oh, July 26th, okay, yeah, got it.                 19       Q. Could you please -- I'll review -- I'll read
 20      Q. Have you seen -- have you reviewed this study       20   it for you. The next paragraph notes: This evidence
 21   before?                                                   21   together demonstrates that any genotoxic responses that
 22       A. No.                                                22   may have occurred in the literature studies were
 23      Q. This is a primary study, genotox study on a         23   secondary to widespread and marked cytotoxicity in the
 24   Monsanto formulated product, correct?                     24   animals and were not indicative of primary genotoxic
 25             MR. LITZENBURG: Object to testimony.            25   activity. Did I read that correctly?


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  1       A. I don't know what MON 35050 is.                     1       A. Yes.
  2       Q. (BY MR. HOLLINGSWORTH) Sure, we'll take a           2              MR. LITZENBURG: I'm sorry, what's the
  3   look. Please turn to Bates page ending in 4825.            3   page?
  4       A. 4825. Got it.                                       4              THE WITNESS: He's on page 2 of the --
  5       Q. Okay. The second -- this is a -- this is a          5   this Tompkins letter July 25. 4826.
  6   letter from Monsanto to EPA, correct?                      6       Q. (BY MR. HOLLINGSWORTH) It states: This
  7       A. Looks like the transmittal letter, yeah.            7   evidence together demonstrates that geno -- that any
  8       Q. Okay. It says -- the second paragraph notes:        8   genotoxic responses that may have occurred in the
  9   In 1997 and 1998, two related Italian research groups      9   literature studies were secondary to widespread and
 10   authored papers in the open literature reporting that     10   marked cytotoxicity in the animals and were not
 11   they had measured genotoxic effects of Italian Roundup.   11   indicative of primary genotoxic activity. Do you have
 12   Their work had been conducted via intraperitoneal IP      12   any reason to disagree with that conclusion?
 13   injection of large quantities of Roundup formulation      13       A. No.
 14   and olive oil/DMSO carrier, and had focused on            14       Q. Are you aware that Monsanto conducted a
 15   detection of clastogenicity and DNA adduct formation in   15   follow-up experiment in which they used IP dosing of
 16   treated liver and kidney tissues. Did I read that         16   the formulations minus the glyphosate otherwise
 17   correctly?                                                17   referred to as a formulation blank?
 18       A. Yes, you did.                                      18       A. No, I don't believe I've seen a report on that
 19       Q. The 1997 paper is Bolognesi 1997, correct?         19   study. I mean, unless it's one of the ones talked
 20       A. Yes.                                               20   about in this Journal of Ag and Food Chemistry paper.
 21       Q. Turning the page, the letter continues:            21       Q. Are you familiar with what a formulation blank
 22   Beginning in 1999, for stewardship purposes, Monsanto     22   is in the genotoxicity setting of formulated product?
 23   undertook to repeat aspects of these studies and          23       A. In general I assume it's a study of the -- of
 24   investigate other explanations for the reported           24   the coformulants of the surfactants alone and often
 25   outcomes. The enclosed two reports and the attached       25   they'll do it all three, the formulation -- the


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  1   formulated product, the pure active ingredient and the     1   not such high doses.
  2   surfactants.                                               2          So it's a -- it's an evolving area of science
  3       Q. Reading from the second-to-last sentence of         3   and I -- I acknowledge that this work that Monsanto did
  4   the same paragraph it notes: The follow-up experiment      4   was an attempt to provide an alternative explanation to
  5   described in the attached summary established that the     5   regulators and the scientific community in general
  6   organ toxicity effects were caused by MON 35050            6   about another explanation for the positive genotoxicity
  7   formulation matrix alone without glyphosate supporting     7   results that were reported in this Bolognesi study and
  8   a further conclusion that these effects are nonspecific    8   they did similar things with others. They tried to
  9   response attributable to the dosing method vehicle         9   conduct science that would raise questions or
 10   perhaps in combination with the formulation surfactant    10   invalidate the conclusions reached by other scientists,
 11   ingredient but are not in any way linked to glyphosate    11   and sometimes they did it with success and sometimes
 12   itself. Did I read that correctly?                        12   they didn't.
 13       A. Yes.                                               13       Q. (BY MR. HOLLINGSWORTH) Sitting here today,
 14       Q. Any reason to disagree with that conclusion?       14   you cannot say because you don't have the expertise to
 15       A. No.                                                15   tie the recommendation made by Dr. Parry with the study
 16             MR. LITZENBURG: Object to form.                 16   conducted by Monsanto, Hotz 2002, and the subsequent
 17       Q. (BY MR. HOLLINGSWORTH) So is it fair to say        17   published study, Heydens 2008, correct?
 18   that Monsanto ran at least one of the studies             18       A. Well, should we just take the time for me to
 19   recommended by Dr. Parry?                                 19   do that? Do you want to take a break while I do that?
 20             MR. LITZENBURG: Object.                         20       Q. Can you do that?
 21       A. Again, I -- as I said before, I'd have to take     21       A. Yeah, I'll give it a try. Why don't we break
 22   some time to think about the -- you know, what            22   now for dinner and I'll spend some time doing that and
 23   Dr. Parry says in this second recommendation memo and     23   we'll see you at -- what time are we coming back after
 24   really carefully think through if what -- what Monsanto   24   dinner?
 25   is describing here was what he recommended. I'm not       25       Q. It's a little early for dinner.


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  1   sure that that's the case. It may be.                      1             MR. LITZENBURG: Hang on. Let's go off
  2       Q. (BY MR. HOLLINGSWORTH) Okay. And --                 2   the record.
  3       A. But I take on its face what they did.               3             VIDEO OPERATOR: We're going off the
  4       Q. And in order to find out exactly whether            4   record. The time is 4:30.
  5   Monsanto's study lined up with Dr. Parry's                 5             (Discussion off the record.)
  6   recommendation, you would have to consult the              6             VIDEO OPERATOR: We are going back on
  7   genotoxicity expert, and I believe you stated earlier      7   the record. The time is 4:32.
  8   you may have done that when you were writing your          8      Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, do you
  9   report?                                                    9   recall that Monsanto conducted various genotoxicity
 10             MR. LITZENBURG: Object to form.                 10   studies on the glyphosate formulated product that were
 11   Mischaracterization.                                      11   conducted for purposes of registration in Brazil?
 12       A. No, I don't -- no, I don't think I did. I          12       A. I vaguely remember some discussion of
 13   think I read other -- other reviews, other discussions    13   different studies that they did in South America and
 14   of the glyphosate and glyphosate-based formulation        14   some different studies that they did in Asia and, you
 15   genotox studies. We covered it in the journal articles    15   know, I vaguely remember some discussion of a -- of
 16   that we -- that I coauthored with these other             16   a -- some studies that the Brazilian regulators asked.
 17   scientists. It was a -- it was a body of literature       17   I didn't have access to them and didn't really take
 18   that I was generally pretty familiar with and, you        18   them into account because I didn't have them. Perhaps
 19   know, I think that -- I think that Monsanto raised some   19   they're in the record of this case somewhere and I
 20   legitimate concerns and questions about not just the      20   didn't -- it was among the documents I didn't get to.
 21   Bolognesi but some of the other studies, and in the       21             MR. HOLLINGSWORTH: Let's mark this now.
 22   ensuing years there have been improvements in the         22   Exhibit 18.
 23   methodology and new assays, and some of them have         23              (Deposition Exhibit 18 was
 24   not -- not -- have reported genotoxic effects that        24              marked for identification.)
 25   didn't involve intraperitoneal administration and were    25      Q. (BY MR. HOLLINGSWORTH) Dr. Parry, this is


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  1   a --                                                      1   genetic activity on the strains of Salmonella
  2       A. My name is Dr. Benbrook.                           2   typhimurium use. Do you see that?
  3       Q. Sorry. Dr. Benbrook, this is a genotoxicity        3      A. Yes.
  4   study on MON 77280, Salmonella typhimurium reverse        4      Q. Okay. So this is a negative genotoxicity
  5   mutation. Do you see that?                                5   study, correct?
  6       A. Yes.                                               6      A. Correct.
  7       Q. Okay. And it's a -- data requirements for the      7      Q. Okay. And you testified earlier that you
  8   Instituto Brasileiro. Do you see that?                    8   hadn't reviewed the glyphosate -- the OPP 2017 issue
  9       A. Yes.                                               9   paper on the carcinogenic potential of glyphosate,
 10       Q. The performing laboratory is BioAgri              10   correct?
 11   Laboratorios Limited. Do you see that?                   11      A. Yeah, as I said, not in any depth. I read the
 12       A. Yes.                                              12   summary of it and understood, you know, that it had not
 13       Q. The study sponsor is Monsanto do Brasil. Do       13   changed in any significant way the agency's
 14   you see that?                                            14   determination.
 15       A. Uh-huh. I do.                                     15             MR. HOLLINGSWORTH: And we'll mark this
 16       Q. It was completed in 1998. Do you see that?        16   2017 OPP issue paper as an exhibit.
 17       A. Yes.                                              17              (Deposition Exhibit 19 was
 18       Q. Okay. If you turn the page, the study             18              marked for identification.)
 19   director is last name Perina. Do you see that?           19      Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, if you
 20       A. Yes.                                              20   turn to the tables at the back of this document.
 21       Q. Okay. If you turn to the page 201, Bates page     21      A. Which one?
 22   201?                                                     22      Q. The 2017 OPP issue paper.
 23       A. Okay.                                             23      A. Yeah, yeah, but which page or which table?
 24       Q. It notes that the commercial name for this        24      Q. Oh, hold on, give me a second.
 25   product is MON 77280. Do you see that?                   25      A. It's probably page 203 I'm guessing.


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  1      A. Yes.                                                1      Q. Right. If you look at Appendix F?
  2      Q. Are you aware that this is a negative               2      A. F -- F.1.1, page 203.
  3   genotoxicity study on glyphosate formulated product --    3      Q. Correct. These are listing genotoxicity
  4      A. Before we go on -- before we move on to the         4   studies on the formulated product -- glyphosate
  5   findings it says: Common name glyphosate. Which           5   formulated product that are in the possession of EPA,
  6   suggests to me that this is a study on the technical      6   correct?
  7   glyphosate active ingredient.                             7      A. Yeah, looks like that's what it is.
  8      Q. Sure. And that's fair, but you'll agree also        8      Q. And if you turn to page 206 of 216?
  9   that sometimes people refer to glyphosate formulated      9      A. Okay.
 10   product as glyphosate, correct?                          10      Q. It notes Perina 1998. Do you see that?
 11      A. Correct.                                           11      A. Oh, I do, yeah.
 12      Q. And that's the case in epidemiology studies,       12      Q. And it notes that it was done on MON 77280.
 13   correct?                                                 13   Do you see that?
 14      A. Sometimes, yeah.                                   14      A. Correct, okay.
 15      Q. Okay. The study summary notes: A microbial         15      Q. That's the same study that we just reviewed in
 16   assay was carried out with the product MON 77280 in      16   the prior exhibit, correct?
 17   order to study the possible mutagenic effect of that     17      A. Seems to be, yeah.
 18   substance --                                             18      Q. Okay. So this shows that Monsanto has
 19      A. Uh-huh.                                            19   conducted genotoxicity studies on the glyphosate
 20      Q. -- on the following strains.                       20   formulated product and that the EPA is in possession
 21         And it names several. Do you see that?             21   and has reviewed those studies, correct?
 22      A. Yeah.                                              22             MR. LITZENBURG: Object to form.
 23      Q. Okay. The last sentence of that paragraph          23      A. Well, at least one.
 24   notes: These results indicate that under the test        24             MR. HOLLINGSWORTH: We'll mark another
 25   conditions the product MON 77280 did not exhibit         25   exhibit here.


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  1              (Deposition Exhibit 20 was                      1      A. According to this table, yes.
  2              marked for identification.)                     2      Q. So you certainly cannot say that Monsanto did
  3       Q. (BY MR. HOLLINGSWORTH) Sir, this is a               3   not conduct any cancer testing on the glyphosate
  4   genotoxicity on MON -- genotoxicity study on MON 77280,    4   formulated product, correct?
  5   bacterial reverse mutation test, Ames test --              5             MR. LITZENBURG: Object to form.
  6       A. Ames test, yeah.                                    6      A. Any cancer testing?
  7       Q. Do you see that?                                    7      Q. (BY MR. HOLLINGSWORTH) Yes. Sir, you
  8       A. Uh-huh.                                             8   testified previously that genotoxicity studying is a
  9       Q. It's a final report dated April 2010. Do you        9   form of cancer study, correct?
 10   see that?                                                 10      A. No, I did not testify to that.
 11       A. Yes.                                               11      Q. What did you mean when you said that?
 12       Q. Again, the study sponsor is Monsanto do            12      A. I testified that regulators and scientists
 13   Brasil. Do you see that?                                  13   consider mechanistic data or genotoxicity studies as an
 14       A. Yes.                                               14   important part of their evaluation of whether a
 15       Q. Okay. And the -- the study director, if you        15   pesticide poses a cancer risk. It -- a genotoxicity
 16   turn the page, is Camolesi. Do you see that?              16   study is not the same thing as a cancer study, but it's
 17       A. I do.                                              17   important evidence that the EPA under its new
 18       Q. Okay. And if you look at a study summary page      18   guidelines takes into account in making a weight of
 19   on Bates 259?                                             19   evidence determination, just as IARC took account of
 20       A. 259?                                               20   the genotoxicity data in its weight of evidence
 21       Q. Uh-huh.                                            21   determination that glyphosate and glyphosate-based
 22       A. Got it.                                            22   herbicides are, in their judgment, probable human
 23       Q. The study was performed to evaluate the test       23   carcinogens.
 24   substance MON 77280 supplied by Monsanto do Brasil for    24          So a genotox study is not the same as a cancer
 25   its possible mutagenic activity, using the bacterial      25   study, but it is drawn upon by scientists to gain


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  1   reverse mutation test with five histidine deficient        1   insight on the -- the mechanism through which exposure
  2   mutant tester strains of Salmonella typhimurium. Do        2   to glyphosate-based herbicides could trigger abnormal
  3   you see that?                                              3   cell growth that could progress to a -- a frank tumor.
  4      A. Yep, standard Ames test.                             4       Q. Right. And EPA was in possession of these
  5      Q. And down at the bottom it says: The                  5   Monsanto studies on the glyphosate formulated product
  6   results -- the results revealed that the test substance    6   that are used by scientists to gain insight on the
  7   MON 77280 provided no positive mutagenic effect. Do        7   mechanism through which exposure to glyphosate-based
  8   you see that?                                              8   herbicides could trigger abnormal cell growth that
  9      A. I do.                                                9   leads to a tumor, correct?
 10      Q. So this is another negative mutagenicity or         10              MR. LITZENBURG: Object to the form.
 11   genotoxicity test on the glyphosate formulated product,   11       A. Yes, correct. I don't know when, but...
 12   correct?                                                  12              MR. LITZENBURG: Dr. Benbrook, would
 13      A. Right, right, in this Salmonella strain of          13   you -- I think Number 15 is the thing we only have one
 14   which there are many, many in the record.                 14   copy of. Can I look at it while you all are looking at
 15      Q. Sure. And if you turn again to EPA 2017 OPP         15   other things?
 16   report, and the list of glyphosate formulations that      16              THE WITNESS: Sure. 17, 16, 14, 20, 18,
 17   were studied for genotoxic effect.                        17   13.
 18      A. I'm guessing it shows up.                           18       Q. (BY MR. HOLLINGSWORTH) Are we good to
 19      Q. Do you see the Camolesi is one of those             19   continue?
 20   studies? It's on the first page, page 203?                20       A. Sorry. There's just a lot of paper here.
 21      A. Yes, I do.                                          21              MR. LITZENBURG: You're doing better
 22      Q. So Monsanto, for purposes of registration in        22   than me.
 23   Brazil, conducted genotoxicity tests on the formulated    23              THE WITNESS: There's 15.
 24   glyphosate product and the EPA is in possession and has   24              MR. LITZENBURG: Thank you.
 25   reviewed those studies, correct?                          25       A. Okay.


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  1      Q. (BY MR. HOLLINGSWORTH) Sir, you mentioned            1   above the EPA certified limits?
  2   impurities in your report, the impurities that results     2             MR. LITZENBURG: Object to form.
  3   from the glyphosate manufacturing process. Do you          3       A. You know, I -- EPA became aware of the -- the
  4   recall that?                                               4   NNG impurity and formaldehyde, and then there was an
  5      A. Uh-huh.                                              5   impurity in one of the surfactants quite early in the
  6      Q. Okay.                                                6   regulatory history, and they required Monsanto to
  7      A. A short, very short section.                         7   submit data to them that established the levels, and
  8      Q. Sure. And you specifically mention NNG and           8   they -- in fact, many batches of -- of -- of
  9   formaldehyde, correct?                                     9   manufactured and formulated product from different
 10      A. Correct.                                            10   plants I remember there was actually quite extensive
 11      Q. Every aspect of the -- first of all,                11   data collected by Monsanto and submitted to the agency,
 12   impurities are monitored by EPA and for the -- for        12   and they did do a toxicological evaluation and they did
 13   formaldehyde and NNG they're modified -- they're          13   reach a judgment that the levels of the impurities
 14   monitored to make sure that they are below specified      14   were -- did not exceed their level of concern. And --
 15   limits, correct?                                          15   and they -- there really was -- has been relatively
 16      A. Well, yeah, when the agency is aware of their       16   little focus for the last 30 years of -- of regulation
 17   presence and especially if they have a toxicological      17   of glyphosate-based herbicides on those impurities.
 18   concern about them, impurities can get a lot of           18       Q. (BY MR. HOLLINGSWORTH) Right. So it's
 19   attention in the regulatory process. For example,         19   certainly not your opinion that Monsanto's
 20   dioxin in some of the phenoxy herbicides was the          20   glyphosate-based herbicides ever had impurities that
 21   primary basis of concern about the toxicity of those      21   existed in amounts above the EPA's certified limits,
 22   products.                                                 22   correct?
 23      Q. EPA's position, the detection -- is -- let me       23       A. Correct.
 24   restate that.                                             24       Q. Do you claim that Monsanto's glyphosate-based
 25         To be clear, it is EPA's position that the          25   herbicides ever specifically had formaldehyde at levels


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  1   detections of impurities below regulatory limits are       1   above EPA certified limits?
  2   not carcinogenic concerns, correct?                        2       A. I -- I wouldn't be surprised if I went back
  3      A. Well, yes, in general, they would -- they            3   and carefully reviewed this part of the record, which
  4   would assess the levels and risk associated with the       4   is -- again, it's very old. There probably wasn't an
  5   impurities in essentially the same way they would the      5   EPA certified limit. I mean, for one thing, don't
  6   active ingredient. They would apply kind of the same       6   forget, the EPA had only been in existence a couple of
  7   standards, yeah.                                           7   years when these first actions were -- on glyphosate
  8      Q. And when testing the active ingredient, they         8   were being done. They became aware of the NNG and the
  9   can, in fact, test the impurities in the active            9   formaldehyde and later on this dioxane contaminant and,
 10   ingredient, correct?                                      10   you know, they -- they asked questions about the levels
 11      A. Well, EPA doesn't -- doesn't do those tests         11   and I -- I think -- I vaguely remember that some other
 12   really. It's the -- they require the companies to do,     12   part of EPA had a regulatory level, and they assessed
 13   you know, environmental fate studies and residue          13   that, or maybe it was an international level, I don't
 14   metabolism studies. That's where they would pick up       14   really recall the details, but there -- you know, I
 15   the impurities is in the residue database as part of      15   think the -- the record shows that there was a -- a --
 16   the tolerance-setting process.                            16   an assessment of these impurities and a judgment was
 17      Q. EPA monitors the company's data on                  17   reached that they were -- they did not trigger EPA's
 18   glyphosate-based herbicides and determines whether the    18   level of concern, so yeah, that's my understanding of
 19   impurities are below specified limits, correct?           19   the record.
 20      A. When -- yes, when they become aware that            20       Q. Whether it's formaldehyde, NNG, dioxane or any
 21   there's a -- a potential for impurities in one of the     21   other glyphosate-based herbicides, EPA has always
 22   manufacturing processes, they'll take that into account   22   determined that those impurities are below specified
 23   in making a decision on the tolerances.                   23   limits as far as you know, correct?
 24      Q. Do you claim that Monsanto's glyphosate-based       24       A. As far as I know, correct.
 25   herbicides ever had impurities that existed in amounts    25       Q. Is it your opinion that impurities found in


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  1   glyphosate-based herbicides at levels below EPA            1   to national governments, correct?
  2   certified limits can cause non-Hodgkin's lymphoma?         2       A. Yes.
  3       A. I -- I have no -- no reason to believe that,        3       Q. And when we say IARC leaves that to national
  4   and I would -- would find that unlikely, but, you know,    4   governments, what that means -- or one thing that means
  5   it's -- it's possible I suppose.                           5   is that the applicable -- it leaves it to the
  6       Q. You don't have the expertise to determine           6   applicable regulatory agencies, correct?
  7   whether impurities found in glyphosate-based herbicides    7       A. Yeah, operating under the statutes and laws of
  8   at levels below EPA certified limits can cause NHL,        8   the countries in which they operate.
  9   correct?                                                   9       Q. Such as --
 10       A. I'm -- I certainly don't have a crystal ball       10       A. Which differ.
 11   that could make that determination, and I -- I doubt      11       Q. And such as EPA, Health Canada, EFSA, you're
 12   that anybody has -- has done the kind of in-depth work    12   familiar with all of those, correct?
 13   that would be required to definitively judge that, and    13       A. Correct.
 14   I know that Monsanto actually did commission a two-year   14       Q. And Australia, New Zealand, every country for
 15   feeding study on NNG in the early days, but it -- the     15   the most part has a regulatory agency that is
 16   study was terminated because of excessive mortality in    16   regulating the use of pesticides in that country,
 17   one of the treatment groups and it wasn't repeated        17   correct?
 18   and -- but, you know, the levels are -- the levels that   18       A. Correct.
 19   have been consistently reported were very low and it      19       Q. In major countries the health regulators have
 20   was a -- it has been the judgment of EPA all along that   20   scientific staffs with expert toxicologists,
 21   they didn't -- they didn't feel that the level of risk    21   epidemiologists, pathologists and other specialists,
 22   was high enough to warrant any further assessment.        22   correct?
 23       Q. Right. And you don't hold the opinion that         23       A. Yes.
 24   impurities in glyphosate-based herbicides at the level    24       Q. They're qualified to evaluate and spend a lot
 25   in which they actually exist are causing NHL, correct?    25   of time evaluating the safety of various substances


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  1      A. Correct.                                             1   including herbicides, correct?
  2      Q. I want to move on to some other parts of the         2      A. Well, it -- it varies, but certainly several
  3   globe, Dr. Benbrook. Sir, you testified in April of        3   countries conduct the same -- same sort of evaluation
  4   2015 right after the IARC classification of glyphosate     4   that the US EPA does, but certainly some other
  5   that the currently standing judgment of the EPA is that    5   countries sort of follow the lead of the US or EFSA or
  6   glyphosate is not a carcinogen. Do you recall that?        6   other developed countries that have the scientific
  7      A. Yes.                                                 7   expertise and the resources to do the detailed kind of
  8      Q. You testified that glyphosate-based herbicides       8   work that's required to render these kinds of
  9   are under active review by the US -- in the US by EPA      9   judgments.
 10   and also in Europe by the European community, correct?    10      Q. You've commented in your expert report and
 11      A. At that time, yes.                                  11   deposition about the ongoing scientific discussion
 12      Q. You testified that with the IARC judgment           12   about the standards that should be used in assessing
 13   being published there's going to be intense scrutiny on   13   carcinogenicity including that of Roundup, correct?
 14   the oncogenicity of both glyphosate technical material    14      A. Yes, I did testify to that.
 15   and formulated Roundup herbicides, correct?               15      Q. And, of course, the scientific evaluations
 16      A. Correct.                                            16   made by EPA and other worldwide regulators are part of
 17      Q. That intense scrutiny of glyphosate-based           17   that ongoing discussion, correct?
 18   herbicides post IARC classification of glyphosate         18      A. Yes.
 19   referred, in part, to intense scrutiny by worldwide       19      Q. There are articles and letters to the editor
 20   regulators, correct?                                      20   and discussions at conferences and so on debating about
 21      A. Of course, that was part of it.                     21   the decisions made by regulators, the standards they
 22      Q. Sir, IARC itself does not regulate the              22   employ and the evidence they consider, correct?
 23   substance it -- substances it classifies, correct?        23      A. Yes.
 24      A. Correct.                                            24      Q. In reaching your opinions, you certainly
 25      Q. IARC leaves the regulation of those substances      25   considered the evaluations of EPA, EFSA and other


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  1   regulators who have evaluated Roundup, correct?            1       A. Yes.
  2       A. Correct, as well as the open peer-reviewed          2       Q. The dietary risk assessment conducted by
  3   literature.                                                3   Canada is both for acute and chronic exposure, correct?
  4       Q. Aware that the European and US reviews that         4       A. Yes.
  5   you foretold in April of 2015 have since that time         5       Q. The Canadian regulatory authority also
  6   repeatedly determined that Roundup is not carcinogenic?    6   conducts a drinking water exposure assessment, correct?
  7       A. There's been, as far as I know, no major            7       A. Yes.
  8   change in the regulatory treatment of Roundup              8       Q. The Canadian regulatory authority also
  9   herbicides with a possible exception of the Proposition    9   conducts an occupational exposure risk assessment,
 10   65 actions required in the state of California where      10   correct?
 11   there has been a requirement that there be some           11       A. Yes.
 12   warning, and those requirements, as you know and as we    12       Q. The Canadian regulatory authority also
 13   talked about in the last deposition, are in -- tied up    13   conducts a nonoccupational exposure risk assessment,
 14   in litigation and administrative reviews, etcetera, and   14   correct?
 15   are not -- not final at this time.                        15       A. Yes.
 16       Q. Aware that every single weight of the evidence     16       Q. The Canadian regulatory authority also
 17   risk assessment by a worldwide regulator since the IARC   17   conducts a residential exposure risk assessment,
 18   classification has found that glyphosate-based            18   correct?
 19   herbicides are not carcinogenic?                          19       A. Yes.
 20             MR. LITZENBURG: Object to form.                 20       Q. Fair to say that the Canadian regulatory
 21       A. You know, I'm not -- you know, I can't sit         21   authority conducts a risk assessment with respect to
 22   here today and say that I am aware of every action        22   all routes and types of exposure to pesticides at
 23   taken by every regulator around the world in the last     23   issue?
 24   short while. You know, I -- I know that some countries    24             MR. LITZENBURG: Object to form.
 25   at certain points of time have stopped the use of         25       A. I would agree with that, yes.


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  1   glyphosate-based herbicides, I know Germany is phasing     1      Q. (BY MR. HOLLINGSWORTH) Please turn to section
  2   out the use of glyphosate-based herbicides, but I can't    2   entitled Impact on Human Health on page 11.
  3   sit here and say that I am -- I'm confident that I'm       3      A. Okay.
  4   aware of the status of the review of oncogenicity of       4      Q. The first sentence says: The toxicology
  5   Roundup-based herbicides in every country around the       5   database for glyphosate acid was extensive consisting
  6   world.                                                     6   of all guideline toxicity studies required to
  7       Q. Okay. Let's go through them.                        7   characterize toxicity of a pesticide. Do you agree
  8             MR. HOLLINGSWORTH: Let's mark an                 8   with that statement?
  9   exhibit.                                                   9      A. Yes, it's what it says.
 10             (Deposition Exhibit 21 was                      10      Q. A few sentences down it's: Relevant
 11              marked for identification.)                    11   acceptable scientific studies published in the
 12       Q. (BY MR. HOLLINGSWORTH) Sir, this is a              12   peer-reviewed literature were also incorporated into
 13   April 13, 2015 review by Health Canada of glyphosate.     13   the hazard assessment including those studies that were
 14   Do you see that?                                          14   considered by World Health Organization's International
 15       A. Yes.                                               15   Agency For Research on Cancer, IARC, and their recent
 16             MR. LITZENBURG: What's the number?              16   hazard classification of glyphosate.
 17             THE WITNESS: 21.                                17          So this Canadian regulatory body considered
 18       Q. (BY MR. HOLLINGSWORTH) Please turn to the          18   IARC classification in review of glyphosate, correct?
 19   table of contents.                                        19      A. Well, kind of -- since it came out in March of
 20       A. Okay, got it.                                      20   2015 they certainly couldn't have given it a lot of
 21       Q. Section 3 in the table contents is titled          21   consideration, plus the -- the full monograph wasn't
 22   Impact on Human and Animal Health. Do you see that?       22   out at this time. But what they're saying is that they
 23       A. Yes.                                               23   looked at the same studies that the -- that the IARC
 24       Q. It notes that Canada conducts a dietary            24   working group considered in their assessment, and I'm
 25   exposure risk assessment, correct?                        25   sure that's right because IARC depended on open


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  1   literature, public peer-reviewed studies. That's what      1   not genotoxic and is unlikely to pose a human cancer
  2   they do. That's how they do their reviews.                 2   risk. Do you see that?
  3       Q. Please turn to the cancer assessment section        3       A. Yes, I do.
  4   at page 15.                                                4       Q. So two years after IARC and after Canada's
  5       A. Okay.                                               5   decision in April of 2015 they reaffirmed their
  6       Q. There it notes: Overall weight of evidence          6   decision that glyphosate is not genotoxic and unlikely
  7   indicates that glyphosate is unlikely to pose a human      7   to pose a human cancer risk, correct?
  8   cancer risk.                                               8       A. That's what they report here, yes.
  9          So the Canadian regulatory body considered          9       Q. And they did so in considering the studies
 10   IARC's classification of glyphosate and reviewed the      10   that IARC considered in IARC's review, correct?
 11   studies IARC reviewed and reaffirmed its position that    11       A. That's also what they -- they claim.
 12   glyphosate does not pose a human cancer risk, correct?    12       Q. Sir, you've familiar with the BFR, correct?
 13       A. Well --                                            13       A. Yes.
 14              MR. LITZENBURG: Object to form.                14       Q. Sir, are you also aware that in 1991 and 1992
 15       A. -- as I -- as I said, this document came out a     15   that Health Canada came to that same conclusion that
 16   month after the release of the IARC working group         16   glyphosate is not carcinogenic?
 17   report and several months before the full monograph,      17       A. I didn't do a detailed historical assessment
 18   so, you know, I certainly -- they were aware of the --    18   of the PMRA's treatment of glyphosate as part of this
 19   they were clearly aware of the classification and they    19   case, no, I didn't.
 20   felt that they had incorporated the studies that IARC     20       Q. Okay. Do you agree that just like in the US,
 21   did and they reached a different judgment.                21   Health Canada -- US's EPA reviewing glyphosate's
 22       Q. (BY MR. HOLLINGSWORTH) And some of those           22   toxicology and carcinogenicity every 15 years or every
 23   studies that Canada reviewed and incorporated were, as    23   so often, other countries conduct similar reviews where
 24   it notes above, epidemiology studies, correct?            24   they're assessing the overall toxicology database of
 25       A. Yes.                                               25   that pesticide over a span of years?


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  1       Q. Are you aware that Canada since this time           1      A. Correct.
  2   conducted a more thorough review of the IARC               2              (Deposition Exhibit 23 was
  3   classification and studies and came to the same            3              marked for identification.)
  4   conclusion?                                                4      Q. (BY MR. HOLLINGSWORTH) Sir, Exhibit 23 is a
  5       A. I know that it's been -- it's been an ongoing       5   publication from BFR, the German risk assessment group
  6   topic of review in several different countries and I --    6   that has a header titled, Does glyphosate cause cancer?
  7   you know, I -- I was aware that there was additional       7   Do you see that?
  8   assessments being done in Canada and I -- I don't know     8      A. Yes.
  9   if they put out a final report or not.                     9      Q. And it notes: In its recent evaluation from
 10              MR. HOLLINGSWORTH: Let's mark                  10   March 2015 the International Agency For Research on
 11   Exhibit...                                                11   Cancer, IARC, came to the conclusion that glyphosate
 12              (Deposition Exhibit 22 was                     12   should now be classified at Carcinogenic Group 2A. Do
 13              marked for identification.)                    13   you see that?
 14       Q. (BY MR. HOLLINGSWORTH) Sir, this is an             14      A. Yes.
 15   April --                                                  15      Q. Further down it notes: The Federal Institute
 16       A. Just one second, please.                           16   For Risk Assessment, BFR, was responsible for the human
 17       Q. Sure. I'm just going to introduce the              17   health risk assessment and has assessed glyphosate as
 18   document. This is a April 28, 2017 re-evaluation          18   noncarcinogenic. This was supported by competent
 19   decision on glyphosate by Health Canada. Correct?         19   national European and other international institutions
 20       A. Okay.                                              20   for health assessment including the WHO/FAO joint
 21       Q. Correct, sir?                                      21   meeting on pesticide residues. Do you see that?
 22       A. Yes.                                               22      A. Yes.
 23       Q. Go to page 1, the executive summary. It            23      Q. If you go down two paragraphs it notes: In
 24   notes: The overall finding from the reexamination of      24   the opinion of BFR, the classification of glyphosate as
 25   glyphosate is highlighted as follows. Glyphosate is       25   carcinogenic in Group 2A, probably carcinogenic to


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  1   humans, as published in the 20th of March 2015 issue of    1      Q. So this document is considering the potential
  2   the Lancet journal comes as a surprise, since other        2   human and ecological health harm that may be associated
  3   evaluations performed by supranational bodies such as      3   with the pesticide and then harmonizing the labeling to
  4   the WHO-panel of the Joint Meeting of Pesticide            4   mitigate the harm, correct?
  5   residues, JMPR, 2004) and also by national regulatory      5      A. Within Europe?
  6   agencies such as US EPA had concluded the contrary,        6      Q. Yes.
  7   i.e., that glyphosate was not carcinogenic. Do you see     7      A. Okay.
  8   that?                                                      8      Q. Is that correct?
  9       A. Yes.                                                9      A. I don't know. I've never seen the document
 10       Q. Agree that as of March 2015 IARC was the only      10   before.
 11   group that had classified glyphosate as a carcinogen?     11      Q. Okay. Well, the title of this document
 12       A. Well, EPA had from 1995 [verbatim] to 1991 as      12   indicates its purpose, right, to harmonize the
 13   a possible human carcinogen. I think some of the other    13   pesticide label of glyphosate --
 14   regulatory agencies around the world had done so too.     14      A. I would assume since it's part of the European
 15       Q. Sir, do you agree at the time of March 2015        15   review it's harmonization within the European Union.
 16   IARC was the only group that classified glyphosate as a   16      Q. Okay.
 17   probable carcinogen?                                      17      A. And if that's not correct, please tell me
 18       A. Yes.                                               18   otherwise.
 19       Q. Please turn to the next page and the last          19      Q. Sure. Please turn to page 8.
 20   paragraph. It notes: It is not possible to fully          20      A. Okay.
 21   examine the indications for the genotoxic potential of    21      Q. There in the third paragraph it notes: The
 22   glyphosate based on the short report published by IARC    22   International Agency For Research on Cancer, IARC --
 23   in particular due to the fact that the assessment         23      A. Right.
 24   included studies using formulations that are not          24      Q. -- of the World Health Organization, WHO,
 25   specified in any detail. Did I read that correctly?       25   published in a monograph that glyphosate is probably


                                              Page 291                                                       Page 293
  1      A. Yes.                                                 1   carcinogenic to humans, Group 2A. Do you see that?
  2      Q. It goes on: BFR will, therefore, perform a           2       A. Yes.
  3   thorough review of the classification --                   3       Q. It goes on: During the European Food Safety
  4      A. Well, wait a second. Oh, you skipped to the          4   Authority, EFSA, peer-review process for the renewal or
  5   last sentence, right?                                      5   approval of the pesticide active substance glyphosate,
  6      Q. Yes. It goes on, it states: BFR will,                6   the IARC evaluation regarding the potential
  7   therefore, perform a thorough review of the                7   carcinogenicity and genotoxicity of glyphosate or
  8   classification issued by IARC once the monograph           8   glyphosate-containing plant protection products was
  9   becomes available. Do you see that?                        9   taken into consideration, but EFSA and EU experts came
 10      A. Yes.                                                10   to a different conclusion. Do you see that?
 11      Q. Are you aware that BFR did perform a thorough       11       A. Yes.
 12   review once the monograph became available?               12       Q. So since IARC, the European Food Safety
 13      A. I surely am.                                        13   Authority, EFSA, considered IARC's classification of
 14             MR. HOLLINGSWORTH: Mark an exhibit.             14   glyphosate-based herbicides and European experts came
 15              (Deposition Exhibit 24 was                     15   to a different conclusion, that is, that
 16              marked for identification.)                    16   glyphosate-based herbicides are not carcinogenic,
 17      Q. (BY MR. HOLLINGSWORTH) Sir, this is the --          17   correct?
 18   you're familiar with BFR, correct?                        18       A. Correct.
 19      A. Yes.                                                19       Q. Please turn to page 80 for human information.
 20      Q. You're aware of this proposal for harmonized        20       A. Okay.
 21   classification and labeling, correct?                     21       Q. The middle of the second paragraph notes: An
 22      A. This report, I don't think I've seen this.          22   essential consideration in both risk assessment and
 23      Q. Well, you're generally familiar with BFR's          23   interpreting the relevance of toxicology data is
 24   review of glyphosate-based herbicides, correct?           24   exposure assessment. So EFSA and German regulators are
 25      A. Yes.                                                25   considering human exposure in conducting their risk


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  1   assessment. Correct?                                       1       A. Correct.
  2      A. Yes.                                                 2       Q. Are you familiar with EFSA?
  3             MR. LITZENBURG: Are we on 24 now?                3       A. Yes. We -- we've already talked about it.
  4             THE WITNESS: Hold on a second.                   4       Q. Are you aware that the Germans also in 2013
  5             MR. LITZENBURG: Was I given a copy?              5   came to a similar conclusion that a hazard
  6   Have I lost it?                                            6   classification for glyphosate is not warranted?
  7             MR. HOLLINGSWORTH: Here.                         7       A. I don't know what document or review you're
  8             MR. LITZENBURG: You were on page 81?             8   speaking about in 2013, specific to Germany. I have no
  9             MR. HOLLINGSWORTH: 80, I believe.                9   reason to dispute your assertion, but I'm not aware of
 10             MR. LITZENBURG: 80.                             10   it.
 11      Q. (BY MR. HOLLINGSWORTH) Please turn to page 98       11       Q. You're generally familiar with the BFR and
 12   and the section entitled Conclusions on Classification.   12   that they make repeated determine --
 13      A. Okay.                                               13       A. It's the -- the German version of the EPA.
 14      Q. There BFR notes: Based on the epidemiological       14       Q. And you're aware that Germ -- in 2016 BFR's
 15   data as well as data from long-term studies in rats and   15   review of glyphosate wasn't the first time they
 16   mice, taking a weight of evidence approach, no hazard     16   reviewed. They reviewed it previously, correct?
 17   classification for carcinogenicity is warranted for       17       A. Correct. Essentially the same sequential
 18   glyphosate. Do you see that?                              18   series of reviews of -- have been going on in multiple
 19      A. Yes.                                                19   countries around the world since the early 1980s.
 20      Q. So the Germans agreed with the other European       20             MR. HOLLINGSWORTH: Okay. Let's mark
 21   nations that glyphosate is noncarcinogenic, correct?      21   this exhibit.
 22      A. Are they saying they -- they don't feel             22              (Deposition Exhibit 25 was
 23   there's enough data to reach a judgment or that           23              marked for identification.)
 24   they're -- they're not saying that they're not ready to   24       Q. (BY MR. HOLLINGSWORTH) Sir, you're generally
 25   classify it as oncogenic. I mean, I have to read this     25   familiar with EFSA's pesticide review process, correct?


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  1   for context. No hazard classification for                  1       A. Yes.
  2   carcinogenicity is warranted. Okay. Yeah, so               2       Q. This title -- this document is titled
  3   they're -- they're saying that -- that no                  3   Conclusion on the Peer Review of the Pesticide Risk
  4   classification suggesting carcinogenicity is warranted.    4   Assessment of the Active Substance Glyphosate. Do you
  5   All right. Got it.                                         5   see that?
  6      Q. And the Germans in this 2016 review considered       6       A. Correct.
  7   both IARC as well as the epidemiological data and          7       Q. Okay. So by its very title, EFSA is stating
  8   long-term rodent studies in taking a weight of evidence    8   that it's conducting a risk assessment for glyphosate,
  9   approach came to the opposite conclusion of IARC,          9   correct?
 10   didn't they?                                              10       A. For glyphosate active ingredient, yes.
 11      A. They did.                                           11       Q. The abstract notes: Following a second
 12      Q. Are you aware that that is consistent with the      12   mandate from the European Commission to consider
 13   European Commission's finding in 2002?                    13   findings from the International Agency for Research on
 14      A. Talking about the JMPR or which -- which            14   IARC [verbatim] regarding the potential carcinogenicity
 15   commission? I'm sure you're going to introduce another    15   of glyphosate or glyphosate-containing plant protection
 16   document so I'll know what you're talking about.          16   products in the ongoing peer review of the active
 17      Q. Are you aware of the European Commission            17   substance, EFSA concluded that glyphosate is unlikely
 18   Health and Consumer Protection Directorate General?       18   to pose a carcinogenic hazard to humans and the
 19      A. Yes.                                                19   evidence does not support classification with regard to
 20      Q. Okay. That is another -- a former version of        20   its carcinogenic potential. Did I read that correctly?
 21   a European -- Europe-wide regulator, correct?             21       A. Yes.
 22      A. Correct.                                            22       Q. So the Europeans considered IARC, and like the
 23      Q. Okay. And are you aware that prior to this          23   Germans, came to the opposite conclusion, correct?
 24   2016 finding the European Commission in 2002 also found   24       A. Correct.
 25   that glyphosate is not carcinogenic?                      25       Q. EFSA considered IARC's classification of


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  1   glyphosate, and after it did its own review determined    1   epidemiological studies on glyphosate and determined
  2   that glyphosate is not carcinogenic, correct?             2   that glyphosate-based formulations -- there's limited
  3      A. Under the conditions of use and exposures that      3   evidence for an association between glyphosate-based
  4   they took into account, yes.                              4   formulations and non-Hodgkin's lymphoma, correct?
  5      Q. And here at page 8, if you go to page 8?            5       A. That's how they characterize it, correct.
  6      A. Of the same document?                               6       Q. With respect to the statement by EFSA on the
  7      Q. Yes.                                                7   prior page that the glyphosate dossier consists of an
  8      A. Okay, I'm there.                                    8   exceptionally large database, are you aware of any
  9      Q. It talks about the active substance and the         9   other herbicide in the history of man that has as many
 10   formulated product. Do you see that?                     10   studies on the active ingredient as glyphosate?
 11      A. Yes.                                               11       A. Oh, Atrazine would probably be close and 2,4-D
 12      Q. And the represented formulated -- the              12   might be also. Those would be the only two. 2,4-D has
 13   representative formulated product for the evaluation     13   been so extensively studied because of its role in
 14   was MON 52276. Do you see that?                          14   Agent Orange and heavy use around the world for even
 15      A. Not yet.                                           15   longer than glyphosate, so certainly the three most
 16      Q. It's in the second paragraph.                      16   heavily tested herbicides in history would be Atrazine,
 17      A. Okay. It's the isopropanol ammonia salt with       17   2,4-D and glyphosate.
 18   surfactants?                                             18       Q. And you can't say for certain as you're
 19      Q. Right.                                             19   sitting here today which would be the most heavily
 20      A. Not identified.                                    20   tested herbicide in the history of man?
 21      Q. So EFSA considered glyphosate and this             21             MR. LITZENBURG: Object to form. Asked
 22   glyphosate formulated product MON 52276 in coming to     22   and answered.
 23   their conclusion that it is -- glyphosate is unlikely    23       A. I would -- I think 2,4-D and glyphosate. It
 24   to pose a carcinogenic hazard to humans, correct?        24   would depend on how you weight different factors.
 25      A. Correct.                                           25   There have been -- there's been an enormous volume of


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  1       Q. Please turn to page 10. The third paragraph        1   studies and work on 2,4-D.
  2   there, it states: The glyphosate dossier consists of      2      Q. You're familiar with the European Chemicals
  3   an exceptionally large database. Do you agree with        3   Agency, correct?
  4   that?                                                     4      A. The what?
  5       A. Yes.                                               5      Q. European Chemicals Agency?
  6       Q. And here, EFSA agreed during the peer review       6      A. Yes.
  7   to rely on the magnitude of valid studies rather than     7              (Deposition Exhibit 26 was
  8   on one key study for each end point due to that           8              marked for identification.)
  9   exceptionally large database, correct?                    9      Q. (BY MR. HOLLINGSWORTH) The European Chemical
 10       A. Correct.                                          10   Agency is roughly equivalent to the US EPA in that they
 11       Q. If you go down to the bottom, there's some        11   have primary authority over the pesticide label for all
 12   bolding there. Do you see that?                          12   pesticide products in the EU, correct?
 13       A. I see several terms that are bolded.              13      A. Yes.
 14       Q. It notes: Glyphosate did not present              14      Q. Aware that they have a committee for risk
 15   genotoxic potential and no evidence of carcinogenicity   15   assessment also known as the RAC?
 16   was observed in rats or mice. Do you see that?           16      A. I didn't know what it was called, but I
 17       A. That's what it says, yeah.                        17   assume -- I assume that they have names for a lot of
 18       Q. Please turn to the next page, page 11. Third      18   things.
 19   paragraph there says: From the wealth of                 19      Q. So this document is entitled The Committee For
 20   epidemiological studies the majority of experts          20   Risk Assessment Opinion Proposing Harmonized
 21   concluded that there is very limited evidence for an     21   Classification and Labeling at EU Level Glyphosate,
 22   association between glyphosate-based formulations and    22   correct?
 23   non-Hodgkin's lymphoma. Did I read that correctly?       23      A. Correct.
 24       A. Yes.                                              24      Q. So, again, by its very title, it is a group
 25       Q. So EFSA in 2015 reviewed the wealth of            25   from the EU that is dedicated to conducting risk


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  1   assessments that is harmonizing that assessment with      1       Q. ECHA also looked at the 2014 Schinasi meta
  2   pesticide labeling statements, correct?                   2   analysis, the IARC working group meta analysis, and the
  3      A. Uh-huh, correct.                                    3   Chang 2016 meta analysis, correct?
  4      Q. The European Chemical Agency or ECHA then           4       A. Yes.
  5   issued its opinion regarding the safety of glyphosate     5       Q. At page 52, at the bottom there in bold, ECHA
  6   in March 2017, correct?                                   6   concludes that: Based on the epidemiological data as
  7      A. Yes.                                                7   well as the data from long-term studies in rats and
  8      Q. Can you turn to page 19? There's a section          8   mice, taking a weight of evidence approach, no
  9   called RAC Evaluation of Germ Cell Mutagenicity?          9   classification for carcinogenicity is warranted.
 10      A. Okay.                                              10   Correct?
 11      Q. And from 19 to 28 -- from pages 19 to 28 of        11       A. That's what it says, correct.
 12   this March 2017 assessment, ECHA discusses the           12       Q. In other words, ECHA did not find evidence
 13   scientific data regarding glyphosate and genotoxicity    13   that glyphosate causes cancer, right?
 14   or mutagenicity, correct?                                14       A. That is their judgment based on their weight
 15      A. Looks to be that way, yes.                         15   of the evidence review.
 16      Q. If you turn to page 28, there is the RAC           16       Q. You disagree with the European Chemical
 17   evaluation of carcinogenicity. Do you see that?          17   Agency's opinion regarding glyphosate and cancer; is
 18      A. Yes.                                               18   that right?
 19      Q. And if you turn from pages 28 to 49, ECHA          19              MR. LITZENBURG: Object to form.
 20   discusses the glyphosate rodent cancer studies and the   20       A. I would only point out at this hour that it is
 21   glyphosate epidemiology studies, correct?                21   not in agreement with the IARC workings group
 22      A. Correct.                                           22   assessment of the same body of evidence, and I think
 23      Q. ECHA discusses findings of seven rat studies       23   this last two hours has demonstrated that IARC is the
 24   and five mice studies, correct?                          24   first recognized international body of experts
 25      A. I guess they missed two.                           25   responsible for evaluating the oncogenicity of


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  1       Q. Correct?                                           1   chemicals including pesticides that has reached a
  2       A. Yes.                                               2   different conclusion compared to other regulatory
  3       Q. ECHA discusses each of the epidemiology            3   bodies in specific countries and all of these related
  4   studies that were considered by IARC, correct?            4   European and European community entities. And I think
  5       A. I'd have to look at the full reference list,       5   that the -- the reasons why IARC reached a different
  6   but if you assert that you've done it and that's the      6   judgment have been widely debated, they'll continue to
  7   case, I am not going to argue with you.                   7   be debated, and almost certainly won't be resolved
  8       Q. At the human data section on page 43, it           8   until there's significantly richer and deeper both
  9   provides an overview table and notes that there's an      9   epidemiological studies done and -- and the Ramazzini
 10   overview table, see Tables 43 to 45, of the              10   study -- Institute study will clearly carry a lot of
 11   epidemiological studies assessed by IARC as available    11   weight in the European reviews. And it -- it will --
 12   in the CLH report and in the RAR. Do you see that?       12   remains to be seen whether the level of concern
 13       A. Yes.                                              13   inherent in the IARC working group's classification of
 14       Q. So ECHA in 2017 considered the epidemiology       14   glyphosate and glyphosate-based herbicides as probable
 15   studies assessed by IARC, correct?                       15   human carcinogens and possibly proven ones, you know,
 16       A. Correct.                                          16   whether that is a -- you know, was a -- an accurate and
 17       Q. So ECHA looked at all the case control studies    17   appropriate assessment or over -- overcautious, over --
 18   addressed by IARC, right?                                18   perhaps the -- you know, down the road science will
 19       A. According to this, that's correct.                19   show that the weight that the IARC working group placed
 20       Q. ECHA looked at the 2005 AHS cohort study,         20   on the genotoxicity studies which they regard as
 21   right?                                                   21   providing strong evidence of a genotoxicity of
 22       A. I'm sure they did, yes.                           22   glyphosate-based herbicides and even glyphosate itself,
 23       Q. ECHA could not have looked at the 2018 JNCI       23   perhaps as more studies are done the judgment of the --
 24   study because it had not come out yet, right?            24   of the entire scientific community will change. But
 25       A. That is correct.                                  25   it -- it really -- it -- there is this disagreement and


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  1   it's not surprising to me that Monsanto would point to     1   classification of glyphosate as not posing carcinogenic
  2   all of these other determinations as suggesting that       2   risk is because the principal focus and science base
  3   IARC got it wrong, but it might be that these earlier      3   supporting that is in reference to typical exposures to
  4   assessments misread and didn't take into account the       4   the average citizen living in the country, and if -- if
  5   more modern studies on genotoxicity.                       5   the regulators were asked if they were equally
  6          You know, I -- among many experts in                6   confident that applicators and mixer/handlers and
  7   genotoxicity, they feel there's clear evidence that --     7   people that use -- sprayed glyphosate for several hours
  8   that glyphosate and glyphosate-based herbicides trigger    8   a day with handheld equipment also faced no oncogenic
  9   oxidative stress in a number of cell systems at            9   risk, I'm reasonably certain that they would say they
 10   environmentally relevant doses. There's suggestive        10   are less confident in their judgment in that scenario
 11   data that at very low doses from prenatal exposures       11   because they know the exposure levels are so much
 12   that they trigger changes in the liver and suggestive     12   higher.
 13   of progression to nonfatty liver disease.                 13         So this is one of the -- the explanations
 14          There's -- there's tons of new science coming      14   that's in the variety of peer-reviewed publications
 15   out certainly on a -- you know, on a weekly basis         15   that have -- have appeared where scientists are trying
 16   around the world that is -- that ultimately and           16   in good faith to explain how the IARC working group
 17   eventually will be incorporated into the weight of        17   looking at this body of science could reach one
 18   evidence evaluations. It -- it's possible that IARC is    18   conclusion and other scientific bodies, regulatory
 19   the first international agency to recognize and state     19   agencies looking at a similar set of data, not exactly
 20   that by their reading of the totality of the data that    20   the same, reaches an alternative decision. And I
 21   they feel that the classification has been                21   understand those distinctions, and I -- I acknowledge
 22   inappropriate and it's -- so they reached that            22   that they're subtle in some senses, but I -- I do
 23   conclusion and they set out their reasons.                23   believe that it -- a deep understanding of the
 24          I agree with their judgment strongly on            24   differences in the IARC review compared to these
 25   genotoxicity and I do think that EPA and EFSA's and       25   regulatory agency reviews is -- is -- sheds light on


                                               Page 307                                                      Page 309
  1   BFR's continued position that glyphosate-based             1   why they reached a -- different conclusions.
  2   herbicides are not genotoxic will be proven to be          2      Q. (BY MR. HOLLINGSWORTH) Sir, Health Canada,
  3   wrong. For one thing, you know, you -- you never asked     3   the Canadian regulator, BFR, the German regulator,
  4   me about other things in all of these studies.             4   EFSA, European regulator, European Chemical Agency,
  5   Virtually all of the European assessments, the EFSA        5   another European regulator, they all reviewed
  6   assessment, the BFR assessment is based upon their         6   epidemiology on glyphosate-based herbicides, correct?
  7   review of typical exposures mostly through the diet to     7      A. Yes.
  8   glyphosate and glyphosate-based herbicides. They're --     8      Q. Including epidemiology on users, specifically
  9   they're judgments that are based on their dietary risk     9   farmers, that includes the AHS cohort with multiple
 10   assessment and their determination of whether the         10   levels including intense levels of use of glyphosate,
 11   average German or the average citizen in -- in a          11   correct?
 12   European country faces a risk from glyphosate.            12      A. They took into account I'm sure the published
 13         It's quite clear if you read the details of         13   studies from the Agricultural Health Study, correct.
 14   them -- I was hoping you would give me the opportunity    14      Q. Okay. So IARC stands alone as compared to the
 15   to point out a few of those as we went through these      15   rest of the worldwide regulators who conducted a hazard
 16   documents. I think it's generally accepted that all of    16   or risk assessment for glyphosate-based herbicides that
 17   these regulatory agencies are certainly more concerned    17   included a review of epidemiology, genotoxicity and
 18   about the levels of exposure to people who are            18   other relevant sciences, correct?
 19   occupationally using glyphosate or for one reason or      19             MR. LITZENBURG: Object to form and
 20   another exposed at a higher level of which there's        20   calling -- repeatedly calling IARC a regulator.
 21   multiple studies going on around the world of clusters    21      A. Would you repeat the question, please.
 22   of fatal chronic kidney disease that some scientists      22      Q. (BY MR. HOLLINGSWORTH) Sure. IARC stands
 23   believe that exposure to glyphosate may play a role.      23   alone as compared to worldwide regulators who conducted
 24         So there's -- one of the big distinctions           24   a hazard -- a risk assessment for glyphosate-based
 25   between EPA's and other regulatory agencies'              25   herbicides that included a review of epidemiology,


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  1   genotoxicity, animal carcinogenicity, and other             1      Q. Please turn to the section entitled Proposed
  2   scientific data in the glyphosate database, correct?        2   Regulatory Position on page 12.
  3      A. I would concur that the -- IARC and its               3       A. Okay.
  4   working group reached a different conclusion based on a     4      Q. There it notes that: Based on the nomination
  5   review of largely the same scientific data.                 5   assessment the APVMA concludes that the scientific
  6      Q. You're familiar with the Australian Pesticides        6   weight of the evidence indicates that exposure to
  7   and Veterinary Medicines Authority, correct?                7   glyphosate does not pose a carcinogenic or genotoxic
  8      A. Just a bit.                                           8   risk to humans.
  9      Q. Have you ever been to Australia?                      9         So like the German regulator, the European
 10       A. Yes, once.                                          10   Food Safety Authority, the European Chemical Agency,
 11            MR. HOLLINGSWORTH: Mark the exhibit.              11   the Australian regulatory body considered the science
 12             (Deposition Exhibit 27 was                       12   reviewed by IARC and came to the conclusion that
 13             marked for identification.)                      13   glyphosate is not carcinogenic, correct?
 14       Q. (BY MR. HOLLINGSWORTH) Sir, have you reviewed       14       A. Yes, that's what it says.
 15   this 2016 glyphosate risk assessment document done by      15      Q. Okay. And this review by Australia is on
 16   the Australian regulators?                                 16   glyphosate or products containing glyphosate, correct?
 17      A. No.                                                  17       A. Yes.
 18      Q. APVMA is responsible for regulating pesticides       18      Q. Okay. And if you go to page 17, it discusses
 19   and pesticide labels in Australia, correct?                19   a July 2013 review by the Australian regulator. Do you
 20      A. Yes.                                                 20   see that?
 21      Q. Please turn to page 3. There in the table of         21       A. Page 17, I see June -- June 2011. Oh, down at
 22   contents or the executive summary section there's a        22   the bottom.
 23   subsection titled Assessment of IARC monograph --          23      Q. Right. Do you see the July 2013 review?
 24   glyphosate monograph, correct?                             24       A. Yes.
 25      A. Correct, it's 4.2.                                   25      Q. Okay. So like the other worldwide regulators,


                                                      Page 311                                               Page 313
  1       Q. Please turn to page 10 in the introduction           1   Australia had reviewed glyphosate previously and come
  2   section. The last paragraph notes: The APVMA chose to       2   to the conclusion that the weight and strength of
  3   consider glyphosate for reconsideration following the       3   evidence demonstrate that glyphosate is not genotoxic,
  4   publication of the IARC monograph 112 in July 2015.         4   carcinogenic or neurotoxic, correct?
  5   Once the chemical has been nominated for                    5       A. That's what it says, yes.
  6   reconsideration, the APVMA examines a new                   6       Q. Okay. And are you aware -- if you look at
  7   information -- examines the new information to              7   page 16?
  8   determine whether there's sufficient scientific grounds     8       A. Okay.
  9   to warrant placing the chemical under formal                9       Q. Australia also reviewed glyphosate in 1996,
 10   reconsideration.                                           10   correct?
 11         So this is another example of the close              11       A. Yes.
 12   scrutiny of glyphosate by the worldwide regulatory         12       Q. That was for ecotoxicology purposes, correct?
 13   communities that you referenced in your April 2015         13       A. Just reading it now. In water -- okay, so
 14   testimony, correct?                                        14   environmental aquatic effects, yes.
 15             MR. LITZENBURG: Object to form.                  15       Q. Those were studies on the formulated product,
 16       A. I would agree with that.                            16   in part, correct?
 17       Q. (BY MR. HOLLINGSWORTH) If you go down to the        17       A. Yes.
 18   section entitled Evaluation Methodology Weight of          18       Q. Let's stay down under and go to New Zealand.
 19   Evidence Approach it notes: The nomination assessment      19       A. This gets so out of control.
 20   process involved the scientific weight of evidence         20             MR. LITZENBURG: Yeah, it would be nice
 21   evaluation of information in the IARC monograph.           21   to keep them in order, but in the end she'll keep all
 22         So the Australian regulators conducted a             22   the stickered ones and scan them in and everything, so
 23   weight of evidence review of the information considered    23   as long as they are there.
 24   by IARC, correct?                                          24       A. Okay.
 25       A. Yes.                                                25              (Deposition Exhibit 28 was


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  1             marked for identification.)                      1   the quality of evidence for carcinogenicity in humans
  2      Q. (BY MR. HOLLINGSWORTH) You're aware of New           2   and experimental animals and the mechanistic arguments.
  3   Zealand EPA, correct?                                      3   Did I read that correctly?
  4      A. Yes.                                                 4      A. You did.
  5      Q. They have authority over pesticide regulation        5      Q. So the New Zealand regulatory authority is
  6   and labeling in New Zealand, correct?                      6   taking a look at the full toxicology data set and
  7      A. He gets the other one?                               7   epidemiology as well as the basis for the IARC
  8             THE WITNESS: Tim, this is 28.                    8   classification, correct?
  9      Q. (BY MR. HOLLINGSWORTH) Correct, sir?                 9      A. Yeah, they certainly looked at part of it, but
 10      A. I'm sorry. Can you ask the question --              10   I doubt that they did as thorough a review as either
 11      Q. New Zealand EPA has authority over pesticide        11   BFR or IARC did, but they -- they looked at certainly
 12   regulation and labeling in New Zealand, correct?          12   some of the studies.
 13      A. Yes.                                                13      Q. Please turn to page 16 in the conclusions
 14      Q. Are you aware of this document from August          14   section. There it notes: The overall conclusion is
 15   2016 titled Review of the Evidence Relating to            15   that based on a weight of evidence approach taking into
 16   Glyphosate and Carcinogenicity prepared by the            16   account the quality and reliability of the available
 17   Environmental Protection Authority of New Zealand?        17   data glyphosate is unlikely to be genotoxic or
 18      A. No, I've never seen this.                           18   carcinogenic to humans and does not require
 19      Q. Okay. But you're generally aware that New           19   classifications under HSNO as a carcinogen or mutagen.
 20   Zealand has this regulatory body that reviews             20   Did I read that correctly?
 21   pesticides, correct?                                      21      A. You did.
 22      A. Correct.                                            22      Q. So New Zealand, like Australian, Germany,
 23      Q. Please turn to the introduction section.            23   EFSA, the European Chemical Agency, they considered
 24      A. Okay.                                               24   IARC and considered the body of science on glyphosate
 25      Q. The second paragraph notes: Glyphosate is           25   and glyphosate-based herbicides and concluded that


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  1   widely considered by regulatory authorities and            1   glyphosate-based herbicides are not carcinogenic,
  2   scientific bodies to have no carcinogenic potential.       2   correct?
  3   You agree with that, don't you?                            3       A. Correct.
  4      A. Yes, at this time.                                   4       Q. Sir, were you aware that even another branch
  5      Q. The next paragraph notes: However, since that        5   of the World Health Organization has since IARC's
  6   time, results of further studies have come to light and    6   classification of glyphosate also reviewed the
  7   the International Agency For Research on Cancer, IARC,     7   glyphosate database and found that glyphosate is not
  8   Monograph 112 on glyphosate, came to a conclusion that     8   carcinogenic?
  9   glyphosate should now be classified as carcinogenic and    9       A. Which one are you talking about? We've
 10   so since Group 2A, probably carcinogenic to humans. Do    10   already talked about four or five.
 11   you see that?                                             11       Q. Sure. I'm talking about the other branch of
 12      A. Yes.                                                12   the World Health Organization, that is, the joint FAO
 13      Q. So, again, the international regulatory             13   WHO meeting on pesticide residues.
 14   community is considering the IARC classification and      14       A. That's the last one that we haven't talked
 15   review of glyphosate, correct?                            15   about, correct.
 16      A. Correct.                                            16       Q. You're familiar with that body, correct?
 17      Q. Further down in this paragraph they refer to        17       A. Yes.
 18   IARC as the IARC working group or IWG. Do you see         18       Q. The World Health Organization has been
 19   that?                                                     19   reviewing glyphosate-based herbicides for a long time.
 20      A. Yes.                                                20   Are you aware of that?
 21      Q. At the bottom of this section it notes: This        21       A. Yes.
 22   report discusses the relevant data on glyphosate,         22       Q. Are you aware that the JMPR first reviewed
 23   especially the more recent studies, and reviews the       23   glyphosate in 1986?
 24   basis on which the IARC working group classified it as    24       A. I -- I don't recall the dates of all their
 25   a probable human carcinogen. This involves review of      25   reviews, but I'm glad to talk about the reports that


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  1   you're going to introduce into evidence.                   1   have it.
  2              (Deposition Exhibit 29 was                      2       Q. All right. And there it notes that: The
  3              marked for identification.)                     3   results of several studies are summarized in Table 15.
  4       Q. (BY MR. HOLLINGSWORTH) Sir, if you look at          4   The results show that glyphosate is not mutagenic.
  5   the top, this is glyphosate pesticide residues in food     5   Correct?
  6   1986 evaluations?                                          6       A. Correct, that's what it says.
  7       A. Correct.                                            7       Q. Okay. So the WHO again reviewed glyphosate
  8       Q. Do you see that?                                    8   genotoxicity and toxicity in 1994 and determined that
  9       A. Yes.                                                9   glyphosate is not carcinogenic, correct?
 10       Q. And this is by the Joint Meeting of Pesticide      10              MR. LITZENBURG: Can I have a copy of
 11   Residues, correct?                                        11   it?
 12       A. Yes.                                               12              MR. HOLLINGSWORTH: Sorry.
 13       Q. And that's part of the World Health                13              MR. LITZENBURG: That's 29?
 14   Organization, correct?                                    14              THE WITNESS: 30.
 15       A. Correct.                                           15              MR. LITZENBURG: Last one I got was 28.
 16       Q. If you look at the page 8, there's a section       16   What was 29?
 17   titled Comments?                                          17              THE WITNESS: 29 was the 5/21 -- it's
 18       A. Yes, I see it.                                     18   got a date on the upper left corner, 5/21/2018, which
 19       Q. And it notes: The chronic toxicity of              19   is the 1986 --
 20   glyphosate is low. The only significant toxicity seen     20              MR. LITZENBURG: I think I need a copy
 21   in a number of animal bioassays was mild hepatotoxicity   21   of that as well.
 22   at high doses in mice. There's no evidence of             22              THE WITNESS: -- JMPR review and this is
 23   carcinogenicity. Do you see that?                         23   the -- the more recent one.
 24       A. Yes, I do.                                         24              MR. LITZENBURG: Got it. Grant, can you
 25       Q. So the WHO in 1986 first determined there is       25   give me a copy of 29?


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  1   no evidence of carcinogenicity associated with             1      A. Are we done with the section -- are we done
  2   glyphosate, correct?                                       2   with this one?
  3       A. Correct.                                            3             MR. HOLLINGSWORTH: I think I did give
  4       Q. Are you aware that the WHO again reviewed           4   you a copy of it.
  5   glyphosate in 1994?                                        5             MR. LITZENBURG: Exhibit 28, 30.
  6       A. I don't recall the specific year, but I know        6             MR. HOLLINGSWORTH: 1994. You can have
  7   that just like the EPA, every five or ten years they'll    7   mine.
  8   revisit a chemical, particularly if it's one that the      8             MR. LITZENBURG: Okay. Thanks.
  9   use of which is expanding around the world as was the      9      Q. (BY MR. HOLLINGSWORTH) So the WHO, World
 10   case with glyphosate.                                     10   Health Organization, in 1994 reviewed glyphosate and
 11              MR. HOLLINGSWORTH: We'll mark this as          11   determined that it's nonmutagenetic correct?
 12   an exhibit.                                               12      A. Correct.
 13              (Deposition Exhibit 30 was                     13      Q. Mutagenic. Are you aware that the JMPR again
 14              marked for identification.)                    14   reviewed glyphosate in 2004?
 15       Q. (BY MR. HOLLINGSWORTH) Sir, this is a 1994         15      A. No, I didn't remember that specific date. I
 16   review by the World Health Organization JMPR of           16   know it's -- it's -- it's a -- common for JMPR to
 17   glyphosate. Do you see that?                              17   revisit the database on any major pesticide that --
 18       A. Yes.                                               18   that there's concerns about as there was in the case of
 19       Q. Okay. And if you turn to -- there's a section      19   glyphosate, so I'm sure that they have returned to it
 20   titled Mutagenicity and related end-points. Do you see    20   in addition more than -- more than once since 2004.
 21   that?                                                     21             MR. HOLLINGSWORTH: Let's mark this
 22       A. What page?                                         22   exhibit.
 23       Q. It's 7.6. There's no page numbers, but             23             (Deposition Exhibit 31 was
 24   Section 7.6.                                              24             marked for identification.)
 25       A. 7.2, must be getting warmer, 7.3. 7.6, yes, I      25      Q. (BY MR. HOLLINGSWORTH) Sir, this is the 2004


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  1   review by the World Health Organization, specifically      1   exhibit let's break. It's 5:57.
  2   the joint FOA WHO meeting on pesticide residues,           2             MR. HOLLINGSWORTH: Sure.
  3   correct?                                                   3             MR. LITZENBURG: Let's do our dinner.
  4       A. Right, written by two individuals that work         4             VIDEO OPERATOR: We are going off the
  5   with the German regulator, the BFR that we've talked       5   record. The time is 5:57.
  6   about before.                                              6             (Deposition recessed at 5:57 p.m.,
  7       Q. Okay. And if you turn to the page marked 95,        7              to be reconvened at 6:45 p.m.)
  8   at the beginning right after the table -- it's the         8
  9   table of contents?                                         9
 10       A. Oh, okay.                                          10
 11       Q. There it notes that they consider the              11
 12   long-term carcinogenicity, genotoxicity and other         12
 13   relevant toxicological properties of glyphosate,          13
 14   correct?                                                  14
 15       A. Certainly several of them, yes.                    15
 16             MR. LITZENBURG: If you're about to go           16
 17   on to --                                                  17
 18       Q. (BY MR. HOLLINGSWORTH) Can you turn to page        18
 19   158.                                                      19
 20             MR. HOLLINGSWORTH: Just a little bit            20
 21   longer here.                                              21
 22       Q. (BY MR. HOLLINGSWORTH) Turn to page 158.           22
 23       A. Of this same document?                             23
 24       Q. Yeah.                                              24
 25       A. 158. Okay. Got it.                                 25


                                              Page 323                                                       Page 325
  1       Q. It notes in the second paragraph up from the        1              EVENING SESSION
  2   bottom --                                                  2
  3       A. The short one, "in view of"?                        3                 7:26 P.M.
  4       Q. The one above that.                                 4                  --oOo--
  5       A. The genotox, okay.                                  5
  6       Q. It notes: The genotoxic potential of                6
  7   glyphosate has been extensively tested. Do you see         7             VIDEO OPERATOR: We are going on the
  8   that?                                                      8   record. The time is 7:26.
  9       A. Yes.                                                9             MR. HOLLINGSWORTH: Jennifer, do you
 10       Q. And then at the bottom of that paragraph it        10   want to just start and put it on the record?
 11   notes: The meeting concluded that glyphosate is           11             (Discussion off the written record.)
 12   unlikely to be genotoxic. Correct?                        12             MS. HOEKEL: So we're going to -- I'm
 13       A. That's what it says.                               13   going to ask a few questions. That way we don't have
 14       Q. And then the next paragraph it notes: In view      14   to worry about how much time I'm going to take. I'm
 15   of the absence of the carcinogenic potential in animals   15   just going to take my time and then I'll hand you back
 16   and the lack of genotoxicity standard tests, the          16   to Mr. Hollingsworth.
 17   meeting concluded that glyphosate is unlikely to pose a   17             MR. LITZENBURG: All right.
 18   carcinogenic risk to humans. Correct?                     18
 19       A. That is the judgment that they reached at this     19                  EXAMINATION
 20   time, yes.                                                20    BY MS. HOEKEL:
 21       Q. Okay. And that judgment by the JMPR stands         21       Q. So, Dr. Benbrook, my name is Jennifer Hoekel.
 22   through today including any determination after IARC,     22   I represent the Osborn & Barr defendants. Are you
 23   correct?                                                  23   familiar with who Osborn & Barr are?
 24       A. Correct.                                           24       A. Vaguely, yes.
 25             MR. LITZENBURG: If we're done with that         25       Q. What -- what is your understanding?


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  1      A. You're a PR firm in the city of St. Louis.           1   with respect to Osborn & Barr?
  2      Q. I had a couple of follow-up questions from           2      A. I don't know anything about it so I have no
  3   your -- the deposition you gave in the Johnson case.       3   opinions.
  4   You said that IARC reclass -- reclassified glyphosate      4      Q. Thank you. So my guess is your answer is
  5   and glyphosate-based herbicides in March of 2011 at one    5   going to be I don't know to a lot of these, but I'm
  6   point in your deposition. Did you mean March 2015?         6   going to tick through them kind of quickly.
  7      A. Yes, of course.                                      7      A. Okay.
  8      Q. And earlier today you said that EPA classified       8      Q. Do you know what glyphosate products Osborn &
  9   glyphosate as a possible carcinogen from 1995 to 1991?     9   Barr was involved in marketing or advertising?
 10      A. No, that --                                         10      A. No.
 11      Q. Did you mean 1985 to 1991?                          11      Q. Do you know what years Osborn & Barr was
 12      A. What I said was that as of 1985 EPA considered      12   involved in that marketing or advertising?
 13   glyphosate a possible human carcinogen. That              13      A. No.
 14   classification remained in place until the CARC meeting   14      Q. Do you know what products Mr. Hall -- what
 15   in 1991.                                                  15   glyphosate products Mr. Hall used?
 16      Q. And the record will reflect that what at least      16      A. Yes.
 17   was taken down was 1995, and that's why I wanted to       17      Q. Which products were those?
 18   clarify that you meant 1985.                              18      A. Pro Max and Roundup Super Concentrate.
 19      A. Yeah, well, you know, I'm quite sure if             19      Q. And are those professional products or
 20   someone listens to the recording that I said 1985 to      20   residential products?
 21   1991.                                                     21      A. They're in the IT&O portfolio and they would
 22             MR. LITZENBURG: Well, that's a good             22   be professional products not available to the typical
 23   opportunity. He'll read and sign this one.                23   homeowner.
 24      Q. (BY MS. HOEKEL) And in the Roundup litigation       24      Q. Do you know when he used those products?
 25   have you produced just one report?                        25      A. He -- there were two time periods during which


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  1      A. Yes.                                                 1   the -- he identified predominant use being in the
  2      Q. And that's in the Johnson case, correct?             2   residential setting and in another time period slightly
  3      A. Correct.                                             3   different, but it was, I think, from sometime in mid
  4      Q. And that report doesn't include any opinions         4   2000s to well after 2010. It was quite a long period
  5   on any liability by Osborn & Barr, correct?                5   of time.
  6      A. Correct.                                             6       Q. When you say used in a "residential setting,"
  7      Q. And you've been designated in the Hall and           7   can you explain what you meant by that?
  8   Peterson cases as an expert, correct?                      8       A. In and around a home.
  9      A. Yes.                                                 9       Q. And were those -- was that in regard to the
 10      Q. And that expert designation says, in part,          10   rental homes Mr. Hall worked on?
 11   that you'll provide your expert opinion on the            11       A. I would imagine that he had clients that he
 12   regulatory and liability issues germane to the case,      12   managed the grounds for or had properties that he had
 13   including the history of EPA's regulation of glyphosate   13   to -- he -- I have seen several of his invoices. He
 14   and Roundup products, the interaction between EPA and     14   purchased a very substantial quantity of Roundup
 15   Monsanto, and Monsanto's knowledge of internal            15   products, so he obviously was -- had -- he had to cover
 16   discussions regarding and consultation with experts       16   a lot of ground.
 17   regarding glyphosate and Roundup products.                17       Q. Do you know how he applied the Roundup
 18          Is that your understanding of your testimony       18   products?
 19   that will be offered in the Peterson and Hall cases?      19       A. I haven't looked into it in any great detail.
 20      A. Yes, that certainly describes the major areas       20       Q. Do you know what personal protective equipment
 21   of focus.                                                 21   he used when he was applying the products?
 22      Q. Okay. And nowhere in the expert disclosure          22       A. No.
 23   that's been filed in the Peterson/Hall cases does it      23       Q. Do you know whether under -- so Mr. Hall is a
 24   mention that you will be rendering any opinions with      24   resident of the state of Illinois. I don't know if
 25   respect to Osborn & Barr. Do you have any opinions        25   you're aware of that or not. Do you know whether under


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  1   Illinois law Mr. Hall had to be qualified or certified     1   certified --
  2   in any way to use these particular Roundup products?       2       A. I --
  3       A. I don't specifically know. I don't think he         3       Q. -- under Illinois law to use those products?
  4   had to be.                                                 4       A. I'm -- I was not aware the state in which
  5       Q. Are you aware that in certain states there are      5   Mr. Hall applied glyphosate products.
  6   certification requirements for users of certain kinds      6       Q. Do you know what products Mr. Peterson used?
  7   of Roundup products?                                       7       A. No.
  8       A. I certainly know that there's certification         8       Q. You don't -- you don't know what kind of
  9   requirements for different pesticide products. I'm not     9   glyphosate --
 10   aware that these were restricted-use pesticides.          10       A. No.
 11       Q. Okay. Do you just not know either way?             11       Q. -- Mr. Peterson used?
 12       A. I've seen no discussion or evidence of it, so      12       A. I didn't -- didn't get an opportunity to
 13   I -- I'd be glad to be informed that they were if they    13   request the labels and study them, but I certainly will
 14   are, but I'm not aware of it and I would be surprised     14   by the time this case goes to trial.
 15   if they were.                                             15       Q. Okay. Do you know whether he was using a
 16       Q. Okay. Do you know what, if any, advertising        16   residential-type Roundup product or a commercial-type
 17   Mr. Hall saw for Roundup products?                        17   Roundup product?
 18       A. No.                                                18       A. Mr. Peterson?
 19       Q. Do you know what labels Mr. Hall saw for           19       Q. Mr. Peterson, I'm sorry.
 20   Roundup products?                                         20       A. I'm sure he was using an agricultural product
 21       A. He saw the Pro Max label and the Roundup Super     21   for his farm. He had a large farm.
 22   Concentrate label at a minimum. He may have seen          22              MR. LITZENBURG: Let me say I understood
 23   others.                                                   23   this to be just about Jeff Hall. If -- well, we may
 24       Q. And, again, the time frame for those               24   let you have another bite at the apple if Peterson
 25   products -- the time frame that Mr. Hall was using        25   comes up for trial and he's going to testify about


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  1   those products, did you recall?                            1   anything specific.
  2       A. As I said, mid 2000s to 2010 or after. So           2             MS. HOEKEL: Okay. Well, I would
  3   more than a ten-year period.                               3   certainly say that if -- if he's not prepared to talk
  4       Q. Do you know whether Osborn & Barr was involved      4   about Peterson and as you noted earlier in your
  5   in marketing any of those particular products that         5   objection that you thought this was about Peterson and
  6   Mr. Hall used?                                             6   Hall, if he is going to have opinions about Peterson
  7       A. As I said, I have no knowledge of what your         7   then we would certainly --
  8   company is or what it has done, so of course not, I        8             MR. LITZENBURG: We will certainly let
  9   don't have any knowledge of any advertisements.            9   you guys know and let you guys have an opportunity to
 10       Q. Do you know whether in Illinois that whether       10   do discovery.
 11   or not state law certification requirements are only      11      Q. (BY MS. HOEKEL) So at this point you don't
 12   used with respect to restricted-use pesticides?           12   know when Mr. Peterson used or what he used?
 13       A. I -- I would imagine that there's some other       13      A. Other than an agricultural label to spray his
 14   criteria in circumstances when a restricted-use license   14   large farm.
 15   is required. For example, the new Dicamba labels that     15      Q. Okay. And, again, do you know under Illinois
 16   have recently been approved, an added requirement is      16   law whether or not Mr. Peterson would need to be
 17   that anybody applying them has to be trained and          17   qualified or certified to use that product?
 18   certified as a restricted-use -- qualified to apply       18      A. No -- no knowledge of the Peterson case.
 19   restricted-use products. So there's a -- a variety of     19      Q. Okay. So I think you already told me this,
 20   different reasons over the years that EPA has required    20   but let me ask it very clearly. Do you have any
 21   or individual states have required that a person be       21   opinions on whether or not Osborn & Barr is liable to
 22   certified. Sometimes it's actually different at the       22   any of the plaintiffs in the Peterson/Hall case?
 23   state level.                                              23      A. As I said, I don't know anything about what
 24       Q. Okay. So is it fair to say you're not sure         24   Osborn & Barr has done, but if it becomes clear to me
 25   whether or not Mr. Hall should have been qualified or     25   and I'm instructed by plaintiffs' counsel that I need


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  1   to learn about that, then I will and I'll let you know     1   that you consider important in making such an
  2   what I come up with.                                       2   evaluation.
  3       Q. Okay. In your report that you did in the            3       Q. So besides soil erosion, what other benefits
  4   Johnson case you indicate that companies selling           4   are there to no-till farming?
  5   pesticide are responsible for testing to ensure that       5       A. Reduces the number of trips through the field.
  6   the pesticides can be used safely. Do you have any         6   It reduces the amount of fuel that's used. It takes
  7   opinions on what an advertising agency's responsibility    7   less labor for the farmer. Those are the well-known
  8   is with respect to the marketing of pesticides?            8   and widely accepted benefits, and there are, of course,
  9       A. That's an interesting question since they're        9   downsides and costs involved. So it -- for most --
 10   working for a client. I would assume that -- I don't      10   most farmers weigh the pros and cons and some -- some
 11   know anything specifically about the code of ethics or    11   adopt and believe in no till and others haven't and
 12   regulations governing advertising companies.              12   don't.
 13       Q. Okay.                                              13       Q. Is soil erosion a current problem in the
 14       A. Not prepared to speak to it.                       14   United States?
 15       Q. Okay. And so you're not offering any               15       A. In some -- some agricultural fields, yes, of
 16   testimony today on, for example, the FTC standards for    16   course.
 17   advertising agency liability?                             17       Q. Have you ever heard it said that the largest
 18       A. No.                                                18   export of the United States some years is its topsoil?
 19       Q. And I know that Mr. Hollingsworth asked you        19       A. Well, yes, I've heard that colloquialism, and
 20   some questions about government's regulation of           20   there's certainly a -- a grain of truth to it. If you
 21   glyphosate, and I'm going to ask you a couple of just     21   take all the soil that floats down the Mississippi
 22   very short questions that are limited to a certain time   22   River and all the other major rivers and weigh it and
 23   frame. Between 1990 and 2012, had any government          23   then compare it to, say, the weight of grains that are
 24   agency banned glyphosate to your knowledge?               24   exported from the United States, the amount of soil
 25       A. None that I'm aware of.                            25   lost would certainly be of the same order of magnitude


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  1       Q. And between 1990 and 2012, had any government       1   as the total grain shipments, and in really bad years,
  2   agency classified glyphosate as a possible carcinogen?     2   probably more.
  3       A. Well, it was classified up through 1991.            3       Q. And would you agree that since the
  4       Q. And that's the EPA --                               4   introduction of Roundup, that no-till farming -- the
  5       A. Correct, that we've talked about.                   5   numbers of acreage in a year that are -- that are
  6       Q. -- policy?                                          6   farmed without till has increased substantially?
  7       A. Yeah.                                               7       A. It hasn't increased substantially in the
  8       Q. And EPA changed their position in 1991?             8   United States. It certainly did in Argentina and
  9       A. Correct.                                            9   Brazil where essentially all of the expansion in
 10       Q. And they changed their position to not             10   soybean production was using no till and Roundup-ready
 11   classifying glyphosate as a possible carcinogen,          11   soybeans, and so in South America, the connection
 12   correct?                                                  12   between genetically engineered soybeans, use of Roundup
 13       A. Correct, yeah.                                     13   and no till was -- it was a package that everyone
 14       Q. Do you -- do you believe that no-till farming      14   adopted, but the -- the evidence collected by the
 15   provides benefits over traditional farming methods        15   USDA's National Resources Conservation Service and the
 16   using till?                                               16   Conservation Tillage Information Service and all of the
 17       A. Well, it would, of course, depend on how no        17   both public and private surveys show pretty clearly
 18   till as a practice is deployed. Every farming system      18   that -- that the availability of GMO soybeans and corn
 19   has its appropriate applications and inappropriate        19   and cotton, it's had an impact on the percent of
 20   applications. No till has obvious major benefits for      20   acreage managed in no till, but it certainly
 21   the reduction of soil erosion on highly erodible land,    21   wouldn't -- I don't think anybody would consider it
 22   but when no till is adopted on flat, nonerodible land,    22   dramatic like the impact in South America.
 23   those benefits are not meaningful. So it depends on       23             MS. HOEKEL: I don't have any further
 24   the circumstance in which no till is used and the --      24   questions at this time other than to reserve our rights
 25   the scope of the environmental and -- and other impacts   25   to ask for your deposition again if you are intending


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  1   on offering any opinions with respect to Mr. Peterson.     1   and the level of dosing. That's what they say they did
  2             THE WITNESS: Well, I look forward to             2   and they -- on the basis of what they did they -- they
  3   learning more about your company.                          3   conclude and state that they believe that the reported
  4             MS. HOEKEL: Back to you, Grant.                  4   evidence of genotoxicity was caused by an unrealistic
  5             MR. HOLLINGSWORTH: Sure.                         5   method of administration of the test substance and an
  6                                                              6   unrealistically high dosage rate. That's -- that's
  7                   EXAMINATION                                7   what I take from my review of that study.
  8    BY MR. HOLLINGSWORTH:                                     8      Q. Both Bolognesi and Peluso claim to show DNA
  9      Q. Sir, you've never designed, conducted or             9   damage in mice after IP injection with glyphosate and
 10   authored a genotoxicity study of any kind; is that        10   Roundup, and the Hotz and Heydens studies seek to mimic
 11   correct?                                                  11   that route and dosing of exposure to test whether
 12      A. Yes.                                                12   the -- the genotoxic effect is due to the surfactant
 13      Q. You have not undertaken any training in             13   qualities or, in fact, due to toxic qualities
 14   genotoxicity, any formal training, correct?               14   associated with -- genotoxic qualities associated with
 15      A. Correct.                                            15   Roundup or glyphosate, correct?
 16      Q. You are not, therefore, qualified to track          16      A. They were also interested in exploring the
 17   whether or not Monsanto conducted the genotoxicity        17   difference between the formulated product and the pure
 18   studies on the formulated product that Dr. Parry          18   active ingredient, correct.
 19   recommended, correct?                                     19      Q. Right. And Dr. Parry recommended that
 20      A. No, I don't agree with that.                        20   Monsanto conduct a study, a genotoxicity study to test
 21      Q. Why not?                                            21   the findings of the Bolognesi study, correct?
 22      A. Because I can read the Parry report and             22      A. Some of Dr. Parry's recommendations clearly
 23   I've -- I've studied it. I can see from the questions     23   were directed at further elucidating whether the
 24   that you've asked you would like an even more in-depth    24   findings in these two published studies were valid or
 25   analysis of it, which I'm, you know, willing to do.       25   perhaps caused by something else, as Monsanto felt and


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  1   I -- there's a difference between being trained and        1   explored in the additional research that they carried
  2   qualified in designing and conducting a study and being    2   out.
  3   able to read and understand the basic approach in the      3       Q. He recommended that Monsanto conduct an in
  4   study, the findings of the study and the explanation or    4   vivo genotoxicity study in mice to counter what
  5   articulation by the study authors on what the -- the       5   genotoxic evidence Bolognesi, et al., 1997 claimed,
  6   study findings were and their significance and also to     6   correct?
  7   understand what other people have said and written         7       A. Essentially, yes, that's one of his
  8   about the studies.                                         8   recommendations.
  9          It -- it's not necessary to -- to be a -- a         9       Q. And Hotz 2002 is exactly such a study, isn't
 10   scientist conducting long-term chronic feeding studies    10   it?
 11   to understand the basic factors that are in debate        11       A. It -- it certainly sheds light on that, yes.
 12   around the world about the oncogenicity of glyphosate.    12       Q. And Heydens 2008 is the study in the open
 13   There's many people that understand the basic issues      13   scientific literature that publishes the GLP study
 14   and -- and reasons for the differences of opinion who     14   submitted to EPA in 2002, correct?
 15   have never conducted such a study.                        15       A. Correct.
 16       Q. Sir, as indicated in the Hotz 2002 study and       16       Q. So you certainly cannot say that Monsanto did
 17   the Heydens 2008 publication of that study, those were    17   not follow through with some of the recommendations
 18   studies conducted by Monsanto in order to verify the      18   made by Dr. Parry with respect to genotoxicity testing,
 19   claims made in the Bolognesi and Peluso genotoxicity      19   correct?
 20   studies, correct?                                         20       A. I'll grant you -- I'll grant you that they did
 21       A. Well, no. I mean, I think the authors are          21   follow up on some aspects of Parry's recommendations,
 22   quite clear, they designed and carried out the studies    22   yes.
 23   to explore whether there are alternative explanations     23       Q. And, in fact, afterwards, after conducting the
 24   for the results that were reserved, and in particular,    24   initial phases of Hotz' 2002 study but before it was
 25   impacts in that assay system of the method of dosing      25   published, Monsanto met with Dr. Parry and relayed the


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  1   initial results and Dr. Parry was satisfied with those     1   because Parry was angry about the -- the criticisms in
  2   results, correct?                                          2   the Williams, et al., paper which was, in effect, a
  3       A. I -- I don't recall reviewing the documents         3   Monsanto paper about some of his colleagues that had
  4   that lay that out.                                         4   conducted genotoxicity studies. That -- that sentence,
  5              MR. HOLLINGSWORTH: Let's mark an                5   I have read at least one e-mail that makes that point,
  6   exhibit.                                                   6   but I don't believe it was this e-mail. It may have
  7               (Deposition Exhibit 32 was                     7   been a different one.
  8               marked for identification.)                    8      Q. This is an e-mail about a meeting with
  9       Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, there's        9   Professor Parry on February 15, 2001, correct?
 10   some redactions in this version of the e-mail for EU      10      A. Right.
 11   privacy laws. I believe you know many of the people       11      Q. That's after his recommendations for Monsanto
 12   involved on these e-mails, but we would ask unless you    12   with respect to further genotoxicity studies, correct?
 13   think it's absolutely necessary to refrain from stating   13      A. Correct.
 14   the names of the EU folks. Is that okay?                  14      Q. The e-mail recounting the meeting notes that:
 15       A. Well, who's it from? That, I need to know.         15   The presentation of the results of MON 35050 studies
 16   Some Monsanto person wrote this.                          16   changed the mood because it clarified certain effects
 17       Q. Right, a Monsanto person by the name of            17   found in the Bolognesi and Peluso papers. Do you see
 18   Richard wrote this.                                       18   that?
 19       A.                                                    19      A. Correct, I see that.
                                                                20      Q. The MON 35050 study is the Hotz 2002 study,
 21      A. Okay. That's who I thought.                         21   correct?
 22      Q. And you're familiar with him, correct?              22      A. Which we talked about earlier, correct?
 23      A. Yes. An important person in this saga.              23      Q. Okay. So Dr. Parry at this time in February
 24      Q. Right. And "the saga" meaning communications        24   of 2001 was aware of the -- what would be the Hotz 2002
 25   with Dr. Parry and testing associated with the            25   study and -- and how it clarified some of the certain


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  1   recommendations he made, correct?                          1   effects found in Bolognesi and Peluso papers, correct?
  2       A. And discussions with his colleagues in              2      A. This is obviously                       read and
  3   St. Louis about what Monsanto should do to produce         3   report on this meeting with Dr. Parry. It's -- I don't
  4   safer Roundup formulations.                                4   think anyone can tell from just this e-mail what
  5       Q. Have you reviewed this e-mail previously?           5   specifically is meant by "changed the mood" about some
  6       A. Let me take a peek. Certainly remember the --       6   of the aspects of the Bolognesi and Peluso studies that
  7   Parry's complaints about the Williams, et al., Cantox      7   Monsanto had disagreed with and criticized from the
  8   paper. That could have shown up in other e-mails too.      8   beginning. I think that -- that what he's reporting is
  9   (Witness reading document.) I -- I don't think I've        9   that they shared with Parry this -- the results of a
 10   seen this particular e-mail before, but I've seen other   10   study that Parry was not aware of and that the study
 11   e-mails that characterize the meeting that -- that        11   lends some evidence to the view of Monsanto that the
 12   Monsanto scientists had with Dr. Parry, but I don't       12   route of administration and the dosage level was high,
 13   believe I've seen this specific one.                      13   so high that -- that there was no valid reason to
 14       Q. You don't cite this e-mail in your expert          14   conclude that the Bolognesi and Peluso papers were
 15   report, correct?                                          15   indicative of a genotoxic effect of glyphosate-based
 16       A. I'd have to -- I'd have to look. I don't -- I      16   herbicides. You know, that's what I surmise from this,
 17   haven't memorized every Bates number that I cite.         17   but there's certainly not enough information in this
 18       Q. As far as you know, the Miller Firm did not        18   e-mail to draw any detailed conclusions on what
 19   provide you with this e-mail, correct?                    19   Dr. Parry's reaction was to that additional
 20             MR. LITZENBURG: Can I have a copy of            20   information.
 21   it?                                                       21      Q. The second paragraph notes that they reviewed
 22             MR. HOLLINGSWORTH: Yeah.                        22   the mutagenicity studies, Dr. Parry and these employees
 23       A. I -- I can't say that because, you know,           23   from Monsanto, available for the surfactants used in
 24   particularly this -- this first sentence, the overall     24   glyphosate formulations. We demonstrated with work
 25   tone of the meeting was positive after a negative start   25   undertaken since the previous discussion that


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  1   structurally related surfactants, etheramines, do not      1   and surfactants -- genotoxicity studies have to do with
  2   directly cause genotoxicity. Do you see that?              2   oxidative damage rather than direct genotoxicity,
  3       A. Yeah.                                               3   correct?
  4       Q. So Monsanto reviewed the -- both the                4      A. As I say in my expert report, the discussion
  5   mutagenicity studies on surfactants and glyphosate         5   within Monsanto about how to react to Dr. Parry's
  6   formulations and via Hotz 2002 showed him that the --      6   report and whether to initiate the additional studies
  7   the structurally related surfactants do not directly       7   that he recommended was a topic of ongoing discussion
  8   cause genotoxicity, correct?                               8   inside Monsanto for a couple of years, and I -- you
  9       A. That's what it says, correct.                       9   know, I don't think that the decision to really cut off
 10       Q. Okay. And as a result of this meeting, do you      10   their communications and active work with Dr. Parry
 11   see the section marked Results?                           11   didn't happen till later in -- in 2001 or it might have
 12       A. Yes.                                               12   even been not until 2002. The -- the critical e-mails
 13       Q. Okay. And that's results of the meeting with       13   confirming when those decisions were made are cited
 14   Dr. Parry, correct?                                       14   fully in my expert report.
 15       A. I -- I would assume so, yeah.                      15         So, you know, I think that this was -- you
 16       Q. Okay. It says: Results: Acceptance that            16   know, this was one of the meetings where Monsanto was
 17   glyphosate is not genotoxic.                              17   gauging Dr. Parry's views, how -- how far he would go
 18         So after the meeting on February 15, 2001,          18   in being comfortable with or friendly towards the
 19   after Dr. Parry reviewed the Hotz -- what would be the    19   genotoxicity database for glyphosate -- those are words
 20   Hotz 2002 study, he came to an acceptance that            20   that Monsanto people used in their e-mails to each
 21   glyphosate is not genotoxic; is that correct?             21   other. And this particular meeting did not sway
 22       A. The -- the pure active ingredient glyphosate       22   Monsanto one way or another in a definitive way whether
 23   is not genotoxic, and this was a distinction that Parry   23   to continue to work with Dr. Parry or not. It was a
 24   stated very clearly in -- in his report. He recognized    24   step in a process, but within a few months, there was a
 25   that the -- the data pointing to genotoxicity of the      25   series of meetings where Donna Farmer, for one, stated


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  1   formulated product was considerably stronger than the      1   unequivocally that she will not support any further
  2   data on the parent active ingredient, an understanding     2   studies on formulated glyphosate products, genotoxicity
  3   and recognition that was shared by all the Monsanto        3   studies, she would not support it under any
  4   people because they had been talking about it, how         4   circumstances.
  5   they're okay on studies on glyphosate active               5          And, you know, this is -- this was a clear
  6   ingredient, but they're very worried or they're            6   statement of certainly her position and it -- it, by my
  7   vulnerable or they could be in trouble from                7   read, was largely consistent with the -- the actions of
  8   genotoxicity assessments of the formulated product.        8   Monsanto both internally and -- and in relating to the
  9   Parry was aware that that was a major concern, and I --    9   independent scientific community. And clearly Monsanto
 10   by my read of the words here that they confirmed that     10   did not hire Dr. Parry to do any of the studies
 11   Parry was not concerned about the evidence on gly --      11   because, as you know, Heydens in another e-mail says it
 12   pure glyphosate tested alone.                             12   would take a lot of time and a lot of money to convince
 13       Q. Dr. Parry, after the meeting on February 15,       13   Dr. Parry to accept our view of the overall database.
 14   2001, also came to a broad agreement with Monsanto that   14          And he also expressed concern that if they
 15   genotoxic results in some studies with surfactants        15   funded the studies and Parry took the time to do them
 16   arose due to oxidative damage rather than direct          16   that the results might reinforce some of Parry's
 17   genotoxicity, correct?                                    17   observations from the already completed study that, in
 18       A. Yes, that's correct.                               18   fact, in -- in possibly two different mechanisms,
 19       Q. So while it may have been -- in your report I      19   glyphosate and -- and even more convincingly
 20   think you noted that Monsanto decided to break off        20   glyphosate-based herbicides cause genotoxic damage to
 21   their relationship with Dr. Parry after his reports in    21   cells.
 22   1999, but this e-mail indicates that they were still      22          So that's the -- that's the history of
 23   talking to Dr. Parry in February 2001 and that new        23   Monsanto's engagement of Dr. Parry. They hoped that he
 24   studies conducted according to his recommendations        24   would help them convince regulators and the independent
 25   convinced Dr. Parry that glyphosate is not genotoxic      25   scientific community that there was no reason for


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  1   concern about glyphosate-based herbicides and              1         And the farther we go into the decade of
  2   genotoxicity, and at the end of the day, Dr. Parry did     2   2000s, the more independent studies appear in the
  3   not give rise to confidence inside Monsanto that that      3   literature that support that and, you know, throughout
  4   was his view or would be his message to other              4   this period Monsanto remained, you know, committed to
  5   scientists or to regulators, and so they cut off their     5   trying to prevent other people from doing the work.
  6   relationship with him.                                     6   They did very little of it themselves. They had to do
  7      Q. Genotoxicity studies on the formulated               7   some apparently because the Brazilian regulators asked
  8   products are not required to register a pesticide,         8   for it. But, you know, I think it's -- to me it's
  9   correct?                                                   9   quite clear how they felt internally about the jeopardy
 10      A. Are -- are not required?                            10   that emerging genotoxicity data posed to their freedom
 11      Q. Correct.                                            11   to operate, which means sell Roundup-based herbicides
 12      A. Generally, yes.                                     12   in all the markets that they had current labels.
 13      Q. Okay. And that's the case with EPA, correct?        13      Q. (BY MR. HOLLINGSWORTH) Monsanto responded to
 14      A. Correct.                                            14   what you term "emerging genotoxicity data" in the
 15      Q. Monsanto conducted genotoxicity studies on the      15   scientific literature by conducting a GLP study to test
 16   formulated product as part of its product stewardship     16   whether those results were actually due to genotoxic
 17   and also in response to Dr. Parry's recommendations to    17   effects, correct?
 18   conduct those studies, correct?                           18      A. Are you referring to the studies covered in
 19             MR. LITZENBURG: Object to form.                 19   the Journal of Agriculture Food Chemistry paper?
 20      A. From my read of the record, it's very clear         20      Q. Correct, as well as Hotz 2002.
 21   that Monsanto conducted those studies because they felt   21      A. I think they did those in a defensive posture
 22   that the emerging scientific literature reporting clear   22   to try to develop data that could be presented to other
 23   evidence of genotoxic effects from exposure of certain    23   scientists and to regulators that raised questions
 24   cell systems, assay systems, organisms to                 24   about the design and conduct of the Bolognesi and
 25   glyphosate-based herbicides posed a threat to their       25   Peluso papers. It's exactly the reaction and strategy


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  1   freedom to operate, to sell glyphosate. They knew it       1   that they used when other positive genotoxicity studies
  2   was a critical aspect of the ongoing assessment of         2   were published. They always did their best to raise
  3   glyphosate oncogenicity.                                   3   questions about the design of the study or the
  4          They regarded these studies and this area of        4   interpretation of the results or the relevance of the
  5   work as a -- as a serious threat to their ability to       5   dose level or of the route of administration, and
  6   maintain the regulatory status quo for Roundup             6   they -- they -- they continued to do that and -- until
  7   herbicides around the world, and I agree with them and     7   it became -- you know, it just became harder and harder
  8   feel that their concern was well placed, and this is       8   for them to do it when, for example, the study came
  9   clearly why they stated in their own words as clear as     9   through from the population of human beings in Ecuador
 10   the -- the day is long that that's why they hired         10   that were exposed to glyphosate that had been sprayed
 11   Dr. Parry and that's what they hoped they would get       11   aerially, and the scientists tested these people and
 12   from him, and they didn't get that from him because he    12   there was evidence of damage to their DNA, or that's --
 13   still had questions.                                      13   that was, I think, you know, one of the very important
 14          Now, I -- you know, I think that Heydens and       14   studies that the IARC working group put considerable
 15   the other people in -- in Monsanto, they -- they          15   weight on. It wasn't -- wasn't an unusual route of
 16   realized there was a chance that if they funded           16   exposure. It wasn't a very high unrealistic dose. It
 17   Dr. Parry's work and took the time to do all the things   17   was a dose that human beings in the real world were
 18   that he recommended that he might come around and, in     18   exposed to, and the evidence of -- of genotoxic damage
 19   fact, be the advocate and defender of Roundup             19   in the -- those individuals was, certainly according to
 20   herbicides that they hoped, but I think there were more   20   the scientists that carried out -- carried the study
 21   people, or certainly enough people, Donna Farmer          21   out and many others that have looked at it, was quite
 22   clearly being among them, that had substantial concerns   22   clear.
 23   that this added work on formulated products would, in     23       Q. Sir, you testified previously today that it's
 24   fact, continue to show genotoxic effects through          24   perfectly reasonable for a company to use -- to conduct
 25   possibly several different mechanisms.                    25   studies and use favorable science resulting from those


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  1   studies to convince regulators and the general public      1   about a two-year period the consultancy of Dr. Parry,
  2   that their products are safe, correct?                     2   what he did, what Monsanto felt about it. Monsanto was
  3       A. Correct.                                            3   very critical of Dr. Parry's report. One of the -- one
  4       Q. And Monsanto here conducted a study,                4   of the people wrote in a similar e-mail to this that he
  5   specifically Hotz 2002, to respond to scientific claims    5   wondered if Dr. Parry had ever worked for industry
  6   in the open literature and show that there were no         6   before because, you know, clearly Dr. Parry was not
  7   genotoxic effects associated with Roundup formulated       7   careful in the choice of his words to only tell
  8   products and that study showed that there were negative    8   Monsanto what they wanted to hear.
  9   results, correct?                                          9          So, you know, I think Monsanto, if you look at
 10       A. No. The -- the study that they did                 10   the record, that they are always eager and often speedy
 11   acknowledged that there was damage to liver and kidney    11   in submitting to regulatory agencies information that
 12   cells, but they -- they conclude that that damage was     12   they feel supports their current view of glyphosate
 13   from -- you know, direct cytotoxicity kind of like an     13   toxicity or risk or glyphosate formulated product
 14   acute effect that didn't have anything to do with         14   toxicity and risk, but clearly when they have data that
 15   damage to or disruption of DNA, and as I've said, you     15   is not supportive of that, they are -- typically do
 16   know, three or four times now that they concluded in      16   everything they can to prevent ever having to disclose
 17   their paper that that damage was brought about by the     17   it to regulators.
 18   combination of a direct administration to a target        18       Q. Are you familiar with the New England Journal
 19   tissue, which is different from how human beings are      19   of Medicine?
 20   exposed to glyphosate, and what they regarded and         20       A. Yes.
 21   characterized as an unrealistically high dose level.      21       Q. The New England Journal of Medicine is one of
 22       Q. EPA has the Hotz 2002 study as well as the         22   the most, if not the most, reputable scientific journal
 23   Brazilian genotoxicity studies on the formulated          23   in the United States. Is that fair?
 24   product and they have repeatedly since those studies      24       A. Well, certainly regarded as one of the top
 25   were completed determined that glyphosate-based           25   medical journals. It's a specialized journal.


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  1   herbicides are not genotoxic, correct?                     1      Q. Have you ever published in the New England
  2      A. That is -- has been and remains their                2   Journal of Medicine?
  3   position, yes, sir.                                        3      A. Just a -- a short paper commentary with Phil
  4      Q. And to be clear, you did not consider the Hotz       4   Landrigan.
  5   2002 study in coming to your opinions in this case         5      Q. You published a scientific article in the New
  6   prior to today, correct?                                   6   England Journal of Medicine entitled GMOs, Herbicides
  7             MR. LITZENBURG: Object to form.                  7   and Public Health, correct?
  8      A. I -- I -- as I said earlier, I was unaware of        8      A. Yes.
  9   a study that Monsanto did at the request of the            9      Q. The New England Journal of Medicine has taken
 10   Brazilian regulatory authority and submitted to them,     10   issue in the past with your failure to disclose
 11   and I wasn't aware and missed in the record that at       11   financial conflicts of interest, haven't they?
 12   some time between when it was submitted to the            12      A. Well, they -- they received a number of
 13   Brazilian regulatory authority they also submitted it     13   complaints from Monsanto employees and other people
 14   for information purposes to EPA, which was the right      14   that certainly the journal suspected had associations
 15   and proper thing for them to do and something that they   15   with Monsanto asking if the disclosures or -- and
 16   should have done consistently whenever they had new       16   statements that -- that Dr. Landrigan and I submitted
 17   science but did not.                                      17   were in accord with their requirements, and both
 18      Q. (BY MR. HOLLINGSWORTH) And you didn't ask the       18   Dr. Landrigan and I reviewed what we said and told them
 19   Miller Firm to provide you with the primary studies       19   that yes, we felt that it was in accord with their
 20   showing that Monsanto responded to Dr. Parry's            20   requirements. And they said, "Okay, well, we'll think
 21   recommendations and conducted some of those studies,      21   about it some more." And they got some more complaints
 22   correct?                                                  22   and they -- they came back to us and said, "Well, what
 23      A. Did I ask them to do a search on that subject?      23   about your" -- I don't remember the -- the specific
 24   Probably not. Again, the -- the record -- the             24   points, but I think there was a complaint that I hadn't
 25   documents that I reviewed had addressed in detail over    25   acknowledged that I had done expert witness work on


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  1   pesticide cases in the past, and obviously this was        1   general. I was asked as an expert because of my long
  2   before being engaged in this litigation, so it             2   knowledge about the studies that pesticide companies
  3   wasn't -- it wasn't a time when I could acknowledge        3   have to do and risk assessment methodologies and
  4   that, didn't know about it, but the -- I wasn't -- the     4   acceptable levels of risk and standards of corporate
  5   communications that Dr. Landrigan and I were having        5   conduct and pesticide stewardship pledges, etcetera,
  6   wasn't with the editors, with the associate editor or      6   that I was asked to opine on specific actions and
  7   one of the people that deals with this sort of issue       7   inactions that different companies did, and that --
  8   for the journal. They asked if -- if I had any             8   that is not the same thing as attacking or targeting
  9   objection to disclosing the fact -- you know, whatever     9   either an individual pesticide company just generically
 10   I added to the statement, I don't remember the            10   because you don't like them or the industry as a whole.
 11   specifics -- things but, you know, I'm sure I -- I        11      Q. Sir, you testified for plaintiffs against a
 12   added the statement that I had done expert witness work   12   defendant pesticide company, correct?
 13   in the past on pesticide litigation, which was truthful   13      A. Several of the cases were plaintiffs that had
 14   but not relevant in any way to the content of the         14   either used and applied pesticides or had been harmed
 15   commentary. I think I acknowledged that I served on a     15   by a pesticide that somebody else applied, and one of
 16   USDA advisory committee, and I don't remember what        16   the cases involved a conflict between two pesticide
 17   else, but it was -- it was information that the -- that   17   companies.
 18   the journal felt, you know, went the extra mile to        18      Q. Okay. So it is true that you testified for
 19   disclose any potential sources of bias, and I             19   plaintiffs against a defendant pesticide company,
 20   didn't object to them adding that because it's all        20   correct?
 21   truthful information.                                     21      A. In multiple cases, yes.
 22       Q. The discussions you had with the people at the     22      Q. And you did not disclose that in your New
 23   New England Journal of Medicine with respect to the       23   England Journal of Medicine article titled GMOs,
 24   failures to disclose, those occurred after the article    24   Herbicides and Public Health because you thought it
 25   was published, correct?                                   25   wasn't relevant in any way to that topic, correct?


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  1       A. Yes.                                                1      A. It wasn't relevant. I had never done an
  2       Q. You testified that the statement that you had       2   expert witness case on glyphosate, which is the focus
  3   done expert witness work in the past on pesticide          3   of the study. The other two pesticides or herbicides
  4   litigation was truthful, but not in any way relevant --    4   that are talked about in that are Dicamba and 2,4-D. I
  5   in any way relevant to the content of the commentary.      5   had never done an expert report or testified at trial
  6   That's the commentary for your publication GMOs,           6   or been involved in a case with those. There was
  7   Herbicides and Public Health, correct?                     7   nothing in my history and background involving
  8       A. Correct.                                            8   pesticide litigation that was relevant to the topic and
  9       Q. Okay. So the fact that you testified against        9   the content of that commentary.
 10   pesticide companies in the past isn't relevant to a       10      Q. You testified as a plaintiff against a
 11   publication on GMOs, Herbicides and Public Health; is     11   defendant herbicide company with respect to a
 12   that correct?                                             12   herbicide, correct?
 13       A. That's not correct.                                13      A. Yes.
 14       Q. Okay. Well, please explain.                        14             MR. HOLLINGSWORTH: Let's mark an
 15       A. I never testified against a pesticide company,     15   exhibit here.
 16   you know, claiming that the pesticide company is bad.     16             (Deposition Exhibit 33 was
 17   I was involved in litigation involving some aspect of     17             marked for identification.)
 18   pesticide use or pesticide regulation or pesticide risk   18      Q. (BY MR. HOLLINGSWORTH) Sir, this is a series
 19   that had specific circumstances that had plaintiffs and   19   of disclosure forms for the article GMOs, Herbicides
 20   that had defendants, and the cases involved the -- what   20   and Public Health that you authored in the New England
 21   had actually happened and the steps and behaviors of      21   Journal of Medicine. Do you see that?
 22   the pesticide registrants relative to their obligations   22      A. Right, this looks like screen shots off the
 23   under the FIFRA statute and EPA regulations and -- and    23   website.
 24   what the companies knew about the products, and so        24      Q. Correct. And it's three of them specifically,
 25   it -- I didn't testify against pesticide companies in     25   three disclosure forms with the most recent one from


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  1   March 30, 2016 coming first and the original one from      1   any -- any legitimate concern that's been raised by any
  2   July 1, 2015 coming last. Do you see that?                 2   of the people that had contacted her.
  3      A. Okay, one...                                         3       Q. Is it your testimony that the New England
  4             MR. LITZENBURG: Well, I have a question          4   Journal of Medicine is not concerned with inadequate
  5   you can answer or you can refuse, but this first page      5   conflicts of interest disclosures for their
  6   has a two-line statement. Did you all type that up or      6   publications?
  7   did it come with this?                                     7       A. No, I didn't say that.
  8             MR. HOLLINGSWORTH: (Shaking head.)               8       Q. Okay. But the New England Journal of Medicine
  9             MR. LITZENBURG: He shook his head. It            9   wasn't satisfied with your next conflict of interest
 10   appears to have come with it.                             10   disclosure, correct?
 11      A. Okay. So I assume we're going to talk about         11       A. They were satisfied with it until some people
 12   these in order, so we'll start with the -- the July       12   contacted them and started badgering them and raising
 13   one? July 1, 2015?                                        13   all kinds of concerns and Lord knows what other things
 14      Q. (BY MR. HOLLINGSWORTH) Yes, July 1, 2015.           14   that were said, but I -- I have heard enough about some
 15      A. Okay.                                               15   of the things that editors are -- are told and, you
 16      Q. And that one -- that one comes first, correct?      16   know, it's -- it's kind of an ugly dark side of science
 17      A. Yeah.                                               17   the sorts of things that go on.
 18      Q. Okay. On the original conflict of interest          18       Q. Your first conflict of interest statement --
 19   form you note that you have no relationships,             19   well, there wasn't one, right? You had no declared
 20   conditions, circumstances that present a potential        20   conflicts of interest, correct?
 21   conflict of interest, correct?                            21       A. That met their criteria, yes.
 22      A. Correct.                                            22       Q. The second conflict of interest statement that
 23      Q. The article went through peer review and was        23   came after the article was published noted: Member of
 24   published in August of 2015, correct?                     24   the USDA advisory committee on biotechnology and 21st
 25      A. I don't remember the exact date, but I'll take      25   century agriculture, principal of Benbrook Consulting


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  1   your word for it. It wasn't in peer review a terribly      1   Services which has worked on pesticide risk and soil
  2   long time.                                                 2   health for clients including Consumers Union, the Farm
  3      Q. Subsequent to the publication date, New              3   Foundation, the Noble Foundation and the IPM Institute
  4   England Journal of Medicine took issue with your           4   of North America. Expert witness in litigation
  5   conflicts of interest statement, correct?                  5   involving the labeling of genetically engineered foods.
  6      A. Not really. People that contacted the journal        6   Did I read that correctly?
  7   did, and the associate editor in e-mail said that she's    7       A. Correct.
  8   under a lot of pressure from people in the industry,       8       Q. Why did the New England Journal of Medicine
  9   people in Monsanto that are complaining about              9   require you to include conflicts of interest statement
 10   inadequate disclosure statements by Dr. Landrigan and     10   with respect to your employment and the interests that
 11   I, would we have any -- any problems with adding          11   sponsor your employment?
 12   additional statements that are truthful to the            12       A. Because they were receiving multiple
 13   disclosure statements, even though I told them at the     13   complaints from various people in Monsanto and
 14   time I didn't think they were relevant, but I had no      14   consulting firms that Monsanto worked for and trolls
 15   objection to adding, you know, the further disclosures.   15   that are encouraged or supported by Monsanto, and they
 16         Being an independent scientist I didn't have        16   get tired of answering e-mails and say, well, what
 17   the legal department of Mount Sinai University to back    17   else, you know, can -- you know, in a -- going
 18   Dr. Landrigan when he said, "No, I'm not going to         18   overboard to disclose anything, what -- what -- what
 19   change my statement." So I was -- I saw no reason to      19   could you disclose?
 20   object to a request from the associate editor of the      20         And, for example, since GMOs were part of
 21   New England Journal of Medicine to make an additional     21   the -- the focus of the -- the commentary, although not
 22   truthful statement in my disclosure that I felt           22   on the labeling of GMOs, but I said, "Well, you know,
 23   initially and I still feel to this day wasn't relevant,   23   I've served as an expert witness in substantial
 24   but I'm -- I have no objection to adding it if --         24   litigation, several cases, involving the labeling of
 25   because the editor said it would -- it would satisfy      25   genetically engineered foods." I'm glad to disclose


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  1   that if that makes somebody happy. So I did.               1   plant breeding and soil conservation, cropping systems,
  2      Q. So in response to the New England Journal of         2   and my involvement with the Noble Foundation was in
  3   Medicine's request that you change your conflict of        3   their big project that they did on soil health which
  4   interest statement, you then noted for the article on      4   had not much to do with pesticides.
  5   GMOs, Herbicides and Public Health that you were, in       5          My work with the IPM Institute of North
  6   fact, sponsored by some groups that were associated        6   America over several years was focused on developing a
  7   with the organic food industry as well as groups that      7   more accurate data-driven method for characterizing the
  8   are anti GMO, correct?                                     8   relative risk of pesticides, very highly regarded work
  9      A. Are you talking about the third one?                 9   in all communities. Even Monsanto supports this type
 10      Q. I'm talking about the conflict of interest          10   of more rigorous data-driven work.
 11   statement.                                                11          And Consumers Union is the parent organization
 12      A. So --                                               12   that publishes Consumers Report. I've done consulting
 13      Q. The second one.                                     13   work with Consumers Union for almost 30 years, multiple
 14      A. So I disclosed that I'm the principal of            14   different projects, many of them involving pesticides.
 15   Benbrook Consulting Services, which is true. I've         15   In a ten-year project with Consumers Union, I was the
 16   worked on pesticide risk and soil health for a number     16   lead author and analyst and there were three people
 17   of clients, and I listed a few of them. And I've acted    17   from Consumers Union that were involved and wrote a
 18   as an expert witness in litigation involving the          18   book on pesticide -- pesticide use and risk and
 19   labeling of genetically engineered foods. These were      19   regulation in the United States that came out in 1996
 20   in my -- in my back and forth via e-mail. I'm not -- I    20   called Pest Management at the Crossroads.
 21   don't think I ever actually had a phone -- it was a       21          But I -- you know, I simply do not agree that
 22   woman, I don't ever -- never had a phone conversation     22   these four major clients of mine represent the interest
 23   with her. She asked me about what does Benbrook           23   of the organic industry. It's a -- that's a leap too
 24   Consulting Services do and what are some of the issues    24   far for me.
 25   that -- that I worked on, and I described them. She       25      Q. You failed to mention the fact that you were


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  1   said, "Well, why don't you disclose that?" And I said,     1   involved as an expert witness in litigation for
  2   "Fine." It's truthful statements, not relevant at all      2   plaintiffs bringing anti GMO labeling claims against
  3   to the content of the commentary, but if this satisfies    3   various food companies that may use GMOs, correct?
  4   her -- any concerns that she had, that the journal had,    4       A. In the -- in the initial disclosure I didn't
  5   I -- I -- I didn't feel there was any reason to object     5   mention any of my expert witness work because none of
  6   to it, so I agreed to it.                                  6   it was on glyphosate, Dicamba or 2,4-D or the increase
  7       Q. The New England Journal of Medicine thought it      7   in herbicide use associated with herbicide-tolerant
  8   was relevant that you include on your conflict of          8   crops, nor the fact that both Dr. Landrigan and I are
  9   interest statement that you had interest and sponsors      9   deeply concerned about the increased risk or
 10   that relate to organic food groups as well as anti GMO    10   reproductive problems and birth defects from the huge
 11   groups, correct?                                          11   increase in herbicide use and exposures that we are
 12       A. On what basis are you making that statement?       12   well aware are occurring. None of that had anything to
 13       Q. Are you claiming that the Consumers Union, the     13   do with the work that I did for these organizations,
 14   Farm Foundation, the Noble Foundation and the IPM         14   none of it had anything to do with the prior expert
 15   Institute of North America as well as being an expert     15   witness work so I didn't disclose it because it wasn't
 16   witness in litigation involving the labeling of           16   relevant.
 17   genetically engineered foods, are you claiming that has   17       Q. You stated in response to my question that you
 18   no relation to sponsors and activities for the organic    18   simply do not agree "that these four major clients of
 19   industry and anti GMO groups?                             19   mine represent the interest of the organic industry,"
 20       A. Essentially, yes. Farm Foundation is a             20   but you failed to mention that you testified for anti
 21   general farm organization that has a -- is -- would       21   GMO, specifically the Just Label It movement, in the
 22   clearly be regarded by anybody as industry friendly.      22   initial disclosure, correct?
 23          The Noble Foundation is run by the man that        23       A. I -- I've been involved with one or two Just
 24   used to be the North American director of Bayer           24   Label It activities. They paid my travel to a
 25   Agrosciences. They had an -- extensive programs on        25   Pennsylvania legislature committee hearing on GMOs,


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  1   which was a -- kind of a educational                            1   done work in -- over the years in Benbrook Consulting
  2   information-gathering hearing by the Committee on               2   Services for organizations that generally are skeptical
  3   Agriculture where I was invited, but I hadn't -- I              3   or even in direct opposition to GMOs? Yes, I -- I
  4   couldn't -- I wasn't able to go because I lived on the          4   certainly have over the last 30 years, but that work
  5   West Coast unless I -- somebody paid my travel, and             5   did not play any role in any way, shape or form in the
  6   Just Label It offered to pay my travel and so I                 6   specific commentary and issues that Dr. Landrigan and I
  7   accepted that offer.                                            7   addressed.
  8       Q. You didn't think it was relevant to disclose             8       Q. And while you may have not been funded
  9   that you were funded by an anti GMO group, specifically         9   specifically to write the article, is it your testimony
 10   Just Label It, in your article in the New England              10   that the GMO -- the anti GMO group, specifically Just
 11   Journal of Medicine titled GMOs, Herbicides and Public         11   Label It, would not in some way benefit from your
 12   Health, correct?                                               12   article titled GMOs, Herbicides and Public Health that
 13       A. I didn't then and I don't now and I also don't          13   made various attacks on herbicides and GMOs?
 14   even remember exactly the timing. My trip to                   14       A. Just Label It is a -- as you know, it's an
 15   Pennsylvania was right around this time. It may not            15   organization with a very narrow and specific focus on
 16   have even happened when I did the original disclosure.         16   the debate that had been going on for a number of years
 17   I can -- I can probably figure out from some -- my old         17   and certainly was still very much in play in 2015 about
 18   calendar when that committee hearing occurred. If you          18   the need for mandatory federal labeling of food that's
 19   were going to pull out a document with the date, that          19   been made from genetically engineered crops. That's
 20   would be helpful.                                              20   what they talked about. The commentary by
 21       Q. Sir, you made claims about Monsanto's conflict          21   Dr. Landrigan and I doesn't say anything about
 22   of interest and disclosure statements throughout your          22   labeling. It wasn't the focus of it in any way, shape
 23   report, correct?                                               23   or form, and I -- you know, I just simply reject the
 24       A. Yes, several.                                           24   notion that because I did other work for other clients
 25       Q. At paragraph 136 you accuse Monsanto                    25   that a Monsanto or a CropLife or a Syngenta would not


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  1   scientists of failing to disclose obvious serious               1   feel supportive of their PR and political positions,
  2   conflicts of interest in their interactions with                2   you know, has to -- that all of that has to be
  3   journal editors, correct?                                       3   disclosed. I don't -- that is not how I read the
  4      A. Yes.                                                      4   requirements and in my conversations with the associate
  5      Q. In your initial interactions with the journal             5   editor she said, "Well, I understand where you're
  6   editors at the New England Journal of Medicine before           6   coming from. I'm not -- I'm not saying that you
  7   publication, you did not mention the fact that you were         7   violated our disclosure requirements, but I have had
  8   funded by anti GMO groups in an article that                    8   complaints and it would be helpful if you would agree
  9   specifically discussed GMOs, correct?                           9   to make some further disclosures." And I said, "All
 10      A. I was not funded by anti GMO groups to write             10   right, I would be glad to do that as long as they are
 11   the article in the New England Journal of Medicine.            11   truthful."
 12   That's not a correct statement.                                12       Q. Is it also your testimony that your litigation
 13      Q. I didn't say that you were funded by them --             13   support here as an expert witness against Monsanto will
 14      A. Yes, you did.                                            14   not in some way benefit the organic interests, anti GMO
 15      Q. -- to write the article. No, I did not. I                15   interests that fund a great majority of your past and
 16   said in your initial interactions with the journal             16   perhaps present work?
 17   editors at New England Journal of Medicine, before it          17       A. That remains to be seen. This is a -- you
 18   was published you did not mention the fact that you            18   know, I don't know if it will, and certainly glyphosate
 19   were funded for the Just Label It movement by anti GMO         19   is not used by organic farmers. It's not -- they're
 20   groups in an article that specifically discussed GMOs,         20   not at risk of -- of any repercussions to their
 21   correct?                                                       21   operations, and so there's certainly no direct impact
 22      A. I heard you to ask whether I was funded by               22   on the organic farming industry if EPA were to change
 23   anti GMO groups to write the New England Journal of            23   its position. So I -- I really think -- I don't feel
 24   Medicine commentary with Dr. Landrigan, and the answer         24   that there's any direct link or explanation for, you
 25   to that question is no. Now, if you're asking have I           25   know, why I am -- I agreed to take on this assignment


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  1   and try to answer the questions placed before me in        1   genetically engineered crops and conventionally bred
  2   this litigation.                                           2   crops, nor did it find conclusive cause and effect
  3      Q. Dr. Benbrook, can you point me to one study          3   evidence of environmental problems from GE crops. Do
  4   you've authored where you determined GMO crops were as     4   you recall that?
  5   safe as non-GMO crops?                                     5      A. Statements to that effect have appeared in at
  6      A. I don't believe -- well, I mean, I'd have to         6   least two or three of the NAS reports on the subject,
  7   think a little bit about it. I don't believe I ever        7   yes.
  8   wrote a comparative safety assessment of all GMO crops.    8      Q. Do you claim that your scientific publications
  9   I've written several papers on the impact of GMO crops     9   on genetically engineered crops have more credibility
 10   on overall pesticide use measured by the pounds of        10   than those from the National Academy of Sciences?
 11   active ingredient applied, which is the standard way      11      A. No. I haven't made that claim.
 12   the analysts in the industry and regulators -- it's one   12      Q. Okay. Do you think they have less credibility
 13   of the standard ways that they keep track of whether      13   than publications from the National Academy of
 14   pesticide use is going up or down. They quantify the      14   Sciences?
 15   total amount applied. I have published two                15      A. That question makes no sense to me.
 16   peer-reviewed papers on that topic and probably will      16      Q. Do you agree that genetically engineered crops
 17   publish additional ones in the future, and so on that     17   generally have had a favorable economic outcome for
 18   particular issue, yes, I have conducted independent       18   farmers?
 19   research and published my findings in peer-reviewed       19      A. No, I don't agree with that. I think the
 20   journals.                                                 20   economic impact of GMO crops for farmers has really
 21      Q. Just like you haven't conducted any                 21   dramatically changed over the -- the time periods from
 22   comparative work showing that GMO crops were as safe as   22   1996 until today and the added costs associated with
 23   non-GMO crops, you also haven't authored any studies      23   genetically engineered seeds and the herbicides that go
 24   where you determined GMO crops were as nutritious as      24   along with it is a very serious concern and problem for
 25   non-GMO crops, correct?                                   25   many crop farmers, particularly corn and soybean


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  1      A. Specifically GMO crops, no, have not published       1   farmers, because the market prices for their
  2   any papers comparing GMO crops to, say, organic crops,     2   commodities have come down significantly.
  3   I haven't done that.                                       3         So to the extent that in the first five years
  4      Q. GMO crops can be engineered to improve human         4   or so of the planting of GE crops there was clearly
  5   nutrition. Golden rice is an example of that, right?       5   benefits to the technology, it was adopted very quickly
  6             MR. LITZENBURG: Object to form.                  6   by farmers, but it never -- it never substantially
  7      A. Yes.                                                 7   changed their profitability, and certainly for the last
  8      Q. (BY MR. HOLLINGSWORTH) Sir, you testified            8   ten years the share of the gross income from an acre of
  9   previously that the National Academy of Sciences is a      9   soybeans or an acre of corn going for the purchase of
 10   prominent and prestigious organization. Do you recall     10   the GE seeds and herbicides has significantly gone up
 11   that?                                                     11   and is a concern for farmers.
 12      A. Yes.                                                12      Q. Sir, let's pull out your report again. Please
 13      Q. You testified previously that when a report         13   turn to the table of contents section at 6D.
 14   from the National Academy of Sciences comes out it has    14      A. Which one? Which --
 15   tremendous credibility and impact on the action -- on     15      Q. Your report?
 16   congregational actions and deliberations, correct?        16      A. Oh, okay.
 17      A. In some cases, yes, but in other cases, no.         17      Q. Section 6D, table of contents?
 18      Q. The National Academy of Sciences issued a           18      A. Section 6D, table of contents, okay. 6D, all
 19   report on GMO crops, correct?                             19   right. Attacks on scientists or organizations
 20      A. They've issued several.                             20   producing adverse data on glyphosate.
 21      Q. The National Academy of Sciences released a         21      Q. That subsection is titled Monsanto Reliance on
 22   public statement on their website about GMO crops, a      22   Ghostwriting. Correct?
 23   report stating: The study committee found no              23      A. D. Oh, there's two Ds.
 24   substantiated evidence of a difference in risk to human   24      Q. Yes.
 25   health between current commercially available             25      A. Huh, I made a mistake, what do you know? Yes,


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  1   there's a 6D, Monsanto Reliance on Ghostwriting, yes.      1   correct?
  2      Q. Besides the two Ds in the table of contents,         2      A. Yes.
  3   do you have any other areas in your report that you        3      Q. Okay. And during that time and since that
  4   would like to point out right now?                         4   time, you know, roughly six months, you still haven't
  5      A. At the end of the last deposition I noted that       5   taken the time to review Dr. Acquavella's deposition
  6   there's a number of typos and small errors like this       6   and see what he had to say about your claims with
  7   that I would -- that I would like to correct, and that     7   respect to him and ghostwriting, correct?
  8   remains the case.                                          8      A. I -- as I said, I -- I haven't reviewed
  9      Q. And the claim that Monsanto didn't conduct the       9   Dr. Acquavella's deposition.
 10   studies that Dr. Parry recommended, another error in      10      Q. Do you wish you had reviewed Dr. Acquavella's
 11   your report?                                              11   deposition to determine whether the claims you made
 12             MR. LITZENBURG: Object to form.                 12   about Dr. Acquavella and ghostwriting were, in fact,
 13      A. No.                                                 13   true?
 14      Q. (BY MR. HOLLINGSWORTH) No?                          14             MR. LITZENBURG: Object to form.
 15      A. No.                                                 15      A. I -- I based my discussion of Acquavella's
 16      Q. You claim to be an expert in ghostwriting,          16   complaints to his colleagues in Monsanto about
 17   correct?                                                  17   inaccurate attribution of the authorship of papers in
 18      A. Well, I guess I don't know exactly what the         18   the volume that he was working on on his own words and
 19   qualifications would be for someone to characterize       19   the e-mails that he exchanged and, you know, I -- I
 20   themselves as an expert at ghostwriting, but as someone   20   probably would gain sort of -- you know, further
 21   who's published over 35 peer-reviewed papers in           21   understanding of the context and -- but I -- I --
 22   journals in a dozen different fields, which is probably   22   Acquavella is a pretty straight shooter kind of guy.
 23   as broad a record of scientific publishing as anyone,     23   He sort of calls it like he sees it, and I have no
 24   and also as someone who has as part of my professional    24   reason to believe that he was lying or misleading his
 25   responsibilities when I worked for the Congress, when I   25   colleagues in all of the e-mails that I saw where he


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  1   worked for the National Academy of Sciences, the           1   discussed either inappropriate authorship, incomplete
  2   integrity of science and scientific ethics, the quality    2   disclosure or -- or ghostwriting, all of which he found
  3   of scientific communications has been a important and      3   ethically unacceptable.
  4   recurrent theme throughout my career and, you know,        4      Q. (BY MR. HOLLINGSWORTH) So you're not claiming
  5   clearly ghostwriting and inaccurate attribution of         5   Dr. Acquavella himself is a ghostwriter, correct?
  6   published papers is a -- is a matter taken very            6      A. Well, I'm not going to express an opinion on
  7   seriously in the scientific community throughout my        7   that. Dr. Acquavella was involved with a lot of these
  8   career and will continue to be a very important thing.     8   Monsanto sponsored and certainly significantly Monsanto
  9   So if that's what you or a reasonable person would         9   ghostwritten papers and, you know, he certainly was not
 10   regard as the knowledge and experience of an expert in    10   as directly involved as some of the other people in
 11   ghostwriting, then yes, I would characterize myself as    11   Monsanto, and he was one of the few that raised ethical
 12   such an expert.                                           12   concerns about the behavior of the company in this
 13      Q. So you don't want to withdraw your testimony        13   whole area of scientific publishing.
 14   from the last deposition that you're an expert in         14      Q. The first sentence in that section on
 15   ghostwriting, you stand by that?                          15   Dr. Acquavella and ghostwriting notes that it is a
 16      A. I -- I stand by it.                                 16   clear example of ghostwriting, but you're saying you
 17      Q. The first subsection, Subsection 6D.1, is           17   don't have an opinion here today as to whether
 18   about Dr. John Acquavella, correct?                       18   Dr. Acquavella is a ghostwriter; is that correct?
 19      A. Correct.                                            19            MR. LITZENBURG: Object to form.
 20      Q. He's a former Monsanto employee and also            20       A. What's the -- let's go to 135 and see what I
 21   worked on the Intertek expert panel publications after    21   wrote. First I say in paragraph 707 that as I use the
 22   his employment with Monsanto, correct?                    22   term "ghostwriting" in this report, I refer to three
 23      A. Yes.                                                23   types of contributions to written documents by a person
 24      Q. And you authored this report starting last          24   not listed as the author or among the coauthors. One
 25   October, finished up sometime in December 2017,           25   is individuals that produce the first original draft of


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  1   a document or sections of the document.                    1      Q. (BY MR. HOLLINGSWORTH) So you're reading this
  2          Individuals -- second, individuals that             2   company e-mail by Dr. Acquavella and interpreting what
  3   contributed to revising a document or sections within      3   he means to say with certain text in this company
  4   it in a way that -- that substantively adds or alters      4   e-mail, correct?
  5   to the -- to the content of the document. So I would       5      A. Yeah, this and the other e-mails, it's laid
  6   not include, for example, in this second example, an       6   out here, you know, I -- I think pretty clearly and,
  7   editor that simply corrected grammar or spelling.          7   you know, if you want to pull out the original e-mails
  8          The third type of ghostwriting as I use the         8   we can talk some more about it.
  9   term is providing information and text either in an        9      Q. But you never reviewed Dr. Acquavella's
 10   original or a revised or expanded document that is        10   deposition when you made your claims about him and
 11   listed as authored by other -- other individuals          11   Monsanto's ghostwriting, correct?
 12   without citing the contributions of the individual that   12             MR. LITZENBURG: Asked and answered as
 13   originally wrote or contributed to the comments.          13   with everything today.
 14          So those are the three types of ghostwriting       14      A. Yep, yep, as I -- you know, I have no reason
 15   that I addressed -- reviewed and addressed in this        15   to change my previous answer to that question.
 16   section.                                                  16      Q. (BY MR. HOLLINGSWORTH) So your opinions on
 17       Q. So by your definition in your report, Dr. John     17   ghostwriting with respect to Dr. Acquavella are based
 18   Acquavella cannot be a ghostwriter because he was an      18   entirely on company e-mails, correct?
 19   author of the Acquavella 2016 epidemiology expert         19      A. And reviews of the -- the various drafts and
 20   review panel, correct?                                    20   the papers and my reading of the actual final paper and
 21              MR. LITZENBURG: Object to form.                21   my understanding of where the parts of that paper came
 22       A. I talk about Acquavella's role and concerns        22   from as well as the other chapters. For example, the
 23   about the ethical behavior of Monsanto in publishing      23   introductory chapter which Dr. Heydens wrote, drafted
 24   papers starting in paragraph 717. A clear example         24   the introductory chapter that appeared under the name
 25   arose in the wake of the efforts of Monsanto to produce   25   of other people and not his. So, yes, the -- the


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  1   peer-reviewed papers and make presentations at             1   record in this case on the ghostwriting in the Critical
  2   scientific meetings critical of the IARC working           2   Issues of Toxicology special issue is voluminous and
  3   group's classification. So this would be the Cantox        3   very clear, and Dr. Acquavella was uncomfortable with
  4   volume that Monsanto started to work on almost -- even     4   participating in it, and that's why in my report I
  5   a few days before the IARC decision was reached. Bill      5   characterize it that he sort of calls them out on the
  6   Heydens, of course, was heavily involved in organizing     6   behavior and he says, "It's not acceptable to -- to my
  7   the group of third party experts, and Dr. Heydens asked    7   coauthors to not have the accurate names of people that
  8   Dr. Acquavella to lead one of the -- the study             8   wrote the material on it," including himself, since he
  9   committees, and in a November 3, 2015 e-mail, Heydens      9   wrote -- he drafted the chapter, but Dr. Heydens said,
 10   circulated the Monsanto-designated panel makeup to        10   "Sorry, your name can't be on it because you are a
 11   Acquavella and Larry Kier who was one of the other        11   former employee of Monsanto." And he objected to that
 12   Monsanto consultants at the time who was going to be      12   because he didn't feel it was ethical.
 13   involved in that particular chapter in this special       13      Q. Are you aware that Dr. Acquavella denied that
 14   issue of the Critical Reviews of Toxicology.              14   there was any ghostwriting at his deposition with
 15         Acquavella replied, as I say in paragraph 720,      15   respect to the expert panel papers you allege were
 16   about an hour later that his name should be in the        16   ghostwritten?
 17   author line, to which Heydens replies: I thought we       17      A. I -- as I said, I didn't read Dr. Acquavella's
 18   discussed previously that we would not be able to use     18   deposition. I know from other parts of the record
 19   you or Larry as panelists/authors because of your prior   19   which I reviewed, some of which I talk about in -- in
 20   employment at Monsanto. And then, of course,              20   the expert report, that Acquavella maintained the
 21   Acquavella responds to Heydens: I didn't realize that,    21   position that he -- the authorship of the chapter that
 22   Bill. I don't think that's going to be okay with my       22   he was responsible for did not -- did not begin as a
 23   panelists. We call that ghostwriting and it is            23   draft paper in the computer of a -- of a employee of
 24   unethical. And by the "we," he's referring to his         24   Monsanto Company that was written by an employee of
 25   coauthors as I read that -- that statement.               25   Monsanto Company. He actually wrote it. So yes, he --


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  1   I know that he continued to insist in the case of his      1   primary authors of one of the chapters, there clearly
  2   chapter, but he was -- you know, he I'm -- I'm quite       2   is material in those chapters that was derived from and
  3   sure was fairly well aware that other chapters either      3   was influenced by, for example, Heydens' review of all
  4   in whole or in part were, in fact, initially written by    4   the papers, which he talks about in detail about how he
  5   a Monsanto employee whose name did not appear on the       5   was -- he reserved the right to review the papers and,
  6   papers as published, which is ghostwriting.                6   you know, I'm -- I'm not -- I can't point line by line
  7      Q. Do you withdraw, therefore, your allegation          7   to places in -- in Acquavella's chapter where Heydens
  8   that the epidemiology Intertek panel paper was             8   made substantive contributions, but, you know, clearly
  9   ghostwritten?                                              9   Heydens was involved in all of the chapters and, you
 10             MR. LITZENBURG: Object to form.                 10   know, the -- I -- I do believe that there was a lesser
 11      A. At -- at this hour after a long day, if -- if       11   degree of ghostwriting in Acquavella's chapter than
 12   we're going to talk about -- in any further detail        12   some of the others. I will agree with you on -- to
 13   about the extent and specific examples of ghostwriting    13   that extent.
 14   in any of the chapters, I've got to -- I need the time    14       Q. (BY MR. HOLLINGSWORTH) Well, let's look at
 15   to go back and, you know, refresh my memory about         15   the article line by line.
 16   the -- the documents. But, you know, I -- I stand         16             MR. HOLLINGSWORTH: Please mark an
 17   behind everything that I wrote in my expert report,       17   exhibit.
 18   documenting multiple examples of unambiguous              18              (Deposition Exhibit 34 was
 19   ghostwriting. It's something that's pervasive in          19              marked for identification.)
 20   Monsanto Company, has been going on for a long time and   20       Q. (BY MR. HOLLINGSWORTH) So this is a paper by
 21   which they -- they really don't -- they don't even put    21   Dr. Acquavella and the other epidemiology panelists
 22   any effort in -- in trying to hide. I mean, they --       22   titled Glyphosate epidemiology expert panel review: a
 23   Heydens openly talks about it's cheaper for us to         23   weight of evidence systematic review of the
 24   ghostwrite this -- this thing than to pay outside         24   relationship between glyphosate exposure and
 25   scientists to do.                                         25   non-Hodgkin's lymphoma or multiple myeloma. Correct?


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  1          So, you know, the record is -- is very clear        1       A. Correct.
  2   and I'm -- I certainly don't feel that had I taken the     2       Q. What in this publication is false in any way?
  3   extra time to read Dr. Acquavella's deposition or the      3       A. Well, the -- the paper was scoped out and the
  4   other individuals that there's any way that anything       4   initial draft was done by Acquavella and Dr. Kier
  5   they could say would eliminate the importance or           5   together as is clear from the -- the e-mail. I don't
  6   veracity of what they said to each other in these          6   recall the -- the reasons why Kier's name doesn't
  7   e-mails that I did review.                                 7   appear on this. That would certainly be one thing that
  8       Q. (BY MR. HOLLINGSWORTH) Sir, you say the             8   I -- I would point to. Kier was at this time no longer
  9   record is clear with respect to ghostwriting, but          9   a direct employee of Monsanto but was working as a-- as
 10   you'll admit the record with respect to your review is    10   a consultant.
 11   incomplete because you didn't review Dr. Acquavella's     11          I -- Kier had -- like Acquavella, he had
 12   testimony denying the ghostwriting occurred?              12   written on this topic in projects, internal Monsanto
 13              MR. LITZENBURG: Objection, asked and           13   projects and -- and scientific publications in the
 14   answered. I'll go ahead and instruct you not to answer    14   past, and I don't remember the circumstances of why his
 15   if you read Acquavella's report again.                    15   name was taken off, but that certainly -- one of the
 16       A. Yeah, I don't have anything more to say on --      16   things that likely would hit one of these areas that I
 17       Q. (BY MR. HOLLINGSWORTH) Well, that wasn't my        17   noted as falling under the -- the definition of -- that
 18   question, sir. My question is you say the record is       18   I used in my expert report of ghostwriting, which is
 19   clear with respect to ghostwriting, but you'll admit      19   not -- not thoroughly and accurately acknowledging the
 20   with respect to your review, your review is incomplete    20   people who contributed to the -- to the substance of
 21   so it can't be clear, correct?                            21   the paper as published.
 22              MR. LITZENBURG: Object to form.                22       Q. Are you aware of Dr. Kier's expertise?
 23       A. In -- in the chapter of the -- in the paper in     23       A. Well, he did a lot of different things. You
 24   the Critical Reviews of Toxicology special issue to       24   know, I -- I don't recall off the top of my head what
 25   which Acquavella and Larry Kier were the -- the two       25   you would call his specialization or his focus. I know


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  1   he was on one or maybe two of the other papers.            1          It's -- you know, there's no great surprise
  2       Q. So your claim that the Acquavella 2016 review       2   and since his name does appear on it, as it was
  3   article is ghostwritten is based on Dr. Kier's name not    3   published, then he -- this paper cannot be criticized
  4   being included as an author, correct?                      4   as an example of ghostwriting because Acquavella's
  5       A. Well, first of all, to go back to the -- the        5   name -- it was excluded from the coauthor list, despite
  6   reason that I included Acquavella calls Monsanto out       6   the fact that that was what Heydens wanted to have
  7   for unethical behavior, the -- the focus and the           7   happen and had -- and initially planned to have happen.
  8   substance of that episode was Heydens telling              8   But because Acquavella objected to it, I'm presuming
  9   Acquavella that his name could not appear on this          9   that that was the reason that his name does appear on
 10   chapter that he had written. And Acquavella said back     10   the paper now.
 11   to Heydens, "Well, I'm not okay with that, my panel is    11       Q. If you were truly an expert in ghostwriting,
 12   not okay with that because that would be unethical."      12   would you then be able to point me to sections in this
 13   And presumably because of Acquavella's objection,         13   paper that you claim are ghostwritten that actually
 14   Acquavella's name now appears on the paper as             14   exist?
 15   published.                                                15               MR. LITZENBURG: Objection, the expert
 16       Q. Dr. Kier is a genotoxicity expert, and you're      16   report speaks for itself, his prior testimony speaks
 17   claiming that he should be an author on the               17   for itself. This entire 13-hour deposition has been
 18   epidemiology expert panel review?                         18   duplicative after being limited by the Johnson judge.
 19       A. I didn't make that claim. I didn't make that       19   It's harassment at this point. Subject to that,
 20   statement. I said in the early discussion in e-mail       20   please.
 21   traffic Dr. Heydens asked Dr. Acquavella and Dr. Kier     21       Q. (BY MR. HOLLINGSWORTH) You can answer.
 22   to work on this chapter together. Dr. Kier also           22       A. Let's talk about the introduction chapter,
 23   drafted -- I think he was the -- probably the principal   23   introductory chapter.
 24   author of the genotox chapter. I'm simply noting that     24       Q. I'm going to --
 25   the written record shows that Dr. Kier was involved at    25       A. The record is much clearer in that case.


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  1   the early stages of this in putting together this          1       Q. So are you withdrawing your claim with respect
  2   chapter that ultimately came out with the one, two,        2   to the Acquavella 2016 paper then?
  3   three, four -- five coauthors that appear in the paper     3       A. No, I'm not withdrawing it at this time.
  4   as published.                                              4             MR. LITZENBURG: Let the record reflect
  5      Q. The record will reflect that is your                 5   that a small portion of what Monsanto touts as the 2016
  6   understanding of the events. Which particular sections     6   Intertek paper has been introduced as Exhibit 34.
  7   or sentences of this publication do you allege are         7   There are at least five sections of this paper.
  8   ghostwritten?                                              8   Presumably this is the most favorable to Monsanto's
  9      A. I'm not -- I'm not prepared at -- to sit here        9   claims.
 10   and go through that. I'd have to re-review not only       10       Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, you
 11   the documents that -- that I had access to, but           11   claim to be an expert in ghostwriting, but you cannot
 12   probably request even more of the documents of which      12   point me to a single place in this article that you
 13   I'm sure there's many, many more in the record because    13   allege is ghostwritten and you cannot point me to a
 14   the -- there was substantial back and forth between       14   single place in this article where the underlying
 15   the -- Heydens and Cantox and Cantox and the authors,     15   science is fraudulently represented or misrepresented
 16   and Acquavella was involved in multiple discussions       16   in some way, correct?
 17   about the content of these papers, the response to the    17             MR. LITZENBURG: Objection, asked and
 18   reviewer comments, and I -- I am not -- I can't at this   18   answered. You've presented him with an exhibit that is
 19   time go through a line-by-line assessment of it and       19   about 20 percent of the ghostwritten article.
 20   say, well, a sentence that said essentially the same      20       A. In the acknowledgement section that appears at
 21   thing appeared in some other Monsanto document, but I     21   the end of the Acquavella chapter, it says: The
 22   can almost assure you that Acquavella has written         22   authors gratefully acknowledge the very useful comments
 23   papers very much like this in the past and it's           23   provided by seven reviewers who were selected by the
 24   entirely understandable that he would draw on his past    24   editor and anonymous to the authors. These comments
 25   writing to -- to produce this.                            25   helped improve the manuscript. Okay. Declaration of


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  1   interest --                                                1          And I will tell you, Dr. Benbrook, I will read
  2      Q. (BY MR. HOLLINGSWORTH) Is there nothing wrong        2   you the original declaration of interest in a moment
  3   with the acknowledgment section?                           3   when the torch is passed if you would like to answer as
  4      A. No, I don't -- I'm not -- I don't believe that       4   you like or refuse to answer repeated questions.
  5   there is. The -- in the declaration of interest,           5       A. What was the question?
  6   the -- it truthfully states that the employment            6       Q. (BY MR. HOLLINGSWORTH) The -- you're
  7   affiliation -- current employment affiliation is shown     7   certainly not saying that the paragraph from the
  8   on the cover page, and I believe that that's accurate,     8   declaration of interest with respect to the authors'
  9   and they acknowledge: It should be recognized that         9   employment past and present is in any way a sign of
 10   each of the individuals participated in the review        10   ghostwriting, correct?
 11   process and preparation of this paper as an independent   11       A. Correct.
 12   professional and not as a representative of their         12       Q. Okay. How about the last paragraph? This
 13   employer.                                                 13   article is part of a supplement sponsored and supported
 14         It's noteworthy that it doesn't say                 14   by Intertek Scientific and Regulatory Consultancy.
 15   participated in the writing of this paper.                15   Funding for the sponsor -- sponsorship of this
 16         This expert panel evaluation was organized and      16   supplement was provided to Intertek by Monsanto Company
 17   conducted by Intertek Scientific and Regulatory           17   which is a primary producer of glyphosate products
 18   Consultancy -- which is not in dispute. Monsanto hired    18   containing this active ingredient.
 19   Intertek to manage the process of putting these papers    19         That is entirely true and not ghostwritten,
 20   together, managing the review process. Funding for        20   correct?
 21   this evaluation was provided by Monsanto Company --       21       A. Correct. And appropriate to disclose in the
 22   which is a truthful statement -- which is a producer of   22   context of this paper.
 23   glyphosate and products containing this active            23       Q. So you have failed to present me with any
 24   ingredient. The authors had sole responsibility for       24   evidence that anything in this publication is
 25   the content of the paper, and the interpretations and     25   ghostwritten or that any of the science discussed in


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  1   opinions expressed in the paper are those of the           1   this publication is misrepresented in any way, correct?
  2   authors.                                                   2              MR. LITZENBURG: Object to form. Again,
  3      Q. Do you take issue with that sentence, Doctor?        3   the expert report addresses the paper in toto and
  4      A. Clearly Heydens' views and interpretation of         4   you've given him one section of the paper.
  5   the data and Monsanto's interpretation of the data are     5       A. My assessment of ghostwriting by Monsanto
  6   reflected in the paper and, you know, I think that         6   extends to dozens of instances. As I said, this one
  7   there's no -- I can't imagine there's any disagreement     7   chapter is likely to be the one among the five chapters
  8   about that. At issue is whether this -- this               8   in the -- in the special issue of the Critical Reviews
  9   declaration of interest is a -- is an accurate             9   of Toxicology that there's no overt discussion of the
 10   reflection of the role and contribution that Monsanto     10   ghostwriting parts of the chapter, and as -- and I know
 11   Company made in this.                                     11   that -- and agree with you that Acquavella insisted
 12         So let me continue. JA, standing for                12   that the -- the authorship of the paper reflected, in
 13   Acquavella, worked for the company, and it goes through   13   his judgment, accurately upon the people that -- that
 14   the individual authors and states who they worked for     14   wrote it. And it -- I think it's only that because
 15   and whether they had any employment affiliation at some   15   Acquavella insisted on that that that's the case and
 16   point with Monsanto.                                      16   that's to his credit.
 17      Q. And that's something that you didn't think was      17         There are other chapters in this special issue
 18   important in your own declaration of interest for the     18   where the discussions of the parts and the ways in
 19   New England Journal of Medicine, correct?                 19   which Monsanto contributed to and/or flat out
 20             MR. LITZENBURG: Objection, harassment,          20   ghostwrote is -- is unambiguous in the record, and as I
 21   argumentative. I will object for the umpteenth time       21   said, the introductory chapter. I believe elsewhere in
 22   that you've handed him a fifth of what is the Intertek    22   my report I quote the specific e-mails where Heydens
 23   paper and he is reading from the declaration of           23   talks about how -- you know, how he wrote the draft,
 24   interest which is different from the one he is talking    24   the first draft of the introductory chapter. No doubt
 25   about in his paper.                                       25   the chapter changed some as the scientists whose name


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  1   appears on it worked through the draft.                    1   Acquavella's unwillingness to accept that proposal or
  2          And the -- the other thing that -- the other        2   that requirement by Heydens is what resulted in
  3   aspect of this whole special issue which is a violation    3   Acquavella's name appearing on the paper which
  4   of scientific integrity and the publication process and    4   eliminates one way in which -- one clear way in which
  5   I -- I would suspect applies to some extent to             5   this chapter in this special issue would be
  6   Acquavella's chapter as well is that Monsanto was          6   characterized by most reasonable people as -- as, you
  7   heavily involved in providing the panels, the coauthors    7   know, certainly in part ghostwritten.
  8   of the individual chapters, with the issues,               8       Q. Right. It wasn't the form in which the paper
  9   argumentation, points that needed to be made in            9   was ultimately published, correct? Dr. Acquavella's
 10   response to the peer reviewers that the journal sent      10   name appeared on the publication. Therefore, it cannot
 11   these different papers to.                                11   be ghostwriting, correct?
 12          There's multiple e-mails back and forth            12             MR. LITZENBURG: Object to form.
 13   between the Intertek staff that was working on this and   13       A. Dr. Acquavella's contribution to the paper is
 14   principally Heydens to get input from Monsanto on how     14   acknowledged by virtue of his inclusion among the
 15   to respond to the reviewer comments back to the -- the    15   coauthors. That doesn't mean that there aren't other
 16   panels via Intertek. So there was very few instances      16   aspects of the paper that came from other scientists or
 17   where coauthors of the chapters directly communicated     17   individuals in Monsanto that aren't attributed to them,
 18   with Monsanto to get advice and assistance in             18   and certainly one of the areas, as I said, in several
 19   responding to reviewer comments. It was -- in the         19   of the chapters, and I don't remember the specifics of
 20   majority of the instances that I saw in the record it     20   all the back and forth on Acquavella's chapter in terms
 21   was done with Intertek as sort of the go-between, but     21   of response to the review, but that -- that was an area
 22   the fact that -- that Monsanto substantially              22   in several of these chapters where Monsanto clearly did
 23   contributed to the response to reviewer comments in       23   contribute to the final substantive content of the
 24   most, if not all, of the chapters of this special issue   24   papers without their role being acknowledged.
 25   is very clear in the record.                              25         In addition, the editor of the journal


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  1              VIDEO OPERATOR: Five minutes on tape,           1   includes a commentary as an introduction to the
  2   Counsel.                                                   2   chapter, and in that commentary he explains accurately
  3              MR. LITZENBURG: Right. And eight                3   the process leading to a private, independent journal
  4   minutes left.                                              4   publishing a special issue on this highly controversial
  5       Q. (BY MR. HOLLINGSWORTH) Right, Dr. Benbrook,         5   subject, a matter of, you know, about a year after the
  6   I'm just trying to figure out how you can say that         6   IARC report came out, which clearly on its face is
  7   Dr. Acquavella and the epidemiology panel paper is a       7   Monsanto's rebuttal of the IARC working group, and that
  8   clear example, quote, of ghostwriting in your expert       8   was -- that's the point of this. There's -- nobody
  9   report, but you can't tell me what part was                9   is --
 10   ghostwritten, you can't tell me what is inaccurate in     10            VIDEO OPERATOR: One minute on tape.
 11   the sections you say are ghostwritten, correct?           11       A. Nobody is -- there's no attempt to hide that,
 12       A. Okay. Let's go back to paragraph 717 in my         12   but in the editor's discussion, he makes a -- clear and
 13   expert report where I highlight how Acquavella called     13   specific representations about the lack of Monsanto's
 14   out Monsanto for proposing that this chapter in the --    14   role in picking the coauthors, which were not true,
 15   in the special issue of the Critical Reviews of           15   Monsanto's role -- role in the -- in the substance of
 16   Toxicology be published without Acquavella's name on      16   the papers, which in several of the chapters was not
 17   it, which Acquavella objected to that, called Monsanto    17   true, and no role of Monsanto in responding to any of
 18   out because that would be unethical and an example of     18   the reviews. There's at least those three direct
 19   ghostwriting.                                             19   statements by the editor that are made that are not
 20         That is what I said would -- if that had been       20   factually true.
 21   the way the paper ultimately was published, it would      21       Q. (BY MR. HOLLINGSWORTH) Not made with respect
 22   have been a clear example of ghostwriting, but as we      22   to this publication and you still haven't pointed out
 23   have said, as, you know, I -- I don't remember            23   anything ghostwritten, correct?
 24   exactly -- well, I go through the whole back and forth    24     A. By "this publication" I'm talking about the
 25   between Acquavella and Heydens, and clearly               25   Critical Reviews of Toxicology special issue of which


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  1   this was one of five chapters.                             1               MR. LITZENBURG: Let's go on.
  2      Q. You can't point out anything in this chapter,        2               VIDEO OPERATOR: We're going back on the
  3   correct?                                                   3   record. The time is 9:28.
  4             MR. LITZENBURG: Objection, asked and             4               MR. LITZENBURG: We had an agreement on
  5   answered.                                                  5   counsel for defendant to go until 9:30 at night tonight
  6         Don't answer it anymore. He's asked you 25,          6   and for me to have 45 minutes and the defendant to have
  7   30 times if you can point out --                           7   15 minutes of redirect. The defendant, as I understand
  8             VIDEO OPERATOR: Ten seconds.                     8   it, is now waiving his right to those 15 minutes of
  9             MR. LITZENBURG: -- what of these five            9   redirect and is going to use them instead prior to my
 10   chapters.                                                 10   questioning.
 11      Q. (BY MR. HOLLINGSWORTH) Monsanto's name is all       11               MR. HOLLINGSWORTH: We have an agreement
 12   over this declaration of interest, isn't it?              12   that we're going to continue this deposition. We are
 13      A. Yes.                                                13   reserving our right to do so anyway, so it's not that I
 14      Q. Okay. Just as with all the Intertek papers,         14   have, you know, no redirect. It's that I, you know, am
 15   correct?                                                  15   done for today and we will come back and redepose
 16             MR. LITZENBURG: Objection to form.              16   Dr. Benbrook as necessary and as we have the right to.
 17   They're not in front of him. He's got our word on it      17               MR. LITZENBURG: Well, my response is
 18   and the tape's up.                                        18   that what has occurred off the record is we would have
 19      Q. (BY MR. HOLLINGSWORTH) Yes or no?                   19   quit at 5:00 if we thought we were going to come back
 20      A. I think the tape's up.                              20   and continue this deposition.
 21      Q. Yes or no?                                          21               MR. HOLLINGSWORTH: Agree to --
 22             MR. LITZENBURG: You can answer.                 22               MR. LITZENBURG: But we'll fight about
 23      Q. (BY MR. HOLLINGSWORTH) Monsanto's name is all       23   it offline.
 24   over this declaration of interest, correct?               24               MR. HOLLINGSWORTH: We agree to
 25             MR. LITZENBURG: The -- the question             25   disagree. You can quit right now if you would like,


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  1   was --                                                     1   but I'm going to continue.
  2       A. Correct.                                            2      Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, you are
  3             MR. LITZENBURG: -- as with every paper,          3   aware that regulatory agencies, EPA, EFSA, they do not
  4   right? Which -- which question are you asking him?         4   consider review articles of -- of any importance when
  5       Q. (BY MR. HOLLINGSWORTH) Monsanto's name is all       5   they have the primary studies to review, correct?
  6   over this declaration of interest and every declaration    6      A. I think that's generally a correct statement.
  7   of interest that you have a problem with, correct?         7      Q. Okay. The regulator is going to take an
  8             MR. LITZENBURG: No.                              8   independent review of those primary studies rather than
  9      A. The declarations of interest are different           9   rely on a review paper, correct?
 10   somewhat across the papers. The one I was just talking    10      A. Well, it's funny that you would ask that
 11   about, it wasn't a Monsanto declaration of interest.      11   question because in the case of the BFR review of
 12   It was a statement by the editor of the journal.          12   glyphosate genotoxicity studies done and submitted to
 13      Q. (BY MR. HOLLINGSWORTH) I'm talking about the        13   the agency or published in the peer-reviewed literature
 14   declarations of interest, sir. Monsanto's name is all     14   before 2000, the year 2000, it's been shown very
 15   over these; isn't that true?                              15   clearly that the BFRA review of that body of literature
 16      A. Correct. Yeah.                                      16   was in effect ghostwritten by Dr. Kier who had written
 17      Q. Okay.                                               17   a report for the glyphosate task force reviewing the
 18            VIDEO OPERATOR: We're going off the              18   pre-2000 genotoxicity data, and a word-for-word
 19   record. The time is 9:27.                                 19   comparison of the glyphosate task force review of these
 20            (Discussion off the record.)                     20   early genotoxicity studies written by Dr. Kier appears
 21      Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook --              21   verbatim in the BFRA review of that information.
 22            MR. LITZENBURG: Hang on a second. We             22         In addition, it -- it is -- it's been shown
 23   have previously had a --                                  23   that the -- much of the text of Dr. Kier's task force
 24            VIDEO OPERATOR: We're not on the record          24   report is essentially verbatim -- repeats essentially
 25   yet.                                                      25   verbatim the conclusions in a Williams, et al., 2000


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  1   review article that was also predominantly written by      1   who claims that he has expertise with respect to
  2   Monsanto or Monsanto consultants. And so in the case       2   plagiarism and he is the sole author of that report,
  3   of the BFRA's review of so -- so-called independent        3   correct?
  4   review of all of the genotoxicity studies done prior to    4       A. Yes, I believe he's the sole author. There's
  5   2000, the BRF [verbatim] report is ghostwritten by Kier    5   one -- one individual listed.
  6   which was in his -- drew on Williams, and Williams drew    6       Q. Okay. And you have -- you don't know that
  7   on Monsanto. So, in effect, Monsanto wrote the             7   person, correct?
  8   majority of that section of the BFR report and             8       A. No.
  9   obviously without any attribution.                         9       Q. You've never talked to that person, correct?
 10         Now, I am aware of this careful analysis of         10       A. No.
 11   plagiarism in the case of this section of the report.     11       Q. But you're ready to believe everything he
 12   I would imagine you probably are aware of the             12   states and -- and all the plagiarism claims he states
 13   documentation of it too. I don't know the extent to       13   even though you're not aware of anybody else signing
 14   which similar cut and pasting or unattributed borrowing   14   onto that, nor have you discussed it with him or anyone
 15   of other review articles was done in other parts of the   15   else?
 16   BFRA report, but clearly in -- in that particular         16       A. Well, I actually pulled -- pulled out the
 17   example, it is not accurate to say that BFRA undertook    17   Williams, et al., 2000 paper and found the passage that
 18   their own independent assessment of those studies and     18   essentially appears in the BFRA that appeared in the
 19   wrote their findings. They borrowed the analysis done     19   Kier documents. I -- it's pretty easy to find it.
 20   by other people.                                          20       Q. You also claimed that the Greim publication
 21      Q. Are you finished?                                   21   was ghostwritten, correct?
 22      A. Huh?                                                22       A. Which chapter is it?
 23      Q. You finished?                                       23       Q. Greim is a review article on the 14 animal
 24      A. Yes, I am.                                          24   carcinogenicity studies from glyphosate manufacturers,
 25      Q. The genotoxicity studies that BFR is                25   correct?


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  1   reviewing, those -- many of those studies are industry     1      A. Would you give me a copy of it if we're going
  2   studies, they are not publicly available studies,          2   to talk about it?
  3   correct?                                                   3      Q. Sure.
  4       A. I would say a majority of them would be             4       A. Some of these individuals authored more than
  5   industry studies that are not publicly available,          5   one review article.
  6   correct.                                                   6              (Deposition Exhibit 35 was
  7      Q. And some of them would have been industry            7              marked for identification.)
  8   studies that are only available to the regulator to        8       Q. (BY MR. HOLLINGSWORTH) You're familiar with
  9   whom they have been submitted, in this case lots of        9   this publication, correct?
 10   them to the EPA, correct?                                 10      A. Right. This is another -- I guess you could
 11       A. Correct.                                           11   call it paper in this special issue of the Critical
 12      Q. So any reliance by BFR on a review paper in         12   Reviews of -- in Toxicology.
 13   this instance would be in line with standard regulatory   13      Q. You claim this paper was ghostwritten by
 14   protocol to rely on review papers when the primary        14   Dr. Saltmiras, correct?
 15   studies are not available and only when the primary       15      A. Well, I -- I don't know. I'd have to look at
 16   studies are not available, correct?                       16   what I said in my expert report about it. Do you have
 17       A. Certainly if they gave attribution to where --     17   the -- have you -- let's see. Here's the Gary Williams
 18   who did the review, and -- and wrote it, yeah, that       18   2000. Okay. My discussion of the Critical Reviews of
 19   would not be inappropriate.                               19   Toxicology special issue begins on page 147, paragraph
 20      Q. And the careful review for plagiarism that you      20   774, and I identify it as one of the most egregious
 21   discuss, that is not a review that was done in any        21   examples of ghostwriting in the record. Special issue
 22   peer-reviewed journal, correct?                           22   was conceived and commissioned by Monsanto and -- after
 23       A. I don't know if it was published in a              23   the company learned of the IARC reclassification. I
 24   peer-reviewed journal, I've just seen the report of it.   24   don't think any of that's in dispute.
 25      Q. Right. You've seen the report of a blogger          25         There are -- as I said in paragraph 776, there


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  1   are dozens of e-mails and documents memorializing the      1      A. Because his name was added, but he obviously
  2   role Monsanto played in the conceptualization, writing,    2   thought that he did. I don't -- I don't -- I can't
  3   publication of the papers and also the identification      3   explain why he made this claim in his performance
  4   of which authors would be selected for which panels.       4   evaluation when, in fact, he appears on -- you know, on
  5   The Canadian firm Intertek was sort of the intermediary    5   the list of authors. You know, it's a -- I don't -- I
  6   and played an -- an organizational role in carrying it     6   don't know what he was referring to, but by his own
  7   out.                                                       7   words, he said that he ghostwrote the cancer review
  8      Q. Are you talking about the Greim publication?         8   paper.
  9      A. I'm -- I am refreshing my memory about what I        9      Q. Right. You based your opinion as to
 10   wrote seven, eight months ago about the special issue,    10   ghostwriting on company e-mails and company documents?
 11   and I'm hoping that there's some specific paragraphs      11      A. Right.
 12   about the Greim paper, although we'll just have to see.   12      Q. Rather than looking at the first place you
 13   Give me a minute to look at it.                           13   should have looked, which is the authorship --
 14             MR. LITZENBURG: What has Greim just             14      A. Right.
 15   been marked? 35?                                          15      Q. -- of the paper as published, correct?
 16             THE WITNESS: It's the carcinogenicity           16      A. And --
 17   chapter.                                                  17              MR. LITZENBURG: Asked and answered,
 18      Q. (BY MR. HOLLINGSWORTH) Sir, do you want to          18   argumentative.
 19   withdraw your claims about Greim, considering you don't   19      A. Now that I've thought for a minute about it,
 20   recall them and you can't navigate through your own       20   what Saltmiras is complaining about is that he wrote
 21   report to find them?                                      21   the -- the paper, he wrote the whole paper, and he --
 22             MR. LITZENBURG: Objection to form.              22   he is, I think, saying, "I really deserve the credit
 23   Depositions are not for requesting people to withdraw     23   for this paper despite the fact that there were three
 24   things.                                                   24   other coauthors." Because he wrote the paper. Now,
 25      A. I -- I have no reason to withdraw anything          25   whether these other coauthors contributed substantially


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  1   I've put in the expert report.                             1   enough to legitimately be listed as coauthors, I -- I'm
  2       Q. (BY MR. HOLLINGSWORTH) Go -- go to paragraph        2   not -- not prepared to address at this late hour
  3   798, sir. That's where you made the claim.                 3   without going back and looking at what's in the record
  4       A. 798. Okay. As part of his 2015 performance          4   about who did what, but I'm -- I'm -- I believe that
  5   evaluation Saltmiras summarized his glyphosate-related     5   that's the explanation for why Saltmiras reported to
  6   activities which included ghostwrote cancer chapter --     6   his supervisor that he -- he deserves credit for
  7   cancer review paper Greim, et al., 2015. Coordinated       7   ghostwriting this paper because he wrote it. So
  8   care 2015 --                                               8   instead of it just being David Saltmiras, it's these
  9       Q. We're talking about Greim, sir.                     9   three other people added. That -- that's the
 10       A. Okay.                                              10   explanation.
 11       Q. You claim that Dr. Saltmiras ghostwrote the        11      Q. (BY MR. HOLLINGSWORTH) You're speculating in
 12   Greim publication, correct?                               12   that explanation and Dr. Saltmiras is included as an
 13       A. That's what he says in -- that's what he says      13   author in this publication and, therefore, could not
 14   in this e-mail.                                           14   have ghostwritten it, correct?
 15       Q. But by your definition and the first thing an      15      A. He --
 16   expert in ghostwriting checks is who is an author on      16             MR. LITZENBURG: Object, asked and
 17   the paper, correct?                                       17   answered.
 18       A. Correct.                                           18      A. I think the -- what Saltmiras was reporting to
 19       Q. And Dr. Saltmiras is an author on the paper,       19   his supervisor was that he deserves credit for being
 20   correct?                                                  20   the principal author, the major author, perhaps the
 21       A. His name does appear as the paper was              21   sole author, I don't really know, of this particular
 22   published.                                                22   paper, and he himself characterized his role as
 23       Q. So Dr. Saltmiras can't by your own definition      23   ghostwriting it and I took him at his word.
 24   have been a ghostwriter on the Greim publication,         24      Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, even in
 25   correct?                                                  25   the company e-mails and company documents on which you


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  1   rely, it doesn't anywhere state that Dr. Saltmiras was     1   time and it's my turn.
  2   the sole author of the paper, correct? You are             2      A. No, I -- I believe that a thorough review of
  3   speculating?                                               3   the record will show that there were several instances
  4       A. Right, right, he never -- he never says that        4   in which contributions from Monsanto, work writing --
  5   and, you know, certainly Greim has, you know, been         5   assistance in response to reviewer comments not
  6   involved with writing similar reviews in the past, but     6   attributed to Monsanto were reflected in this, and
  7   what Saltmiras says is that he ghostwrote the cancer       7   certainly Heydens' characterization in his opening
  8   review paper, and I interpreted that to mean that he       8   commentary, editorial comment about how all the papers
  9   felt that he was the person that actually wrote the        9   were put together was not an accurate reflection of the
 10   paper despite the fact that other people's names appear   10   record.
 11   on it. That -- that's what I take from his -- his         11      Q. Maybe you'll conduct that thorough examination
 12   statement.                                                12   before trial?
 13       Q. And by relying on your interpretation of           13             MR. LITZENBURG: Move to strike. Give
 14   company documents and company e-mails, you failed to      14   us a two-minute break so that I can -- well, we have to
 15   look at the final publication that included               15   switch around. Give me a two-minute break to go to the
 16   Dr. Saltmiras as an author when making your claim that    16   bathroom, and I'm going to take 45 minutes of
 17   he ghostwrote the publication, correct?                   17   questioning.
 18              MR. LITZENBURG: Objection, asked and           18             VIDEO OPERATOR: We're going off the
 19   answered.                                                 19   record. The time is 9:46.
 20           You don't have to keep answering the same         20              (Recess taken.)
 21   question.                                                 21              (Deposition Exhibit 36 was
 22       A. No, I don't agree with that.                       22              marked for identification.)
 23       Q. (BY MR. HOLLINGSWORTH) Why not?                    23             VIDEO OPERATOR: We're going back on the
 24              MR. LITZENBURG: Could you tell us what         24   record. The time is 9:51.
 25   time it is, like time-time? Like what time it is right    25


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  1   now?                                                       1                   EXAMINATION
  2             VIDEO OPERATOR: Yeah, it's 9:45.                 2    BY MR. LITZENBURG:
  3             MR. LITZENBURG: Okay. Defense                    3       Q. Good evening, Dr. Benbrook. I'm going to ask
  4   counsel's questioning is done.                             4   you some questions in reverse order, and I apologize if
  5             MR. HOLLINGSWORTH: Let me just have one          5   it seems scattered, and if I speak too fast I'm sure
  6   more question here, Dr. Benbrook.                          6   you or the reporter will ask me to slow down. I, of
  7       Q. (BY MR. HOLLINGSWORTH) Monsanto's name, like        7   course, represent DeWayne Johnson and Jeff Hall and
  8   the other publications you allege are ghostwritten,        8   Ronald Peterson and you're my expert in those cases,
  9   appears all over this declaration of interest and these    9   correct?
 10   acknowledgements, correct?                                10       A. Correct.
 11       A. I'm -- if I recall, it's -- it's similar to        11       Q. Okay. Mr. Hollingsworth stopped you a moment
 12   the one that we reviewed in the case of Acquavella's      12   ago from reading a sentence from your own report where
 13   chapter, but there's some -- some differences.            13   Saltmiras was discussing writing the Kier and Kirkland
 14   Acknowledging this is somewhat different, acknowledging   14   paper as well; is that correct?
 15   the role of some Monsanto colleagues, employment          15              MR. HOLLINGSWORTH: Object to the
 16   affiliation, blah, blah, blah, recognizing that           16   characterization.
 17   Saltmiras and Christian Strupp were employed by a         17       A. I was getting to that, yes.
 18   member of the glyphosate task force which is -- is        18       Q. (BY MR. LITZENBURG) Can we mark your -- we
 19   true.                                                     19   have marked as Number 36 -- where did it just go?
 20       Q. Like the prior publication, you can't point to     20       A. The -- 36, the last one?
 21   a single place in this publication, the Greim             21       Q. Just a second ago.
 22   publication, that is ghostwritten or in which the         22       A. 35. 36.
 23   underlying science is misrepresented, correct?            23       Q. Yeah, okay. So this is -- let's make 37 --
 24             MR. LITZENBURG: Either don't answer             24   give it to her, 37, which is --
 25   that or answer it very succinctly. He's gone past his     25       A. She needs the -- she needs the first page,


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  1   right --                                                   1   that an example of ghostwriting?
  2       Q. Your report.                                        2      A. Yes.
  3       A. -- to put the sticker on?                           3      Q. Okay. And he I think stopped you from reading
  4              MR. HOLLINGSWORTH: Let's work it out            4   a prior section where -- about Greim and then Kier and
  5   afterward.                                                 5   Kirkland, David Saltmiras was essentially arguing for
  6       Q. (BY MR. LITZENBURG) Yeah, that's okay. Just         6   his annual bonus, right?
  7   turn to the page that you need. Let her -- okay.           7      A. Well --
  8   That's -- let's make that 37. That's your expert           8             MR. HOLLINGSWORTH: Object to the
  9   report.                                                    9   characterization.
 10              MR. HOLLINGSWORTH: We're going to              10      A. -- I think he was -- he was presenting
 11   maintain there are portions of that expert report that    11   information to his management about the important
 12   were previously marked as confidential and will remain    12   contributions he had made to the goals of the company.
 13   confidential going forward.                               13      Q. (BY MR. LITZENBURG) Okay. I'm going to hand
 14              (Deposition Exhibit 37 was                     14   you Exhibit Number 36, which is entitled A Review of
 15              marked for identification.)                    15   the Carcinogenic Potential of Glyphosate By Four
 16       Q. (BY MR. LITZENBURG) Okay. I've now marked as       16   Independent Expert Panels in Comparison to the IARC
 17   Exhibit 37 your expert report. If you could quickly,      17   Assessment, and I'm going to direct your attention to
 18   and if you can't quickly we'll ask other questions        18   as printed page 15 there.
 19   while you do it, turn to the section that you were just   19      A. Okay.
 20   interrupted from reading about David Saltmiras and        20      Q. And I have bracketed the section that I would
 21   ghostwriting.                                             21   like you to read aloud if you don't mind.
 22       A. Okay.                                              22      A. Okay. So this is the Williams, et al., the
 23       Q. Maybe it will help you along. Okay. If you         23   2016 -- it's downloaded in 2016. There's -- there's
 24   look at page -- well, how about look at paragraph 769,    24   two Williams and they're different people, so got to
 25   if you would.                                             25   keep your Williams folks straight.


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  1       A. Okay, 769. Okay, this is about the                  1       Q. Sure. And just remember she'll scan all this
  2   Kier/Kirkland.                                             2   in so there will be no confusion about --
  3       Q. And in this paragraph you are not opining but       3      A. Okay.
  4   rather quoting from Monsanto internal documents or         4      Q. -- what paper or what --
  5   rather a Monsanto manuscript clearance form for what       5      A. Okay.
  6   was ultimately that paper; is that correct?                6      Q. -- page, but if you'll turn to the last page
  7       A. Yes, sir.                                           7   and the bracketed section.
  8       Q. And at that time, the -- the authors were           8      A. All right.
  9   listed as David Saltmiras, Larry Kier; is that correct?    9      Q. Would you read that aloud, please.
 10       A. Yes.                                               10      A. The expert panel members' recruitment and
 11       Q. Okay. And when they were published did David       11   evaluation of the data was organized and conducted by
 12   Saltmiras appear as an author?                            12   Intertek Scientific and Regulatory Consultancy. The
 13       A. Which -- what is the final paper?                  13   expert panelists were engaged by and acted as
 14       Q. Let me -- this is Kier/Kirkland 2013. Let me       14   consultants to Intertek and were not directly contacted
 15   ask you this.                                             15   by the Monsanto Company. Funding for this evaluation
 16       A. Oh, okay.                                          16   was provided by Intertek -- was provided to Intertek by
 17       Q. If in Kier/Kirkland 2013, which this               17   the Monsanto Company which is the primary producer of
 18   manuscript ultimately became --                           18   glyphosate and products containing this active
 19               MR. HOLLINGSWORTH: Is that an exhibit         19   ingredient. Neither Monsanto company employees nor any
 20   you marked, Kier and Kirkland 2013?                       20   attorneys reviewed any of the expert panel's
 21               THE WITNESS: Yeah, I'm with him now.          21   manuscripts prior to the submission to the journal.
 22   It's the -- the --                                        22      Q. Dr. Benbrook, is that the declaration of
 23               MR. HOLLINGSWORTH: I got it. Sorry.           23   interest you were referring to in the Intertek papers
 24       Q. (BY MR. LITZENBURG) If Dr. Saltmiras's name        24   that is false?
 25   did not appear on the ultimate paper as published, is     25      A. That's -- this is one of the -- it's one of


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  1   the places in the declaration statements of the five       1      Q. Okay. And is that supportive of what you've
  2   chapters in addition to the statement by the editor        2   told us all along that the formulated product is more
  3   which appears in the beginning of the journal where it     3   carcinogenic than the active ingredient?
  4   is stated that Monsanto had no role in reviewing the       4      A. Well --
  5   papers, no role in responding to reviewer comments, no     5             MR. HOLLINGSWORTH: Object to the
  6   role in picking the coauthors, all of which were not       6   characterization.
  7   true.                                                      7      A. I've -- I've stated all along that there was a
  8       Q. And without waiving our agreement otherwise to      8   substantially growing number of studies in the record
  9   not seek correspondence among attorneys and their          9   starting about 1999 showing that formulated glyphosate
 10   experts, I will represent that you actually sent that     10   products were more genotoxic than the pure active
 11   paper to me and that's where I have printed it out        11   ingredient and that the primary reason for this was
 12   from. Does that refresh your recollection that you        12   widely recognized in -- among the regulatory community
 13   actually found that paper on your own?                    13   and inside Monsanto as from the surfactant in the --
 14       A. Yeah, I have this -- yeah, this was a paper        14   the broad class of polyethoxylated amines or POEA.
 15   that was one of the ones that I had.                      15   These are -- as the counsel for the defendant stated,
 16       Q. Okay. And when David Saltmiras discusses           16   they're, you know, basically soaplike products that
 17   ghostwriting in -- in source documents, that is his       17   work by helping the glyphosate active ingredient
 18   word, not your word or your opinion; is that correct?     18   penetrate the surface of -- weed leaf surfaces to get
 19       A. Correct.                                           19   inside the weed because the glyphosate has to get
 20       Q. Okay. Let's see. Same thing with Bill              20   inside the weed to kill it because if it stays on the
 21   Heydens, when you refer to Dr. Heydens talking about      21   surface, it will wash off in a rainfall and the product
 22   ghostwriting, is that your characterization of what he    22   won't be effective.
 23   did or his wording within the company?                    23         So this is the reason that essentially all
 24       A. His wording in multiple cases.                     24   glyphosate-based herbicides and all Roundup Monsanto
 25       Q. Okay. And, again, the declaration of interest      25   brand herbicides have a surfactant that served this


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  1   you've just read aloud is substantially different from     1   role, but it is also widely known that surfactants of
  2   the one that was looked at over and over again in this     2   this type also facilitate the movement of glyphosate
  3   one of five papers, correct?                               3   through cell walls once inside the plant, and this
  4       A. The --                                              4   is a -- a important factor in altering the toxicity of
  5              MR. HOLLINGSWORTH: Object to the                5   glyphosate in mammalian systems.
  6   characterization.                                          6          So when different scientists have conducted
  7              COURT REPORTER: What was your answer?           7   research and reported results that formulated
  8   I'm sorry.                                                 8   glyphosate products are more toxic than glyphosate,
  9       A. It's different from the one in the Acquavella       9   there's always at least two reasons cited. One is that
 10   paper.                                                    10   the -- the surfactant itself ounce for ounce or gram
 11       Q. (BY MR. LITZENBURG) Would you -- let's see.        11   for gram is more toxic than glyphosate, but secondly,
 12   We're going to go through some exhibits probably in       12   the presence of the surfactant in conjunction with
 13   reverse order and hopefully it won't be too tricky, but   13   glyphosate alters the degree to which the glyphosate
 14   let's begin with 32 which has this odd blacked-out        14   gets inside cells and that increases its toxicity.
 15   appearance to it in e-mails. Can you find that?           15          So all of that was known, so this -- this
 16       A. Boy, you know, see, this is -- 30, 31.             16   conclusion that Monsanto tested the surfactants by
 17       Q. I'll tell you what. As you look for it, I'm        17   themselves and they caused an inflammatory response and
 18   going to read you some sections.                          18   oxidative stress is perfectly consistent with the
 19       A. Oh, I've got it right here.                        19   general concern about the formulated products.
 20       Q. Okay. Right before the section that says           20       Q. (BY MR. LITZENBURG) Thank you for that and I
 21   results it says: There was considerable discussion of     21   appreciate the opportunity for you being able to fully
 22   the capacity of surfactants to cause inflammatory         22   answer a question on that topic. I was -- I think I
 23   responses, and consequent oxidative stress. Do you see    23   said something asinine like this last deposition as
 24   that?                                                     24   well, but we have 27 minutes before the court reporter
 25       A. Yes.                                               25   walks out and I'm going to try to get through this


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  1   stack, so let's try --                                     1              MR. LITZENBURG: I don't. Do you want
  2       A. Let's do it.                                        2   to look at it? I'm only going to ask him about items
  3       Q. We'll try to go quicker. The -- so when it          3   circled, if you want.
  4   talks about genotoxic results in some studies with         4       Q. (BY MR. LITZENBURG) While he looks at that,
  5   surfactants even as                    has met with        5   do you remember a number of -- well, in your direct
  6   Dr. Parry to try to -- well, let me withdraw that.         6   examination of 13 hours and some today, you were given
  7         Does this e-mail to you suggest that                 7   a number of assessments from a number of foreign
  8            met with Dr. Parry to try to convince him and     8   countries on glyphosate, correct?
  9   bring him around to Monsanto's position?                   9       A. Correct.
 10             MR. HOLLINGSWORTH: Objection, form.             10              MR. HOLLINGSWORTH: Object to the
 11       A. Well, you know, I -- yes, I think Monsanto's       11   representation as to the length of the examination.
 12   hope and expectation was that Dr. Parry would take a      12       Q. (BY MR. LITZENBURG) Multiple of those were
 13   glyphosate or Roundup-friendly view of the genotoxicity   13   from Canada. Do you recall that?
 14   database. That's the word that they use in describing     14       A. Yes.
 15   why they initiated the consultancy with Dr. Parry, and    15       Q. Okay. I have bracketed an e-mail -- well,
 16   I think it's fairly clear in the record that it's also    16   first of all, this exhibit that's just been marked is
 17   why they -- they ended the relationship, because they     17   from one Monsanto employee to another; is that correct?
 18   weren't confident that Dr. Parry was going to be that     18       A. Yes.
 19   glyphosate or Roundup-friendly expert.                    19       Q. Would you please read to me only the bracketed
 20       Q. (BY MR. LITZENBURG) And when it says               20   portion of that e-mail?
 21   genotoxic results with -- in studies with surfactants     21       A. Yes. To date I have eight industry
 22   arose due to oxidative damage, that's consistent with     22   associations, plus CropLife Canada, who have expressed
 23   the IARC conclusion and consistent with papers finding    23   interest in engaging in further discussions on how to
 24   associations between formulations and non-Hodgkin's       24   collaborate as a more substantial critical mass,
 25   lymphoma; is that correct?                                25   representing a signature chunk of Canada's GDP and


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  1       A. Correct.                                            1   innovative -- innovation investments, to capture the
  2       Q. Okay. And the very last sentence appears to         2   attention of the federal government and encourage an
  3   suggest that a future action might be to send some         3   approach to motivate IARC to make adjustments in their
  4   money to Professor Parry to help sponsor some unrelated    4   current inappropriate practices.
  5   things; is that correct? Or not unrelated -- let me        5      Q. Dr. Benbrook, do you think the average person
  6   withdraw that question.                                    6   on the street would understand the significance of that
  7         The final action item is: Consider supporting        7   language in that e-mail?
  8   studentship to help Professor Parry in research program    8      A. Heavens, no.
  9   on the biological significance of oxidative damage.        9      Q. And to you, what does that tell you as --
 10   Does that mean to send money to his institution?          10   well, let me ask you this: Are you an expert in
 11              MR. LITZENBURG: Object to form.                11   communications within pesticide manufacturers?
 12       A. Right, and they were -- as it says, via the UK     12      A. Yes.
 13   BBRSC, that's a -- some other research entity or          13      Q. And are you an expert in communications
 14   organization that Monsanto would first give the money     14   between pesticide manufacturers and regulators?
 15   to them, and then this organization would contract with   15      A. Yes.
 16   Dr. Parry's lab, and Monsanto often routes money to       16      Q. And are there certain terms of art and certain
 17   academics through third parties so that the academic      17   even code words that appear in those types of
 18   doesn't have to ever disclose that they -- their work     18   communications?
 19   was supported by Monsanto.                                19      A. Yes.
 20              MR. LITZENBURG: Court reporter, mark           20      Q. The person that you just read to me, does that
 21   this as the next exhibit, please.                         21   suggest to you in any way -- or does that provide any
 22               (Deposition Exhibit 38 was                    22   support perhaps for why Canada might have assessed
 23               marked for identification.)                   23   glyphosate as noncarcinogenic at times?
 24              MR. HOLLINGSWORTH: Do you have another         24             MR. HOLLINGSWORTH: Objection, calls for
 25   copy?                                                     25   speculation.


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  1      A. This -- this e-mail is a -- a clear example of       1   oncogenicity of glyphosate-based herbicides and
  2   plans that Monsanto made and efforts that Monsanto made    2   explained why this group of 94 scientists believes that
  3   to engage various industry organizations to stimulate a    3   the IARC working group's evaluation was, in fact, more
  4   critical mass of opposition, criticism, of IARC. They      4   accurate and defensible based on a weight of the
  5   did it in Canada. They did it in the United States.        5   evidence review of the data compared to the review of
  6   They've done it around the world. And -- and obviously     6   EFSA.
  7   they -- they were very effective in getting a number of    7       Q. Okay. I'm having a little trouble locating it
  8   organizations, both governmental organizations and         8   and we are running short of time, but there were some
  9   private organizations, to issue reports that echoed        9   EFSA and other European authorities documents presented
 10   their Roundup-friendly view of the science and -- and     10   to you, assessments and discussion of glyphosate today;
 11   cast doubt upon the scientific relevance or validity of   11   is that correct?
 12   the reclassification that IARC announced in March of      12       A. Yes.
 13   2015.                                                     13       Q. I'm going to represent to you that some of
 14      Q. I'm going to keep -- actually while I look          14   them say that they dismiss the positive mice studies on
 15   through those, and I may halt you at some point --        15   glyphosate or a single positive mouse study on
 16   well, let's try to keep your answers somewhat short.      16   glyphosate and cancer because of a viral infection in
 17              MR. LITZENBURG: This is going to be the        17   the colony. If the person that injected that
 18   next exhibit, please.                                     18   suggestion into the discussion was Jess Rowland of the
 19              (Discussion off the written record.)           19   EPA, how would that affect your analysis or that issue?
 20               (Deposition Exhibit 39 was                    20              MR. HOLLINGSWORTH: Object to the
 21               marked for identification.)                   21   representation, lacks foundation, calls for a
 22      Q. (BY MR. LITZENBURG) Have you -- can you             22   hypothetical.
 23   identify what this is, Dr. Benbrook?                      23       A. It would be a quite extraordinary thing for
 24       A. Yes. This is a peer-reviewed paper published       24   Mr. Rowland to -- to pass that information on, and one
 25   in the Journal of Epidemiology and Community Health in    25   would presume that EPA had in its possession, you know,


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  1   2016 by a group of I believe 94 scientists with            1   clear evidence of -- of that fact because clearly if
  2   expertise in assessment of the toxicological properties    2   another -- if another regulator having heard that
  3   of pesticides entitled Differences in the Carcinogenic     3   statement made, whether it was made by Jeff Rowland or
  4   Evaluation of Glyphosate Between the International         4   anybody else, would -- would have doubts about the
  5   Agency For Research on Cancer, paren, IARC, unparen,       5   results of the Wood study.
  6   and the European Food Safety Authority, paren, EFSA,       6              MR. LITZENBURG: Okay. And this is
  7   unparen.                                                   7   another thing I only have one copy of. Will you please
  8       Q. Have you reviewed that as part of your work in      8   mark it?
  9   this case?                                                 9         And, Grant, you can look at it if you like.
 10       A. I did review this very soon after it came out      10              MR. HOLLINGSWORTH: What is it?
 11   in 2016.                                                  11              MR. LITZENBURG: It's just receipts from
 12       Q. And could you explain very briefly --              12   Jeff Hall.
 13   you'll -- you'll get an opportunity to speak to jurors    13              (Deposition Exhibit 40 was
 14   in each of these trials about this. Would you explain     14              marked for identification.)
 15   very briefly the significance of that document and how    15      Q. (BY MR. LITZENBURG) I have marked as Exhibit
 16   it may impact your opinion.                               16   Number 30 -- what is it?
 17       A. This -- this is a very clear explanation of        17      A. These are three receipts --
 18   the differences in the assessment of the oncogenicity     18      Q. I'm sorry, Exhibit 40.
 19   and genotoxicity data on glyphosate active ingredient     19      A. 40.
 20   and formulated glyphosate-based herbicides by the IARC    20      Q. Tell me what that is.
 21   working group relative to the review of the same          21      A. They are three receipts from Jeff Hall
 22   information by EFSA. It very carefully and clearly        22   purchases of usually cases of Roundup Super
 23   highlights the differences in the interpretation and      23   Concentrate. This one is for $790, there's a $1,594
 24   conclusions that IARC drew from the review of specific    24   for 12 cases and a third receipt for $1,455. One is in
 25   studies on key aspects of the overall evaluation of       25   May of 2008, another is in September of 2010 and


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  1   another one is in August of 2009. So over this period      1   have a very limited time, that the Parry report was in
  2   of time it looks like approximately, you know, every       2   September of 1999 and it appears the date that the
  3   year or so at least these three invoices represent         3   first animals were sacrificed -- or the date of the
  4   substantial purchases of Roundup Super Concentrate.        4   first exposure of animals in this -- what's been called
  5       Q. Okay. And you have reviewed this as part of         5   the Hotz study was actually two months prior to his
  6   your work in the Jeff Hall case?                           6   recommendations; is that correct?
  7       A. This is a few -- a few of the records that I        7             MR. HOLLINGSWORTH: Object to the
  8   had that I have seen in -- just in the last couple         8   characterization, lacks foundation.
  9   days.                                                      9       A. Well, on page 12 of this report, the data --
 10       Q. Okay. And that's -- and you have reviewed --       10   date protocol signed by the study director was
 11   is it true that part of your work on this case you have   11   July 22nd, 1999, and that clearly was before Monsanto
 12   reviewed the corresponding labels to those products?      12   had received the second report from Dr. Parry.
 13       A. Yes, correct.                                      13       Q. (BY MR. LITZENBURG) Okay. Set that aside.
 14       Q. Okay. You can set that aside. Can you find         14   Have you seen anything today to suggest that
 15   Exhibit 17.                                               15   Dr. Parry's report or recommendations were ever
 16       A. Got it.                                            16   disclosed to date to the EPA?
 17       Q. Exhibit Number 17 is a study on the short-term     17       A. No.
 18   effects of MON 35050 in male CD-1 mice. Do you see        18       Q. Were they legally required to do so?
 19   that?                                                     19             MR. HOLLINGSWORTH: Objection, calls for
 20       A. Yes.                                               20   a legal conclusion.
 21       Q. Okay. Let's see if I find my notes on it.          21       A. Yes, based on my understanding of the
 22   And this was submitted it appears to the EPA in 2002;     22   requirements of FIFRA, Section 6(a)(2)(b), it -- yes,
 23   is that correct?                                          23   Dr. Parry's report seems to meet the -- the criteria
 24       A. Yeah, this is what Mr. Hollingsworth referred      24   for a -- a commissioned study that should have been
 25   to as the Hotz study, correct?                            25   provided to the EPA because it reports a -- an adverse


                                              Page 435                                                       Page 437
  1       Q. Yes. And does it make any reference to James        1   effect or a determination of possible risk to humans
  2   Parry or his recommendation or his conclusions as far      2   that was inconsistent with the agency's current
  3   as you've seen?                                            3   evaluation of genotoxicity and also inconsistent with
  4       A. No, it does not.                                    4   all of the studies and positions expressed by Monsanto
  5       Q. Okay. And if -- let's see. Well, I'm going          5   to EPA.
  6   to -- let's see.                                           6       Q. (BY MR. LITZENBURG) 19 -- or Exhibit Number
  7       A. On the -- in this -- the transmittal date, the      7   18 is dated -- is for a study in Brazil completed on
  8   list of submitted data that identifies this as the         8   March 8th of 1998. That could not have been something
  9   Kathy Hotz study, that has a date of 2001. So the          9   done in response to Dr. Parry's recommendations,
 10   original study was completed and submitted to Monsanto    10   correct?
 11   by 2001, in turn transmitted by Monsanto in July of       11       A. Clearly not.
 12   2002 to the agency, so the work in conducting this        12              MR. HOLLINGSWORTH: Objection, lacks
 13   study certainly had started coincidental --               13   foundation, calls for speculation.
 14   coincidentally with the primary time when Monsanto was    14       Q. (BY MR. LITZENBURG) A study in -- about
 15   interacting with Dr. Parry on, you know, whether --       15   good -- well, let me see what I have about this. Set
 16   whether the commission of this study was done before or   16   that aside. Will you -- can you see if you can find
 17   after the report by Dr. Parry laying out his              17   Exhibit Number 15?
 18   recommendations. I -- you know, I would have to look      18       A. Yeah, they're in order now.
 19   more carefully at the timing, but it would be pretty      19       Q. Great, great.
 20   close.                                                    20       A. Not -- not too hard. Got it.
 21       Q. Well, I'll -- I'll point you to the page           21       Q. And I believe Mr. Hollingsworth described all
 22   ending -- the MONGLY number ending in 4857, if you        22   these authors as Monsanto employees, but they are not;
 23   would.                                                    23   is that right?
 24       A. 4857, okay.                                        24              MR. HOLLINGSWORTH: Object to the
 25       Q. I am going to represent to you, because we         25   representation.


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HIGHLY                               Charles Benbrook, Ph.D.                                             HIGHLY
CONFIDENTIAL                               May 23, 2018                                            CONFIDENTIAL
                                              Page 438                                                       Page 440
  1       A. One is an employee of Pfizer and one is an          1   manufacturing and selling chemicals that might in some
  2   employee of Lexicon Genetics.                              2   circumstances pose risk to humans, they kind operate
  3       Q. (BY MR. LITZENBURG) And this is --                  3   under the -- the same set of scientific and ethical
  4       A. And one is an employee of Tibotec. So there's       4   expectations.
  5   two or three employees of Monsanto and two or three        5       Q. Any indication that Jeff Hall or Lee Johnson
  6   other people.                                              6   ever used generic glyphosate?
  7       Q. This is a review paper of animal studies; is        7        A. Not that I'm aware of.
  8   that correct?                                              8       Q. Okay. You know what the TNO report is?
  9       A. In effect, yes.                                     9        A. Yes.
 10       Q. Okay. And the first one that it refers to          10       Q. Was that reported to the EPA to date as far as
 11   is -- it says in the introduction: These assays are       11   you know?
 12   described briefly in Williams, et al., 1, and if you      12             MR. HOLLINGSWORTH: Objection, calls for
 13   look at Reference Number 1, turning to the back, that     13   a legal conclusion, lacks foundation.
 14   is Williams, et al., in the year 2000, Williams and       14        A. No. To my knowledge the TNO report
 15   Munro?                                                    15   commissioned by Monsanto was never submitted to the
 16       A. Right.                                             16   EPA.
 17       Q. Are you familiar with that paper?                  17       Q. (BY MR. LITZENBURG) Okay. And that Number 17
 18       A. Oh, absolutely.                                    18   that we looked at just a moment ago, would you turn
 19       Q. Any significance to you in your analysis of        19   back to it. It's a paper that's very black on the
 20   that paper?                                               20   front.
 21       A. Well, it's a -- it's a Monsanto-commissioned       21        A. Yes, okay.
 22   and Monsanto-written review article on what Monsanto      22       Q. And what --
 23   Company believes their genotoxicity studies show and      23        A. Put it back in my pile.
 24   published in the Journal of Regulatory Toxicology and     24       Q. -- it actually found was that this product,
 25   Pharmacology.                                             25   it's MON something with a number, was causing cancer,


                                              Page 439                                                       Page 441
  1      Q. And Williams and Munro 2000 does not identify        1   but their conclusion was that it was the coformulants
  2   any Monsanto employees as its authors here, correct?       2   or the surfactants that was doing it rather than the
  3      A. I -- I'd have to look at it. Williams was not        3   active ingredient; is that correct?
  4   an employee of Monsanto. Munro had had significant         4              MR. HOLLINGSWORTH: Object to the
  5   work with Monsanto and continued to work with them in      5   representation.
  6   various consulting capacities, and I don't remember who    6       A. I think it was a genotox study predominantly.
  7   Kroes is.                                                  7   It wasn't a two-year cancer study, but you're correct
  8      Q. Okay. Well, we got -- we got nine minutes.           8   in that they conclude that the toxic effects observed
  9   When Dr. Heydens wrote an e-mail suggesting that in --     9   in the study were caused by the coformulant.
 10   the Intertek 2016 paper be ghostwritten, in his own       10       Q. (BY MR. LITZENBURG) Okay. And do you know
 11   words, he said just recall that we did this in Williams   11   what the coformulant is? Does it say like what it is
 12   2000. Was that this paper?                                12   in there other than by some proprietary name?
 13      A. Yes.                                                13       A. It -- I don't think it's -- it's identified --
 14             MR. HOLLINGSWORTH: Objection, lacks             14   I think they say it's a -- it's sold under the Roundup
 15   foundation.                                               15   brand in specific European companies, among them Italy,
 16      A. And they -- recall that he says they did it         16   but it also says curiously, I noticed this before,
 17   that way because it would lower the cost.                 17   it's -- a surfactant component was anionic in nature
 18      Q. (BY MR. LITZENBURG) Okay. In -- when we talk        18   and different from that used in other Monsanto
 19   about this industry standard of care, are you speaking    19   glyphosate products sold in most countries including
 20   about the standard of care among producers of             20   the US. So I'm not exactly sure what it -- what it
 21   glyphosate alone or are you talking about a chemical      21   was.
 22   industry or a pesticide industrywide standard of care?    22       Q. Do you have any idea if they repeated these
 23      A. Certainly chemical industry, pesticide              23   studies with other formulated products, that type of
 24   industrywide. I mean, even with the -- you know, you      24   study?
 25   could encompass the drug industry. I mean, anybody        25       A. I'm not aware that they did.


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HIGHLY                               Charles Benbrook, Ph.D.                                             HIGHLY
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  1       Q. And certainly Monsanto did not complete all of      1   well, let me stop reading that and withdraw that
  2   the studies recommended by Dr. Parry to date. In fact,     2   portion of the question since your last answer.
  3   they said they weren't going to do -- they simply          3          The final sentence of that paragraph says:
  4   weren't going to do them, in one executive's word; is      4   The study was reconsidered during the second experts'
  5   that correct?                                              5   teleconference as not acceptable due to viral
  6       A. That's --                                           6   infections --
  7             MR. HOLLINGSWORTH: Object to the                 7       A. Yes.
  8   representation, lack of foundation.                        8       Q. -- that could influence survival as well as
  9       A. Yes, there's multiple statements in the             9   tumor incidence, especially lymphomas.
 10   e-mails back and forth between Monsanto senior            10       A. Yeah.
 11   scientists and Heydens that -- to the effect that         11       Q. If in this EFSA conference call the person
 12   that -- at the -- after considering the pros and cons     12   that caused EFSA to reject the one positive
 13   of commissioning the additional studies that Parry        13   statistically significant mouse study was Jess Rowland,
 14   recommended that they weren't going to do it.             14   and he was the sole person to suggest that there was a
 15       Q. (BY MR. LITZENBURG) All right. Real close.         15   virus in this mouse colony, how would that affect your
 16   Well, let's see. There were some German documents that    16   opinion?
 17   we looked at today, correct?                              17       A. First of all --
 18       A. Yes.                                               18              MR. HOLLINGSWORTH: Objection, lacks
 19       Q. Are you aware of whether Germany has taken any     19   foundation, calls for speculation.
 20   action with respect to glyphosate-containing products     20       A. -- there -- there was several more than one
 21   in recent months?                                         21   positive mouse study. To your question, anyone who
 22       A. Yes. The German government has announced that      22   passed on an explanation for this particular Wood study
 23   they're going to phase out the use of glyphosate-based    23   as representing that the tumors were associated with
 24   herbicides fairly quickly, you know, within a year or     24   some sort of a viral infection certainly would have had
 25   so.                                                       25   to have had evidence to support that. If EPA had


                                              Page 443                                                       Page 445
  1        Q. Okay. I'm going to the last exhibit, I think,      1   credible evidence that it believed was sound that, in
  2   we'll look at, Exhibit Number 25 here.                     2   fact, a viral infection was the -- the cause, I
  3        A. Okay.                                              3   wouldn't have a problem with Rowland or anyone else
  4        Q. And page 10. And if you're in trouble finding      4   passing it on in a -- in a peer-reviewed call of this
  5   it I've got an unmarked copy that I can enter, an          5   nature, but clearly if somebody passed along spurious
  6   undrawn on --                                              6   information for which there was no solid justification,
  7        A. I'm getting really close. I'm getting really       7   that would be an extremely serious breach of -- of
  8   close. 24. It's got to be the next one. This is the        8   conduct in any professional arena.
  9   EFSA report.                                               9      Q. (BY MR. LITZENBURG) Dr. Benbrook, I have one
 10        Q. Turn to page 10, if you would.                    10   more minute and two more questions. After everything
 11        A. Okay.                                             11   we've discussed today and to date, has Monsanto made
 12        Q. And do you see the -- where carcinogenicity is    12   any efforts that you're aware of to warn users and
 13   in bold about two-thirds down?                            13   potential users like Lee Johnson and other plaintiffs,
 14        A. Yes, I do.                                        14   Jeff Hall in this lawsuit, of the potential
 15        Q. Okay. That sentence ends, and then the            15   carcinogenicity of its products?
 16   sentence begins: Out of five mice studies considered,     16      A. Nothing that I am aware of over the last 20
 17   one study with Swiss albino mice showed a statistically   17   years.
 18   significant increased incidence of malignant lymphomas    18      Q. Has anyone or any agency prevented Monsanto or
 19   at the top dose of 1,460 milligrams per kilograms BW      19   rebuffed a request by Monsanto to -- to warn users or
 20   per day. This study was discussed at length during the    20   potential users about that risk?
 21   first Pesticides Peer Review Experts' Meeting. Do you     21      A. No.
 22   see that?                                                 22             MR. HOLLINGSWORTH: Objection, calls for
 23        A. Yes.                                              23   speculation.
 24        Q. Okay. Although observed above the limited         24             MR. LITZENBURG: And that is it, we're
 25   historical control data of the study, the increased --    25   done.


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HIGHLY                                   Charles Benbrook, Ph.D.                                                        HIGHLY
CONFIDENTIAL                                   May 23, 2018                                                       CONFIDENTIAL
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  1             MR. HOLLINGSWORTH: Thank you, sir.               1                REPORTER'S CERTIFICATE
  2             THE WITNESS: Are we done?                        2

  3             VIDEO OPERATOR: This concludes the               3        I, PATRICIA D. JACOY, the undersigned Certified Court
                                                                 4   Reporter, pursuant to RCW 5.28.010 authorized to administer
  4    video deposition of Charles Benbrook, Ph.D., Volume 1.
                                                                 5   oaths and affirmations in and for the State of Washington, do
  5    We're going off the record. The time is 10:29.
                                                                 6   hereby certify that the sworn testimony and/or proceedings, a
  6             (Deposition concluded at 10:29 p.m.)
                                                                 7   transcript of which is attached, was given before me at the
  7             (Signature was reserved.)
                                                                 8   time and place stated therein; that any and/or all witness(es)
  8                                                              9   were duly sworn to testify to the truth; that the sworn
  9                                                             10   testimony and/or proceedings were by me stenographically
 10                                                             11   recorded and transcribed under my supervision, to the best of
 11                                                             12   my ability; that the foregoing transcript contains a full,
 12                                                             13   true, and accurate record of all the sworn testimony and/or
 13                                                             14   proceedings given and occurring at the time and place stated
 14                                                             15   in the transcript; that a review of which was requested; that
 15                                                             16   I am in no way related to any party to the matter, nor to any
 16                                                             17   counsel, nor do I have any financial interest in the event of
 17                                                             18   the cause.

 18                                                             19        WITNESS MY HAND AND DIGITAL SIGNATURE this 28th day of
                                                                20   May, 2018.
 19
                                                                21
 20
                                                                     _______________________
 21
                                                                22   PATRICIA D. JACOY
 22
                                                                     Washington State Certified Court Reporter, #2348
 23                                                             23
 24                                                             24
 25                                                             25



                                                   Page 447
  1             CORRECTION & SIGNATURE PAGE
  2    RE: RONALD PETERSON vs. MONSANTO COMPANY
           CITY OF ST. LOUIS, STATE OF MISSOURI;
  3        1622-CC01071
           CHARLES BENBROOK, Ph.D.; TAKEN MAY 23, 2018
  4                  REPORTED BY: PATSY D. JACOY
  5        I, CHARLES BENBROOK, Ph.D., have read the within
      transcript taken May 23, 2018, and the same is true and
  6   accurate except for any changes and/or corrections, if
      any, as follows:
  7
  8   PAGE/LINE           CORRECTION         REASON
  9   _______________________________________________________
 10   _______________________________________________________
 11   _______________________________________________________
 12   _______________________________________________________
 13   _______________________________________________________
 14   _______________________________________________________
 15   _______________________________________________________
 16   _______________________________________________________
 17   _______________________________________________________
 18   _______________________________________________________
 19   _______________________________________________________
 20   _______________________________________________________
 21   _______________________________________________________
 22      Signed at ______________________, Washington,
 23   on this date: ____________________________.
 24            _________________________________
 25            CHARLES BENBROOK, Ph.D.


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                                                               Page 449
            IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                        STATE OF MISSOURI
      ______________________________________________________

      RONALD PETERSON and JEFF HALL,   )
                                       )
                     Plaintiff(s),     )
                                       )
            vs.                        ) 1622-CC01071
                                       )
      MONSANTO COMPANY; OSBORN &       )
      BARR COMMUNICATIONS, INC.;       )
      OSBORN & BARR HOLDINGS, INC.,    )
                                       )
                     Defendant(s).     )
      ______________________________________________________
           VIDEOTAPED DEPOSITION UPON ORAL EXAMINATION OF
                          CHARLES BENBROOK, Ph.D.
                                  VOLUME II
                              **CONFIDENTIAL**
      ______________________________________________________


                                 7:48 A.M.
                               AUGUST 14, 2018
                     612 SECOND AVENUE, 15TH FLOOR
                            SEATTLE, WASHINGTON




      REPORTED BY:     PATSY D. JACOY, CCR 2348
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HIGHLY                                  Charles Benbrook, Ph.D.                                     HIGHLY
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  1            APPEARANCES                                  1   EXHIBITS FOR IDENTIFICATION (cont')             PAGE
  2
  3   FOR THE PLAINTIFFS:
                                                            2   Exhibit 5 Expert Report of Charles     496
  4      TIMOTHY LITZENBURG                                 3           Benbrook
         JEFFREY TRAVERS (Appearing telephonically)         4   Exhibit 6 5/3/16 email from Jim Jones 498
  5      The Miller Firm LLC
         The Sherman Building                               5           to Jack Housenger
  6      108 Railroad Avenue                                6   Exhibit 7 EFSA Statement regarding the 525
         Orange, VA 22960
  7      540.672.4224                                       7           EU assessment of glyphosate
         tlitzenburg@millerfirmllc.com                      8           and the so-called "Monsanto
  8      jtravers@millerfirmllc.com
  9                                                         9           papers"
      FOR THE DEFENDANTS OSBORN & BARR:                    10   Exhibit 8 Roundup ProMax label          540
 10   (Appearing telephonically)
 11      JENNIFER E. HOEKEL
                                                           11   Exhibit 9 11/9/15 email from Consolato 560
         Armstrong Teasdale LLP                            12           Sergi to Chris Portier
 12      7700 Forsyth Blvd., Suite 1800                    13   Exhibit 10 Article entitled Impacts of 567
         St. Louis, MO 63105
 13      314.621.5070                                      14           genetically engineered crops
         jhoekel@armstrongteasdale.com                     15           on pesticide use in the U.S.
 14
 15   FOR THE DEFENDANT MONSANTO:                          16           - the first sixteen years
 16      GRANT W. HOLLINGSWORTH                            17
         Hollingsworth LLP
 17      1350 I Street N.W.                                18
         Washington, DC 20005                              19
 18      202.898.5800                                      20
         ghollingsworth@hollingsworthllp.com
 19                                                        21
 20   ALSO PRESENT: DANNY GADD, Video Operator             22
 21
 22                                                        23
 23                                                        24
 24
 25                                                        25


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  1                   INDEX                                 1        SEATTLE, WASHINGTON; AUGUST 14, 2018
  2                                                         2              7:48 A.M.
  3    EXAMINATION BY:                         PAGE(S)      3               --oOo--
  4      BY MR. HOLLINGSWORTH                       455     4
  5      BY MS. HOEKEL                         598          5
  6      BY MR. HOLLINGSWORTH                       599     6
  7                                                         7              VIDEO OPERATOR: This is the video
  8    EXHIBITS FOR IDENTIFICATION                 PAGE     8   deposition of Charles Benbrook, Ph.D. Today's date is
  9    Exhibit 1 Guidance for Considering and 457           9   August 14, 2018. The time is 7:48 a.m. This is the
 10           Using Open Literature                        10   case of Ronald Peterson and Jeff Hall, plaintiffs,
 11           Toxicity Studies to Support                  11   versus Monsanto Company, et al., defendants, Case
 12           Human Health Risk Assessment                 12   Number 1622-CC01071. This case is pending in the
 13    Exhibit 2 Notice of Continued         475           13   Circuit Court of the City of St. Louis, State of
 14           Videotaped Deposition                        14   Missouri. My name is Danny Gadd and I represent
 15    Exhibit 3 Revised Glyphosate Issue      486         15   Paszkiewicz Court Reporting. The court reporter is
 16           Paper: Evaluation of                         16   Patsy Jacoy also representing Paszkiewicz Court
 17           Carcinogenic Potential, EPA's                17   Reporting. This deposition is taking place at
 18           Office of Pesticide Programs,                18   Courtyard Seattle Downtown, 612 Second Avenue, Seattle,
 19           December 12, 2017                            19   Washington 98104.
 20    Exhibit 4 Abstract titled Effects of 488            20          Counselors, will you please state your
 21           Glyphosate and Its                           21   appearance.
 22           Formulations on Markers of                   22              MR. HOLLINGSWORTH: Yes, this is Grant
 23           Oxidative Stress and Cell                    23   Hollingsworth from Monsanto.
 24           Viability in Heparg and Hacat                24              MR. LITZENBURG: Tim Litzenburg for the
 25           Cell Lines                                   25   plaintiff.


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HIGHLY                                Charles Benbrook, Ph.D.                                            HIGHLY
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                                               Page 454                                                      Page 456
  1            VIDEO OPERATOR: Will the court reporter           1   process.
  2   please swear in the witness.                               2       Q. Okay. You haven't reviewed the US EPA's
  3                                                              3   guidance for considering using open literature toxicity
  4            CHARLES BENBROOK, Ph.D.,                          4   studies to support human health risk assessment?
  5     sworn as a witness by the Certified Court Reporter,      5       A. No, not -- I may have seen it at some point,
  6              testified as follows:                           6   but no, I don't know it well.
  7                                                              7       Q. Okay. But I think you mentioned GLP?
  8              MR. HOLLINGSWORTH: Before we get                8       A. Yeah. Sure.
  9   started here, I'd just like to mark this deposition as     9       Q. That stands for good laboratory practices?
 10   confidential until we get a chance to review the          10       A. Right.
 11   transcript and determine which portions we may want to    11       Q. And it's your understanding that these sort of
 12   maintain confidentiality.                                 12   guidance materials for considering using open
 13          Having said that, I'd like to state one more       13   literature toxicity studies to support the human health
 14   thing. We are starting about an hour earlier than this    14   risk assessment, that would be akin to the GLP
 15   9:00 noticed deposition today. This is to try to help     15   procedure for reviewing industry toxicology studies,
 16   counsel who has a plane that he needs to catch around     16   correct?
 17   1:30. Counsel has told me that he may need to leave at    17       A. Well, not -- not precisely. The -- the GLPs
 18   11:30 today, but that another attorney may be able to     18   are detailed descriptions of the protocols for carrying
 19   call in.                                                  19   out a study that include a number of methodological
 20          If that's the case, then we hope we can go         20   details that go way beyond what would be in the methods
 21   forward here without any objections, but this was a       21   section in a peer-reviewed publication. So, you know,
 22   noticed deposition for four hours, so from now until      22   they -- they -- in EPA's review of open literature
 23   11:30 isn't sufficient for that, so I'd just like to      23   studies, they strive to understand what was done and
 24   note that on the record.                                  24   the relevance of the study and the quality of the
 25                                                             25   study, but it's a -- it's a quite different process and


                                               Page 455                                                      Page 457
  1                   EXAMINATION                                1   challenge than a GLP study that's carried out precisely
  2    BY MR. HOLLINGSWORTH:                                     2   in accord with protocols that the agency itself has set
  3       Q. Dr. Benbrook, how are you doing this morning?       3   out.
  4       A. I'm fine, sir.                                      4       Q. Well, let's take a look at this guidance for
  5       Q. We spoke a little bit at your last deposition       5   considering and using open literature toxicity studies
  6   about the EPA toxicology requirements, specifically the    6   to support human health risk assessment, and we'll mark
  7   toxicology testing requirements. Do you remember some      7   it as Exhibit 1.
  8   of that questioning?                                       8              (Deposition Exhibit 1 was
  9       A. Yes.                                                9              marked for identification.)
 10       Q. And that's the 1 -- 158.500 data table that we     10       Q. (BY MR. HOLLINGSWORTH) And, sir, this is
 11   went over in some detail. Do you recall that?             11   dated August 2012. Do you see that?
 12       A. Yeah.                                              12       A. Yes, I do.
 13       Q. But EPA also considers data from the open          13       Q. Okay. So this is guidance that -- at least
 14   literature in making its safety decisions, correct?       14   this version was put in place while the glyphosate
 15       A. They consider it some, yes.                        15   registration review was still pending, correct?
 16       Q. EPA has developed procedures to ensure the         16       A. Uh-huh, correct.
 17   quality and integrity of the open literature that it      17       Q. And that review is still pending today,
 18   reviews, correct?                                         18   correct?
 19       A. I don't -- I don't believe there -- there are      19       A. Correct.
 20   any written review procedures for peer-reviewed           20       Q. Okay. If you look at this document, I just
 21   publications. Their GLPs don't apply necessarily to       21   want to go to the purpose section, 1.1. Are you there?
 22   studies carried out by independent scientists, and they   22       A. Yep.
 23   certainly would evaluate the methods section and the      23       Q. Okay. It notes there: In addition to the
 24   statistics of the study in making their evaluation of     24   information submitted by the registrants, effects data
 25   it, but I don't believe there's a formal review           25   from studies published in the open literature may also


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HIGHLY                              Charles Benbrook, Ph.D.                                             HIGHLY
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  1   be considered and risk assessments conducted in the       1       A. Okay, got it.
  2   Office of Pesticide Programs.                             2       Q. So 2.1 provides the screening criteria for
  3          You agree with that statement, correct?            3   accepted journals, articles and publications for review
  4       A. I agree that you read it correctly, yes.           4   by EPA in their risk assessments. Do you see that?
  5       Q. Okay. But you're familiar that -- that             5       A. Correct.
  6   scientists may publish studies in the open literature     6       Q. Okay. The first criteria for screening
  7   that is considered by EPA in conducting their risk        7   journal articles or publications in the open literature
  8   assessments, correct?                                     8   is that the toxic effects are related to the defined
  9       A. That's -- that's correct.                          9   chemical exposure. Why is that important,
 10       Q. Lower down in the purpose section of the          10   Dr. Benbrook?
 11   guidance document notes: This guidance draws from        11       A. In the case of most toxic chemicals, the
 12   OPP's longstanding experience and guidance for review    12   exposure level plays a direct role in determining
 13   of registrant-submitted studies submitted in response    13   whether an adverse effect occurs and/or the severity of
 14   to 40 CFR part 158 data requirements.                    14   the effect.
 15          Do you see that?                                  15       Q. The fourth criteria for screening journal
 16       A. Yes.                                              16   articles or publications in the open literature is that
 17       Q. Okay. And that's what we were just discussing     17   a chemical concentration or dose or application rate is
 18   earlier. It's the fact that these guidances for open     18   required. Why is that important, Dr. Benbrook?
 19   literature are drawing from the part 158 toxicology      19       A. It would be -- it would not be possible to
 20   study data requirements that are conducted pursuant to   20   estimate the exposure without that information.
 21   GLP, correct?                                            21       Q. Right. If you don't know the exact dose of
 22       A. Correct.                                          22   the active ingredient being studied, then you cannot
 23       Q. Okay. It goes on: It is intended to ensure        23   active -- you cannot effectively tell if the adverse
 24   consistent consideration, use and documentation of       24   event is associated specifically with that chemical
 25   information in the open literature by OPP scientists     25   formulation; is that correct?


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  1   and risk assessors when evaluating the potential          1      A. Not -- not, no, not really. You have to know
  2   adverse effects of human health.                          2   the dose levels, and typically these sorts of studies
  3          Do you see that?                                   3   have multiple dose levels. You need to know what those
  4       A. Yeah, on human health.                             4   are to determine whether there's a dose response
  5       Q. On human health, thank you, Doctor.                5   relationship in any adverse effects that are observed.
  6          So you're generally familiar with this             6   Knowing accurately what those dose levels are is
  7   process, correct?                                         7   essential in assessing the dose response in any given
  8       A. Yes.                                               8   study. Some studies where there's not precise
  9       Q. The next sentence in the purpose section           9   information about often single dose levels will and
 10   notes: This document is also intended to make            10   have in the past reported a positive effect without
 11   transparent how OPP judges the scientific quality of     11   great clarity on what the dose level is.
 12   open literature publications of relevance and            12      Q. So --
 13   importance to human health risk assessment.              13      A. To do a quantitative assessment you have to
 14          So this is another example of EPA and OPP         14   know the dose levels.
 15   trying to be as transparent as possible in conducting    15      Q. So this fourth EPA criteria for screening
 16   its risk assessment, correct?                            16   journal articles or publications in the open literature
 17       A. That's a fair statement.                          17   with respect to dose levels is important because first
 18       Q. The guideline provides those EPA reviewers        18   off, when you note there's a dose response
 19   conducting the risk assessments guidance on screening    19   relationship, is that what you said?
 20   the open literature, reviewing open literature studies   20      A. That's certainly an important factor, yes.
 21   and using open literature studies in risk assessments,   21      Q. Okay. If there's not a dose response
 22   correct?                                                 22   relationship then we are not going -- we are not
 23       A. Correct.                                          23   certain that the toxic effect is associated with the
 24       Q. If you go down to the screening the open          24   chemical being studied, correct?
 25   literature studies, 2.1?                                 25      A. Well, the -- the agency or any scientist would


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  1   want to know the dose level at which the organism or       1   articles or publications in the open literature
  2   the cells were exposed in order to evaluate the -- you     2   according to EPA is that there's an explicit duration
  3   know, whether the -- whether the effect was just caused    3   of exposure included. Why is that important?
  4   by overwhelming the animal. You can drown an animal in     4       A. Because the time of exposure between a test
  5   water and make water toxic for -- so -- but the dose       5   organism and a test substance can -- can play a
  6   level is important for -- for many reasons.                6   significant role in whether any adverse effects
  7      Q. Okay. This fourth criteria for EPA reviewing         7   materialize.
  8   the open literature with respect to dose levels allows     8       Q. And besides that, if you do not know the exact
  9   EPA reviewers to get clarity because often single dose     9   duration of exposure, then EPA reviewers wouldn't know
 10   levels may report a positive effect without us having     10   whether it was an acute, subchronic, chronic or
 11   anything to compare it to; is that correct?               11   lifetime test in the case of animal studies, correct?
 12      A. A study with a single dose level that reports       12       A. Not -- not necessarily. I mean, it -- it
 13   a positive effect will -- can be interpreted and -- and   13   would depend on how the doses were -- how the test
 14   useful in their evaluation. However, it -- it             14   substance was administered, whether it was given in one
 15   certainly is not as valuable as a similar study that      15   dose on five days during -- during the pregnancy of a
 16   had -- that included multiple dose levels and which       16   pregnant animal. It would depend on how the study was
 17   provided some insight on whether there was a dose         17   conducted in the methods section which would spell out
 18   response relationship, although it's also true that for   18   how the test substance was administered to the organism
 19   some chemicals there -- there are relationships --        19   in the assay.
 20   monotonic relationships or different relationships        20       Q. Okay. But certainly if you were reading the
 21   between dose levels and outcomes. So it's not -- it's     21   methods section of a publication in the open literature
 22   not an ir -- an irrefutable law of nature that higher     22   you would want to know the exact duration of exposure,
 23   doses result in -- in more serious impacts, but it's      23   correct?
 24   certainly often the case in -- in animal studies.         24       A. For -- for sure you would want to know the
 25      Q. You'll agree at least that if you don't know        25   duration of exposure. If it's an in vivo experiment in


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  1   the doses being studied then you are missing key           1   a live animal you would definitely want to know that.
  2   information analyzing toxicity?                            2   If, however, it was a -- an in vitro genotox exposure
  3       A. The -- the dose to which the test organism is       3   where there's a -- a single administration of the dose
  4   exposed -- of course, that's a -- as you know, that's a    4   perhaps at different levels then it -- the time of
  5   complicated thing. You have a certain amount in the        5   exposure would not be a critical variable because of
  6   feed or in water that the organism is exposed to and       6   the design of the study.
  7   you have to -- you can't calculate the dose rate to the    7       Q. So your opinion is that if you're reading the
  8   organism without also knowing how much feed or water       8   methods section of a publication in the open literature
  9   was ingested. So there's quite a -- often quite a          9   you would want to know the dur -- the exact duration of
 10   complicated calculation involved in actually coming up    10   exposure certainly for animal studies, correct?
 11   with the quantity of the test substance that the test     11       A. That would be important information to have,
 12   organism was exposed to or ingested in a given period     12   yes.
 13   of time.                                                  13       Q. And your opinion is that with respect to
 14       Q. Right. And although it may be a -- a               14   genotoxicity studies, it wouldn't be necessary to know
 15   complicated calculation, if you don't know the dose to    15   the exact duration of exposure; is that correct?
 16   which the test organism is exposed, then you are          16       A. No, no, that's not what I said. I said given
 17   missing key information in analyzing toxicity. You'll     17   the way many genotox studies are designed, there's a
 18   agree with that, won't you?                               18   single administration of the dose in a -- typically in
 19       A. Sure.                                              19   a petri dish or in lab equipment and the -- and then
 20       Q. You're missing key information in analyzing        20   the response of the cells in the assay system are
 21   risk, correct?                                            21   tracked over a particular period of time and that's --
 22       A. Correct. I mean, there -- there are many           22   that particular time really doesn't correspond directly
 23   other things that a risk assessor would have to know to   23   to the time of exposure as it would, say, in an animal
 24   carry out a complete risk assessment, yes.                24   study where the animal is given a dose once a day for
 25       Q. The fifth criteria for screening journal           25   seven days. It's a different -- it's a different


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  1   circumstance.                                              1   necessary to assess the dose level. So, you know,
  2       Q. Okay. But with the genotoxicity study, what         2   it's -- it depends on what -- what the -- you know,
  3   you would want to know would be dose that's given at       3   whether -- whether and what toxicology information is
  4   the start of the study and then how long the study was     4   in a paper in the peer-reviewed literature will be
  5   conducted; is that correct?                                5   determined or driven by the nature of the study being
  6       A. Sure, that would be an essential part of the        6   carried out.
  7   methods section of any study, the duration of -- of        7       Q. Okay. So the percentage of the active
  8   time during which the scientist observed any response      8   ingredient that is being studied is part of the key
  9   in the assay system.                                       9   dose information that's required for studies on the
 10       Q. And that's part of the minimum criteria here       10   open literature, correct?
 11   as laid out in this EPA guidance document, correct?       11       A. It would -- it's -- certainly the scientist
 12       A. Sure, correct.                                     12   would have to know that, but it's not uncommon for
 13       Q. The sixth criteria for screening journal           13   scientists in the methods section to simply report the
 14   articles and publications in the open literature is:      14   amount of glyphosate in terms of pure active ingredient
 15   The toxicology information is reported for the chemical   15   that was used in a particular study, and sometimes they
 16   of interest or of its structural analog.                  16   don't -- they don't report where that glyphosate came
 17          Did I read that correctly?                         17   from. They simply report the amount. And, as you
 18       A. Yes.                                               18   know, there's a -- there's considerable variation in
 19       Q. Why is that important?                             19   the accuracy and completeness of this sort of
 20       A. Well, it's -- it's a bit of a strange criteria     20   methodological information across the peer-reviewed
 21   within this list. Toxicology information is a very        21   literature.
 22   broad term. In the case of a chemical like glyphosate     22       Q. How can a regulator determine exactly what's
 23   that's -- that's been subjected to substantial testing    23   being studied if the scientist doesn't report exactly
 24   over many years, you know, it's -- it's not feasible to   24   what type of glyphosate is being studied?
 25   expect any single journal article to review all the       25       A. This -- the EPA scientists would have to --


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  1   toxicology information. Depending upon the nature of       1   would have to see if adequate information was presented
  2   the study, toxicology information may not be important.    2   by the scientists publishing the study to quantify the
  3   Certain studies are designed to assess exposure, and       3   amount of pure glyphosate that the test organism was
  4   the actual biological impact of the exposure isn't         4   exposed to. If the scientist was convinced that
  5   important in such a study, a biomonitoring study, for      5   that -- that those calculations are credible and
  6   example.                                                   6   accurate, it wouldn't matter that much the -- the --
  7          So I think in general it's good for a study to      7   which form of glyphosate the -- the scientists
  8   report toxicological information, but it's certainly       8   conducting the study used in their experiment.
  9   not an absolute necessity in every study and -- and no     9         What they do have -- what does have to be
 10   study can cover all the toxicology information on a       10   accurately reported is if it's a -- if it's a test
 11   widely tested chemical. Clearly most scientists           11   focused on pure glyphosate and not on formulated
 12   publishing in the open literature would make an effort    12   product, but if the purpose of the test is to quantify
 13   to review the most relevant study of similar              13   some aspect of the toxicity of glyphosate, then the --
 14   experiments using similar organisms, similar design to    14   the scientists need to report how they -- how they
 15   see if the results of the present study confirm or are    15   established the dose level and the dose timing in
 16   not consistent with earlier reported findings.            16   the -- in the test system.
 17      Q. Sure. But how about knowing the toxicology          17       Q. Okay. So in order for EPA to properly screen
 18   information with respect to the amount of an active       18   articles in the open literature, they have to at least
 19   ingredient of glyphosate, for example, would that be      19   know the amount or the percentage of the active
 20   toxicology information you would want to know?            20   ingredient that is being studied, correct?
 21      A. I certainly wouldn't consider that toxicology       21       A. No. They would need to know the amount of the
 22   information. Toxicology is about the response of -- of    22   dose delivered to the test organism. They would have
 23   organisms to a -- to a xenobiotic. Information on the     23   to feel confident that that -- that amount was
 24   concentration of glyphosate in a -- in a test ration or   24   adequately reported.
 25   in a particular test, that's information that is          25       Q. If you go to the 13th criteria, this may be


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  1   what we were getting at here. It says: Adequate data       1   the test substance, the purity of the test substance,
  2   provided on the chemical tested, i.e., test article        2   the manufacturing process used, which chemical plant it
  3   characterization.                                          3   came from, even the lot number can all be important
  4         Why is it important, Dr. Benbrook, for there         4   information in -- in precisely identifying the -- the
  5   to be adequate data provided on the chemical tested for    5   presence of any impurities or particular
  6   a regulator screening open literature?                     6   characteristics of a batch of a -- of a pesticide,
  7       A. Because this -- this information is essential       7   sure. All of that is -- is relevant.
  8   to the calculation of the dose delivered to the test       8          But in -- in general, most of the
  9   organism.                                                  9   glyphosate -- the pure glyphosate that's been used in
 10       Q. Sir, if you turn to Section 3.2.1, a couple        10   toxicology studies are purchased from a handful of
 11   pages back?                                               11   laboratory supply companies that make such pure
 12       A. 3.2.1, study characterization?                     12   glyphosate available and -- and have appropriate
 13       Q. Yeah, it specifically says: Guidance for           13   quality control and testing procedures in place to
 14   evaluating the acceptability of open literature           14   assure that the product that they're selling to
 15   studies.                                                  15   scientists is as pure as -- as is technically feasible.
 16         Do you see that?                                    16       Q. The EPA guidance materials on reviewing open
 17       A. I see study characterization, 3.1.                 17   literature go on to note: If a solvent vehicle is
 18       Q. 3.2.1.                                             18   used.
 19       A. Okay. I'm there now.                               19          Do you see that?
 20       Q. Okay. It notes: Information that should be         20       A. Yeah.
 21   considered as important in determining the reliability    21       Q. First of all, what's a solvent vehicle?
 22   and utility of an open literature study and risk          22       A. Well, it could -- it's no doubt liquid in
 23   assessment includes the following, the first of which     23   which the active ingredient is -- is mixed or carried.
 24   is the nature of the test substance, correct?             24       Q. It notes: If a solvent vehicle is used, the
 25       A. Correct.                                           25   vehicle should not interfere with the absorption,


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  1       Q. Okay. It notes: The study needs to indicate         1   distribution, metabolism or the elimination of the test
  2   the exact nature and source of the pesticide, the          2   substance nor alter the behavior/response of test
  3   percent active ingredient and/or the purity of the test    3   organisms. Studies which use a solvent vehicle should
  4   compound should be reported.                               4   also include solvent vehicle controls.
  5          Why is that important, Dr. Benbrook?                5          Why is that important?
  6       A. It would -- it would always be important to         6       A. They want to -- the EPA wants to be able to
  7   know in calculating the dose delivered in a particular     7   differentiate between the innate toxicity of the pure
  8   study the percent of the active ingredient in -- in the    8   active ingredient relative to the solvent in which the
  9   chemical that was used in a particular study, and since    9   active ingredient is mixed, and so this is a -- this
 10   EPA is aware of the possible presence of one or more      10   would be a standard protocol for doing just that.
 11   toxic contaminant or metabolite in glyphosate-based       11       Q. Down on the next page it notes that the open
 12   herbicides, it certainly would want to know if -- if      12   literature studies should include the statistical
 13   there was any information about levels of impurities,     13   method used to derive end points.
 14   although it's certainly -- there's a great number of      14       A. Where -- where are you at?
 15   peer-reviewed papers on the toxicity of all pesticides    15       Q. Sorry. If you go to the next page, sorry,
 16   that don't include any information on -- on impurities    16   page 8.
 17   or -- or metabolites.                                     17       A. All right.
 18       Q. Okay. But you agree that if a study does not       18       Q. Okay. So at page 8 of this EPA guidance
 19   indicate the exact nature and source of the pesticide     19   document for considering open literature.
 20   or the percent of the active ingredient or the purity     20       A. Second bullet?
 21   of the test compound that's reported that it will have    21       Q. Yeah, for considering open literature studies
 22   difficulty using that study in assessing human health     22   it notes that it is important to know the statistical
 23   risk, correct?                                            23   method used to derive the test end points. You agree
 24       A. I would agree that in general the more             24   that's important, correct?
 25   information that's available on the -- the source of      25       A. Yes, sir.


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  1       Q. And you agree that one statistical method used      1       A. Yes.
  2   to derive end points may not be appropriate in any or      2       Q. And have you seen this before today?
  3   all circumstances, correct?                                3       A. Yes, I believe I have.
  4       A. Correct.                                            4       Q. Okay. When did you see it?
  5       Q. If you skip down to 3.2.3?                          5       A. It was -- it was probably before -- is this
  6       A. 3.2.3, okay, I'm there.                             6   the final one that -- I know there was ongoing
  7       Q. There's a -- there's a special note on              7   discussions about this over a period of time.
  8   epidemiologic data. Do you see that?                       8       Q. This is one that you would have received
  9       A. Yes, sir.                                           9   within the last week.
 10       Q. Okay. It notes: Recently OPP has developed         10       A. I -- I may have gotten it. I knew I had to be
 11   draft guidance for incorporating epidemiologic research   11   here on Tuesday and here I am.
 12   into the risk assessment process. OPP anticipates         12       Q. Okay. Well, within this is a document request
 13   increased use of these types of data in our risk          13   at the -- starting at page 4. Do you see that?
 14   assessment process as epidemiologic cohorts such as the   14       A. Yes.
 15   National Cancer Institute's Agricultural Health Study,    15       Q. And you're familiar with these document
 16   among others, continue to mature, increased time on       16   requests. In fact, you've produced responses to these
 17   study, and associations between pesticide use and         17   document requests in the past, correct?
 18   adverse cancer and noncancer outcomes are refined and     18       A. Correct.
 19   clarified.                                                19       Q. Okay. And did you re-review these document
 20          Were you aware that OPP has increasingly used      20   requests prior to your deposition today? And there's
 21   epidemiology studies in its risk assessment process?      21   some new ones in here. Did you review those?
 22       A. Yes, that's a general trend.                       22       A. No.
 23       Q. Okay. You're aware that EPA is going to            23       Q. Okay. Do you have any of your billing
 24   review epidemiology studies and then weight them          24   statements from the last deposition that's from May
 25   accordingly based on the quality of study, correct?       25   23rd going forward? You kept those, correct?


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  1       A. There's a considerable debate about the way         1       A. I have them. I don't have them with me.
  2   that EPA incorporates the results of epidemiology          2       Q. Okay.
  3   studies in their risk assessment process. The              3       A. I'm sure Mr. Litzenburg can get them sent in
  4   principal focus of the debate over the last five years     4   the next few minutes.
  5   as you probably know has been the epidemiological          5       Q. Okay. Along with those, you would also be
  6   studies on prenatal and early life exposures to the        6   willing to produce the other documents that are
  7   insecticide chlorpyrifos.                                  7   requested in this that you have not yet reviewed; is
  8          I -- I think it's fair to say that the agency       8   that correct?
  9   is -- is still working to refine how it's going to use     9       A. It's my understanding from my discussions with
 10   and rely on epidemiological studies. It's a -- it's an    10   Mr. Litzenburg that we already went over all of this in
 11   area of considerable controversy within the broader       11   the last deposition. This is really a continuation of
 12   pesticide regulatory and public health arena.             12   the earlier one so I didn't -- I'm not aware that
 13       Q. In its open literature guidance the EPA            13   I'm -- I'm supposed to provide anything new. You can
 14   specifically mentions the National Cancer Institute's     14   take it up with Tim.
 15   agricultural health study as an epidemiology study that   15       Q. Sure. If you look at Number 12 on page 5, is
 16   may refine and clarify cancer associations, correct?      16   it your testimony that since May 23rd, including since
 17       A. Yes, it does.                                      17   the last trial you testified at, that you haven't had
 18       Q. Dr. Benbrook, before we move on, I want to         18   any communications with Dr. Robin Mesnage, Dr. Michael
 19   mark as Exhibit 2...                                      19   Antoniou, Dr. Philip Grandjean, Dr. --
 20                (Deposition Exhibit 2 was                    20       A. I -- I can read it.
 21                marked for identification.)                  21       Q. Dr. Bruce Blumberg -- let me just read it for
 22       A. Are we done with 1?                                22   the record -- Dr. Anthony Samsel, Dr. Phillip
 23       Q. (BY MR. HOLLINGSWORTH) Yeah. Exhibit 2 is a        23   Landrigan, Dr. Stephanie Seneff or Carey Gillam
 24   notice of deposition for today's deposition. Do you       24   regarding glyphosate, glyphosate-based herbicides or
 25   see that?                                                 25   anything of that matter?


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  1              THE WITNESS: Tim, you want me to                1   few -- maybe three weeks ago, I don't know, I don't
  2   respond?                                                   2   remember exactly, when I had asked him a couple
  3              MR. LITZENBURG: You can respond. I'll           3   technical questions about the IARC working group
  4   stop it at some point.                                     4   process, and I had a short phone conversation with him
  5       A. Let's see. I've had short exchanges of emails       5   where he basically just said, you know, read the --
  6   a couple of times with Robin Mesnage. He was the           6   read the monograph. That's it.
  7   editor of a -- of a journal article that I published in    7       Q. Okay. So you had emails and a short phone
  8   Frontiers of Public Health. He was the person who was      8   conversation with Dr. Blair prior to giving testimony
  9   running the peer review, and I got an email from him       9   at trial with respect to glyphosate, correct?
 10   just the other day with his -- a new paper that he has    10       A. Yes.
 11   published with colleagues on comparing the toxicity of    11       Q. In those emails and conversations he gave you
 12   a variety of herbicides to the -- to the liver.           12   various advice and pointed you to references that
 13       Q. (BY MR. HOLLINGSWORTH) Including glyphosate?       13   provide further detail on IARC and the IARC process; is
 14       A. Yes, including glyphosate. It's -- it's out.       14   that correct?
 15   It's a published paper now. And I've had a couple of      15       A. Actually I called him after -- yeah, I called
 16   emails with Phil Landrigan. He -- Phil is the             16   him after I had testified and I specifically asked him
 17   chairperson of the science committee of a project that    17   about one passage in the IARC monograph, and he -- he
 18   I'm involved with on herbicides in the Midwest.           18   sent me an -- the citation to a 1990 journal article
 19       Q. Including glyphosate, correct?                     19   that he had done with a colleague at NCI talking about
 20       A. Including glyphosate. And I sent Carey Gillam      20   the method that they use -- that they used in the
 21   an email after learning of the verdict because I knew     21   agricultural health study in the early years to refine
 22   she was in Australia, and I've had no communications      22   their assessment of exposure to various pesticides.
 23   with any of the other individuals in this list.           23       Q. Okay.
 24       Q. Okay. So you sent Carey Gillam an email            24       A. Which I've --
 25   regarding the glyphosate trial verdict recently,          25       Q. Sorry.


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  1   correct?                                                   1       A. -- I've subsequently gotten a copy of but I
  2      A. Yeah, about 3:15 on Friday.                          2   haven't read yet.
  3      Q. Okay. So I'll ask you not to erase any of            3       Q. Okay. And have you spoken with Dr. Aaron
  4   these emails and to eventually produce those emails as     4   Blair about his thoughts on the recently released 2018
  5   requested in this notice of deposition.                    5   JNCI study, a cohort study on glyphosate?
  6             MR. LITZENBURG: We'll stand on our               6       A. No.
  7   objections from the prior one.                             7       Q. Okay. You haven't spoken to Dr. Blair about
  8      Q. (BY MR. HOLLINGSWORTH) Besides Carey Gillam          8   why his name doesn't appear on that publication?
  9   as an individual, have you had, if you look at 13, any     9       A. No. I -- I knew why his name didn't appear on
 10   communications with the US Right to Know, for example,    10   the publication. I didn't need to ask him.
 11   regarding glyphosate?                                     11       Q. Okay. And with respect to these other experts
 12      A. No.                                                 12   listed here, plaintiffs' experts, you haven't had
 13      Q. Okay. Have you had any communications with          13   any --
 14   the Organic Consumers Association with respect to         14       A. This is in 13?
 15   glyphosate?                                               15       Q. This is in 10.
 16      A. No.                                                 16       A. Oh.
 17      Q. Okay. And have you had any communications           17       Q. You haven't had any communications with
 18   with any of those groups with respect to glyphosate?      18   plaintiffs' other experts in this case?
 19      A. No.                                                 19       A. Well, I -- I met Dr. Sawyer at trial. He
 20      Q. Okay. And how about communications with             20   testified before me. That's the only time I'd ever met
 21   Dr. Blair, have you had any communications with           21   him, and I don't -- I don't know any of the other -- I
 22   Dr. Blair since our last deposition?                      22   don't think I've ever met Dr. Portier. He was -- he
 23      A. Who?                                                23   had left by the time I was down in San Francisco for
 24      Q. Dr. Aaron Blair.                                    24   the trial.
 25      A. Let's see. I had an email exchange with him a       25       Q. Okay. Is it fair to say you're not relying on


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  1   the opinions of any of these expert witnesses in           1   the past, although they have -- they have not played as
  2   forming your own opinions in this case?                    2   significant a role in, say, the last decade as they
  3       A. Correct. I mean, I certainly read the journal       3   did, say, in the decade of the '80s, but yes, their --
  4   articles that Dr. Portier or -- and/or others wrote        4   I think their science is held in -- generally in quite
  5   about the differences in the IARC and EPA assessments,     5   high regard.
  6   so to the extent that I have read them and that has        6       Q. If NTP released a study on glyphosate and
  7   informed my thinking, I guess I relied on it, but          7   glyphosate-based herbicides, that certainly would be
  8   it's -- these are publicly available peer-reviewed         8   something you're interested in as an expert in the
  9   publications, including publications that Dr. Blair is     9   field, correct?
 10   part of.                                                  10       A. Yes.
 11       Q. Okay. And in preparing for trial, were you         11       Q. Okay. Are you aware that NTP previously
 12   exposed to any additional Monsanto Company documents      12   reviewed glyphosate back in 1992?
 13   that you had not seen prior to trial?                     13       A. Yes, vaguely.
 14       A. There was a -- there was a second batch of         14       Q. Okay. And they concluded that glyphosate was
 15   documents that Mr. Travers put on the -- sent to you in   15   not mutagenic in any tests they ran?
 16   the reliance documents that was -- that occurred after    16       A. Correct.
 17   my -- certainly after my expert report and before the     17       Q. Okay. And they concluded glyphosate was not
 18   trial, so that -- that was the last batch of internal     18   genotoxic in any tests they ran?
 19   Monsanto Bates-numbered documents that I received.        19       A. Right, correct.
 20       Q. Okay, thank you. You can put that aside,           20       Q. And they concluded that in a rodent model I.V.
 21   Dr. Benbrook.                                             21   dose glyphosate was mainly secreted via the urine,
 22          Dr. Benbrook, you're familiar with the U.S.        22   right?
 23   Government agency NTP, correct?                           23       A. Correct.
 24       A. Yes.                                               24       Q. And those findings like all the findings from
 25       Q. National Toxicology Program?                       25   NTP underwent peer review, correct?


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  1       A. Correct.                                            1       A. Yes, their internal process, yes.
  2       Q. Okay. It's independent from EPA and other           2       Q. Okay. And the IARC findings, those didn't
  3   regulators; is that your understanding?                    3   undergo peer review, did they?
  4       A. Yes.                                                4       A. No. The IARC process entails a working group
  5       Q. You cite the NTP in your expert report,             5   of -- I think in this case it was 15 or 16 scientists.
  6   correct?                                                   6   In effect, I guess they sort of serve as their own peer
  7       A. Oh, I would imagine in some extent.                 7   review.
  8       Q. Okay. In your prior publications you've             8       Q. Right. But they don't -- the IARC -- IARC
  9   recommended that entities independent of regulators        9   findings don't undergo formal peer review in the sense
 10   such as NTP prioritize glyphosate and glyphosate-based    10   that independent scientists are reviewing the quality
 11   herbicides for hazard assessments, correct?               11   of the work and making comments and suggestions and
 12       A. Correct.                                           12   ultimately determining whether or not that work gets
 13       Q. Okay. And you've been scanning the literature      13   published, correct?
 14   I believe as you testified previously for new articles    14       A. Correct.
 15   that come out on -- with respect to the science           15       Q. And, in fact, NTP decided it wasn't necessary
 16   surrounding glyphosate, especially genotoxicity           16   to do a two-year bioassay. Do you recall that?
 17   articles. Is that fair?                                   17       A. No.
 18       A. Well, certainly genotox, any animal bioassays      18       Q. Okay.
 19   and any epidemiological studies. In fact, there was a     19       A. I don't remember the -- the details of the NTP
 20   brand new one today in my inbox.                          20   decision process relative to continuing to do more work
 21       Q. And you agree that the National Toxicology         21   on glyphosate back in the early '90s when they did the
 22   Program, the NTP, does an -- excellent work in            22   limited amount of genotox work on it that they did.
 23   toxicology. Is that fair?                                 23       Q. Did you review the section from the 2017
 24       A. Their work is -- is highly regarded. It's          24   OPP-issued paper on the carcinogenic potential of
 25   played a role in the regulation of many pesticides in     25   glyphosate with respect to EPA's collaboration with NTP


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  1   to study the genotoxicity of glyphosate formulations?           1       Q. And what is that?
  2     A. The 2017 or the 2016?                                      2       A. It's a professional organization that -- whose
  3     Q. I believe they both refer to it, but either,               3   membership is principally composed of toxicologists
  4   you're familiar with that generally?                            4   both from industry and in public service and regulatory
  5      A. I spent by far the most time with the 2016                5   agencies, and they -- their mission is to improve and
  6   paper because it's by far the most thorough, but I also         6   refine the -- the art of the toxicological sciences.
  7   read the 2017.                                                  7       Q. Have you ever attended one of their annual
  8      Q. Okay. You'll recall that the 2016                         8   meetings?
  9   carcinogenic issue paper on glyphosate, that that               9       A. I don't think so.
 10   discusses EPA working with NTP to study glyphosate             10       Q. Are you aware that NTP conducted some of the
 11   formulations?                                                  11   studies discussed in this 2017 issue paper and
 12      A. It's a very short discussion, yeah.                      12   presented some of those studies at the 2018 Society of
 13      Q. You recall that?                                         13   Toxicology annual meeting?
 14      A. A couple sentences.                                      14       A. No, I haven't seen that.
 15      Q. Okay.                                                    15             MR. HOLLINGSWORTH: We'll mark as
 16      A. And the NTP genotox work appears in the                  16   Exhibit 4 an abstract titled Effects of Glyphosate and
 17   tables, the detailed tables in the 2016 paper, but             17   Its Formulations on Markers of Oxidative Stress and
 18   with -- you know, no more -- no more attention than any        18   Cell Viability in Heparg and Hacat Cell Lines.
 19   of the other 40-plus reverse bacterial mutagenicity            19              (Deposition Exhibit 4 was
 20   assays done at the time.                                       20              marked for identification.)
 21             MR. HOLLINGSWORTH: Let's go ahead and                21       Q. (BY MR. HOLLINGSWORTH) First off,
 22   mark this now as Exhibit 3.                                    22   Dr. Benbrook, do you know any of these authors listed,
 23             (Deposition Exhibit 3 was                            23   these study authors?
 24             marked for identification.)                          24       A. No.
 25      Q. (BY MR. HOLLINGSWORTH) This is the OPP-issued            25       Q. Okay. This study conducted by NTP would be


                                                          Page 487                                                Page 489
  1   paper on the carcinogenic potential of glyphosate,              1   conducted according to GLP specs, correct?
  2   correct, Dr. Benbrook?                                          2       A. You know, I -- I have not seen or read
  3      A. Yes, sir.                                                 3   anything about the study. I assume this is an abstract
  4      Q. Okay. If you turn to page 145.                            4   that was presented at the Society of Toxicology
  5      A. Okay.                                                     5   meeting. Is that what you're representing it as?
  6      Q. That is the section titled Collaborative                  6       Q. Correct. And I can mark another exhibit to
  7   Research Plan for Glyphosate and Glyphosate                     7   show you that if you would like.
  8   Formulations. Do you see that?                                  8       A. No, I'll take your word for it. Let me read
  9      A. Correct.                                                  9   it, please.
 10      Q. And that's talking about the NTP studies that            10       Q. Sure.
 11   we were just mentioning in the last testimony, correct?        11       A. (Witness reading document.) Geez. Okay.
 12      A. That presumably have been ongoing for a while.           12   I've read it.
 13      Q. Okay. The first objective of the NTP research            13       Q. Having read this abstract on the NTP study,
 14   mentioned there is to compare the toxicity of                  14   you're generally familiar with what it's about,
 15   glyphosate vs. formulations as well as compare                 15   correct?
 16   formulations vs. formulations. Were you aware of that          16       A. Well, to the -- it's not a lot of details on
 17   objective?                                                     17   the methodology or the -- there's no real information
 18      A. Yes.                                                     18   on the statistics, but in general they've described
 19      Q. So in lay terms, NTP and EPA are going to                19   what they've done in I assume the early stages of their
 20   study if glyphosate alone is more or less toxic than           20   work in -- on glyphosate and glyphosate formulations.
 21   the formulated product; is that correct?                       21       Q. Okay. In general it's what we were talking
 22      A. Yes.                                                     22   about earlier, it's the research to compare the
 23      Q. Okay. Are you familiar with the Society of               23   toxicity of glyphosate vs. formulations, correct?
 24   Toxicology?                                                    24       A. Right.
 25      A. Yes.                                                     25       Q. And what NTP concluded after running their own


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  1    GLP experiments was that glyphosate did not induce        1   findings by NTP in 2018 based on studies that they ran
  2    oxidative stress, correct?                                2   are contrary to the overall conclusion by the IARC
  3        A. In this -- in these cell lines, yes.               3   working group, correct?
  4        Q. And what NTP scientists concluded after            4      A. They -- I don't know if the IARC working group
  5    running experiments was that glyphosate formulations      5   had -- I'd have to go back and look to see if there
  6    only induced oxidative stress at doses high enough to     6   were assays done with these particular cell lines. I
  7    induce cytotoxic effects, correct?                        7   can't -- I can't answer that question, but in general,
  8        A. That's not stated in this -- you're saying         8   the IARC working group felt based on the totality of
  9    that that's what they reported? If they reported it,      9   the studies that it reviewed, and as Dr. Parry also
 10    it's not in this abstract.                               10   concluded earlier, that there's evidence that a
 11        Q. Okay. At the bottom of the abstract it notes:     11   glyphosate and in particular formulated glyphosate
 12    In addition, the formulations marginally increased       12   herbicides can induce genotoxicity through oxidative
 13    oxidative stress only after significant loss of cell     13   stress mechanism.
 14    viability.                                               14      Q. Right. These findings by NTP in 2018 based on
 15          Do you see that?                                   15   studies they conducted are contrary to IARC's
 16        A. Yep, yep.                                         16   conclusion that there's evidence that a glyphosate and
 17        Q. Okay. So what NTP concluded in this 2018          17   in particular formulated glyphosate herbicides can
 18    study is that glyphosate formulations only induced       18   induce genotoxicity through oxidative stress mechanism,
 19    oxidative stress at doses high enough to include         19   correct?
 20    cytotoxic effects, right?                                20      A. They are -- this is a -- a preliminary report
 21        A. Okay, all right, I'll accept that                 21   on some genotox assay systems carried out by NTP that
 22    characterization.                                        22   did not report any oxidative stress except at very high
 23        Q. Okay. And those findings are contrary to the      23   doses where they suggest that the -- the impact may be
 24    IARC working group findings, aren't they?                24   caused by loss of cell viability. That is what this
 25        A. Well, the IARC working group findings are         25   study is, it is -- it does not refute the overall


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  1   based on a -- a much broader array and diversity of        1   judgment of the IARC working group, however, if that's
  2   genotox assays, several of which did report oxidative      2   what you're suggesting.
  3   stress, indications of oxidative stress. And, you          3       Q. But the IARC working group didn't conduct its
  4   know, there are no -- no -- no scientists nor the EPA      4   own studies, did it?
  5   would -- would rely on a single genotox assay to -- in     5       A. No.
  6   reaching a determination. Each of these assay systems      6       Q. But NTP did conduct its own study here,
  7   is sensitive to a particular type of cellular or           7   correct?
  8   metabolic response, and none of them is capable of         8       A. Correct.
  9   detecting all such responses.                              9       Q. EPA's final report on the carcinogenic
 10         So it's a -- in evaluating the genotoxicity of      10   potential of glyphosate, that's - that's not out yet,
 11   both pure glyphosate and glyphosate formulations, it is   11   is it?
 12   important to look at the full array of in vivo and in     12       A. Not that I'm aware of.
 13   vitro assays of which this work by the NTP will -- will   13       Q. Okay. But as we've seen in the two draft
 14   be a part -- part of.                                     14   reports from 2016 and 2017, EPA's position is that
 15         It also states based on GLY concentrations          15   glyphosate is not likely to be carcinogenic, correct?
 16   these mixtures were over 1,000 times more potent than     16       A. Its conclusion is that exposure to glyphosate
 17   GLY alone. I'm not exactly sure, I assume that's          17   for the general public at expected levels of exposure
 18   referring to the altered microchondrial [phonetic]        18   is not likely to pose an oncogenic risk.
 19   membrane potential impact or mechanism of genotoxicity.   19       Q. You testified at your last deposition that
 20   So it's -- it's certainly clear that while this           20   EPA's final report may be different based on its review
 21   particular assay run by NTP did not produce evidence of   21   of modern genotox tests on the formulated product. Do
 22   an impact on oxidative stress or reactive oxygen          22   you recall that generally?
 23   species, it -- it did report other evidence of            23       A. Yes.
 24   heightened toxicity of the formulations.                  24       Q. Would you -- would you not consider this NTP
 25       Q. And these findings are contrary -- these           25   study from 2018 to be one of those modern genotox


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  1   studies on the formulated product?                         1              marked for identification.)
  2       A. I would, and it's one of -- I would say in the      2       Q. (BY MR. HOLLINGSWORTH) Allow you to refer to
  3   last month I'm aware of four or five new genotox           3   it. Now, Dr. Benbrook, this is your report for the
  4   studies that have been published. This has not been        4   glyphosate litigation, correct?
  5   published to my knowledge. So, you know, the -- the        5       A. Correct.
  6   database on which EPA and other regulators and             6       Q. Okay. And you are relying on this report with
  7   independent scientists can draw and should draw in         7   respect to this case here that you're testifying in,
  8   evaluating the genotoxicity and carcinogenic potential     8   correct?
  9   of glyphosate is rapidly expanding, both in scope and      9       A. Certainly.
 10   quality.                                                  10       Q. Okay. So certainly the time that you put in
 11       Q. Okay. So this NTP study on glyphosate and          11   to drafting this report, reviewing this report would go
 12   glyphosate-formulated products is one of the modern       12   towards your deposition here today for this
 13   genotox studies that you discuss in your report,          13   Peterson/Hall case, correct?
 14   correct?                                                  14       A. In what sense do you mean "time"?
 15       A. Yes, yes.                                          15       Q. The time that you spent drafting and reviewing
 16       Q. Okay. And EPA is certainly going to consider       16   your report you're using today as foundational
 17   this NTP study on glyphosate and glyphosate               17   expertise for your testimony in the Peterson/Hall case,
 18   formulations based on what they've noted here in the      18   correct?
 19   2017 issue paper, correct?                                19       A. Correct.
 20       A. I certainly would expect them to, yes.             20       Q. Okay. Now, if you go to paragraph 614 of your
 21       Q. Did you submit a comment to EPA to make sure       21   report, are you there, Doctor?
 22   the modern genotoxicity tests on the formulated product   22       A. Yes.
 23   that you discuss in your report should be considered      23       Q. Okay. That paragraph talks about EPA employee
 24   with great importance with respect to glyphosate's        24   Jess Rowland, correct?
 25   registration review?                                      25       A. Correct, yeah.


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  1      A. I remember submitting an email comment at some       1      Q. Okay. And specifically it talks about Rowland
  2   point in the process and I probably did talk about the     2   with respect to the October 2015 Cancer Assessment
  3   importance of the genotox database and the differential    3   Review Committee or CARC conclusion. Do you see that?
  4   toxicity, but it was certainly a while ago. I don't        4      A. Correct.
  5   recall the details.                                        5      Q. Okay. And your statement here is that EPA
  6      Q. The email comment, are you referring to a            6   violated their own cancer assessment guidelines in
  7   comment that was submitted directly to an EPA employee     7   conducting -- in concluding that glyphosate was not
  8   or --                                                      8   likely to be carcinogenic to humans; is that correct?
  9      A. Yeah -- no, no, to a -- the comment on a             9      A. Correct.
 10   proposed rule or something.                               10      Q. Okay. And you specifically cite a May 2, 2016
 11      Q. Okay. It was a proposed rule whether it's           11   email with Jim Jones, assistant administrator to EPA,
 12   something to do with the registration review or           12   and Gina McCarthy, administrator to EPA, correct?
 13   something else?                                           13      A. Correct.
 14      A. Yeah, it was a -- it was a while ago. I             14      Q. Okay. And in that email it states the
 15   don't -- I don't remember the exact circumstance.         15   assessment was not consistent with the agency's
 16      Q. Okay. It may have been a tolerance, proposed        16   guidelines, correct?
 17   tolerance?                                                17      A. Correct.
 18      A. Could have been a tolerance proposal, yeah.         18      Q. Okay. That opinion is based on an email
 19      Q. Okay. Dr. Benbrook, let's -- do you have a          19   between EPA employees from May of 2016, correct?
 20   copy of your report with you?                             20      A. Well, it's certainly one of the -- one of the
 21      A. No.                                                 21   sources that I took into account in making that
 22      Q. Let's mark this as Exhibit...                       22   statement, but there are many people that have made the
 23             COURT REPORTER: 5.                              23   point that in various aspects of EPA's assessment of
 24             MR. HOLLINGSWORTH: 5.                           24   the animal carcinogenicity database the agency has not
 25              (Deposition Exhibit 5 was                      25   followed their -- their own guidelines. It's a --


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  1   that's an issue that's come up in multiple SAP             1   Rowlands managed the CARC process in a -- to a
  2   meetings. It's covered in multiple peer-reviewed           2   significant degree, that he -- in some of his email
  3   articles. It's discussed in a variety of different         3   communications with Monsanto, he made it pretty clear
  4   places and debated.                                        4   that he had that process, you know, under control. So
  5             MR. HOLLINGSWORTH: Let's mark as                 5   I -- you know, I -- to me, the record seems pretty
  6   Exhibit 6.                                                 6   clear that Rowland had a -- for one thing, he was
  7             (Deposition Exhibit 6 was                        7   the -- the chair, the convener of the CARC and -- and
  8             marked for identification.)                      8   he was clearly an important driver of the outcome.
  9      Q. (BY MR. HOLLINGSWORTH) This is an email you          9   Certainly he felt that he was in some of his
 10   discussed in your report, Dr. Benbrook?                   10   communications, and as did some of the other EPA staff.
 11      A. Okay. I didn't see these "Exhibit 5 -               11   They seemed to, for better or worse, give Rowland
 12   Deliberative Process" on it, but I'll take your word      12   considerable credit or blame, depending upon your point
 13   for it.                                                   13   of view, for the outcome of that review.
 14      Q. Okay. Have you ever spoken with any of the          14       Q. Right. But nowhere in the record that you
 15   EPA employees on this email since May of 2016?            15   reviewed have you seen it explicitly stated that
 16      A. No.                                                 16   Mr. Rowland violated any EPA guidelines when he and the
 17      Q. Have you ever spoken with any of the employees      17   CARC concluded that glyphosate is not likely to be
 18   on this EPA email since you wrote your report?            18   carcinogenic in 2015, correct?
 19      A. No.                                                 19       A. The -- all of the statements about EPA's
 20      Q. Okay. And you haven't spoken with these             20   failure to follow its own guidelines are relative to
 21   employees about any of the issues in this litigation      21   the agency's evaluation of the animal bioassay studies.
 22   since you wrote your report, correct?                     22   It's not just Rowland's evaluation, it's the EPA's.
 23      A. That's correct.                                     23   But given Rowland's direct and managerial role in -- in
 24      Q. Okay. Now, in your expert report at paragraph       24   the CARC and both his and the statements of other
 25   614 you note: In conducting this review apparent          25   people about the importance that he -- that his -- his


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  1   EPA -- Rowland apparently violated EPA's own cancer        1   contributions to that -- in that process, to me it's --
  2   assessment guidelines in concluding that glyphosate was    2   it's clear that he played a -- you know, an outsized
  3   not likely to be carcinogenic to humans.                   3   and important role in the agency actions that many
  4         How do you -- how are you coming to the              4   people regard as inconsistent with their guidelines.
  5   conclusion that it was Rowland that violated EPA's         5       Q. And, Dr. Benbrook, I'm asking an explicit
  6   guidelines?                                                6   question. Nowhere in the materials you reviewed have
  7       A. Well, I suppose -- I suppose you could lay the      7   you seen it stated that Mr. Rowland violated EPA's
  8   responsibility on the full CARC of which I think he was    8   guidelines in any way, have you?
  9   the staff leader for, but there's certainly other          9       A. I don't recall seeing that specific statement.
 10   evidence in the discovery record that Rowland played      10       Q. Nowhere in the email that you rely on here
 11   a -- a significant and leadership role in the agency's    11   does it state that EPA violated its guidelines by
 12   assessment and ultimate decision on the carcinogenicity   12   concluding that glyphosate was not likely to be
 13   of glyphosate.                                            13   carcinogenic to humans, correct?
 14       Q. Okay. But there's nothing in this email on         14       A. Well, Jim Jones states that the assessment was
 15   which you're relying for your opinion that specifically   15   not consistent with the agency's guidelines. I don't
 16   notes that Rowland violated guidelines in any way, does   16   know what could be clearer than that.
 17   it?                                                       17       Q. Well, the email that you're relying on for
 18       A. No. It doesn't say -- it doesn't specifically      18   that opinion doesn't explicitly state that EPA violated
 19   highlight Mr. Rowlands as the individual responsible      19   guidelines in concluding that glyphosate was not likely
 20   for that.                                                 20   to be carcinogenic to humans, does it?
 21       Q. Okay. And there's no materials cited in your       21       A. Well, I interpreted the statement "assessment
 22   expert report that definitively say that Mr. Rowland      22   was not consistent with agency's guidelines" as the
 23   violated any EPA cancer assessment guidelines with        23   functional equivalent of violated the guidelines.
 24   respect to the 2015 CARC report, correct?                 24       Q. EPA has tons of guidelines for all different
 25       A. Well, the -- the record is very clear that         25   issues and scientific reviews, correct?


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  1      A. Correct.                                             1   violated any EPA regulations or guidelines with respect
  2      Q. EPA has guidelines for mundane purposes such         2   to the scientific review of the 2015 CARC report on
  3   as how to format various reports, right?                   3   glyphosate, does it?
  4      A. Yes.                                                 4       A. It doesn't refer to any specific employee, no.
  5      Q. EPA has guidelines with respect to layers of         5       Q. It could be any or none of those things with
  6   bureaucratic review of a scientific report like the        6   respect to the guidelines discussed in this email on
  7   CARC has to go through, correct?                           7   which you rely, correct?
  8      A. Correct.                                             8       A. I suppose.
  9      Q. EPA has guidelines that provide instruction          9       Q. Okay. So you're speculating when you testify
 10   and guidance for EPA scientists in determining whether    10   in your report that EPA apparently violated its
 11   or not something may be carcinogenic or not, correct?     11   guidelines in concluding that the CARC report -- and in
 12      A. Correct.                                            12   the CARC report that glyphosate was not likely to be
 13      Q. We reviewed some of those at your last              13   carcinogenic to humans, weren't you?
 14   deposition, correct?                                      14       A. No.
 15      A. And this one.                                       15       Q. The fact that you state in your expert report
 16      Q. Okay. But specifically the 2005 cancer              16   that EPA apparently violated its own cancer assessment
 17   guidelines, we reviewed those at your last deposition,    17   guidelines speaks to the fact that you don't know
 18   correct?                                                  18   exactly what guidelines are being discussed in this
 19      A. Correct.                                            19   email on which you relied, doesn't it?
 20      Q. This EPA email on which you're relying, it          20       A. It's a relatively brief email from Jim Jones
 21   doesn't state what guidelines were violated with          21   to the administrator of EPA noting with some alarm that
 22   respect to the release of the CARC report, does it?       22   the -- a draft of this CARC assessment had been
 23      A. I would agree with that, yes.                       23   released that was, quote, not consistent with agency
 24      Q. This EPA email from Tim Burke to the EPA            24   guidelines. I think it's -- any reasonable person
 25   administrator does not state that the cancer guidelines   25   reading this email would surmise that it's got


                                              Page 503                                                       Page 505
  1   were violated with respect to the release of the CARC      1   something to do with agency guidelines about the cancer
  2   report, does it?                                           2   assessment process or the managing of documents about
  3      A. This -- the email was from Jim Jones.                3   the cancer assessment process. The email in the
  4      Q. Who did I say, Tim Burke?                            4   earlier part of it notes, for example, that the EPA had
  5      A. Yeah.                                                5   not had the -- appropriate consultations with the USDA
  6      Q. Let me restate the question. This email from         6   and would not -- would not release the final assessment
  7   Jim Jones to the EPA administrator does not state that     7   until it had gone through various interagency
  8   the Cancer Assessment Review Committee guidelines were     8   communication processes that are -- are standard.
  9   violated with respect to the release of the CARC           9         But this -- this statement, it does not exist
 10   report, does it?                                          10   in a vacuum. There is substantial discussion
 11      A. No, it just says agency guidelines.                 11   throughout the record, substantial discussion in the
 12      Q. Okay. This email from Jim Jones to the EPA          12   open literature, there was substantial discussion of
 13   administrator does not state that the cancer guidelines   13   adherence to agency guidelines in at least two SAP
 14   were violated with respect to the CARC report, correct?   14   meetings about the fact that, for example, the -- one
 15      A. That's what you just asked.                         15   of the issues of debate was whether the maximum
 16      Q. I asked about the Cancer Assessment Review          16   tolerated dose was exceeded in the 1983 biodynamics
 17   Committee guidelines.                                     17   mouse study or any of the other two-year chronic
 18      A. Okay. I would give the same answer.                 18   oncogenicity feeding studies.
 19      Q. This email from Jim Jones to the EPA                19         It's an issue of -- that had been under debate
 20   administrator does not state that any specific            20   between the agency, Monsanto and -- and independent
 21   procedural guidelines were violated with respect to the   21   scientists that the EPA had sought advice of for 15
 22   release of the CARC report, does it?                      22   years and it continues to be, I think, a debate to this
 23      A. It just states agency guidelines.                   23   day of whether the top dose rate in the -- in either
 24      Q. Okay. This email from Jim Jones to the EPA          24   the 1983 mouse study or other oncogenicity studies
 25   administrator does not state that any EPA employees       25   exceeded the maximum tolerated dose. Several people


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  1   argue that it did not because the survival rate in the     1       Q. Nowhere in this email does it note that he's
  2   top dose -- in the high dose group was either the same     2   referring to the cancer bioassay guidelines in any way,
  3   or actually better than some of the lower dose groups,     3   correct?
  4   and there was also clear evidence supported by some of     4       A. It's not explicitly stated, but I think it's
  5   the SAP meetings that some of the animal bioassays did     5   quite clear from the construction of the sentence.
  6   not approach the maximum tolerated dose and, therefore,    6       Q. So you make several allegations in your report
  7   were -- were -- should -- not as much weight should be     7   about Mr. Jess Rowland at EPA, correct?
  8   placed on them.                                            8       A. There's a few, a short section.
  9         So adherence to the agency guidelines around         9       Q. You specifically say that he violated agency
 10   the design of a -- of two-year cancer feeding studies     10   guidelines in some way, correct?
 11   and assuring that the maximum dose is at or close to      11       A. I suggest that his stated effort to discourage
 12   the maximum tolerated dose was a -- an agency guideline   12   the ASTDR [sic] from putting out its assessment of
 13   that has been extensively discussed in the record for     13   glyphosate oncogenicity in his email to Monsanto
 14   15 years.                                                 14   officials where he says he should get a medal if he
 15       Q. Are you finished?                                  15   could kill that study was a -- very inappropriate, and
 16       A. Yeah.                                              16   I don't think I've ever seen anything quite like that
 17       Q. With respect to this email and Jim Jones'          17   in my years of tracking developments in OPP.
 18   statement to the administrator that agency guidelines     18       Q. Right. But you haven't seen an email like
 19   may have been violated, it might have just referred to    19   that from Jess Rowland where he states, "If I kill this
 20   the fact that the final report was released prior to      20   I should get a medal," you've never seen that email,
 21   another part of the agency or another agency within the   21   have you?
 22   U.S. Government having a chance to review that study,     22       A. Oh, yes, I have.
 23   correct?                                                  23       Q. Okay. So it's your testimony that Jess
 24       A. I suppose that might be possible, yes.             24   Rowland wrote an email to somebody at Monsanto stating,
 25       Q. Okay. And just because the report was              25   "If I kill this, I should get a medal." Is that


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  1   released on a certain date doesn't mean that when it       1   correct?
  2   was signed on October 1, 2015, that that report wasn't     2      A. That's what Jess Rowland states.
  3   final as of that time, correct?                            3      Q. Okay.
  4       A. Can you restate that question. It's a little        4      A. And I'm quite sure you know the email.
  5   convoluted.                                                5      Q. Okay. So your statement is that he wrote that
  6       Q. Sure. You've reviewed -- you've reviewed            6   email, correct?
  7   plenty of EPA memoranda, risk assessments, CARC            7             MR. LITZENBURG: Asked and answered.
  8   reports, correct?                                          8      A. Yeah, it's cited in here.
  9       A. Yes.                                                9      Q. (BY MR. HOLLINGSWORTH) Okay. And
 10       Q. Okay. And the date that those CARC reports         10   specifically in your report, besides the allegations
 11   are signed, that's final as of that group of CARC         11   you're making about ATSDR, you note that Rowland
 12   scientists reviewing the product, that's final            12   apparently violated EPA's own cancer assessment
 13   according to them, correct?                               13   guidelines, correct?
 14       A. Yeah, the date -- the date a particular action     14      A. To the extent that Rowland was responsible for
 15   is completed.                                             15   the work, the -- the final CARC report, and as I said,
 16       Q. Okay. So the fact that other branches of the       16   there's a number of items in the record that suggest to
 17   EPA or other agencies within the U.S. Government might    17   me that he had a significant role in managing and --
 18   review a report, that doesn't make it any less final as   18   and guiding the outcome of that committee, so yeah, I
 19   far as the CARC committee goes?                           19   think it's fair to credit him with the contribution he
 20       A. I suppose that may be true, but again, this        20   made to that outcome.
 21   statement in the Jim Jones email refers to agency         21      Q. All right. And there's 13 other scientists,
 22   guidelines, and I think it's clear from the use of        22   13 scientists in total from the EPA who signed the CARC
 23   those terms that he's referring to the cancer bioassay    23   report, correct?
 24   guidelines and not some internal decision or signoff      24      A. I'd have -- I think that's about the correct
 25   process which is, I think, what you're suggesting.        25   number of which I think ten -- ten or so concurred and


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  1   two didn't and one didn't sign or something like that.     1       Q. And you prepared extensively for trial,
  2   I don't remember the exact details. I'm sure you're        2    correct?
  3   going to probably pull it out later and we can --          3       A. I did.
  4      Q. If all 13 scientists concurred on the report,        4       Q. Mr. Rowland is not a party to this case,
  5   then you would be willing to take back that testimony,     5    correct?
  6   correct?                                                   6       A. Yes, that's correct.
  7      A. No.                                                  7       Q. He did not -- that's correct?
  8            MR. LITZENBURG: Objection to form.                8       A. Yeah.
  9      Q. (BY MR. HOLLINGSWORTH) No, you wouldn't?             9       Q. He does not work for Monsanto, right?
 10      A. No.                                                 10       A. I have no knowledge of whether he works for
 11      Q. So if all 13 EPA scientists on the CARC report      11    Monsanto or not either directly or indirectly, I don't
 12   concurred, then you would still testify that two of       12    know.
 13   them did not concur, correct?                             13       Q. Okay. At the time he was at EPA here he did
 14      A. I would be glad to discuss the document. I          14    not work for Monsanto, correct?
 15   remember quite clearly, and it's -- it's certainly not    15       A. No, he wasn't paid by Monsanto to my
 16   my memory of the document that all of the scientists      16    knowledge.
 17   who were participating in that review concurred. I        17       Q. Okay. And you have no knowledge indicating
 18   believe that there was -- there were a few that did       18    that Mr. Rowland has at any time worked for Monsanto,
 19   not.                                                      19    correct?
 20      Q. Is it important to you that all the scientists      20       A. I -- I have no knowledge about whether he did
 21   on a CARC panel concur with the conclusion?               21    or did not.
 22      A. Certainly in most of the -- most of the CARC        22       Q. Okay. I take it you still haven't read
 23   reviews that I -- I've studied in detail over the         23    Mr. Rowland's deposition in this case?
 24   years, unanimity is typically the -- the outcome. It's    24       A. No, I didn't.
 25   unusual -- it's unusual for there to be some scientists   25       Q. Okay. So you disparage this lifelong public


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  1   that -- that disagree with the judgment of the rest of     1   employee in your report and in your testimony, but you
  2   the committee. It happens, but it's unusual.               2   don't have -- think he deserves the time for you
  3       Q. Okay. But you've certainly reviewed some CARC       3   reviewing his testimony before making those
  4   reports in which they are reviewing a pesticide and not    4   allegations?
  5   all the scientists on that CARC panel agree that it's      5      A. Absolutely not, given what I read in the
  6   noncarcinogenic, correct?                                  6   record about his actions and his statements and -- and
  7       A. I -- I cannot think of another example sitting      7   the role that he played in the review of glyphosate
  8   here today other than glyphosate.                          8   oncogenicity. I didn't -- I felt there was more than
  9       Q. You echoed and provided some more detail on         9   enough in the record that I reviewed to determine that
 10   the allegations about Mr. Rowland both in your last       10   Mr. Rowlands was exceedingly deferential to Monsanto
 11   deposition and at trial; is that correct?                 11   and doing everything he could to support a outcome from
 12       A. No, there was nothing at trial about               12   the EPA review that aligned with Monsanto's hopes and
 13   Mr. Rowland.                                              13   desires. To me, the -- Rowland's role in this is quite
 14       Q. Okay, sorry. At your last deposition,              14   clear without reading his deposition.
 15   correct?                                                  15      Q. Do you claim that Mr. Rowland manipulated the
 16       A. I --                                               16   CARC to get a favorable result for Monsanto?
 17       Q. That's from May 23rd?                              17       A. It's -- you know, it's hard to say exactly
 18       A. It was a very long deposition, sir. I don't        18   what he did, but the -- it's clear from the record that
 19   remember if Rowland came up or not.                       19   he defended the -- the agency's position and
 20       Q. Okay. That's fair. It's been about three           20   classification of glyphosate throughout the process,
 21   months since your last deposition, correct?               21   and in particular, you know, when -- you know, as the
 22       A. Yeah, about that.                                  22   IARC working group came out he -- you know, he was part
 23       Q. Okay. And you recently testified at trial in       23   of the communications between Monsanto and EPA to try
 24   one of these Roundup cases, correct?                      24   to assure that EPA was quite public in its disagreement
 25       A. Correct.                                           25   with the IARC classification. There was a rapport and


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  1   a familiarity evidenced in the communications between     1   conversations.
  2   Rowlands and Monsanto officials that to me spoke to       2       Q. But you haven't reviewed Mr. Rowland's
  3   a -- a relationship that was very unusual and in my       3   deposition, correct?
  4   opinion inappropriate for a public servant working in     4       A. That's what I previously answered, yes.
  5   the Office of Pesticide Programs.                         5       Q. And if he testified in his deposition that he
  6       Q. So there's certainly nothing wrong with the        6   hardly had any interactions with employees from
  7   EPA or EPA employees defending their position and         7   Monsanto, you wouldn't credit that testimony; is that
  8   scientific review and classification of a pesticide       8   correct?
  9   they're reviewing, is there?                              9       A. No, I think the -- the record is -- is clear
 10       A. No, nothing wrong with it at all.                 10   that he did have extensive interactions with Monsanto.
 11       Q. Do you claim that Mr. Rowland somehow             11   After all, one of the heads of the Washington office in
 12   manipulated the CARC or other aspects of EPA's review    12   an email to colleagues said that, quote/unquote, "We
 13   of glyphosate for money or for the expectation of some   13   all know Jess," which certainly implied to me a level
 14   reward from Monsanto?                                    14   of familiarity and comfort with communicating with
 15       A. I have no way to make that -- that judgment.      15   Rowlands about what's going on in the agency and in the
 16   It's clear that Monsanto officials anticipated that      16   review, and, you know, I think that there's -- that the
 17   upon Jess Rowland's retirement he could be helpful to    17   record speaks for itself about the position that
 18   them as a consultant of some sort in future defense      18   Rowland took relative to the oncogenicity of glyphosate
 19   of -- of glyphosate. The level of both familiarity and   19   and relative to the EPA's ongoing role in that
 20   confidence in Rowland's views about glyphosate           20   scientific assessment.
 21   expressed by Monsanto officials based on the             21       Q. So your opinion that Rowland and Monsanto had
 22   interactions between those officials and Rowlands        22   extensive interactions is based entirely on Monsanto
 23   pointed to a -- a relationship that I found to be very   23   Company emails rather than Mr. Rowland's testimony,
 24   troubling and unusual.                                   24   correct?
 25       Q. There's nothing in the record that explicitly     25             MR. LITZENBURG: Object to form.


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  1   states that Mr. Rowland received any sort of              1      A. Well, there's certainly other -- other
  2   compensation for his review or EPA's review of            2   evidence in the -- in the record. There was a letter
  3   glyphosate, correct?                                      3   that a former EPA staff scientist wrote, a woman that
  4      A. I'm not aware of any such evidence.                 4   had worked with Rowland that pleaded with him to follow
  5      Q. Do you claim that Mr. Rowland violated his          5   the science in the -- in the CARC reassessment of
  6   professional duties as an EPA employee and reached the    6   glyphosate oncogenicity and certainly implied that --
  7   scientific conclusions on glyphosate in order to          7   that this staff scientist colleague of Rowland was
  8   benefit Monsanto rather than because he believed that     8   not -- was not confident that the CARC review process
  9   they were the correct scientific conclusions?             9   was going to be managed in a -- in a fair and
 10      A. It's clear that he was quite determined to         10   unbalanced way.
 11   assure that the agency's judgment of the oncogenicity    11      Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, have you
 12   of glyphosate was aligned with the position advocated    12   done anything to check for yourself with respect to the
 13   by Monsanto and that he often interacted with Monsanto   13   authenticity of that letter that you're referring to?
 14   officials and gave rise to a level of confidence in      14      A. I -- I certainly queried where it came from in
 15   those officials that in Jess's hands the CARC review     15   the record. I've heard no -- I'm not aware of any
 16   would remain -- would remain unchanged from the -- in    16   information that suggests it was a fake or a figment of
 17   terms of the classification of glyphosate.               17   someone's imagination. So, you know, I -- I have no
 18         So it -- the -- the record is, as I said, to       18   reason to question the fact that this woman actually
 19   me quite clear about the closeness of the relationship   19   wrote the letter, so I take it at its word.
 20   between Jess Rowlands and -- and some of the Monsanto    20      Q. Okay. But you haven't spoken to anyone at EPA
 21   officials and obviously in particular the ones in the    21   who reviewed the letter or the person who you claim
 22   Washington office that often visited with various EPA    22   drafted the letter herself, you haven't spoken with any
 23   officials and staff, and, you know, whether -- whether   23   of them, correct?
 24   there had been any implied future benefits to Rowlands   24      A. No, I haven't.
 25   after his retirement, I wasn't privy to those            25      Q. And you're not aware of anybody having spoken


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  1   with them, correct?                                        1   assessment process for -- for many years.
  2      A. No, I'm not aware of conversations that were         2      Q. That's fair. EPA is always reviewing the
  3   had between this woman and her EPA colleagues.             3   science with respect to pesticides that are on the
  4      Q. Do you claim that Mr. Rowland manipulated the        4   market in the United States, correct?
  5   other scientists on the CARC to reach scientific           5      A. Yes.
  6   conclusions in order to benefit Monsanto rather than       6      Q. Do you know how many scientists on the CARC
  7   because those scientists themselves believed that they     7   panel specialize in epidemiology evidence?
  8   were the correct conclusions?                              8      A. I don't remember.
  9      A. I don't think I wrote that. I think                  9      Q. Do you know how many scientists on the CARC
 10   Rowlands -- Rowlands clearly played a -- a direct role    10   panel specialize in animal toxicology?
 11   in managing the CARC review process. I think he           11      A. Certainly several of them.
 12   concurred with the findings, and I can't speak to the     12      Q. Do you know how many scientists on the CARC
 13   details of the internal debates that went on during the   13   panel specialize in exposure assessment?
 14   meetings leading up to the -- to their final              14      A. No, I don't.
 15   determination.                                            15      Q. But there's certainly going to be experts from
 16      Q. Okay. So you aren't willing to impugn the           16   across the EPA with respect to the different bodies of
 17   character and the credibility of the 12 other             17   science that are relevant to assessing cancer risk,
 18   scientists who signed on to the CARC report; is that      18   correct?
 19   correct?                                                  19      A. I would agree with that, yes.
 20              MR. LITZENBURG: Object to form.                20      Q. And Mr. Rowland is just one of those experts
 21      A. That's correct.                                     21   on the CARC panel, correct?
 22      Q. (BY MR. HOLLINGSWORTH) Okay. But you are            22      A. Correct.
 23   willing to do that to Mr. Rowland?                        23      Q. Did you talk to anyone on the CARC or at EPA
 24      A. If you interpret my statements and opinions         24   about what guidelines the CARC may have violated?
 25   relative to his role in the process as impugning his      25      A. No.


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  1   character, then yes, I guess I would agree with that.      1      Q. Do you have knowledge of the communications
  2       Q. Okay. But you agree also that the CARC panel        2   between members of the CARC on glyphosate either during
  3   could not issue a report based on just one person's        3   their review or afterwards?
  4   signature, correct? They need the signature of             4      A. Well, only to the extent that the CARC
  5   numerous scientists across the EPA, correct?               5   deliberations are described in their report.
  6       A. Yes.                                                6      Q. Do you have -- so you haven't spoken with
  7       Q. Okay. So -- but your statement is that              7   anybody on the panel?
  8   Mr. Rowland somehow convinced all these other              8      A. Correct.
  9   signatures that they should sign off on the                9      Q. Okay. Do you have -- strike that.
 10   noncarcinogenicity of glyphosate despite some             10         How do you get chosen to serve on a cancer
 11   scientific evidence showing otherwise. Is that your       11   assessment peer review committee?
 12   testimony?                                                12      A. I don't -- I don't know much about the EPA
 13       A. No.                                                13   process that they follow, but I'm sure they have one.
 14       Q. Do you know how long the process the CARC went     14      Q. In your long career you've never been asked to
 15   through with respect to glyphosate was?                   15   serve on a CARC panel, correct?
 16       A. Well, it was almost nonstop from 1985 to this      16      A. Correct.
 17   day. I mean, it's -- the issues around the                17      Q. In your long career have you been asked to
 18   oncogenicity of glyphosate and glyphosate-based           18   serve on any EPA panels?
 19   herbicides is -- as you know, it's still -- it's still    19      A. No.
 20   ongoing. So the -- the CARC convened, has convened a      20      Q. You have a lot of opinions about what EPA
 21   few times over the last 25 years to assess the            21   should or should not be doing, but just to be clear,
 22   oncogenicity of glyphosate and the proper                 22   you aren't one of those people, correct?
 23   classification of glyphosate and -- and that -- and no    23      A. Correct.
 24   doubt there will be future CARC meetings. So yeah, the    24      Q. Are you aware that Mr. Rowland retired from
 25   CARC has been in -- has been involved in that             25   EPA in May of 2015?


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  1      A. I -- I know that he retired around that time.        1   on Ghostwriting. Correct?
  2      Q. Okay. Are you aware that he retired due to           2        A. Yes, sir.
  3   bladder cancer?                                            3        Q. Okay. And you claim to be an expert on
  4      A. No.                                                  4   ghostwriting, correct?
  5      Q. Okay. Given Mr. Rowland retired in May of            5        A. I suppose, yes.
  6   2015, he certainly wasn't responsible for the September    6        Q. If EPA has the primary studies available to
  7   2016 OPP-issued paper on the carcinogenic potential of     7   it, then EPA conducts its own systematic review of
  8   glyphosate, correct?                                       8   those studies and comes to its own conclusions, they do
  9      A. Well, other than the fact that the 2016 paper        9   that rather than relying on a review article, correct?
 10   and the more recent 2017 paper cover the same body of     10        A. Well, certainly a review article in the -- in
 11   science in a very similar way, these EPA documents        11   the peer-reviewed literature wouldn't be the primary
 12   evolve in an iterative way and -- and often much of the   12   basis of EPA judgment on an individual study for which
 13   content of a new version of a -- of a health risk         13   they have all the raw data, no.
 14   assessment of glyphosate, as an example, is -- is very    14        Q. You're familiar with EFSA, correct?
 15   similar to if not verbatim what appears in an earlier     15        A. Yes.
 16   document.                                                 16        Q. And you're familiar with the European
 17      Q. Right. But the carcinogenic issue papers on         17   commission, correct?
 18   glyphosate are over 200 pages, and the CARC report is     18        A. Yes.
 19   just one of the numerous citations within that report     19        Q. Okay. You've reviewed generally EFSA's review
 20   with respect to glyphosate and carcinogenicity,           20   of glyphosate for its carcinogenicity, correct?
 21   correct?                                                  21        A. Yes, the -- certainly the more recent ones.
 22      A. Yes, sir.                                           22        Q. Okay.
 23      Q. So Jess Rowland certainly wasn't responsible        23              MR. HOLLINGSWORTH: Let's mark Exhibit
 24   for the 2017 OPP-issued paper on the carcinogenic         24   8.
 25   potential of glyphosate, correct?                         25              COURT REPORTER: 7.


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  1      A. Correct.                                             1               MR. HOLLINGSWORTH: 7.
  2      Q. And Jess Rowland wouldn't be responsible for         2               (Deposition Exhibit 7 was
  3   whatever final decision with respect to glyphosate's       3               marked for identification.)
  4   registration review that the EPA comes out with?           4       Q. (BY MR. HOLLINGSWORTH) Sir, are you familiar
  5      A. Correct.                                             5   with this EFSA statement regarding the EU assessment of
  6      Q. Do you want to take a break?                         6   glyphosate and the so-called Monsanto papers? I
  7      A. I'm all right.                                       7   believe we went over that in your last deposition a
  8      Q. Okay.                                                8   little bit.
  9      A. I might get some more water at some point.           9       A. Yes, sir.
 10      Q. Go ahead and get some more water right now.         10       Q. Okay. So the EU commission wants EFSA to
 11   Sorry about that, Dr. Benbrook. Sir, let's pull out       11   conduct an investigation and respond to four questions
 12   your report again.                                        12   it has on the matter of ghostwriting potentially
 13      A. Okay.                                               13   impacting the regulatory review of glyphosate, correct?
 14      Q. And section -- I guess it's VI D.                   14       A. In general, yes, that's the goal here.
 15      A. How about a page and a paragraph?                   15       Q. Okay. And EFSA came out with this publication
 16      Q. Yeah, looks like it starts at 151.                  16   that generally provides their statement with response
 17      A. Okay. Section D, Attacks on scientists or           17   to those allegations about the Monsanto papers,
 18   organizations producing adverse data on glyphosate?       18   correct?
 19      Q. Sorry. I think it starts at 135, that's where       19       A. Correct.
 20   VI D starts.                                              20       Q. Okay. The first question you'll see noted in
 21      A. 135?                                                21   the first bullet point on page 1 that the European
 22      Q. Page 135, sorry about that.                         22   commission has for EFSA is, quote: What impact the
 23      A. It's all right. We're talking about                 23   allegations about Monsanto ghostwriting scientific
 24   ghostwriting?                                             24   review articles would have on the overall EU assessment
 25      Q. Yeah, that section's titled Monsanto Reliance       25   of glyphosate if they were confirmed.


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  1         Do you see that?                                     1   scientific publications in the open literature that may
  2      A. Yes, sir.                                            2   contain relevant information.
  3      Q. Yeah. So EFSA is investigating the question          3         Do you see that?
  4   of whether even if these publications were ghostwritten    4       A. Yes.
  5   by Monsanto, would the fact that they were ghostwritten    5       Q. Okay. Then it distinguishes between two
  6   have an impact on EFSA's assessment of glyphosate,         6   different types of studies. The first one is numbered
  7   correct?                                                   7   1, and that's original studies, and the second one is
  8      A. Yes, that's what it states.                          8   numbered 2, that's scientific review papers, do you see
  9      Q. Okay. But they first answer a few ancillary          9   that?
 10   questions about scientific review papers and the role     10       A. Correct.
 11   those types of papers play in the regulatory assessment   11       Q. Okay. And how is an original study different
 12   process, correct?                                         12   from a scientific review paper?
 13      A. Correct.                                            13       A. An original study reports on the purpose of a
 14      Q. Turn to page 2. EFSA talks about a guidance         14   particular study, the questions that the scientists are
 15   document there in the first section. It says: An EFSA     15   trying to resolve or the hypothesis they're trying to
 16   guidance document on the submission of scientific         16   develop evidence in support of or -- or against and
 17   peer-reviewed open literature.                            17   typically focuses on one particular study or a cluster
 18         Do you see that?                                    18   of related studies on a particular agent or -- or
 19      A. Are we in the section How Member State and          19   issue. Some original studies can also include
 20   EFSA experts --                                           20   meta-analyses of epidemiological evaluations where data
 21      Q. It's right above that, sir, in the first            21   from several different cohorts or -- or studies are
 22   paragraph there.                                          22   pooled together. But in general, under Number 1, the
 23      A. Okay. All right. Let me read it, please.            23   focus is on a distinct scien -- piece of scientific
 24      Q. Sure.                                               24   work that strives to generate new insights into some
 25      A. (Witness reading document.) Okay. I read the        25   phenomena.


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  1   paragraph.                                                 1          Number 2 refers to review papers that try to
  2       Q. If you look at this -- this document at page 2      2   integrate and summarize the -- a body of literature
  3   it notes that the open literature guidance document        3   addressing a particular topic on which many studies
  4   also provides instructions on how to minimize bias in      4   have provided evidence. So there -- the review papers
  5   the identification, selection and inclusion of             5   typically don't report any original research results
  6   peer-reviewed open literature and dossiers according to    6   but rather try to integrate and summarize the results
  7   the principles of systematic review.                       7   of existing published studies or studies that are
  8         Do you see that?                                     8   submitted to regulatory agencies by registrants.
  9       A. Yes.                                                9       Q. Okay. So in general, an original study is a
 10       Q. So EFSA has guidance in place sort of like the     10   study focusing on a distinct piece of scientific work
 11   EPA guidance that we talked about earlier for its         11   that strives to generate new insights or new data into
 12   regulatory employees with respect to how to               12   some phenomena, correct?
 13   systematically and appropriately review and determine     13       A. Yeah, correct.
 14   the reliability of these open literature studies,         14       Q. And a review article is, in general, a body of
 15   correct?                                                  15   literature. It's -- it's a -- it's a review paper that
 16       A. Correct.                                           16   tries to integrate and summarize a body of literature
 17       Q. If you turn to page 3 there's a section down       17   addressing a particular scientific topic, correct?
 18   there at the bottom titled Open Scientific Literature.    18       A. Yes.
 19   Do you see that?                                          19       Q. Okay.
 20       A. Yes, I do.                                         20              VIDEO OPERATOR: Excuse me, Counsel. We
 21       Q. It breaks up the dossier. Just to be clear,        21   have about four minutes left on Media Number 1.
 22   the dossier is a regulatory file for pesticide            22              MR. HOLLINGSWORTH: Okay, thank you.
 23   registration review, correct?                             23       Q. (BY MR. HOLLINGSWORTH) And the EFSA
 24       A. Correct.                                           24   publication here makes it clear that the Monsanto
 25       Q. It notes: There are different types of             25   papers that were allegedly ghostwritten are all review


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  1   papers, correct?                                           1      A. Yes.
  2      A. Yes. That's what they -- that seems to be the        2      Q. Okay. So regulators like EFSA are clearly
  3   implication of this Point Number 2.                        3   aware that a review paper discussing unpublished
  4      Q. Okay. And there are not any scientific               4   industry data had been facilitated by industry, right?
  5   publications in your report that you -- that you allege    5      A. Correct.
  6   are ghostwritten that are properly categorized as          6      Q. That would apply to publications like Kier and
  7   original studies, correct?                                 7   Kirkland 2013 as well as the Greim 2015 publication,
  8      A. Not -- no, I don't recall any.                       8   correct?
  9      Q. Okay. If you turn to page 4?                         9      A. Yeah, sure.
 10      A. Okay, I'm there.                                    10      Q. Going down a paragraph there is an italicized
 11      Q. It notes -- I guess it would be the second          11   heading titled Concluding Remarks on How EU Experts
 12   paragraph that starts "as regards"?                       12   Ascertain the Reliability of Studies During the Peer
 13      A. I see it, yeah, third line.                         13   Review Process.
 14      Q. In there it says: As regards the second type        14         Do you see that?
 15   of publication mentioned above, scientific review         15      A. I do see that.
 16   papers, the weight of review papers is very limited in    16      Q. It notes: It is not unusual for member state
 17   the overall risk assessment because member state and      17   and EFSA experts to disagree with industry on how the
 18   EFSA experts have access to, and rely primarily on, the   18   results that the studies that they submit in the
 19   original safety studies themselves to verify the          19   dossiers should be interpreted for the risk assessment.
 20   interpretation of the authors and to produce their        20         Do you agree with that general proposition?
 21   final conclusions.                                        21      A. Yes.
 22         Do you see that?                                    22      Q. Does the same apply to your understanding of
 23      A. Yes.                                                23   the interaction between EPA and US industry?
 24      Q. And you're aware that regulators such as EFSA       24      A. Yes.
 25   put very limited weight on scientific review papers,      25      Q. If you go down to the last paragraph, it


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  1   correct?                                                   1   provides EFSA's conclusion. Do you see that?
  2       A. In general, yes.                                    2      A. Starting with "there is no"?
  3       Q. And that makes sense, right? If a regulator         3      Q. Correct.
  4   has access to the primary document, then it will want      4             VIDEO OPERATOR: Excuse me, Counselor.
  5   to confirm for itself that the studies and the data        5             MR. HOLLINGSWORTH: Oh.
  6   within those studies, what that stuff says, rather than    6             VIDEO OPERATOR: One minute.
  7   what a summary of those studies say, correct?              7             MR. HOLLINGSWORTH: Let's go off the
  8       A. In general, that's -- that's true.                  8   record. I'm sorry. I forgot.
  9       Q. It goes on to note: Some review papers are          9             VIDEO OPERATOR: We're going off the
 10   based exclusively on publicly available information.      10   record. This is the end of Media Number 1. The time
 11          You're aware of that, correct?                     11   now is approximately 9:48 a.m.
 12       A. Yes.                                               12             (Recess taken.)
 13       Q. Okay. That would apply, for example, to the        13             VIDEO OPERATOR: This is the beginning
 14   glyphosate epidemiology review publication by Intertek,   14   of Media Number 2. We're going back on the record.
 15   right? All of those epidemiology publications             15   The time now is approximately 9:55 a.m.
 16   discussed in that review paper were publicly available,   16      Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, we're
 17   right?                                                    17   discussing this EFSA statement regarding the EU
 18       A. Yep, I agree, I think that's true, yeah.           18   assessment of glyphosate and the so-called Monsanto
 19       Q. Okay. A few sentences down it notes: Where         19   papers, correct?
 20   review studies are based on unpublished industry          20      A. Yes.
 21   studies it is clear that the author's work has been       21      Q. Okay. And if you go down to this last
 22   facilitated by industry as it is only through that        22   paragraph in the concluding remarks section it starts
 23   connection that authors would be able to access           23   with "There is no information," do you see that?
 24   unpublished results.                                      24      A. Yes.
 25          Do you see that?                                   25      Q. And it's: There is no information contained


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  1   within the Monsanto papers or that EFSA is otherwise       1   regulatory group conducted this investigation of the
  2   aware of that indicates that industry attempted to         2   allegedly ghostwritten Monsanto studies and determined
  3   falsify or manipulate the findings and raw data of the     3   that even if they were ghostwritten it would have no
  4   regulatory guideline studies used in the glyphosate        4   impact on their regulatory assessment and conclusions
  5   assessment.                                                5   on glyphosate's carcinogenicity?
  6          Do you see that?                                    6       A. Yes, I was aware of that.
  7       A. Yes.                                                7       Q. Okay. Did you talk to anyone at EFSA about
  8       Q. So EFSA determined that Monsanto did not            8   this investigation?
  9   attempt to falsify or manipulate any of the findings       9       A. No.
 10   and raw data found in the primary studies in their        10       Q. Okay. If you look at the bullets, the first
 11   review publications, correct?                             11   one says: The two review articles in question are an
 12       A. That's what it states, yeah.                       12   analysis of regulatory guideline studies already
 13       Q. Okay. And you're not aware -- have you             13   included in the applicant's dossier. The weight of
 14   conducted any independent analysis or investigation       14   these two review papers in the overall scientific
 15   like EFSA has to determine that Monsanto did not          15   assessment of glyphosate was therefore very limited
 16   attempt to falsify or manipulate any of the findings or   16   because EU experts had access to and relied primarily
 17   raw data in the primary studies they relied upon for      17   on the findings of the original guideline studies and
 18   glyphosate's registration?                                18   the underlying raw data to produce their own
 19       A. Well, I -- I would have no basis to be able to     19   conclusions.
 20   do that, no, so of course not.                            20          So EFSA is saying there with respect to the
 21       Q. Okay. So you're not aware of Monsanto having       21   glyphosate review articles that they are of very
 22   falsified or manipulated any of the raw data in its       22   limited value because they had reviewed the underlying
 23   primary studies on which these review publications are    23   primary studies on glyphosate, correct?
 24   based, correct?                                           24       A. That's what they state, yes.
 25       A. I'm not aware of any such information pointing     25       Q. The next bullet says: Notwithstanding the


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  1   to such manipulation.                                      1   fact that these two review papers might have been
  2      Q. Okay. If you go to the next page, there's a          2   ghostwritten by Monsanto, their provenance was evident
  3   section titled Details of the Scientific Review            3   from the Declarations of Interest and Acknowledgements
  4   Articles Mentioned --                                      4   in the papers themselves. For example, the Kier and
  5      A. Are we on page 5 now?                                5   Kirkland paper states that the authors were paid by the
  6      Q. Correct. Do you see the section titled               6   glyphosate task force to carry out the review and the
  7   Details --                                                 7   Williams, et al., paper acknowledges that Monsanto
  8      A. Oh, sure, yeah.                                      8   facilitated the authors' work by providing them with
  9      Q. Okay. So the various review papers that you          9   original and unpublished studies.
 10   and others allege were ghostwritten, only two of them     10          Do you see that?
 11   are considered in this EU assessment of glyphosate,       11       A. Yes.
 12   correct?                                                  12       Q. Okay. EFSA states that their experts were
 13      A. Correct.                                            13   under no illusion about the links between the study
 14      Q. And that's Kier and Kirkland 2013, Williams         14   authors and the companies that funded or facilitated
 15   2000, correct?                                            15   their work when the experts carried out this risk
 16      A. Correct.                                            16   assessment.
 17      Q. Okay. Just above the bulleted section it            17          Do you see that?
 18   notes: Following this investigation EFSA can confirm      18       A. Yes, I do.
 19   that even if the allegations regarding ghostwriting       19       Q. Okay. So EFSA very clearly states here that
 20   prove to be true there would be no impact on the          20   first off, the review papers you allege were
 21   overall assessment as presented in the EFSA conclusion    21   ghostwritten were of very little weight to their
 22   on glyphosate.                                            22   scientific review of glyphosate and that they were
 23         Do you see that?                                    23   entirely clear and certain about Monsanto's involvement
 24      A. Yes.                                                24   with those review papers, correct?
 25      Q. Okay. Were you aware that the European              25       A. I wouldn't agree that it was entirely clear


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  1   what Monsanto's involvement was because Monsanto           1      A. Yeah, that's a fair statement.
  2   scientists that contributed substantially to the papers    2      Q. Okay. I want to look at a Roundup ProMax
  3   as coauthors were not listed as coauthors.                 3   label. You're familiar with Roundup ProMax, right,
  4       Q. As it pertains to EFSA's review of the papers       4   Doctor?
  5   in question, the only thing that's important is whether    5      A. In general, yes, it's one of the branded
  6   they are aware that the work is or is not associated       6   products sold by Monsanto.
  7   with Monsanto. Wouldn't you agree with that?               7              (Deposition Exhibit 8 was
  8       A. That's certainly one of the things that's           8              marked for identification.)
  9   important, but I think the veracity of all of -- of the    9      Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, you
 10   information, whether it's registrant commission studies   10   reviewed glyphosate-based herbicide labels like this,
 11   submitted to EFSA or EPA or scientific papers in the      11   not this exact one before, correct?
 12   open literature, the -- it is important that the          12      A. Yes.
 13   individuals responsible for writing the papers are --     13      Q. Okay. At page -- paragraph 34 of your report?
 14   are accurately identified. This is a -- a primary         14      A. 34?
 15   pillar of the integrity of the peer-reviewed scientific   15      Q. Yes, sir.
 16   literature and I -- you know, I think that -- I think     16      A. Okay, getting there.
 17   if EFSA is -- is acknowledging that they are aware that   17      Q. Paragraph 34, not page.
 18   Monsanto and Monsanto scientists contributed              18      A. Okay.
 19   significantly to the studies by making available the      19      Q. There you note that the responsibility to warn
 20   results, but what is not appropriately acknowledged in    20   and mitigate extends to the full range of foreseeable
 21   the Kier and Kirkland and Greim paper and several other   21   circumstances and situations in which a pesticide label
 22   ghostwritten papers is the extent to which the            22   can be applied in accord with the directions on the
 23   interpretation of the studies and the general             23   label. There's no citation for that statement,
 24   conclusions about a body of studies were, in fact,        24   correct?
 25   written by Monsanto scientists to reflect Monsanto's      25      A. Yeah, you misread it. It's in which a


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  1   view of the literature. That is the -- the aspect of       1   pesticide can be applied. You said in which a
  2   these ghostwritten studies that is of great concern to     2   pesticide label can be applied, but I -- I understand
  3   many people.                                               3   what you're getting at.
  4       Q. Right. But Greim 2015 cannot be ghostwritten,       4      Q. Okay. There's no citation for that statement,
  5   sir, because Dr. Saltmiras is an author on that paper      5   correct?
  6   and explicitly references that he's associated with        6      A. Correct.
  7   Monsanto, correct?                                         7      Q. Okay. What is the basis for that opinion?
  8       A. I believe that's correct. Do you have the           8       A. The responsibility of the registrant to
  9   Greim paper with you? I don't remember the list of         9   provide sufficient label directions for users of a
 10   authors.                                                  10   pesticide product to assure that there are no
 11       Q. We've gone over it previously at other             11   unreasonable adverse effects on man and environment and
 12   depositions.                                              12   that when the pesticide is used in accord with the
 13       A. Okay.                                              13   label, EPA has reason to believe that there won't be
 14       Q. I don't want to --                                 14   any adverse effects on human health or the environment.
 15       A. Okay.                                              15       Q. Right. But it's with respect to the pesticide
 16       Q. -- waste your time on that.                        16   itself, correct?
 17       A. All right.                                         17      A. Yes.
 18       Q. So what EFSA is saying here is that EFSA           18      Q. Okay. Because you cite as examples a leaky
 19   experts were under no illusion about the link between     19   hose spitting on a backpack sprayer. Is it your
 20   the study authors and the companies that funded or        20   contention that a pesticide company has a duty to warn
 21   facilitated their work when the experts carried out       21   that a defect may occur with another product that it
 22   their risk assessment. So whether it's funded or          22   does not manufacture or sell?
 23   facilitated by Monsanto, EFSA is fully aware of the       23     A. Well, for -- for any common application
 24   connection with respect to these review papers you        24   method, it's certainly important for the registrant to
 25   claim are ghostwritten, correct?                          25   address what a user should do or be aware of in the


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  1   event of common and unavoidable exposures of which         1   conditions, correct?
  2   people using backpack sprayers do sometimes experience     2      A. Well, I think the implication is clear that in
  3   these exposure episodes by the very nature of the way      3   windy conditions the likelihood of exposures increases,
  4   that the product is being applied.                         4   yes.
  5      Q. Okay. But can you point to any regulation or         5      Q. Okay. So you certainly cannot say that
  6   EPA guidance documents that provide support for the        6   Monsanto didn't warn of increased exposures when it's
  7   claim that a pesticide company has a duty to warn for      7   windy outside, correct?
  8   defects that may occur with some other product beside      8      A. That's true, yes.
  9   the pesticide that's at issue?                             9      Q. Okay. The next sentence says: When spraying,
 10      A. "Some other product." I don't understand your       10   avoid combinations of pressure and nozzle type that
 11   question.                                                 11   will result in splatter of -- or fine particles, in
 12      Q. Sure. Do you have any -- are you aware of any       12   parenthesis mist, that are likely to drift. Avoid
 13   regulation or other EPA guidance documents that provide   13   applying at excessive speed or pressure.
 14   support that a backpack sprayer manufactured by another   14         Do you see that?
 15   company -- that Monsanto has a duty to warn for defects   15      A. Yes.
 16   that may occur with some other product besides Roundup?   16      Q. So that is a part of the label where Monsanto
 17      A. Oh, I understand your question now. No.             17   is warning about how to apply the pesticide in a way
 18      Q. You cite as one example of the duty to warn         18   that avoids drift, correct?
 19   application on a windy day. Do you recall that?           19      A. That's certainly the intent, yes.
 20      A. Yes.                                                20      Q. Okay. And specifically, Monsanto warns that
 21      Q. Okay. Is it your contention that Monsanto did       21   you should use specific pressures and nozzles that will
 22   not warn about the use of glyphosate-based herbicides     22   reduce any chance of drift, correct?
 23   on a windy day?                                           23      A. Correct.
 24      A. It didn't warn in the directions to                 24      Q. Okay. And if you go to the directions of use
 25   applicators relative to minimizing their exposure and     25   on the left column?


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  1   risks from use of the pesticide. There are provisions      1       A. Yes.
  2   in the label that govern when it's appropriate and         2       Q. Second paragraph there states: Do not apply
  3   inappropriate to make an application based on the wind     3   this product in a way that will contact workers or
  4   velocity.                                                  4   other persons, either directly or through drift.
  5       Q. Right. If you turn to page 2 of the label,          5         Do you see that?
  6   under the "attention" word on the right column?            6       A. Yes.
  7       A. Page 2, attention?                                  7       Q. So Monsanto certainly warns that the product
  8       Q. Yeah, in the right-hand column?                     8   should not be applied in a way that will lead to
  9       A. Okay, got it.                                       9   contact with workers applying it either directly or
 10       Q. It says: Avoid drift. Do you see that?             10   through drift, correct?
 11       A. Yes.                                               11       A. Is this a -- is this an agricultural label or
 12       Q. And then below that in the next paragraph it       12   an IT&O label?
 13   states: The likelihood of injury occurring from the       13       Q. Well, it's a label in which glyphosate is 48.7
 14   use of this product increases when winds are gusty, as    14   percent active ingredient.
 15   wind velocity increases, when wind direction is           15       A. Okay. So just let me look at it, please. So
 16   constantly changing or when there are other               16   Section 8 identifies a number of nonagricultural use
 17   meteorological conditions that favor spray drift. When    17   sites and so I'm assuming somewhere in here it's going
 18   spraying, avoid combination -- do you see that?           18   to talk about hand-held sprayers and backpack sprayers.
 19       A. Yes.                                               19       Q. So to answer my question, Monsanto certainly
 20       Q. So Monsanto's label here for Roundup ProMax is     20   warns that the product should not be applied in a way
 21   certainly a warning about the use of the product in       21   that will lead to contact with workers applying it
 22   windy conditions, correct?                                22   either directly or through drift, correct?
 23       A. Yes.                                               23       A. I think it -- will contact workers or other
 24       Q. Okay. And it's saying actually that the            24   persons, you know, in an agricultural setting, I'm
 25   product can be more dangerous when used in windy          25   guessing that would be farm workers or people in and


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  1   around the field that -- that's treated. In these          1   scenarios?
  2   other settings, you know, I suppose it could be a          2      A. It is an attempt in that direction, yes.
  3   variety of different workers. The -- the steps that        3      Q. Okay. And Monsanto also provides various
  4   the actual applicator should take will be -- are           4   numbers that a user of the product can call at any time
  5   spelled out in the -- I'm sure in the section on           5   day or night if they have any sort of exposure issue
  6   personal protective equipment, which is on the first       6   associated with the herbicide, correct?
  7   page of the label under 3.1, hazards to humans and         7      A. Yes, for emergency medical treatment
  8   domestic animals.                                          8   information.
  9       Q. Right. And with respect to agricultural use         9      Q. Okay. You can put that aside, sir.
 10   requirements there's a box right below there that         10         Can you provide any other, quote, foreseeable
 11   states -- that discusses some of the PPA -- PPE           11   circumstances that you talk about in your expert report
 12   required for those agricultural uses, correct?            12   besides the two you note in parentheses there in
 13       A. Yes.                                               13   paragraph 34 that you claim a manufacturer has a duty
 14       Q. And it notes that PPE required for early entry     14   to warn about?
 15   to treated areas includes coveralls, shoes plus socks     15      A. Do I discuss anything else in the -- in the
 16   and chemical-resistant gloves made of any waterproof      16   report?
 17   material. Do you see that?                                17      Q. Do you have any other foreseeable
 18       A. Yes.                                               18   circumstances besides the leaky hose spitting on a
 19       Q. Okay. So Monsanto provides for instances in        19   backpack sprayer or application on a windy day that you
 20   which there is increased PPE required for certain uses,   20   claim a manufacturer is under the duty to warn about?
 21   correct?                                                  21      A. I think the -- there certainly is several
 22       A. Well, for people entering treated areas, yeah,     22   items. There is what PPE is required, personal
 23   that's what this refers to.                               23   protective equipment, PPE, is required on the label,
 24       Q. So Monsanto certainly considered increased         24   the steps that a mixer/loader or applicator should take
 25   exposure with respect to treated areas and provided for   25   in the event of a -- of a significant exposure, whether


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  1   a warning on the label that speaks to that increased       1   it's from wind and drift or a leaky hose. That's a
  2   exposure, correct?                                         2   important area of providing clear instructions and
  3       A. There is -- there is some discussion of that        3   guidance to applicators.
  4   and some provisions of the label that are intended to      4          The management of heavily contaminated
  5   both warn and try to mitigate potentially risky            5   clothing after an exposure episode is another area
  6   exposures, yes.                                            6   where what's on the ProMax label and other labels is
  7       Q. If you go to the first page -- sorry to work        7   not in accord with the -- certainly the recommendations
  8   backwards here.                                            8   of EPA at various points for managing the -- such
  9       A. It's all right.                                     9   heavily contaminated clothing.
 10       Q. It discusses some more of the -- there's a         10          So -- and then there's, you know, certainly
 11   user safety recommendation box?                           11   other aspects of particular use patterns, specific use
 12       A. Yes.                                               12   patterns that are important to provide clarity about
 13       Q. And there's a warning that states: Users           13   the steps that users should take. An example would be
 14   should wash hands before eating, drinking, chewing gum,   14   the addition on various labels in the United Kingdom
 15   using tobacco or using the toilet.                        15   when Roundup formulations are being sprayed in trees
 16         So is that another example wherein Monsanto         16   where the direction of the spray is upward. The --
 17   has provided a warning to try to mitigate potentially     17   there's a need in that type of application scenario for
 18   risky exposure scenarios?                                 18   more extensive protection of the -- the face and head
 19       A. Correct.                                           19   area.
 20       Q. Okay. The next one states: Remove clothing         20          So it's -- there are some unique exposure
 21   immediately if pesticide gets inside then wash            21   scenarios that occur with specific uses. The tree and
 22   thoroughly and put on clean clothing.                     22   stump use, again, is different from other ones and
 23         Okay. So is that another instance in which          23   there might be -- and there often is some sort of
 24   the Roundup ProMax label provides a warning with          24   specialized either precautions or steps that
 25   respect to mitigating potentially risky exposure          25   applicators should -- should take.


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  1         And so it -- it's a -- because of the vast           1   glyphosate cancer classification from Category E to
  2   number of -- of uses of different Roundup products,        2   Category D or C based on the fact that it has
  3   there are a variety of worker protection provisions and    3   repeatedly determined glyphosate is not carcinogenic
  4   steps that are -- that need to be taken to avoid           4   since 1991, do you? I can restate it if you like.
  5   excessive exposures.                                       5       A. Yeah, that's kind of a convoluted question.
  6       Q. Right. But this Roundup ProMax label and            6   Break it down.
  7   other labels would be in accord with the recommendation    7       Q. Dr. Benbrook, you've testified previously and
  8   of the EPA at the time that the label was approved,        8   the records show that EPA has repeatedly classified
  9   correct?                                                   9   glyphosate as not likely to be carcinogenic since 1991,
 10       A. Yes.                                               10   correct?
 11       Q. You've heard of the phrase "spot treatments,"      11       A. Correct.
 12   correct?                                                  12       Q. And that's a Category E determination,
 13       A. Yes.                                               13   correct?
 14       Q. What is a spot treatment?                          14       A. Yes.
 15       A. It's a treatment of a limited spatial area         15       Q. And there's Category A through E with respect
 16   where a particular pest is known to exist and it's a --   16   to the EPA cancer guidelines for which a -- EPA can
 17   spot treatments are made in an effort to reduce the       17   classify a chemical as carcinogenic, correct?
 18   overall use of pesticides and to reduce costs. If         18       A. Correct.
 19   treating one acre out of a ten-acre field is effective    19       Q. Category A would be the most carcinogenic and
 20   in controlling a pest that's just on one acre, it makes   20   Category E would be the least carcinogenic, correct?
 21   sense both in terms of the cost to the farmer or the --   21       A. Correct.
 22   or the pest management company as well as the             22       Q. Okay. You don't actually believe that EPA
 23   environment and human health to just treat the one acre   23   would refuse to change the glyphosate cancer
 24   as opposed to the ten.                                    24   classification from Category E downgrading it to
 25       Q. So with respect to a backpack sprayer or a         25   Category C or B?


                                              Page 551                                                       Page 553
  1   hand-held sprayer, spot treatment would be where you       1       A. You mean downgrading or up -- well, I suppose
  2   target a specific weed with an applicator wand or the      2   it depends on your perspective, but you just change the
  3   spray, and you spray the pesticide just on that weed       3   classification.
  4   and not the surrounding area; is that correct?             4       Q. Yeah, let me restate it. You don't actually
  5      A. That would be an example of a -- of a spot           5   believe that EPA would refuse to change the glyphosate
  6   treatment, yes.                                            6   cancer classification from Category E to something else
  7      Q. Okay. When using a pesticide application             7   based on the fact that it has repeatedly determined
  8   wand -- - do you call it that?                             8   that glyphosate is noncarcinogenic since 1991, do you?
  9      A. Sure.                                                9       A. I -- I really don't understand your question.
 10      Q. When using a pesticide application wand that's      10   I mean -- you're asking do I believe that they --
 11   associated with the backpack sprayer or some sort of      11   whether they would or would not change the
 12   pump sprayer and you use it -- you use it as indicated    12   classification based on the fact that they've
 13   on the label, there should be minimal opportunity for     13   classified it in a particular way?
 14   exposure, correct?                                        14       Q. Correct. Want me to ask it again?
 15      A. Well, certainly that's the hope, yes, that's        15       A. Yeah, I don't understand the question.
 16   the hope, but that's not always the case.                 16       Q. Okay. Do you believe that -- that the EPA
 17             MR. HOLLINGSWORTH: Can we go off the            17   would change glyphosate's cancer classification from E
 18   record for a second?                                      18   to C or B or A even though it has classified it as
 19             VIDEO OPERATOR: Yes. Going off the              19   Category E from 1991 forward?
 20   record. The time now is approximately 10:21 a.m.          20       A. EPA is certainly free to change its
 21             (Discussion off the record.)                    21   classification at any time if it feels that it has a
 22             VIDEO OPERATOR: Going back on the               22   reason to do so, and I -- I think another critical
 23   record. The time now is approximately 10:22 a.m.          23   point in -- in this case and the other cases that --
 24      Q. (BY MR. HOLLINGSWORTH) Sir, you don't               24   that are arising as part of this litigation is the fact
 25   actually believe that EPA would refuse to change a        25   that different -- different people face significantly


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  1   different levels of exposure to Roundup herbicides, and    1   classification as a possible human carcinogen was done
  2   the level of cancer risk is -- is certainly related to     2   at a time when the classification was insufficient
  3   the level of exposure. And I have opined in my report      3   evidence to classify because of the absence of valid
  4   that for certain of the high-exposure scenarios such as    4   two-year chronic feeding studies.
  5   backpack sprayers and hand-held sprayers, it would --      5      Q. And the Category C classification in 1985,
  6   it would have been appropriate and even consistent with    6   that was done pursuant to the 1986 proposed guidelines
  7   EPA's classification of glyphosate after 1991 as not       7   on carcinogenic risk assessment, correct?
  8   likely to be a human carcinogen for the general public,    8      A. Well, the current form of them, yes.
  9   that -- that a warning of both oncogenicity, risk of       9      Q. There were no guidelines that contained A
 10   oncogenicity and genotoxicity for -- at mixer/loaders     10   through E categories with respect to carcinogenic risk
 11   and applicators in high-exposure scenarios would not      11   assessment before the 1986 proposed guidelines,
 12   only be appropriate but was important to -- to assure a   12   correct?
 13   level of care in -- in reducing exposures.                13      A. Right. They changed the terminology, but
 14       Q. Right. But with respect to the cancer              14   from -- you know, functionally the categories were --
 15   classification, if new science tipped the weight of the   15   were very similar.
 16   evidence and showed that glyphosate-based herbicides      16      Q. So when you say EPA initially categorized
 17   were carcinogens, the EPA would certainly protect the     17   glyphosate as Category C, that's just with respect to
 18   American public and change the cancer classification if   18   the 1986 proposed guidelines, correct?
 19   necessary, right?                                         19      A. Correct.
 20       A. I would suspect so, yes.                           20      Q. So to say that EPA will not downgrade a cancer
 21       Q. And with respect to there being a different        21   classification from Category E to something below
 22   cancer classification with respect to a certain           22   Category -- like Category B, that just isn't true,
 23   pesticide, maybe a pesticide like glyphosate having       23   right?
 24   Category E for one method of application or one group     24      A. I don't understand your use of the word
 25   of people and then Category C for people who are more     25   "downgrade."


                                              Page 555                                                       Page 557
  1   exposed, are you with me?                                  1       Q. I'm sorry. To say that EPA will not change
  2      A. Uh-huh.                                              2   their classification of a pesticide from Category E to
  3      Q. Do you know of any other pesticide in the            3   something like Category C, Category B, that just isn't
  4   country where it has -- the pesticide has two different    4   true, is it?
  5   cancer classifications, that is, one for less-exposed      5       A. Yeah, and I never made that statement. I
  6   people and one for more-exposed people?                    6   don't know what -- I don't know why you're asking that.
  7      A. No.                                                  7       Q. To say that EPA will not downgrade glyphosate
  8      Q. Okay. You're aware that EPA has downgraded           8   because it has skin in the game due to the fact it has
  9   pesticides from Category E, evidence of                    9   classified glyphosate as noncarcinogenic since 1991,
 10   noncarcinogenicity, before, right?                        10   that just isn't true, is it?
 11      A. Downgraded pesticides to Group E before, is         11       A. I don't understand what you mean by that
 12   that what you mean?                                       12   statement and so I really don't know how to answer.
 13      Q. No. Let me re-ask it. You're aware that EPA         13       Q. Dr. Benbrook, you don't believe that IARC --
 14   has initially labeled pesticides as Category E and then   14   strike that.
 15   changed their classification to something that            15          Dr. Benbrook, do you claim that IARC has no
 16   indicates it is more carcinogenic. You're aware of        16   dog in the fight, so to say, with respect to the
 17   that, correct?                                            17   classification of glyphosate as a probable carcinogen?
 18      A. Correct.                                            18       A. If you mean by "dog in the fight" a financial
 19      Q. And with respect to glyphosate, EPA hasn't          19   interest or concern about the financial ramifications
 20   done that, correct?                                       20   of their -- their work and their classification, no, I
 21      A. Correct, not since 1991.                            21   would agree -- I would agree that IARC has no,
 22      Q. EPA has never changed glyphosate from a             22   quote/unquote, dog in the fight.
 23   Category E to something less, in your opinion; isn't      23       Q. But you're aware that Dr. Portier was heavily
 24   that correct?                                             24   involved with the classification of glyphosate at the
 25      A. Well, technically that's correct. The 1985          25   IARC monograph meeting 112, correct?


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  1       A. He served as a -- as a technical expert that        1   whether -- what other steps Dr. Portier has taken to
  2   was given the opportunity to interact with the working     2   meet with European regulators. I have no knowledge of
  3   group, that's my understanding, yes.                       3   that.
  4       Q. And you're aware that Dr. Portier has since         4               (Deposition Exhibit 9 was
  5   tried to become the head of IARC. Are you aware of         5               marked for identification.)
  6   that?                                                      6         Q. (BY MR. HOLLINGSWORTH) Dr. Benbrook, have you
  7       A. No, I'm not -- not aware of that.                   7   seen this email between Dr. Portier and Dr. Sergi
  8       Q. Okay. Are you aware that Dr. Portier,               8   before?
  9   plaintiffs' primary expert witness, signed on to be an     9         A. I don't think so.
 10   expert with plaintiffs just days after the IARC           10         Q. Okay.
 11   announcement and before the monograph came out?           11         A. I've seen a lot of emails though. I assume
 12       A. I -- I don't know the timing of that, of -- of     12   you're going to ask me about it, right?
 13   Dr. Portier's interactions with plaintiff attorneys, I    13         Q. Yes.
 14   have no knowledge of that.                                14         A. So let me read it, please.
 15       Q. Okay. But if Dr. Portier had signed on with        15         Q. Sure.
 16   plaintiffs before the monograph came out, wouldn't you    16         A. (Witness reading document.) Okay. I've read
 17   say that Dr. Portier does have a financial interest       17   it.
 18   when he's serving on IARC?                                18         Q. Okay. So this is an email from Dr. Portier
 19              MR. LITZENBURG: Object to form.                19   discussing EFSA, European regulators' reassessment of
 20       A. No. I mean, he -- unless he owned Monsanto         20   glyphosate, correct?
 21   stock or somehow would be impacted, Dr. Portier as a --   21         A. Correct.
 22   a scientist who had spent many years and many hours       22         Q. And he's stating the fact that EFSA is
 23   assessing the data on glyphosate oncogenicity and was     23   concluding that glyphosate has no carcinogenic
 24   intimately familiar with the IARC process and the basis   24   potential, quote: Suggests we did not do our
 25   for the IARC classification, he was uniquely qualified    25   assessment adequately and that had we seen all the data


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  1   to provide testimony in this case, and it doesn't          1    they saw, we would have gotten a different answer.
  2   surprise me that the plaintiffs' attorneys reached out     2    Correct?
  3   to him. There were very few people that were as            3        A. Correct.
  4   familiar with the animal carcinogenicity database as he    4        Q. Okay. And he's -- by "we," he's referring to
  5   was, so he was the type of individual that the             5    IARC, correct?
  6   plaintiffs' attorneys would reach out to, as was I,        6        A. Correct, the working group.
  7   having published a number of papers on glyphosate use      7        Q. Okay.
  8   and regulation and -- and possible risks. So I -- I        8        A. Who is -- I think those are the members of the
  9   don't find it at all unusual that plaintiffs' attorneys    9    working group if I -- if I remember all their names
 10   would have approached Dr. Portier. I can't speak to       10    correctly.
 11   the timing of it because I wasn't -- I'm not aware of     11        Q. Right. He's referring to -- when he says it
 12   what that was.                                            12    suggests that "we" did not do our assessment correctly,
 13      Q. (BY MR. HOLLINGSWORTH) Are you aware of             13    he's referring to the working group IARC monograph 112
 14   Dr. Portier's efforts to lobby government agencies in     14    on glyphosate, correct?
 15   Europe and other parts of the world including in the      15        A. Correct, yeah.
 16   United States to convince them to require                 16        Q. Okay. And he states: I do not intend to let
 17   glyphosate-based herbicides be some sort of carcinogen?   17    this happen.
 18      A. I'm aware that Dr. Portier was a part of a          18          Do you see that?
 19   number of peer-reviewed publications and letters to the   19        A. Yes.
 20   editor and other scientific dialogue around the review    20        Q. Okay. So Dr. Portier in this email is not --
 21   of the carcinogenicity database on -- on glyphosate and   21    strike that.
 22   Roundup herbicides. His views are well known and I        22          And then the next paragraph he sort of states
 23   think consistently stated -- have been consistently       23    what he intends to do. Do you see that?
 24   stated in a variety of venues. Now, I'm not -- I've       24        A. Yes.
 25   never -- I have no knowledge one way or another of        25        Q. And he states down there: I intend to send it


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  1   as an open letter to the European commission.              1   from an individual or an organization's or a company's
  2          Do you see that?                                    2   direct financial benefit from selling a product, owning
  3       A. Right, I see that. But above that it says           3   a patent, having in some way a direct financial tie to
  4   that he's -- his preference is to publish a                4   the -- the fate, the commercial fate of a technology, a
  5   peer-reviewed article in the Journal of Carcinogenesis     5   chemical or a company or an invention. That is one
  6   that goes over the scientific issues that are raised in    6   component of financial interest that is of importance
  7   the BFR review and in particular the differences           7   and concern in the scientific community.
  8   between the judgment of the BFR and the IARC working       8         Dr. Portier's work for plaintiff counsel in
  9   group.                                                     9   this case, as is my work, is a -- it's a fee for
 10          It's a -- it's a scientific -- it's a set of       10   service where time is spent, analytical work is done,
 11   scientific issues that he -- he obviously feels very      11   records are reviewed and individuals like Dr. Portier
 12   strongly about and wants to try to assure that -- that    12   and I are -- are asked based on our experience and
 13   he and other scientists that share his view of the data   13   knowledge of the area to -- to render opinions.
 14   have an opportunity to share their -- their views         14         Do we do that for free? No, no. Sir, are you
 15   openly in the peer-reviewed literature and -- and other   15   working for free today in this deposition? No, you're
 16   venues.                                                   16   not. So when -- when scientists are asked to become
 17       Q. Right. Besides various publication interests       17   engaged in litigation, whether they're testifying on
 18   though Dr. Portier is also intending to write an open     18   behalf of plaintiffs or defendants, it -- it is typical
 19   letter to the European commission, correct?               19   and normal for them to be paid for that -- that
 20       A. Yeah, that's what he -- that's what he says.       20   engagement. Some people -- certainly some people view
 21       Q. Okay. And are you aware that Dr. Portier           21   that as coloring the -- the analytical work or the
 22   actually emailed hundreds of scientists and scientific    22   testimony and -- and other people look at the -- at the
 23   organizations to try to get him -- them to back his       23   work of an individual based on the substance of the
 24   position on glyphosate-based herbicides?                  24   science.
 25       A. I'm aware that the peer-reviewed statement or      25         So I -- I draw a distinction between the --


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  1   paper that was led by Dr. Portier, I think -- I can't      1   the type of financial conflict of interest or bias that
  2   remember the exact number of signatories, it was 97, it    2   an individual might have if they were a shareholder in
  3   was close to 100, and he no doubt probably invited more    3   a company or owned a patent or somehow directly
  4   than that to join in coauthoring that -- that              4   benefitted from the sale of a chemical versus a -- an
  5   statement. So yes, I would assume he would have to         5   expert who has developed over a long career often
  6   reach out to a number of scientists to determine           6   in-depth knowledge of an area of science that -- that
  7   whether they were willing to contribute to such a          7   then agrees to serve in litigation to try to bring
  8   paper.                                                     8   their knowledge of that science to the proceedings at
  9       Q. Okay. And you're not aware that at that time        9   trial.
 10   Dr. Portier was actually on the payroll of plaintiffs'    10       Q. And that's fair. Let's put expert witness
 11   counsel in this case?                                     11   litigation to the side. Okay?
 12       A. Well, these events were going on in 2015.          12       A. Okay.
 13   I -- I have no knowledge that Dr. Portier had been in     13       Q. Putting that aside, given Dr. Portier's emails
 14   touch with any of the law firms involved in this          14   stating that he is going to do whatever he can to not
 15   litigation at that time. I mean, I know obviously         15   let EFSA in some way show that IARC did not do its
 16   later he became involved, but I don't know when he        16   assessment adequately and given that he went out and
 17   actually started.                                         17   lobbied European and US regulators to try to convince
 18       Q. But given his influence at IARC and his            18   them about the carcinogenicity of glyphosate, don't you
 19   lobbying of various governments afterwards and his        19   think it's unfair to say that Dr. Portier doesn't have
 20   payment by plaintiffs' counsel, it wouldn't be right to   20   a dog in the fight?
 21   say that Dr. Portier has no dog in the fight with         21       A. Dr. Portier has a dog in the fight to the
 22   respect to glyphosate's cancer classification, correct?   22   extent that he has carried out extensive research and
 23       A. There's a -- a distinction -- in the               23   analysis and -- on the question of glyphosate
 24   assessment of bias in the scientific community, there     24   oncogenicity, he participated in the IARC working group
 25   is a distinction between sources of bias that arise       25   process, I'm quite sure that he supported fully the


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  1   classification of -- of glyphosate and glyphosate-based    1      A. Well, the ones that took the biggest hit were
  2   herbicides as probable human carcinogens as -- as          2   the imidazolone family of chemistry, certainly several
  3   released by the IARC working group, and he felt and has    3   of the sulfonylureas lost considerable market share.
  4   openly stated in innumerable venues that he feels that     4   Those were the -- those were the most directly and
  5   it's very important that regulators get the science        5   heavily impacted herbicides. There's probably 15
  6   right on this question and he felt and laid out the        6   active ingredients in those two families of chemistry.
  7   reasons -- the scientific reasons very clearly, he felt    7   There certainly was some impact on the acetanilides,
  8   that EFSA in their review and EPA in its review have       8   A-C-E-T-A-N-I-L-I-D-E-S, herbicides, although not to
  9   got the science wrong. And he has worked to present        9   the same extent as some of the others.
 10   the -- the scientific arguments in support of his         10      Q. So the last one you mentioned, would that
 11   position in a -- in -- in a thorough and professional     11   include acetochlor?
 12   way that I think -- I think is a -- it is totally         12      A. Acetochlor and metolachlor at this point in
 13   appropriate.                                              13   time.
 14       Q. So while you may think that it's totally           14      Q. Okay. And both acetochlor and metolachlor are
 15   appropriate, you cannot say -- strike that.               15   Category C, correct?
 16         So you don't deny that Dr. Portier has a dog        16      A. Yes.
 17   in the fight with respect to glyphosate and its cancer    17      Q. Okay. They're both -- acetochlor specifically
 18   classification, but you think it's totally appropriate;   18   suggested evidence of carcinogenic potential, correct?
 19   is that correct?                                          19      A. Correct.
 20       A. I think Dr. Portier's efforts and work through     20      Q. Okay. So you certainly don't claim that
 21   peer-reviewed publications, through his work with the     21   metolachlor or acetochlor have more favorable risk
 22   IARC working group, through his engagement in public      22   profiles than glyphosate, correct?
 23   venues that I'm aware of has been professional and        23      A. No.
 24   appropriate and focused on the science in -- with the     24      Q. Okay. And, you know, you'll excuse me if I
 25   goal of assuring that these regulatory agencies get it    25   don't trace all of these actual pesticides to the


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  1   right. Because there -- there's a lot at risk, a lot       1   classes that you just discussed, but diquat, does
  2   at stake in the assessment of the world's most heavily     2   diquat apply to any of those classes that you just
  3   used pesticide.                                            3   discussed?
  4               MR. HOLLINGSWORTH: Let's mark an               4      A. No, diquat doesn't fall in any of them.
  5   exhibit.                                                   5   Diquat is a very old herbicide. It's -- I don't
  6                (Deposition Exhibit 10 was                    6   believe it's -- it's -- it wasn't a significant corn or
  7                marked for identification.)                   7   soybean or cotton herbicide and I -- you know, it -- I
  8        Q. (BY MR. HOLLINGSWORTH) Sir, you're familiar        8   would have to go back and look at the data, but
  9   with Exhibit 10, it's an article you wrote, correct?       9   remember, this is a paper that came out in 2012, and I
 10        A. Yes.                                              10   think the last year that I had use data was either 2010
 11        Q. Okay. It's in Environmental Sciences Europe,      11   or 2011, so it reflects what was known at -- at that
 12   it's titled Impacts of Genetically Engineered Crops on    12   time about the shift in the pounds of different
 13   Pesticide Use in the US, the First 16 Years, correct?     13   herbicide active ingredients applied on these 3G crops.
 14        A. Correct.                                          14      Q. Sure. And feel free to bring it forward to
 15        Q. On page 3, second full paragraph there, you       15   today if you have, you know, knowledge about, you know,
 16   note -- and this is with respect to glyphosate: In        16   how any of these use products have changed. But I'm
 17   light of its generally favorable environmental and        17   just kind of asking general questions about these
 18   toxicological properties, especially compared to some     18   pesticides.
 19   of the herbicides displaced by glyphosate, the dramatic   19         How about glyphosate compared to diquat, you
 20   increase in glyphosate use has likely not markedly        20   wouldn't say that diquat has a more favorable risk
 21   increased human health risk.                              21   profile than glyphosate, would you?
 22           Do you see that?                                  22      A. Well, you know, I -- I -- I am -- I'm
 23        A. Yes.                                              23   reluctant to make any statements about specific
 24        Q. Okay. What are some of the older herbicides       24   comparisons without, you know, refreshing my memory
 25   that were displaced by glyphosate?                        25   about the extent of use and the level of exposure. You


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  1   know, one of the reasons that I and most other people      1   think, one of the very first. There had been one or
  2   in -- at this time in the 2010, '11, 2012 when this        2   two studies of -- of Iowa farm families, and so that --
  3   paper came out were -- felt that compared to some of       3   so those studies reported that at least for people
  4   the other herbicides in use that glyphosate had a          4   living on farms or in farming areas there was exposure
  5   favorable toxicological environmental profile was that     5   occurring.
  6   at that time there was relatively little data about        6         But what -- what came later were -- was
  7   glyphosate showing up in food as residues. There was       7   biomonitoring of the general population, not people
  8   relatively little evidence of glyphosate being in          8   that had been handling or applying or living in an area
  9   drinking water or beverages. There was relatively          9   where substantial Roundup herbicide was -- was being
 10   little information about glyphosate biomonitoring --      10   sprayed, and of course evidence of -- of glyphosate
 11   from biomonitoring studies reporting levels in human      11   exposure in the general population, you know, is
 12   urine or blood. And at the time for -- at this point      12   important and -- and should be of concern to EPA and
 13   for, you know, two decades glyphosate had been            13   other regulators and the company.
 14   classified by EPA as not likely to pose oncogenic risk.   14       Q. But, Dr. Benbrook, you know just as well as
 15          When I did this paper -- this is a paper on        15   anybody that just monitoring urine in the -- sorry.
 16   use. The purpose of this paper was to address the         16   Strike that.
 17   claim that was often made that genetically engineered     17         Dr. Benbrook, you know as well as anybody
 18   crops had and were reducing pesticide use measured by     18   that -- that the fact that there's glyphosate in
 19   pounds of active ingredient applied. I was fairly         19   someone's urine doesn't mean that it's there at a level
 20   confident that that was not the case based on my annual   20   which it causes any human health effects, correct?
 21   work with the pesticide use data collected and released   21       A. Right. One would have to evaluate that.
 22   each year by the National Agricultural Statistics         22       Q. And just because there's levels of glyphosate
 23   Service which is part of the USDA. That's what the        23   in a general population's urine, that does not mean
 24   focus of this paper was. At this time I wasn't            24   that the general population is at any increased risk of
 25   actively looking at new science coming out on             25   cancer based on that, correct?


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  1   glyphosate toxicity, although I -- that began fairly       1       A. Well, it may -- it may or may not, but, you
  2   soon after the publication of this paper.                  2   know, I think it's important for the record to note
  3       Q. The glyphosate biomonitoring data that you          3   that at this -- at the time I wrote this paper, the --
  4   refer to, there certainly was some that came out prior     4   the general -- general knowledge in the pesticide
  5   to 2012, for example, that came out of the farm family     5   regulatory community was that certainly up until the --
  6   exposure study, correct?                                   6   when GE crops came on the market it was very unusual
  7       A. Right. The John Acquavella study and the -- a       7   for any glyphosate to be detected in food because it --
  8   couple of studies out of Iowa by a scientist whose name    8   it had to be applied before seeds even germinated
  9   starts with H, I can't remember exactly his name, but      9   because it would -- it would kill the crop once it
 10   yeah, there had been a few studies, but only a very       10   started to grow.
 11   few.                                                      11         So for the first approximate 30 years of the
 12       Q. All right. And those glyphosate biomonitoring      12   history of use of Roundup herbicides, despite the fact
 13   studies prior to this publication in 2012, they don't     13   that the -- you know, millions of pounds were being
 14   raise any cause for concern with respect to glyphosate    14   applied and use was growing fairly steadily over three
 15   and human health effects, correct?                        15   decades, there had been essentially no reports of
 16       A. Well, I wouldn't -- I wouldn't go -- go quite      16   glyphosate being detected in any food, particularly not
 17   that far. I mean, I think the -- whenever there's         17   any food as eaten, and nor was it showing up in water.
 18   evidence of exposure to pesticides in people and -- and   18   So the -- the -- one of the reasons that regulators,
 19   detecting a pesticide in a person's urine is clear        19   including the EPA, was not terribly concerned about
 20   evidence of exposure, that's important information that   20   general population genotox or cancer risk was because
 21   should be taken into account by the companies and         21   they -- they had no evidence that there was any
 22   registrants, should be taken into account by              22   significant exposures happening.
 23   registrants, and I -- at -- when -- when Monsanto did     23         But this changed in 1996 with the registration
 24   their biomonitoring study, it was early 2000s, right,     24   and approval of the first GE crops because the time
 25   published in like 2004 or something? That was, I          25   period when glyphosate could be applied on in


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  1   particular soy beans changed in a way that resulted in     1   US the only food crop that has been tested to -- to any
  2   substantial residues in the soy beans at harvest. So       2   significant degree is the two years that USDA sampled
  3   the first significant dietary exposure for the general     3   around 300 samples a year of soy beans. That's a --
  4   public resulted from the planting of Roundup-ready soy     4   that sort of work to do a cancer dietary risk
  5   beans and -- and really was starting to occur at the       5   assessment, there would have to be hundreds of samples
  6   time I wrote this paper, but -- and I think that's --      6   of wheat and oats and barley and a variety of other
  7   that the fact that some of -- that about this time the     7   crops, edible beans that -- on which glyphosate is now
  8   USDA did the first testing of soy beans and reported in    8   used as a pre-harvest desiccant.
  9   95 percent of the samples a fairly high level of           9          That -- it's fairly clear certainly to me that
 10   glyphosate and an even higher level of AMPA, A-M-P-A,     10   it's -- that it's those uses of glyphosate that are
 11   the primary metabolite.                                   11   likely the source of residues in the urine of the
 12         So at about this time in -- early in the            12   general public which -- which there -- there certainly
 13   decade of -- of 2010, several things were changing        13   are a number of studies now that have reported
 14   rapidly about how glyphosate was used, levels of          14   widespread exposures to glyphosate in the general
 15   exposure of -- to glyphosate in food and water and        15   public as evidenced by residues in urine.
 16   on -- on the risk front. There were starting to be        16       Q. And according to you, in some of your
 17   a -- a number of studies published on the genotox front   17   publications I believe you say soy beans are the crop
 18   and, you know, additional epidemiological studies were    18   on which glyphosate is most used; is that correct?
 19   being published. So it was a time of -- of changing       19       A. Well, certainly the volume of glyphosate used
 20   attitudes about glyphosate-based herbicides.              20   on soy beans is -- it's probably a bit higher than in
 21      Q. Right. But you don't know of any glyphosate         21   corn, but you'd have to look at it. I mean, it's -- I
 22   biomonitoring studies that show human health cancer       22   did a second paper in 2016 on trends in glyphosate use
 23   risks specifically with respect to the glyphosate         23   in the US and globally that has detailed tables with
 24   levels at which they appear in those biomonitoring        24   overall use as well as use by crop, and if -- if you
 25   studies, correct?                                         25   want -- if you want to discuss precise information, I'd


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  1      A. The -- because of EPA's classification of            1   like to pull that study up and we can talk about it.
  2   glyphosate as a -- as a Group E carcinogen not likely      2      Q. No need, Doctor, but soy beans are one of the
  3   to pose carcinogenic risk, the EPA has not conducted a     3   crops that glyphosate is most used on, top three
  4   cancer risk assessment of glyphosate and nor has -- has    4   probably, right?
  5   any other regulatory agency to my knowledge done a --      5      A. Oh, certainly top three, definitely.
  6   you know, a -- what -- you know, a contemporary dietary    6      Q. Okay. And when the USDA sampled around 300
  7   risk assessment based on actual residue data of            7   samples a year of soy beans and conducted that cancer
  8   glyphosate in different foods of which we now know that    8   dietary risk assessment, the USDA did not express any
  9   there are a substantial number of foods in which           9   concern that there was a cancer risk associated with
 10   glyphosate is present as residue. So the -- that --       10   glyphosate being sprayed on those soy beans, correct?
 11   that assessment has not been done.                        11      A. Well, I -- I really don't accept a premise in
 12      Q. That assessment can be done by someone other        12   your question. The USDA nor the EPA has never
 13   than EPA, correct?                                        13   conducted a cancer dietary risk assessment of
 14      A. Well, it could be, yes.                             14   glyphosate. They've never done that. Now, were they
 15      Q. And you don't know -- you do not know of any        15   to conduct a study, the residue data from the USDA
 16   glyphosate biomonitoring studies that show human health   16   monitoring of glyphosate and AMPA in soy beans would
 17   cancer risk specifically with respect to the glyphosate   17   have been an important data point, but they -- because
 18   levels at which they appear in those biomonitoring        18   the -- you know, the general public doesn't eat a lot
 19   studies, correct?                                         19   of soy beans directly, soy beans are fed to animals and
 20      A. I'm not aware that anyone has made such an          20   they're used in a number of processed foods, it's a
 21   assessment or conducted such a cancer risk assessment.    21   very complicated process to come up with quantitative
 22   And there's a -- reasons why they can't. You know,        22   estimates of actual human exposures even when you know
 23   there -- there is no comprehensive database of actual     23   that 95 percent of the soy beans contain a -- one and a
 24   levels of glyphosate and AMPA in a variety of foods.      24   half parts per million of glyphosate which was roughly
 25   There's only a small number of foods -- in fact, in the   25   the results of the USDA monitoring. That -- that very


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  1   detailed assessment of actual dietary exposures has not    1      Q. Okay. There's a section entitled Summary of
  2   been done.                                                 2   the Exposure Profile in the United States. Do you see
  3         What has been done is periodic sampling of           3   that?
  4   human urine which has shown progressively higher levels    4      A. Yes.
  5   of glyphosate and AMPA from the -- the mid 2000s to        5      Q. Okay. The second paragraph notes: Labeled
  6   today. So what that body of evidence says is that          6   uses of glyphosate include over 100 terrestrial food
  7   exposure levels in the general public have                 7   crops as well as other non-agricultural sites, such as
  8   incrementally gone up because of the rising mean levels    8   greenhouses, aquatic areas and residential areas.
  9   of urinary metabolites of glyphosate and AMPA in urine.    9         Do you see that?
 10      Q. Okay. But the biomonitoring studies that show       10      A. Yes.
 11   progressively higher levels of glyphosate and AMPA from   11      Q. So EPA is certainly aware that
 12   the mid 2000s to today, that doesn't say anything about   12   glyphosate-based herbicides are used on a variety -- a
 13   the risk to the general public associated with            13   wide variety of areas and a wide variety of crops
 14   glyphosate used on those crops, correct?                  14   according to this 2017 EPA document, right?
 15      A. Yes. It's simply important information on the       15      A. Right.
 16   exposure side of the risk assessment equation.            16      Q. The next paragraph notes: Dietary, in
 17      Q. And EPA nor any other regulator has determined      17   parenthesis food and water, exposures are anticipated
 18   that that exposure scenario that they're well aware of    18   from applications to crops.
 19   creates any increased risks to the general public with    19         Do you see that?
 20   respect to glyphosate and cancer, correct?                20      A. Yes.
 21      A. I think in general, the EPA and most                21      Q. So EPA is certainly aware that
 22   regulators expect that rising exposure is likely          22   glyphosate-based herbicide use in the United States
 23   associated with rising risk. Now, whether -- whether      23   will lead to some dietary exposure according to this
 24   the -- the increment in risk following an increase in     24   2017 EPA document, correct?
 25   exposure reaches a threshold of concern is, of course,    25      A. Correct.


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  1   a -- a separate issue, but in general, scientists agree    1       Q. The paragraph goes on to note -- goes on to
  2   that rising levels of exposure are -- are likely to        2   discuss residential and occupational exposure. Do you
  3   increase whatever risks might be associated with the       3   see that?
  4   exposure to a particular chemical. Whether those risks     4       A. Yes.
  5   are very modest or whether they're high, they're likely    5       Q. According to this 2017 document, EPA is aware
  6   to go up roughly proportional to exposure.                 6   of glyphosate use in residential settings, correct?
  7              MR. LITZENBURG: How much time on the            7       A. Correct.
  8   record?                                                    8       Q. According to this document, EPA is also aware
  9              VIDEO OPERATOR: 3 hours and 15 minutes.         9   of occupational or commercial workers who may be
 10       Q. (BY MR. HOLLINGSWORTH) Sir, we discussed the       10   exposed to glyphosate while handling the pesticide
 11   2017 issue paper earlier in the deposition, correct?      11   prior to application during mixing and loading,
 12       A. Yes.                                               12   correct?
 13       Q. Okay. I want to open that back up again.           13       A. Correct.
 14       A. The 20 -- you've given me the 2016 one, not        14       Q. Okay. And that's two uses of pesticide
 15   the 2017 one.                                             15   products, that is, mixing and loading, which you say
 16       Q. I think I gave you the 2017, but let's take a      16   that applicators are subject to increased exposure; is
 17   look at whatever I gave you.                              17   that correct?
 18       A. Okay. I got the 2016. I think it was Number        18       A. Compared to the general public, yes.
 19   2, Exhibit Number 2.                                      19       Q. Okay. And EPA is aware of that, correct?
 20       Q. It's the 2017.                                     20       A. Yes.
 21       A. It's Number 3 is the one I've got. Oh, okay,       21       Q. EPA is also aware of occupational or
 22   all right. You're right.                                  22   commercial exposure that may occur during application
 23       Q. So 2017, can you please turn to page 15?           23   of the pesticide, correct?
 24       A. Boy, it looks just like the 2016 one, doesn't      24       A. In general, yes.
 25   it? Page 15, okay.                                        25       Q. Okay. EPA is also aware of occupational or


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  1   commercial exposure that may be experienced by those       1       Q. And they've considered that data in coming to
  2   entering treated sites, correct?                           2   the conclusion that glyphosate is not likely to be
  3       A. In general, yes.                                    3   carcinogenic, correct?
  4       Q. Okay. And we saw that the Roundup ProMax            4       A. No. They -- that data didn't play a role
  5   label warned about that type of increased exposure,        5   in -- in that judgment. The EPA judgment on
  6   correct?                                                   6   oncogenicity was based on -- primarily on the animal
  7       A. Yes, we did.                                        7   bioassays and secondarily on the -- the genotox studies
  8       Q. This 2017 EPA document on the carcinogenic          8   and with I think -- in -- light weight on the
  9   potential of glyphosate states that EPA considers all      9   epidemiological evidence. The EPA never carried out --
 10   of the anticipated exposure pathways as part of their     10   never -- it just -- it didn't take into account the --
 11   evaluation for human health. You agree with that,         11   the trends in the overall pounds applied in -- in
 12   don't you?                                                12   reaching that classification.
 13       A. Well, to the extent that they have any             13       Q. Sir, when EPA made its classification of
 14   information on them, yes.                                 14   glyphosate in 2017 as noncarcinogenic, they certainly
 15       Q. Okay. Were you aware that this EPA -- 2017         15   made that determination based on an understanding of
 16   EPA document actually cites one of your publications on   16   the glyphosate exposure metrics that you cite in your
 17   exposure and pesticide use?                               17   own paper, correct?
 18       A. Yes.                                               18       A. No, I don't -- I don't agree with that
 19       Q. Okay. Please turn to the next page.                19   statement.
 20       A. Okay.                                              20       Q. So EPA, despite having a section in the issue
 21       Q. It says: At the time of initial registration,      21   paper on the carcinogenic potential of glyphosate that
 22   1974, total use of glyphosate in the United States was    22   goes over at least five pages of this exposure profile
 23   approximately 1.4 million pounds according to Benbrook    23   of glyphosate, tracking it from 1974 forward, including
 24   2016.                                                     24   the increase in glyphosate as expressed in your
 25         I assume you agree with that?                       25   publication, they're not aware of that? Is that what


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  1      A. Yes.                                                 1   you're -- is that what you're stating? They didn't --
  2      Q. Okay. Then this 2017 EPA document tracks the         2      A. No, that's --
  3   increase of glyphosate since that time through at least    3      Q. -- consider that?
  4   2014, correct?                                             4      A. -- not what I said.
  5      A. Correct.                                             5      Q. Okay. You're stating that EPA didn't consider
  6      Q. For example, EPA was aware in 2017 that by           6   glyphosate use from 1974 forward, increased glyphosate
  7   1995 total use of glyphosate increased to approximately    7   use all the way through 2014 in this carcinogenic issue
  8   40 million pounds, correct?                                8   paper? Is that what you're stating?
  9      A. Yes, yep.                                            9      A. No, it's not what I said.
 10      Q. Okay. EPA in 2017 was certainly aware that by       10      Q. Okay. You're stating that EPA didn't take
 11   2000, the total use of glyphosate in the United States    11   notice of this exposure profile of glyphosate when it
 12   was approximately 98.5 million pounds, right?             12   determined that glyphosate is noncarcinogenic, correct?
 13      A. What year?                                          13      A. You're -- you're mischaracterizing the
 14      Q. By the year 2000.                                   14   session -- section. This is not an exposure profile
 15      A. Yes, okay, yeah, okay, yes.                         15   section. It's a section on the use, the pounds
 16      Q. So then also the EPA was certainly aware that       16   applied. The pounds applied of glyphosate is important
 17   by 2014 the total annual use of glyphosate was            17   in determining exposure, but it's not a direct measure
 18   approximately 280 to 290 million pounds, correct?         18   of exposure, and it's the exposures that EPA would --
 19      A. Correct.                                            19   would have to have in order to conduct a -- a
 20      Q. So EPA has tracked the increase in exposure to      20   carcinogenic risk assessment.
 21   glyphosate from 1974 forward, correct?                    21      Q. Sir, just to be clear, you say I'm
 22      A. Yes.                                                22   mischaracterizing the section, but the section is
 23      Q. And they've done so in this 2017 issue paper        23   actually titled Summary of the Exposure Profile in the
 24   on the carcinogenic potential of glyphosate, correct?     24   United States. Correct?
 25      A. Correct.                                            25      A. Yes.


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  1       Q. Okay.                                               1       Q. Yes, it is. Let's just move on. We don't
  2       A. But there -- you know, there is -- in               2   have a lot of time here.
  3   discussing the exposure profile, the EPA appropriately     3         EPA would certainly consider the most
  4   feels that it's helpful to look at the available           4   up-to-date exposure metrics with respect to dietary
  5   information on the overall pounds applied, but the         5   glyphosate in the water and occupational use when
  6   agency is well aware that there's no direct way to         6   conducting its 2017 carcinogenic risk assessment,
  7   estimate exposure based on pounds applied because there    7   correct?
  8   are many factors that give rise to differences in          8       A. No, I don't agree with that. There -- there
  9   exposure, especially through food and water, relative      9   is no occupational carcinogenic risk assessment in this
 10   to what crops the -- the herbicide is applied on, what    10   document, nor has EPA carried out one because they
 11   stage of the crop growth the herbicide is applied on,     11   classified glyphosate in 1991 and have retained that
 12   etcetera.                                                 12   classification as not likely to pose oncogenic risk.
 13       Q. Sir, you just testified that what EPA would        13   So based on that judgment, they -- they have concluded
 14   have to have is -- is the exposures listed here in        14   that it's unnecessary to do a cancer risk assessment.
 15   order to conduct the carcinogenic risk assessment. How    15       Q. EPA is well aware of the amount of pounds of
 16   does EPA not have exposures to glyphosate from 1974       16   glyphosate that's sprayed across the country as
 17   forward? We just read several pages where they're         17   outlined in this issue paper in which they cite your
 18   listing out that information explicitly.                  18   publication, correct?
 19       A. We just referenced some paragraphs in which        19       A. I -- I think there's a fairly high level of
 20   EPA is citing data on the pounds of glyphosate active     20   agreement among all people including people in Monsanto
 21   ingredient applied principally by farmers. That --        21   that the information available is roughly accurate at
 22   that is different from estimates of exposure to           22   the national level on total glyphosate use. I don't
 23   glyphosate for the general public.                        23   think that's an issue in -- in dispute in this case.
 24       Q. Okay. But EPA in 2017 in this carcinogenic         24       Q. And if you look at the next page -- sorry, two
 25   issue paper certainly took into account the exposure      25   pages over under the map of the United States?


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  1   profile of glyphosate in the United States, correct?       1      A. Are we on 18?
  2      A. To the extent that they had residue data on          2      Q. Yes, sir.
  3   glyphosate in -- in foods and in drinking water, but       3      A. Okay.
  4   EPA did not conduct a carcinogenic risk assessment on      4      Q. This 2017 EPA document notes: Using HED's
  5   glyphosate because the agency classified in 1991 and       5   standard occupational exposure assessment methodologies
  6   has not changed the classification that glyphosate does    6   which are based on peer-reviewed and validated exposure
  7   not pose a significant risk of cancer based on             7   data and models, mixer/loaders result in the highest
  8   contemporary uses and -- and the best knowledge about      8   potential exposure estimates.
  9   exposure levels for the general public. Because they       9         Do you see that?
 10   reached that judgment, they did not carry out a           10      A. Yes.
 11   oncogenic risk assessment.                                11      Q. So EPA in 2017 is using the most up-to-date
 12      Q. But when EPA makes a decision in 2017 that          12   exposure metrics and inputting them into their
 13   glyphosate is not carcinogenic, they aren't making that   13   peer-reviewed and validated exposure models in
 14   decision in a vacuum. They have exposure data from the    14   assessing occupational exposure to glyphosate in the
 15   1970s. They're considering the most up-to-date            15   United States, correct?
 16   exposure data through 2017.                               16      A. That's what they -- they say, yes.
 17      A. I guarantee you they didn't have any exposure       17      Q. Okay. So it goes on: Assuming no personal
 18   data from the '70s or they had very little. I'd have      18   protective equipment, PPE, exposure estimates for
 19   to refresh my memory on -- to what extent this document   19   mixer/loaders range from 0.03-7 mg/kg/day using the
 20   gets into any -- let me -- let me look, please. So        20   maximum application rate for high acreage crops.
 21   exposure members -- measures are addressed on page 28.    21         Do you see that?
 22   Exposure numbers -- measures.                             22      A. Yes.
 23      Q. That's looking at exposure in epidemiology          23      Q. So EPA is conservative in its exposure
 24   studies, correct, sir?                                    24   calculation in this 2017 cancer risk assessment by
 25      A. Is that in the epidemiology section?                25   assuming no PPE and maximum application rates, correct?


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  1       A. Certainly the maximum application rates would       1   determination of whether findings in laboratory studies
  2   be regarded as a -- as a worst-case scenario. I --         2   are relevant for human risk assessment.
  3   there really is not any -- there's very little PPE         3         Do you see that?
  4   required on the label, so I don't think that's a           4      A. No, I don't. Where are you at?
  5   worst-case scenario. Worst-case scenario would be          5      Q. The next paragraph.
  6   somebody applying glyphosate with a T-shirt on without     6      A. Starting with "the maximum potential
  7   long sleeves because the label says you should have        7   exposures"?
  8   long sleeve -- a long-sleeved shirt and -- and             8      Q. Correct.
  9   long-sleeved pants on. So I -- I wouldn't regard that      9      A. Okay. Okay, yes, I'm sorry.
 10   as a -- as a -- a worst-case scenario.                    10      Q. Do you see that?
 11       Q. Sir, this says no -- assuming no personal          11      A. Yeah.
 12   protective equipment. What -- how can you get any more    12      Q. Okay. So EPA uses the most up-to-date
 13   than zero?                                                13   exposure metrics and calculations for humans in the
 14       A. Very easily. You could wear gloves, you could      14   real world in order to assist its interpretation of the
 15   wear a face shield.                                       15   relevant animal studies, correct?
 16       Q. I'm saying they're assuming no gloves, no skin     16      A. No.
 17   protection at all, so how can you get any worse than      17      Q. Why not?
 18   that in terms of a worst-case scenario?                   18      A. You said they use that to assist their
 19              MR. LITZENBURG: Object to the form.            19   interpretation of the animal studies. They base their
 20       A. You could have a short-sleeved shirt on. You       20   interpretation of the animal studies on the design of
 21   could have shorts on, be spraying in sandals.             21   the study and the results in the animal studies,
 22       Q. (BY MR. HOLLINGSWORTH) This -- this exposure       22   period. Now, they -- they use the results of the
 23   assessment is assuming that. It's assuming no PPE at      23   animal studies in their effort to quantify human risk
 24   all, correct? That's what it states here.                 24   based on their best estimate of human exposures.
 25       A. I can -- I'm quite sure that -- that this          25      Q. This document states that EPA is using the


                                              Page 591                                                       Page 593
  1   assessment is -- is based on adherence to the -- the       1   most up-to-date exposure metrics in calculations for
  2   minimum clothing requirements that are on the label        2   humans in the real world in order to insist -- assist
  3   which are long-sleeved shirts and pants, long-sleeved      3   in the interpretation of the relative laboratory
  4   pant, full-leg pants, that's -- you know, I would --       4   studies that are relevant for human health risk
  5   I'm quite -- quite sure that they would have -- they       5   assessment, correct?
  6   had assumed that in -- they wouldn't regard that as        6       A. Assist in the interpretation. Are -- is that
  7   added PPE is what I'm saying.                              7   a direct quote from in here?
  8       Q. Sir, you testified previously that                  8       Q. Yes, sir. It says: The maximum potential
  9   long-sleeved shirt and pants are actually types of PPE,    9   exposures from currently registered uses of glyphosate
 10   correct?                                                  10   in residential and occupational settings in the United
 11       A. There are -- they do reduce applicator             11   States are used in the current evaluation to aid in a
 12   exposure. They're really not equipment. They're           12   determination of whether findings in laboratory studies
 13   clothing and they're -- they are -- they certainly        13   are relevant for human health risk assessment.
 14   are -- if we go back to -- and look at the ProMax         14       A. Okay, correct.
 15   label, I'm quite sure it will include the requirement     15       Q. Okay. So EPA is certainly considering the
 16   that applicators should wear long-sleeved shirts and --   16   most up-to-date exposure figures in determining whether
 17   and -- and pants. I don't regard that as added PPE.       17   findings in laboratory studies are relevant for human
 18   That's sort of minimum requirements, and I would guess    18   health risk assessment, correct?
 19   that that's what's reflected in this statement by         19       A. Right. They're -- they're implying that
 20   the -- by the EPA relative to their applicator exposure   20   they -- they took the toxicological thresholds from the
 21   assessment.                                               21   animal studies and compared those to estimated levels
 22       Q. And it goes on to note: The maximum potential      22   of exposure, and based on that, they reached their --
 23   exposures from currently registered uses of glyphosate    23   their judgment about the absence of oncogenic risk.
 24   in residential and occupational settings in the United    24       Q. EPA is periodically reevaluating those animal
 25   States are used in the current evaluation to aid in the   25   studies, correct?


                                                                            37 (Pages 590 to 593)
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HIGHLY                               Charles Benbrook, Ph.D.                                            HIGHLY
CONFIDENTIAL                             August 14, 2018                                          CONFIDENTIAL
                                              Page 594                                                      Page 596
  1      A. Yes.                                                1      Q. (BY MR. HOLLINGSWORTH) The most recent
  2      Q. Okay. It goes on to note specifically that          2   registration review determination takes precedent over
  3   results from these studies, particularly --               3   any prior EPA determination because it is considering
  4   particularly those administering high doses, are put      4   the most up-to-date science, correct?
  5   into context with the human exposure potential in the     5      A. Yes, in general.
  6   United States. Do you see that?                           6             MR. TRAVERS: Objection, form.
  7      A. Yes.                                                7      Q. (BY MR. HOLLINGSWORTH) The most recent
  8      Q. So EPA is looking at the most up-to-date            8   registration review determination takes precedence over
  9   exposure data and putting the animal studies in which     9   any EPA determination -- prior EPA determination
 10   those rats and mice are tested at extremely high doses   10   because it is reviewing the pesticide based on the most
 11   into context when conducting its risk assessments,       11   recent cancer review guidelines, correct?
 12   right?                                                   12             MR. TRAVERS: Objection, form.
 13      A. Correct. How much time we got?                     13      A. That would be a component of it, the
 14             MR. HOLLINGSWORTH: Let's go off the            14   assessment of oncogenicity based on its current
 15   record.                                                  15   guidelines, yes.
 16             VIDEO OPERATOR: Going off the record.          16             MR. LITZENBURG: Grant, are you
 17   The time is 11:31 a.m.                                   17   reserving any time for redirect?
 18             (Discussion off the record.)                   18             MR. HOLLINGSWORTH: I'm reserving some
 19             VIDEO OPERATOR: Going back on the              19   time.
 20   record. The time now is approximately 11:32 a.m.         20      Q. (BY MR. HOLLINGSWORTH) The most recent --
 21      Q. (BY MR. HOLLINGSWORTH) Sir, you are familiar       21             MR. LITZENBURG: Hang on one second.
 22   with the glyphosate registration review process,         22   What are we at on the record, please?
 23   correct?                                                 23             THE WITNESS: 22 minutes to go.
 24      A. Yes.                                               24             VIDEO OPERATOR: 3 hours, 38 minutes, 57
 25      Q. At any point during that year's long               25   seconds.


                                              Page 595                                                      Page 597
  1   registration process as EPA is collecting data, if EPA    1              MR. LITZENBURG: All right. I am going
  2   comes across exposure data or toxicity data that it       2   to let Jeff Travers take over for plaintiffs here at
  3   feels may be a cause for concern, EPA has the power to    3   this point and I'm leaving.
  4   suspend a pesticide's registration, correct?              4              THE WITNESS: Fly safe.
  5              MR. TRAVERS: Objection, form, compound.        5              MR. LITZENBURG: Talk to you soon,
  6       A. It's a long process, but yes, ultimately it --     6   Chuck.
  7   it does have that authority.                              7               (Mr. Litzenburg exits proceedings.)
  8       Q. (BY MR. HOLLINGSWORTH) If EPA sees exposure        8       Q. (BY MR. HOLLINGSWORTH) The most recent
  9   data or toxicity data --                                  9   registration review determination will supplant all
 10              THE WITNESS: Jeff is on the phone, Tim.       10   prior determinations about the pesticide's
 11              MR. LITZENBURG: Okay.                         11   carcinogenicity, correct?
 12       Q. (BY MR. HOLLINGSWORTH) If EPA --                  12       A. Yes.
 13              THE WITNESS: You need to bolt.                13       Q. Restrictions on use, if any are called for in
 14       Q. (BY MR. HOLLINGSWORTH) I'll start again. If       14   the final registration review determination, will also
 15   EPA comes across exposure data or toxicity data it       15   supplant any prior use restrictions, correct?
 16   feels there's a cause for concern, EPA may require the   16       A. If they're translated in changes in labels,
 17   registrant to provide more studies or data to satisfy    17   yes.
 18   EPA's concern, correct?                                  18       Q. The most recent registration review decision
 19       A. Correct.                                          19   will effectively approve all labeled uses after
 20       Q. And ultimately at the end of registration         20   consideration of the full database on glyphosate and
 21   review, EPA will come out with an agency-wide            21   glyphosate-based formulations at EPA's disposal,
 22   determination regarding the carcinogenic potential of    22   correct?
 23   glyphosate, correct?                                     23              MR. TRAVERS: Object -- object to form.
 24       A. That would be one element of it, yes.             24       A. It may or may not. It's not out yet. We have
 25              MR. TRAVERS: Objection, form.                 25   to wait.


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HIGHLY                                 Charles Benbrook, Ph.D.                                           HIGHLY
CONFIDENTIAL                               August 14, 2018                                         CONFIDENTIAL
                                                Page 598                                                     Page 600
  1             MR. HOLLINGSWORTH: Jeff, do you plan on          1   know, 15 percent, 10 or 15 percent, and I'm quite --
  2   asking any questions?                                      2   I'm pretty sure that to this day Atrazine is the Number
  3             MR. TRAVERS: Not at this point.                  3   2 herbicide used behind glyphosate.
  4             MS. HOEKEL: Grant, I have one.                   4       Q. And do you claim Atrazine has a more favorable
  5             MR. HOLLINGSWORTH: Okay, go ahead. Is            5   risk profile than glyphosate?
  6   this Jennifer Hoekel?                                      6       A. Well --
  7             MS. HOEKEL: It is.                               7              MR. TRAVERS: Objection, beyond the
  8             MR. HOLLINGSWORTH: Okay.                         8   scope of his expert disclosure.
  9                                                              9              THE WITNESS: Do you want me to -- can I
 10                  EXAMINATION                                10   still answer, Jeff, or you --
 11    BY MS. HOEKEL:                                           11              MR. HOLLINGSWORTH: Yes.
 12       Q. Dr. Benbrook, this is Jennifer Hoekel. I was       12              MR. TRAVERS: That is beyond the scope
 13   at your deposition when we were in Clarkston earlier      13   of your expert opinion in this case.
 14   this summer.                                              14       Q. (BY MR. HOLLINGSWORTH) Sir, do you not
 15       A. Hello, Jennifer.                                   15   discuss other herbicides at all in your expert report?
 16       Q. How are you?                                       16   I believe you mention them in several places.
 17       A. I'm fine.                                          17       A. There's certainly a few others that I -- that
 18       Q. Good. You had talked earlier with                  18   I mentioned.
 19   Mr. Hollingsworth about the -- about the duty to warn     19       Q. Do you not mention Atrazine anywhere in your
 20   issues with respect to the manufacturer, and my           20   expert report?
 21   question is do you have any opinion on the obligations    21       A. It's no doubt mentioned in the use profile
 22   or the duty to warn by an ad agency for labeling          22   where Atrazine was the Number 1 herbicide up through
 23   products?                                                 23   2000, but by 2001 or '2 was displaced by glyphosate.
 24       A. Ad agency. No, no, I really don't. I mean,         24   So I -- I know I talk about the -- the use of Atrazine,
 25   ad agencies are putting information in advertisements     25   but I say nothing about the toxicological profile of


                                                Page 599                                                     Page 601
  1   that are provided by their -- their clients, so I -- I     1   Atrazine or -- or comparative risk assessment between,
  2   don't have any opinions about the responsibility of the    2   say, an acre of corn sprayed with Atrazine versus an
  3   ad agency to verify the accuracy of content of ads that    3   acre of corn sprayed with glyphosate. That's a whole
  4   they're asked to run.                                      4   another complicated analysis which was not pertinent
  5              MS. HOEKEL: Thank you, Dr. Benbrook,            5   to -- to this case.
  6   that's all I have.                                         6      Q. In several paragraphs in your report including
  7                                                              7   on page -- paragraph 944 --
  8                 FURTHER EXAMINATION                          8      A. 944.
  9    BY MR. HOLLINGSWORTH:                                     9      Q. -- you discuss Atrazine exposures via drinking
 10       Q. Sir, I want to get back to some of the             10   water and their association with breast cancer,
 11   pesticides that glyphosate displaced as referred to in    11   correct?
 12   your publications and just your general knowledge about   12      A. Let me see what section we're in. We're in --
 13   the issue, okay?                                          13   okay. Yes, okay.
 14       A. Okay.                                              14      Q. Okay. So is it your opinion that Atrazine has
 15       Q. Okay. Do you think that glyphosate displaced       15   a more favorable risk profile than glyphosate?
 16   the use of Atrazine at all?                               16              MR. TRAVERS: Objection, asked and
 17       A. Not to any significant extent. The Atrazine        17   answered.
 18   labels went through some substantial changes, you know,   18      A. The -- the risk profile of both glyphosate and
 19   maybe six or eight years ago. The maximum application     19   Atrazine is very complicated. It depends on to whom
 20   rate was cut. There were a number of restrictions         20   you're -- we're referring and what risk, and at this
 21   placed on areas where Atrazine couldn't be used, and      21   point I'm not prepared to -- to make any statements
 22   it -- it did have a discernible impact -- these label     22   regarding in general which herbicide poses the more or
 23   changes had a discernible impact on the overall pounds    23   less risk. They -- they pose some similar risks and
 24   applied principally on corn. That's by far the main       24   raise some of the similar concerns, but I'm not
 25   use of Atrazine. But it was -- it was modest, you         25   prepared to do a -- on -- off the top of my head a


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HIGHLY                               Charles Benbrook, Ph.D.                                                     HIGHLY
CONFIDENTIAL                             August 14, 2018                                                   CONFIDENTIAL
                                              Page 602                                                                 Page 604
  1   comparative risk assessment, sorry.                        1       A. I -- yes, I believe that there's clear
  2      Q. (BY MR. HOLLINGSWORTH) Sir, you don't have           2    evidence in the scientific record that exposure to
  3   the expertise to conduct a comparative risk assessment     3    glyphosate-based herbicides is a -- is a risk factor
  4   between one pesticide and another; is that what you're     4    for non-Hodgkin's lymphoma.
  5   saying?                                                    5       Q. Am I also correct that you reached that
  6      A. No, that's not what I'm saying.                      6    opinion by relying on epidemiology, genotoxicity and
  7      Q. So you do claim to have that expertise?              7    animal studies in combination?
  8      A. Yes, I do.                                           8       A. Yes.
  9      Q. Okay. So if someone comes in at the next             9       Q. It is not your opinion that the genotoxicity
 10   deposition after you've had time to prepare and asks      10    database on glyphosate and glyphosate-based herbicides
 11   you about that, you'll be ready for -- to testify as to   11    by itself provides sufficient evidence to say
 12   that?                                                     12    glyphosate-based herbicides cause NHL, right?
 13             MR. TRAVERS: Objection. This case is            13       A. I would -- I would agree with that.
 14   not about Atrazine. If we -- and he's not been asked      14       Q. It is not your opinion that the glyphosate
 15   to do a comparative assessment between Atrazine and       15    epidemiology database by itself provides sufficient
 16   glyphosate and he's not being asked to do that in this    16    evidence to say glyphosate-based herbicides cause or
 17   case, so it's beyond his expert disclosure in this case   17    are associated with NHL, correct?
 18   and I would object to that question.                      18               MR. TRAVERS: Objection to form.
 19      Q. (BY MR. HOLLINGSWORTH) Okay. Well, I'll ask         19    There's a big difference between cause and associated.
 20   you a question specific to glyphosate. How are            20       A. Yeah. I think there's -- there's important
 21   glyphosate's environmental and toxicological profiles     21    evidence suggesting a link in the epidemiological data,
 22   safer or better than Atrazine?                            22    but it -- there's no reason or need to base such a
 23             MR. TRAVERS: Objection, asked and               23    judgment only on that data because there's a lot of
 24   answered. He has not done that comparative analysis in    24    other data that is relevant and should be taken into
 25   this case. He just told you that.                         25    account.


                                              Page 603                                                                 Page 605
  1       Q. (BY MR. HOLLINGSWORTH) Are you not going to         1      Q. (BY MR. HOLLINGSWORTH) Okay. It's not your
  2   respond?                                                   2   opinion that glyphosate epidemiological database by
  3       A. As I said, you know, discussing in general the      3   itself provides sufficient evidence to say that
  4   risk profile of a -- of a herbicide like glyphosate        4   glyphosate-based herbicides cause NHL, right?
  5   that's used on over 100 crops in a vast different set      5      A. I -- I guess I would agree with that, yeah.
  6   of ways exposing different cohorts of people to            6      Q. Okay. But it is your opinion that the
  7   different risks from cancer risk to reproductive risk,     7   epidemiological database by itself provides sufficient
  8   birth defects, liver toxicity, it's -- it's extremely      8   evidence to say that glyphosate-based herbicides are
  9   complicated and difficult to actually compare risk         9   associated with NHL?
 10   levels. It's a little easier in the case of Atrazine      10      A. Yes.
 11   because it's only used to a substantial extent on a       11      Q. Okay. So when IARC says that the epidemiology
 12   small number of crops. It rarely, rarely, if ever,        12   evidence is limited, you're disagreeing with IARC; is
 13   shows up as a residue in food, but the big concern with   13   that correct?
 14   Atrazine are the levels in drinking water because it's    14      A. No, no, not really.
 15   a -- it's a herbicide that leaches down into ground       15            MR. TRAVERS: Objection to form.
 16   water aquifers.                                           16      Q. (BY MR. HOLLINGSWORTH) Okay. How are you not
 17          One could do a comparative risk assessment of      17   disagreeing with IARC?
 18   Atrazine versus glyphosate exposures via drinking water   18      A. You know, I -- I think IARC's -- IARC's
 19   based on some of the recent USGS monitoring data          19   analysis is -- is quite sound. It's actually not that
 20   that -- that I'm aware of, but I haven't -- I haven't     20   different from the analysis of several of the Monsanto
 21   done that analysis recently, and it's not -- you know,    21   scientists. There's multiple statements in the record
 22   I -- I saw no reason to do so in the context of this      22   from Acquavella and -- and Strahan, the -- the man that
 23   case.                                                     23   actually participated in the IARC working group
 24       Q. Sir, your opinion is that glyphosate-based         24   process, that IARC evaluation of the epidemiological
 25   herbicides cause NHL; is that right?                      25   database was fairly consistent with their own. So I --


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HIGHLY                               Charles Benbrook, Ph.D.                                                            HIGHLY
CONFIDENTIAL                             August 14, 2018                                                          CONFIDENTIAL
                                              Page 606                                                                            Page 608
  1   you know, it's -- it's not sufficient evidence in and      1          CORRECTION & SIGNATURE PAGE
  2   of itself, it's not as strong as the genotox evidence      2   RE: RONALD PETERSON vs. MONSANTO COMPANY
                                                                        CITY OF ST. LOUIS, STATE OF MISSOURI;
  3   taken as a whole, but it's -- you know, it certainly
                                                                 3      1622-CC01071
  4   adds to the -- to the knowledge base for anyone trying            CHARLES BENBROOK, Ph.D., VOLUME II
  5   to reach a judgment on whether exposure to glyphosate      4      TAKEN AUGUST 14, 2018
  6   and glyphosate-based herbicides poses an NHL risk.                       REPORTED BY: PATSY D. JACOY
  7       Q. It is not your opinion that glyphosate animal       5
                                                                          I, CHARLES BENBROOK, Ph.D., have read the within
  8   carcinogenicity database by itself provides sufficient
                                                                 6   transcript taken August 14, 2018, and the same is true
  9   evidence to say that glyphosate-based herbicides cause         and accurate except for any changes and/or corrections,
 10   NHL, right?                                                7   if any, as follows:
 11       A. I would agree with that, yes.                       8
 12       Q. It is your opinion that when you combine all        9   PAGE/LINE           CORRECTION         REASON
                                                                10   _______________________________________________________
 13   three of those bodies of science, that is when you have
                                                                11   _______________________________________________________
 14   sufficient evidence to say that glyphosate-based          12   _______________________________________________________
 15   herbicides cause NHL, correct?                            13   _______________________________________________________
 16       A. Well, certainly contribute to non-Hodgkin's        14   _______________________________________________________
 17   lymphoma risk, yes. I think that's the -- that was        15   _______________________________________________________
 18                                                             16   _______________________________________________________
      the -- the basic judgment of the IARC working group was
                                                                17   _______________________________________________________
 19   that it -- there are -- there are -- that there is a --   18   _______________________________________________________
 20   a probable cancer risk following exposures to             19   _______________________________________________________
 21   glyphosate-based herbicides based on the totality of      20   _______________________________________________________
 22   the evidence that they reviewed.                          21   _______________________________________________________
                                                                22      Signed at ______________________, Washington,
 23       Q. Okay. But you have no formal training in
                                                                23   on this date: ____________________________.
 24   genotoxicity, correct?                                    24            _________________________________
 25       A. Correct.                                           25            CHARLES BENBROOK, Ph.D.


                                              Page 607                                                                            Page 609
  1       Q. You have no formal training in epidemiology,        1                REPORTER'S CERTIFICATE
  2    correct?                                                  2
                                                                 3        I, PATRICIA D. JACOY, the undersigned Certified Court
  3       A. Correct.
                                                                 4   Reporter, pursuant to RCW 5.28.010 authorized to administer
  4       Q. You have no formal training in animal
                                                                 5   oaths and affirmations in and for the State of Washington, do
  5    carcinogenicity, correct?
                                                                 6   hereby certify that the sworn testimony and/or proceedings, a
  6       A. Correct.                                            7   transcript of which is attached, was given before me at the
  7             MR. HOLLINGSWORTH: That's all the                8   time and place stated therein; that any and/or all witness(es)
  8    questions I have.                                         9   were duly sworn to testify to the truth; that the sworn
  9             VIDEO OPERATOR: This concludes the              10   testimony and/or proceedings were by me stenographically
 10    deposition of Charles Benbrook, Ph.D. on August 14,      11   recorded and transcribed under my supervision, to the best of
 11    2018. The time now is approximately 11:48 a.m.           12   my ability; that the foregoing transcript contains a full,
 12             (Deposition concluded at 11:48 a.m.)            13   true, and accurate record of all the sworn testimony and/or
 13             (Signature was reserved.)                       14   proceedings given and occurring at the time and place stated
 14                                                             15   in the transcript; that a review of which was requested; that
 15                                                             16   I am in no way related to any party to the matter, nor to any

 16                                                             17   counsel, nor do I have any financial interest in the event of
                                                                18   the cause.
 17
                                                                19        WITNESS MY HAND AND DIGITAL SIGNATURE this 15th day of
 18
                                                                20   August, 2018.
 19
                                                                21
 20
                                                                     _______________________
 21                                                             22   PATRICIA D. JACOY
 22                                                                  Washington State Certified Court Reporter, #2348
 23                                                             23
 24                                                             24
 25                                                             25



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